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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 TIAA-CREF LARGE-CAP GROWTH               )   No. 2:17-cv-11089-KSH-CLW
 FUND, TIAA-CREF LARGE-CAP                )
 VALUE FUND, TIAA-CREF EQUITY             )   AMENDED COMPLAINT FOR
 INDEX FUND, TIAA-CREF LARGE-             )   VIOLATIONS OF THE FEDERAL
 CAP VALUE INDEX FUND, TIAA-              )   SECURITIES LAWS
 CREF GROWTH & INCOME FUND,               )
 TIAA-CREF S&P 500 INDEX FUND,            )
 TIAA-CREF LARGE-CAP GROWTH               )
                                          )   DEMAND FOR JURY TRIAL
 [Caption continued on following page.]
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 INDEX FUND, TIAA-CREF          )
 ENHANCED LARGE-CAP VALUE       )
 INDEX FUND, TIAA-CREF          )
 ENHANCED LARGE-CAP GROWTH      )
 INDEX FUND, TIAA-CREF LIFE     )
 GROWTH EQUITY FUND, TIAA-      )
 CREF LIFE STOCK INDEX FUND,    )
 TIAA-CREF LIFE GROWTH &        )
 INCOME FUND, TIAA-CREF LIFE    )
 LARGE-CAP VALUE FUND, TIAA-    )
 CREF SEPARATE ACCOUNT VA-1,    )
 COLLEGE RETIREMENT EQUITIES    )
 FUND, TIAA-CREF INVESTMENT     )
 MANAGEMENT, LLC and            )
 TEACHERS ADVISORS, LLC,        )
                    Plaintiffs, )
      vs.                       )
                                )
 ALLERGAN PLC, PAUL M. BISARO, )
 BRENTON L. SAUNDERS, R. TODD )
 JOYCE, MARIA TERESA HILADO, )
 SIGURDUR O. OLAFSSON, DAVID A.)
 BUCHEN, A. ROBERT D. BAILEY,   )
 JAMES H. BLOEM, CHRISTOPHER )
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 ANDREW L. TURNER, FRED G.      )
 WEISS, NESLI BASGOZ,           )
 CHRISTOPHER J. COUGHLIN and    )
 JAMES D’ARECCA,                )
                                )
                    Defendants. )
                                )
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        TIAA-CREF Large-Cap Growth Fund, TIAA-CREF Large-Cap Value Fund,

  TIAA-CREF Equity Index Fund, TIAA-CREF Large-Cap Value Index Fund, TIAA-

  CREF Growth & Income Fund, TIAA-CREF S&P 500 Index Fund, TIAA-CREF

  Large-Cap Growth Index Fund, TIAA-CREF Enhanced Large-Cap Value Index Fund,

  TIAA-CREF Enhanced Large-Cap Growth Index Fund, TIAA-CREF Life Growth

  Equity Fund, TIAA-CREF Life Stock Index Fund, TIAA-CREF Life Growth &

  Income Fund, TIAA-CREF Life Large-Cap Value Fund, TIAA-CREF Separate

  Account VA-1, College Retirement Equities Fund, TIAA-CREF Investment

  Management, LLC and Teachers Advisors, LLC (collectively, “Plaintiff”) by the

  undersigned attorneys, alleges the following based upon personal knowledge as to

  Plaintiff and Plaintiff’s own acts, and on information and belief as to all other matters

  based on the investigation conducted by and through Plaintiff’s attorneys, which

  included, among other things, a review of defendants’ public documents, conference

  calls and announcements made by defendants, U.S. Securities and Exchange

  Commission (“SEC”) filings made by Allergan and Actavis,1 wire and press releases

  published by and regarding analysts’ reports and advisories about Allergan,

  information obtainable on the Internet, court filings, drug pricing and market share

  information from proprietary databases, and consultation with industry experts.


  1
    Before June 15, 2015, Allergan plc was known as Actavis plc. Allergan plc and
  Actavis plc are collectively referred to herein as “Allergan” or the “Company.”

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  Plaintiff believes that substantial evidentiary support will exist for the allegations set

  forth herein after a reasonable opportunity for discovery.

  I.    INTRODUCTION
        1.     Plaintiff brings this federal securities action under the Securities

  Exchange Act of 1934 (the “Exchange Act”) and the Securities Act of 1933 (the

  “Securities Act”) against Allergan and certain of its former and current officers and

  directors to recover damages for losses Plaintiff has suffered in connection with its

  acquisition of Allergan securities between October 29, 2013 and November 3, 2016,

  both dates inclusive (the “Relevant Period”). Plaintiff purchased or otherwise

  acquired Allergan securities at artificially inflated prices during the Relevant Period

  and suffered damages as a result of the violations of the securities laws alleged herein.

  In particular, Plaintiff seeks to recover damages caused by defendants’ violations of

  the federal securities laws and to pursue remedies under §§11, 12(a)(2) and 15 of the

  Securities Act, §§10(b), 14(a), and 20(a) of the Exchange Act and SEC Rules 10b-5

  and 14a-9 of the Exchange Act.

        2.     Plaintiff’s Securities Act claims seek to recover damages arising from its

  purchase and/or acquisition of securities in or traceable to the Company’s public

  offering of (i) approximately 111.2 million Actavis plc ordinary shares (the “Ordinary

  Shares Offering”) in partial exchange for the outstanding shares of Allergan Inc.

  common stock in the March 17, 2015 merger, and (ii) 14,513,889 Actavis plc ordinary


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  shares and 5,060,000 5.500% mandatory convertible preferred shares (the “Ordinary/

  Preferred Shares Offerings”) to finance the acquisition of Allergan Inc. (together, the

  Ordinary Shares Offering and the Ordinary/Preferred Shares Offerings are referred to

  herein as the “Offerings”).

        3.     Allergan is a specialty pharmaceutical company that develops,

  manufactures, markets and distributes medical aesthetics, biosimilar and over-the-

  counter pharmaceutical products worldwide. Allergan has operations in more than

  100 countries. Founded in 1983, the Company was formerly known as Actavis plc.

  In November 2014, Actavis plc announced its intention to acquire Allergan Inc. On

  March 17, 2015, Actavis plc completed its acquisition of Allergan Inc., changing its

  name to Allergan plc on June 15, 2015. Allergan is headquartered in Dublin, Ireland,

  and its administrative headquarters are located in Parsippany, New Jersey. The

  Company’s common stock has traded on the New York Stock Exchange (“NYSE”)

  under the ticker symbol “AGN” since June 15, 2015 and its preferred stock trades on

  the NYSE under the ticker symbol “AGN.PA.” Before June 15, 2015, the common

  stock of Actavis plc traded on the NYSE under the ticker symbol “ACT.”

        4.     On July 26, 2015, Allergan entered into a Master Purchase Agreement,

  under which Teva Pharmaceutical Industries Ltd. (“Teva”) agreed to acquire the

  Company’s global generic pharmaceuticals business unit. On August 2, 2016, the

  companies announced the completion of the acquisition.


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        5.     This action arises out of Allergan’s participation in a generic drug price-

  fixing conspiracy that is the focus of investigations by Congress, the U.S. Department

  of Justice’s Antitrust Division (“DOJ”), and 45 state Attorneys General. Beginning in

  2012, Allergan entered into anticompetitive agreements with its competitors in the

  generic drug market. In particular, Allergan entered into agreements to fix the prices

  of or allocate the market for at least 32 generic drugs: (1) Propranolol, (2) Ursodiol,

  (3) Doxycycline, (4) Desonide, (5) Tretinoin, (6) Glyburide-Metformin,

  (7) Verapamil, (8) Ciprofloxacin HCL, (9) Labetalol HCL, (10) Fluocinonide 0.5%

  Cream, (11) Griseofulvin, (12) Clarithromycin ER, (13) Estazolam, (14) Tamoxifen

  Citrate, (15) Hydroxyzine Pamoate, (16) Desmopressin Acetate, (17) Disopyramide

  Phosphate, (18) Flutamide, (19) Topiramate Sprinkle, (20) Amphetamine/

  Dextroamphetamine ER, (21) Budesonide Inhalation, (22) Drospirenone and Ethinyl

  Estradiol, (23) Amphetamine/Dextroamphetamine IR, (24) Clonidine-TTS Patch,

  (25) Dextroamphetamine Sulfate ER, (26) Raloxifene HCL, (27) Celecoxib,

  (28) Clobetasol, (29) Nystatin Cream, (30) Nystatin Ointment, (31) Estradiol, and

  (32) Nortriptyline HCL. Five of the thirty-two drugs – Desonide, Doxycycline,

  Ursodiol, Amphetamine/Dextroamphetamine ER, and Celecoxib – were “key products

  which comprised a majority of product sales for North American Generic” for the

  year-ended December 31, 2014, according to the 2014 Form 10-K.




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        6.     Substantial facts support the allegations that Allergan colluded to fix the

  prices and allocate markets of these drugs. The drugs’ prices moved in near-perfect

  unison, and increased suddenly and simultaneously at each drug company. The price

  increases were exponential. There is a clear pattern of an industry conference

  attendance by Allergan and its competitors, followed by an abrupt and unprecedented

  spike in Allergan’s prices, closely timed with spikes in Allergan’s competitors’ prices.

        7.     There is no non-collusive explanation for these sudden, synchronized

  price increases – there was no supply shortage, production problem, or sudden

  increase in demand for these drugs during this period. The price hikes were not

  precipitated by competitors leaving the market. Moreover, the markets for these drugs

  are highly susceptible to collusion – they are dominated by only a few companies and

  this market concentration lends itself to collusion. The market for these drugs

  featured several other characteristics that facilitated collusion: demand for the drugs

  was inelastic, with increases or miniscule reductions in the quantities sold even after

  massive and sudden price hikes; the drugs were commodity-like products – generic

  drugs whose only distinguishing factor for purchasers was price; the drugs lacked a

  viable substitute; they had high barriers to entry; and information sharing and price

  discovery were common. Finally, the drug prices did not decrease following the

  initial price increases as one would expect if the sudden price increases reflected

  temporary supply shortages, cost increases or other benign market explanations.


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        8.     Allergan’s extraordinary and historic price increases for these generic

  drugs would have been against Allergan’s economic self-interest absent the existence

  of a price-fixing scheme. Generic drugs are commodity products. Absent price

  collusion, if one manufacturer raises the price of a given drug, its competitors will

  seek to increase their own market share by selling the drug to the first manufacturer’s

  customers at lower prices. Indeed, under the “maximum allowable cost” (“MAC”)

  pricing regime that governs much of the U.S. generic pharmaceutical market, drug

  cost reimbursements from insurance companies are capped at a certain price, and if a

  drug manufacturer raises its prices above this cap while its competitors do not, the

  reimbursements for the higher priced drug will cease. Thus, it would not be in any

  drug manufacturer’s interest to increase the prices of its generic drugs unless it had an

  agreement with the other manufacturers that they would do the same.

        9.     The suspicious price increases by Allergan and other drug manufacturers

  have spawned investigations by Congress, the DOJ, and at least 45 state Attorneys

  General. These investigations have begun to reveal a broad, well-coordinated and

  long-running series of schemes to fix prices or allocate markets for a number of

  generic drugs. They have also revealed that collusion on generic drug prices was

  centered around meetings of trade associations, such as the Generic Pharmaceutical

  Association (“GPhA”), and other industry gatherings attended by senior Allergan

  officials, including some of the Individual Defendants (as defined below).


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        10.    As discussed below, Allergan’s former Associate Director of Finance

  confirmed that Allergan officials who attended the industry conferences preceding

  these historic and stratospheric price increases were responsible for generic drug

  pricing at the Company during the Relevant Period.

        11.    The government investigations trace back to late 2013, when a survey of

  over 1,000 pharmacists conducted by the National Community Pharmacist

  Association (“NCPA”) revealed that prices of various generic drugs had skyrocketed.

  Many of these drugs were essential to senior citizens, and the dramatic price increases

  forced many elderly people to either pay significantly higher out-of-pocket costs due

  to Medicare’s coverage gap or forsake their medications altogether. In light of these

  concerns, the Chief Executive Officer (“CEO”) of the NCPA wrote a letter to

  Congress on January 8, 2014 requesting an oversight hearing to determine the causes

  of the price jumps.

        12.    In July 2014, the State of Connecticut began issuing subpoenas to drug

  manufacturers requesting documents relating to anticompetitive generic drug pricing.

  In October 2014, Senator Bernie Sanders and Representative Elijah E. Cummings sent

  letters to 14 generic drug manufacturers demanding information relating to ten drugs

  that had experienced average price increases ranging from 388% to 8,281% between

  2012 and 2014.




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        13.    In November 2014, the DOJ, as part of its ongoing investigation,

  convened a grand jury in the Eastern District of Pennsylvania. On November 3, 2014,

  Lannett Co. Inc. (“Lannett”) – one of the companies that hiked the prices of their

  generic drugs at or close to the same time that Allergan raised its prices – reported that

  its Senior Vice President of Sales and Marketing had received a subpoena from the

  DOJ in connection with the federal investigation of the generic pharmaceutical

  industry requesting information on Lannett’s generic drug pricing and its

  communications with competitors. On December 5, 2014, Lannett itself received a

  subpoena requesting similar information. This grand jury has issued subpoenas and

  requests for information to at least ten other generic drug manufacturers as well,

  including Heritage Pharmaceuticals Inc. (“Heritage”), Impax Laboratories, Inc.

  (“Impax”), and Mylan Pharmaceuticals Inc. (“Mylan”) – companies that also raised

  the prices of some of their generics at or close to the same time as Allergan’s price

  increases. On May 2, 2017, the FBI raided another co-conspirator Perrigo Company

  plc’s (“Perrigo”) offices as part of the criminal price-fixing probe.

        14.    According to media reports in July 2015, citing a June 26, 2015 article by

  Policy and Regulatory Report (“PaRR”), the DOJ’s investigation is wide-ranging: “A

  PaRR source says prosecutors see the case much like its antitrust probe of the auto

  parts industry, which has gone on for years and morphed into the department’s largest




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  criminal antitrust probe ever. Like in that case, prosecutors expect to ‘move from one

  drug to another in a similar cascading fashion.’”

        15.    On August 6, 2015, media outlets reported that Allergan disclosed in a

  filing with the SEC that it had received a subpoena from the DOJ in June 2015, stating

  that “Allergan Plc’s Actavis unit got a subpoena from the U.S. Justice Department

  seeking information on the marketing and prices of its generic drugs, becoming the

  biggest company yet to draw scrutiny in the government’s widening antitrust probe of

  the industry,” and noting that Allergan joined other companies that “have made

  similar disclosures in the past several months.” On this news, Allergan’s common

  share price fell $17.17 per share, or approximately 5%, from its previous closing price

  to close at $319.47 per share on August 6, 2015, and its preferred share price fell

  $39.24 per share, or approximately 3.5%, from its previous closing price to close at

  $1,084.00 per share on August 6, 2015.

        16.    The fact that the DOJ sent a subpoena to Allergan after sending

  subpoenas to certain of its competitors strongly suggests that discovery from those

  other investigations led the DOJ to believe that Allergan was also participating in a

  price-fixing conspiracy. Moreover, the DOJ has filed motions to intervene in at least

  six civil antitrust actions alleging price-fixing in violation of the Sherman Antitrust

  Act (“Sherman Act”) against Allergan and/or the Actavis generic drug unit sold to

  Teva in August 2016, as well as other sellers of the generic drugs mentioned above.


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  In these cases, the plaintiffs have requested that the various generic drug-company

  defendants produce all documents produced to the DOJ in the criminal investigation.

  In one such motion to intervene, the DOJ explained that the “action presents a risk to

  the United States’ interest in ensuring the integrity of its ongoing criminal

  investigation” because, among other reasons, “its ongoing criminal antitrust

  investigation shares common questions of law and fact with the civil claims” and

  because the plaintiffs have sought the same documents produced to the federal

  prosecutors.2 The civil antitrust cases are now consolidated into 18 multidistrict

  lawsuits, including the Attorneys General lawsuit, alleging civil antitrust claims (the

  “Generic Drugs MDL”). The DOJ moved to stay discovery in the Generic Drugs

  MDL, explaining that “[e]vidence uncovered during the criminal investigation

  implicates other companies and individuals (including a significant number of the

  Defendants [in the Generic Drugs MDL]) in collusion with respect to doxycycline

  hyclate, glyburide, and other drugs (including a significant number of the drugs at

  issue [in the Generic Drugs MDL]).” 3 The DOJ’s intervention in these civil actions



  2
      In re Propranolol Antitrust Litig., No. 1:16-cv-09901-JSR (S.D.N.Y. Jan. 30,
  2017), ECF No. 72, at 5, 7. The district court in this action denied the defendants’
  motion to dismiss the complaint on April 6, 2017. See In re Propranolol Antitrust
  Litig., 249 F. Supp. 3d 712 (S.D.N.Y. 2017) (now consolidated into In re Generic
  Pharmaceuticals Pricing Antitrust Litig. – Propranolol Cases, No. 2:16-md-02724-
  CMR (E.D. Pa.)).
  3
    In re Generic Pharm. Pricing Antitrust Litig., No. 2:16-md-02724-CMR (ED. Pa.
  May 1, 2017), ECF No. 279, at 1-2.

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  implicating Allergan’s price-fixing activities gives rise to a strong and credible

  inference that the allegations of price-fixing are supported (at least in part) by

  documents and other information provided to the DOJ.

        17.    On November 3, 2016, media outlets reported that U.S. prosecutors

  might file criminal charges against Allergan and several other pharmaceutical

  companies for unlawfully colluding to fix generic drug prices. In an article titled

  “U.S. Charges in Generic-Drug Probe to Be Filed by Year-End,” Bloomberg reported,

  in relevant part:

               U.S. prosecutors are bearing down on generic pharmaceutical
        companies in a sweeping criminal investigation into suspected price
        collusion, a fresh challenge for an industry that’s already reeling from
        public outrage over the spiraling costs of some medicines.
              The antitrust investigation by the Justice Department, begun about
        two years ago, now spans more than a dozen companies and about two
        dozen drugs, according to people familiar with the matter. The grand
        jury probe is examining whether some executives agreed with one
        another to raise prices, and the first charges could emerge by the end of
        the year, they said.
               Though individual companies have made various disclosures
        about the inquiry, they have identified only a handful of drugs under
        scrutiny, including a heart treatment and an antibiotic. Among the
        drugmakers to have received subpoenas are industry giants Mylan NV
        and Teva Pharmaceutical Industries Ltd. Other companies include
        Actavis, which Teva bought from Allergan plc in August, Lannett Co.,
        Impax Laboratories Inc., Covis Pharma Holdings Sarl, Sun
        Pharmaceutical Industries Ltd., Mayne Pharma Group Ltd., Endo
        International Plc’s subsidiary Par Pharmaceutical Holdings and Taro
        Pharmaceutical Industries Ltd.




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                All of the companies have said they are cooperating except Covis,
         which said last year it was unable to assess the outcome of the
         investigation.4
         18.   On this news, Allergan’s common share price fell $9.07 per share, or

  4.58%, to close at $188.82 per share on November 3, 2016, and its preferred share

  price fell $30.03 per share, or approximately 4%, to close at $708.45 per share on

  November 3, 2016.

         19.   On December 12 and December 13, 2016, the DOJ filed the first criminal

  charges stemming from its ongoing investigation (the “Heritage Indictments”). See

  United States v. Glazer, No. 2:16-cr-00506-RBS (E.D. Pa. Dec. 12, 2016); United

  States v. Malek, No. 2:16-cr-00508-RBS (E.D. Pa. Dec. 13, 2016). These cases allege

  that two former senior executives of generic drugmaker Heritage violated the Sherman

  Act by participating in conspiracies to fix prices, rig bids and allocate customers for,

  among other generic pharmaceuticals, doxycycline hyclate, which was one of the

  drugs sold by Allergan at historically high prices during the Relevant Period.

         20.   According to Count One of the Heritage Indictments, “[t]he charged

  combination and conspiracy consisted of a continuing agreement, understanding, and

  concert of action among the defendant and co-conspirators, the substantial terms of

  which were to allocate customers, rig bids, and fix and maintain prices for

  doxycycline hyclate sold in the United States.” The Heritage Indictments allege that


  4
      Unless otherwise noted herein, all emphasis is added.

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  Glazer and Malek, along with co-conspirators, carried out the conspiracy by engaging

  in anticompetitive conduct, including the participation of subordinate employees in

  meetings, conversations and communications with co-conspirators to allocate

  customers, fix prices or rig bids for doxycycline hyclate sold in the United States.

        21.    On January 9, 2017, Glazer and Malek pleaded guilty to conspiring to

  manipulate prices of doxycycline hyclate, as well as other generic drugs, between

  April 2013 and December 2015. At the plea hearing, DOJ prosecutors stated that the

  conspiracy also involved rival companies.

        22.    While federal and state investigations were still ongoing, the State of

  Connecticut and 19 other states filed an “initial civil action” in December 2016

  against six generic drug manufacturers – including Teva Pharmaceuticals USA, Inc.

  (“Teva USA”), Mayne Pharma (USA) Inc. (“Mayne”) and Mylan, also alleging price

  fixing, market allocation and bid rigging of generic pharmaceuticals (the “AG

  Complaint”) – for illegal schemes involving market share allocation and

  anticompetitive price inflation. Twenty-five more state attorneys general later joined

  the case. As reported by The New York Times on December 15, 2016, in an interview

  about the AG Complaint, Connecticut’s Attorney General George Jepsen stated that

  there was more to come:

               “We believe that this is just the tip of the iceberg,” George C.
        Jepsen, Connecticut’s attorney general, whose office started the inquiry
        that led to the charges, said in an interview on Thursday. “I stress that
        our investigation is continuing, and it goes way beyond the two drugs in

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        this lawsuit, and it involves many more companies than are in this
        lawsuit.”
        23.     Teva’s Actavis unit (part of Allergan before August 2, 2016) received a

  subpoena from the Connecticut Attorney General in connection with its price-fixing

  investigation. The AG Complaint states that the Attorneys General “have uncovered a

  wide-ranging series of conspiracies implicating numerous different drugs and

  competitors, which will be acted upon at the appropriate time.” AG Complaint, ¶9.

  The Attorneys General describe these conspiracies as “schemes to fix and maintain

  prices, allocate markets and otherwise thwart competition” and explain that they are

  carried out by generic drug companies through their senior executives who “exploit

  their interactions at various and frequent industry trade shows, customer conferences

  and other similar events, to develop relationships and sow the seeds for their illegal

  agreements.” Id., ¶¶7, 8.

        24.     The Connecticut Attorney General’s December 15, 2016 press release

  regarding the AG Complaint states that the Connecticut Attorney General “‘has

  dedicated significant resources to this investigation for more than two years and has

  developed compelling evidence of collusion and anticompetitive conduct across many

  companies that manufacture and market generic drugs in the United States.’” The

  Connecticut Attorney General’s press release further states that “‘[w]e have evidence

  of widespread participation in illegal conspiracies across the generic-drug

  industry.’”


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        25.    On October 31, 2017, the state Attorneys General (“StateAGs”) made

  public their [Proposed] Consolidated Amended Complaint (“Amended AG

  Complaint”), which contained additional details about Allergan’s price-fixing

  activities. For example, the StateAGs describe how, when necessary, collusive

  agreements reached at trade meetings and industry dinners were reinforced through

  phone calls and text messages between executives and sales people from Allergan and

  the Co-Conspirators (as defined below).           On these calls, the companies’

  representatives discussed, among other things, their desire to maintain or raise prices

  with respect to specific drugs. Phone records referenced in the AG Complaint

  demonstrate that these types of communications occurred with great frequency across

  the industry. For example, the records revealed at least 334 separate communications

  between Allergan and its co-conspirator Teva from July 2013 to July 2014, the period

  when most of the collusive price hikes occurred.

        26.    The Amended AG Complaint also details records demonstrating that

  Allergan finalized an agreement with Heritage to increase prices of Glyburide-

  Metformin, Verapamil and other generic drugs during a nine-minute telephone call on

  April 22, 2014. Information about the agreement spread quickly throughout the sales

  and pricing teams at Allergan. On April 28, 2014, the Company circulated an internal

  email regarding potential price increases for Glyburide-Metformin, Verapamil and

  several other drugs. Shortly after reaching this agreement, Allergan and Heritage


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  contacted Teva and Aurobindo Pharma USA, Inc. (“Aurobindo”), the only other

  companies in the market, to discuss the deal.        On May 1, 2014, an Allergan

  representative listed as a recipient to the April 28 email contacted a Teva

  representative and they spoke for five minutes. They spoke three more times on

  May 6, 2014, with one of the calls lasting 15 minutes, and continued to communicate

  frequently over the next several months. In all, Allergan and Teva communicated via

  phone or text message at least 119 times between May 2014 and July 2014.

        27.    According to the Amended AG Complaint, phone records also

  demonstrate that Allergan communicated with Aurobindo, the other manufacturer in

  the market. On May 12, 2014, an Allergan representative spoke with the CEO of

  Aurobindo two separate times. As alleged in the Amended AG Complaint, although

  the companies did not increase customer prices for Glyburide-Metformin in July 2014,

  like they did for many other drugs, they did increase their wholesale acquisition cost

  (“WAC”) prices. 5

        28.    Through their investigations, the StateAGs found that the conspiratorial

  conduct in the generic drug market was “pervasive and industry-wide and the schemes

  identified herein are part of a larger, overarching understanding about how generic

  manufacturers fix prices and allocate markets to suppress competition.” Amended AG


  5
     “WAC price” refers to the amount a manufacturer charges wholesalers or direct
  purchasers before discounts and rebates.

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  Complaint, ¶11. The overarching understanding applied whether the scheme involved

  allocation of market share or an agreement to fix prices. Id., ¶¶8, 14. According to

  the Amended AG Complaint, “[t]his overarching agreement is widespread across the

  generic drug industry and is broader than the Defendants named in this Complaint.”

  Id., ¶92.

         29.   The overarching conspiracy rested on “general rules of the road” that

  were put in place over a decade ago – that each competitor was entitled to a certain

  percentage of market share “based on the number of competitors in the particular drug

  market, with a potential adjustment based on the timing of their entry.” Id., ¶¶90-91.

  In general, the earlier entrant was entitled to additional market share. Id. In practice,

  a generic manufacturer with more than its fair share of the market would walk away

  from a customer by instigating a price increase to allow its competitor seeking to

  obtain its fair share to bid slightly below the increased pricing. Id., ¶99. After the

  market reached an equilibrium, the manufacturers then agreed on not competing on

  prices or significantly raising prices in coordination. Id. At the equilibrium state,

  manufacturers did not take advantage of another competitor’s price increase by

  bidding lower prices, as doing so would be “viewed as ‘punishing’ a competitor for

  raising prices – which [was] against the rules.” Id., ¶106.

         30.   Adherence to the “general rules of the road” by all competitors was

  crucial to maintaining high prices, because even a single deviant could lead to


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  competition and lower prices. Id., ¶107. Even for a new entrant to the market seeking

  to attain market share, “an underlying code of conduct,” widespread in the industry,

  was adhered to that allowed the new entrant and existing manufacturers to determine

  “a generally agreed-upon standard of ‘fair share’ in order to avoid competing and keep

  prices high.” Id., ¶¶14, 100.

        31.    On May 10, 2019, the Attorneys General of 44 states filed a second

  complaint (“May 2019 AG Complaint”) against 20 generic drugs manufacturers –

  including Allergan’s subsidiaries Actavis Holdco and Actavis Pharma – and 15

  individual defendants, including Allergan senior executives Marc Falkin and Richard

  (Rick) Rogerson. The complaint acknowledges that the overarching conspiracy “is

  widespread across the generic drug industry and is broader than the Defendant

  manufacturers named in this Complaint.”          May 2019 AG Complaint, ¶116.

  Nevertheless, the complaint alleges that Teva colluded with “High Quality” co-

  conspirators on close to 112 generic drugs, of which Allergan was one of the highest-

  quality co-conspirators and implicated in at least 25 drugs. Id., ¶¶3, 1110.

        32.    Teva defined the quality of a co-conspirator based on its “strength” as a

  leader or follower of price hikes, with a score of “3” awarded to the highest quality

  co-conspirator. Id., ¶¶576-577. Allergan was among one of the five top quality co-

  conspirators:




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        33.     According to the StateAGs, allegations in the May 2019 AG Complaint

  are supported by evidence and information obtained from the ongoing investigation,

  including:

        (1) the review of many thousands of documents produced by dozens of
        companies and individuals throughout the generic pharmaceutical
        industry, (2) an industry-wide phone call database consisting of more
        than 11 million phone call records from hundreds of individuals at
        various levels of the Defendant companies and other generic
        manufacturers, and (3) information provided by several as-of-yet
        unidentified cooperating witnesses who were directly involved in the
        conduct alleged herein.
  Id., ¶¶4-5.

        34.     Throughout the Relevant Period, defendants fraudulently concealed their

  illegal conduct, misrepresented the generic drug market’s competitiveness, misled

  investors about the true cause of Allergan’s growth, revenues, profits and improved

  product pricing, and falsely claimed competitive advantages based on expertise and

  execution, when in reality they were derived from illegal price-fixing. As a result,

  Allergan’s public statements were materially false and misleading at all relevant

  times. Defendants’ false and misleading statements led investors to believe that

  Allergan’s results were an accurate representation of its products’ success in a

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  competitive market. In fact, the reported sales figures were inflated by almost

  $1 billion as a result of anticompetitive conduct and did not reflect sales that would

  have been achieved absent the price-fixing activities. Furthermore, Allergan’s sales

  inflation through illegal price-fixing carried the significant risk of state and federal

  prosecution along with the attendant negative financial and reputational harm.

  Defendants downplayed that risk, falsely assured investors that they had done nothing

  wrong, and offered false and misleading explanations of Allergan’s price increases.

  Truthful disclosure of their participation in patently illegal schemes would have

  altered the mix of information about the Company.             The materiality of this

  information is further exemplified by the dramatic drops in Allergan’s stock price

  when investors learned the truth.

        35.    During the Relevant Period, revenue from the manufacture and sale of

  generic pharmaceuticals was vital to Allergan. In its Form 8-K filed on December 5,

  2014, Allergan reported that North American Generics generated $3.9 billion in

  revenues in 2013, or approximately 45% of the Company’s total revenues. The

  Company also told its investors that “market share, revenues and gross profit

  attributable to a particular generic product normally is related to the number of

  competitors in that product’s market [and] pricing” and emphasized that Allergan

  “actively compete[s] in the generic pharmaceutical industry.”




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         36.    Allergan reiterated statements about the Company’s success in the

  generics market in its 2014 Annual Report dated February 18, 2015, and in its 2015

  Annual Report dated February 26, 2016. In each of these annual reports, Allergan

  also reported sustained revenues attributable to its generic pharmaceutical business,

  with revenues for the North American Generics increasing to approximately

  $4.2 billion in 2014.

                                     2013                  2014                   2015
      Revenues from North      $3.9 billion (45%     $4.2 billion (32%     $6.37 billion (42.2%
      American Generics        of total revenues)    of total revenues)     of total revenues) 6

         37.    During this period of significant sustained revenues, Allergan’s cost of

  sales for the generic drug segment actually declined. According to the 2015 Form

  10-K, in 2014, for example, the Company’s revenues increased by $230 million over

  the prior year, but the cost of sales declined by $213.5 million.

                                              2013                2014              2015
      Cost of Sales for Segment          $3.32 billion     $3.11 billion      $3.05 billion
      Including Generics Business

         38.    During the Relevant Period, Allergan also touted its ability to both raise

  and maintain generic drug prices, without ever mentioning the price fixing it was

  engaged in with its rival drugmakers. For example, during an analyst conference on


  6
     As a result of Allergan’s July 27, 2015 announcement that the Company had
  agreed to sell its global generics business to Teva, Allergan only reported net revenues
  from its global generics business in the “Income from discontinued operations”
  portion of the Company’s February 26, 2016 Form 10-K.

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  May 29, 2014, defendant Paul M. Bisaro, the Company’s then-CEO, explained that

  Allergan is seeing more “sustainable and longer-term higher pricing in the generic

  industry than people are generally used to,” as companies are increasingly “taking

  those price increases and those price increases are sticking.” Similarly, during

  Allergan’s August 5, 2014 conference call with analysts and investors, defendant

  Brenton L. Saunders, the Company’s current CEO, stated that “there are more

  opportunities to take price [increases], particularly as we leverage our strong supply

  chain and the reliability of high-quality supply that we can offer customers.” During

  the Company’s second quarter 2015 conference call on May 11, 2015, Saunders

  similarly explained that while “the model for generics is price decreases as more

  competitors come into the market . . . the environment has remained pretty stable and

  favorable.”

        39.     During the Relevant Period, defendants denied outright that they were

  engaged in any improper market practices. On the same day Allergan announced it

  had been subpoenaed by the DOJ, Allergan CEO Saunders appeared on Mad Money

  with Jim Cramer to quell market concerns. He revealed that the subpoena concerned

  three Allergan products, but assured the market that the suspicious price increases

  were caused purely by “supply and demand” rather than illegal collusion.

        40.     In February 2016 at the RBC Capital Markets Healthcare Conference,

  defendants continued to falsely assure investors that “[w]e have never been aggressive


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  price takers.”       Instead, defendants told investors that Allergan’s practice and

  philosophy was to always look out for its customers:

         [W]e have always explained that this is a customer long-term
         relationship and to the extent you poke them in the eye over and over
         again, they are going to poke back.
              . . . You just don’t treat customers that way. There has to be
         mutual respect and planning, and so we price our drugs appropriately.
               We look to take price increases as we believe we can, but we have
         never done it in a significant way because our products don’t lend
         themselves to that in large part. But also our business model and our
         philosophy doesn’t lend itself to that.
         41.       Through these representations, defendants led investors to falsely believe

  that higher generic drug pricing was sustainable and that the Company’s success was

  the result of its active competition in the industry. Defendants’ misleading statements

  voluntarily put the source of Allergan’s revenue from generic drugs at issue while

  concealing the use of illegal anticompetitive conduct to drive that revenue. The

  Company’s income statements were also misleading, because they conveyed a sense

  of strong profitability without mentioning the price-fixing collusion that fueled that

  profitability.

         42.       As Allergan and the Individual Defendants made these false statements

  and omissions throughout the Relevant Period – during a time in which they had

  knowledge of (or recklessly disregarded) the Company’s price-fixing conduct – some

  of them, including defendants Bisaro, David A. Buchen, R. Todd Joyce and Sigurdur




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  O. Olafsson, made substantial sales of their Allergan stock totaling millions of dollars.

  These insider sales further evidence defendants’ intent to defraud the investing public.

        43.    As a result of defendants’ acts and omissions, and the precipitous decline

  in the market value of Allergan’s securities, Plaintiff has suffered significant losses

  and damages.

  II.   JURISDICTION AND VENUE
        44.    The claims asserted herein arise under §§11, 12(a)(2), and 15 of the

  Securities Act, 15 U.S.C. §§77k, 77l(a)(2), and 77o, and §§10(b), 14(a) and 20(a) of the

  Exchange Act, 15 U.S.C. §§78j(b), 78n(a), and 78t(a), and the rules and regulations

  promulgated thereunder, including SEC Rule 10b-5, 17 C.F.R. §240.10b-5, and SEC

  Rule 14a-9, 17 C.F.R. §240.14a-9.

        45.    This Court has jurisdiction over the subject matter of this action pursuant

  to §22(a) of the Securities Act, §27 of the Exchange Act, 15 U.S.C. §78aa, and under

  28 U.S.C. §1331, because this is a civil action arising under the laws of the United

  States.

        46.    Venue is proper in this District pursuant to §22(a) of the Securities Act,

  15 U.S.C. § 77v(a), §27 of the Exchange Act and 28 U.S.C. §1391(b), because

  defendant Allergan conducts business in this District and also maintains its

  administrative headquarters in this District.




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         47.   In connection with the acts, conduct and other wrongs alleged in this

  complaint, defendants, directly or indirectly, used the means and instrumentalities of

  interstate commerce, including but not limited to, the U.S. mail, interstate telephone

  communications, and the facilities of the national securities exchange.

  III.   EXCHANGE ACT ALLEGATIONS

         A.    Plaintiff
         48.   Plaintiff includes funds and accounts managed by TIAA-CREF

  Investment Management, LLC and Teachers Advisors, LLC.                    TIAA-CREF

  Investment Management, LLC and Teachers Advisors, LLC are wholly-owned

  subsidiaries of Teachers Insurance and Annuity Association of America (“TIAA”).

  TIAA was founded in 1918 and is a joint stock life insurance company incorporated in

  New York with its headquarters in New York. TIAA offers traditional annuities, as

  well as variable annuities that invest, among other things, in real estate and in mutual

  funds that invest in equities and fixed income investments. CREF, a companion

  organization to TIAA, is a not-for-profit membership corporation incorporated in New

  York with its principal place of business in New York. Together, TIAA and CREF

  constitute a Fortune 100 financial services organization that forms the principal

  retirement system for the nation’s education and research communities and one of the

  largest retirement systems in the world based on assets under management. As of

  December 31, 2016, TIAA served over five million individuals overall (with more



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  than 3.9 million clients in institutional retirement plans) and managed in excess of

  $907 billion in assets. Plaintiff purchased or otherwise acquired Allergan securities at

  artificially inflated prices during the Relevant Period and suffered damages as a result

  of the violations of the Exchange Act alleged herein.

        B.     Defendants

               1.     Allergan plc
        49.    Defendant Allergan is incorporated in Ireland, and the Company’s

  principal executive offices are located at Clonshaugh Business and Technology Park,

  Coolock, Dublin, D17 E400, Ireland. The Company’s administrative headquarters are

  located at Morris Corporate Center III, 400 Interpace Parkway, Parsippany, New

  Jersey. Allergan’s common stock trades on the NYSE under the ticker symbol

  “AGN” and its preferred stock trades on the NYSE under the ticker symbol

  “AGN.PA.”

        50.    On February 17, 2014 Allergan entered into an Agreement and Plan of

  Merger with Forest Laboratories (the “Forest Merger Agreement”). Pursuant to the

  Forest Merger Agreement, Allergan acquired Forest Laboratories through a series of

  merger transactions (the “Forest Merger”).          Allergan solicited and received

  shareholder approval of the Forest Merger through a joint proxy statement and

  prospectus filed on Form 424B3 with the SEC on May 6, 2014 (the “May 6, 2014




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  Proxy”). Allergan announced the completion of its acquisition of Forest Laboratories

  on July 1, 2014.

        51.    Actavis plc and Allergan Inc. announced on November 17, 2014 that they

  had entered into a definitive agreement under which Actavis plc would acquire

  Allergan Inc. for a combination of cash and stock in a transaction valued at

  approximately $66 billion (the “Actavis Merger”). Actavis plc solicited and received

  shareholder approval of the Actavis Merger through a joint proxy statement and

  prospectus filed with the SEC on January 27, 2015 (the “January 27, 2015 Proxy”).

  On March 17, 2015, Actavis plc announced the completion of the Actavis Merger. On

  June 15, 2015, Actavis plc announced that the Company had adopted Allergan plc as

  its new global name and would begin trading on the NYSE under the “AGN” ticker,

  abandoning the Company’s prior “ACT” ticker.

        52.    On July 27, 2015, Teva announced that it had entered into a definitive

  agreement with Allergan to acquire Allergan’s generics business in exchange for

  $33.75 billion in cash and $6.75 billion in Teva stock, amounting to just under a 10%

  ownership. In connection with this deal, Teva agreed to sell the rights and assets

  related to 79 pharmaceutical products following Federal Trade Commission (“FTC”)

  charges that Teva’s acquisition of Allergan’s generics business would be

  anticompetitive. On August 2, 2016, Teva announced that the acquisition was

  complete.


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               2.    The Individual Defendants
         53.   Defendant Paul M. Bisaro (“Bisaro”) served as Allergan’s CEO and

  President between October 2013 and July 2014. Bisaro also served on Allergan’s

  Board of Directors (“Board”) when the May 6, 2014 Proxy and January 27, 2015

  Proxy were issued. On March 27, 2017, Bisaro was appointed as President and CEO

  of Impax. Bisaro signed certifications pursuant to the Sarbanes-Oxley Act (“SOX”)

  and Rule 13a-14(a) under the Exchange Act (“Rule 13a-14(a)”) for the Company’s 3Q

  2013 and 1Q 2014 Forms 10-Q and 2013 Form 10-K, and signed the Registration

  Statements and 2014 Form 10-K – all of which contained false and misleading

  statements and omissions; he also made false and misleading statements and

  omissions in the Company’s 3Q 2013, 4Q 2013, 1Q 2014 and 2Q 2014 Forms 8-K, at

  a healthcare conference, and during a Company earnings call.7

         54.   Defendant Brenton L. Saunders (“Saunders”) has served as Allergan’s

  CEO and President since July 2014. Saunders also served on Allergan’s Board when

  the January 27, 2015 Proxy was issued. Saunders signed certifications pursuant to

  SOX and Rule 13a-14(a) for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q 2015,

  3Q 2015, 1Q 2016, 2Q 2016 and 3Q 2016 Forms 10-Q and 2014 and 2015 Forms

  10-K, and signed the Registration Statements – all of which contained false and




  7
      Each of the Company’s Relevant Period SEC filings is defined below.

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  misleading statements and omissions; he also made false and misleading statements

  and omissions during the Company’s earnings calls.

        55.   Defendant R. Todd Joyce (“Joyce”) served as Allergan’s Chief Financial

  Officer (“CFO”) from October 2009 to December 2014. Joyce signed certifications

  pursuant to SOX and Rule 13a-14(a) for the Company’s 3Q 2013, 1Q 2014, 2Q 2014

  and 3Q 2014 Forms 10-Q and 2013 Form 10-K, which contained false and misleading

  statements and omissions. Joyce also signed Allergan’s 3Q 2013, 4Q 2013, 1Q 2014,

  2Q 2014 and 3Q 2014 Forms 8-K, and the December 5, 2014 Form 8-K, which

  contained false and misleading statements and omissions.

        56.   Defendant Maria Teresa Hilado (“Hilado”) has served as Allergan’s CFO

  since December 2014. Hilado signed certifications pursuant to SOX and Rule 13a-

  14(a) for the Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016, 2Q 2016 and 3Q

  2016 Forms 10-Q and 2014 and 2015 Forms 10-K, which contained false and

  misleading statements and omissions. Hilado also signed Allergan’s 4Q 2014, 1Q

  2015, 2Q 2015, 3Q 2015, 4Q 2015 Forms 8-K and the March 2, 2015 Form 8-K

  underwriting agreements relating to the Ordinary/Preferred Shares Offerings, all of

  which contained false and misleading statements and omissions. Hilado announced

  her resignation on September 25, 2017.

        57.   Defendant Sigurdur O. Olafsson (“Olafsson”) served as a director of

  Allergan and the President of Actavis Pharma, the Allergan segment that included the


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  Company’s generics business, between April 2012 and June 2014. Olafsson also

  served on Allergan’s Board when the May 6, 2014 Proxy was issued. Olafsson

  subsequently served as the President and CEO of the Global Generic Medicines Group

  at Teva before stepping down in early 2017. Olafsson made a false and misleading

  statement and omission during a Company earnings call and also signed the

  Company’s 2013 Form 10-K.

        58.   Defendant David A. Buchen (“Buchen”) served as Allergan’s Chief

  Legal Officer (Global) and Secretary from April 2012 to July 2014 and then served as

  the Executive Vice President Commercial, North American Generics and

  International, from July 2014 to May 1, 2015. Upon his termination, Buchen served

  as a consultant for the Company until May 1, 2016. Buchen made a false and

  misleading statement and omission on one of the Company’s earnings calls.

        59.   Defendant A. Robert D. Bailey (“Bailey”) was an Executive Vice

  President and has served as Allergan’s Chief Legal Officer and Secretary since

  July 2014. Bailey signed the Registration Statements and the March 2, 2015 Form

  8-K containing underwriting agreements relating to the Ordinary/Preferred Shares

  Offerings – all of which contained false and misleading statements and omissions.

        60.   The defendants referenced in this section are referred to herein as the

  “Individual Defendants.”




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              3.    The Director Defendants
        61.   Defendant James H. Bloem (“Bloem”) served on Allergan’s Board when

  the May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        62.   Christopher W. Bodine (“Bodine”) served on Allergan’s Board when the

  May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        63.   Tamar D. Howson (“Howson”) served on Allergan’s Board when the

  May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        64.   John A. King (“King”) served on Allergan’s Board when the May 6,

  2014 Proxy and January 27, 2015 Proxy were issued.

        65.   Catherine M. Klema (“Klema”) served on Allergan’s Board when the

  May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        66.   Jiri Michal (“Michal”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

        67.   Jack Michelson (“Michelson”) served on Allergan’s Board when the

  May 6, 2014 Proxy was issued.

        68.   Patrick J. O’Sullivan (“O’Sullivan”) served on Allergan’s Board when

  the May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        69.   Ronald R. Taylor (“Taylor”) served on Allergan’s Board when the

  May 6, 2014 Proxy and January 27, 2015 Proxy were issued.




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        70.    Andrew L. Turner (“Turner”) served on Allergan’s Board when the

  May 6, 2014 Proxy and January 27, 2015 Proxy were issued.

        71.    Fred G. Weiss (“Weiss”) served on Allergan’s Board when the May 6,

  2014 Proxy and January 27, 2015 Proxy were issued.

        72.    Bisaro, Olafsson, Bloem, Bodine, Howson, King, Klema, Michal,

  Michelson, O’Sullivan, Taylor, Turner and Weiss are referred to herein as the “2014

  Board of Directors.”

        73.    Nesli Basgoz (“Basgoz”) served on Allergan’s Board when the

  January 27, 2015 Proxy was issued.

        74.    Christopher J. Coughlin (“Coughlin”) served on Allergan’s Board when

  the January 27, 2015 Proxy was issued.

        75.    Bisaro, Bloem, Bodine, Howson, King, Klema, Michal, O’Sullivan,

  Taylor, Turner, Weiss, Basgoz and Coughlin are referred to herein as the “2015 Board

  of Directors.”

        C.     The Co-Conspirators
        76.    Various other persons, firms, corporations, and entities participated as

  Co-Conspirators (the “Co-Conspirators”) with Allergan in the anticompetitive conduct

  alleged herein. The Co-Conspirators include, but are not limited to: Lannett; Impax;

  Heritage; Mylan; Teva; Aurobindo; Epic Pharma, LLC (“Epic”); West-Ward

  Pharmaceutical Corporation (“West-Ward”); Akorn, Inc. (“Akorn”); Camber


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  Pharmaceuticals, Inc. (“Camber”); Lupin Pharmaceuticals, Inc. (“Lupin”); Mutual

  Pharmaceutical (“Mutual”); Par Pharmaceutical Companies, Inc. (“Par”); Perrigo;

  Dr. Reddy’s Laboratories, Inc. (“Dr. Reddy’s”); Sandoz, Inc. (“Sandoz”); Taro

  Pharmaceutical Industries Ltd. (“Taro”); and Zydus Pharmaceuticals (USA), Inc.

  (“Zydus”). To engage in this anticompetitive conduct, the Co-Conspirators performed

  acts in furtherance of the anticompetitive practices and conspiracies alleged herein.

        D.      Factual Allegations
                1.    A Brief Overview of the Generic Pharmaceutical
                      Market
        77.     Generic pharmaceutical drugs – drugs that are pharmaceutically

  equivalent in dosage, form, route of administration, strength or concentration and have

  the same active ingredients as the reference-listed brand name drug – save consumers

  and our healthcare system tens of billions of dollars annually because they introduce

  competition into a market where none previously existed. When a high-priced

  branded drug comes off patent, generic drugs offer the prospect of lower prices and

  greater access to healthcare for all consumers in the United States. In a January 31,

  2012 report, the Government Accounting Office (“GAO”) noted that “[o]n average,

  the retail price of a generic drug is 75 percent lower than the retail price of a brand-

  name drug.”

        78.     Generic drugs have long been referred to as one of the few “bargains” in

  the U.S. healthcare system and historically healthcare experts have said that cost


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  savings from the growing number of generic drugs have gone a long way toward

  keeping the lid on overall increasing healthcare costs. This was the way the generic

  drug market was intended to work, and has generally worked, since the

  implementation of the Hatch-Waxman Act in 1984.

        79.    The Hatch-Waxman Act, formally titled the Drug Price Competition and

  Patent Term Restoration Act, was intended to balance two interests: encouraging drug

  innovation and promoting competition between brand and generic drugs in order to

  lower drug prices. To encourage innovation, the Hatch-Waxman Act gave branded

  drug manufacturers longer periods of market exclusivity. To promote competition,

  the law simplified the regulatory hurdles for bringing generic drugs to market and

  eliminated the prior requirement that generic drug companies file costly New Drug

  Applications (“NDA”) to obtain U.S. Food and Drug Administration (“FDA”)

  approval. Under the revised process, generic drug companies can instead file an

  Abbreviated New Drug Application (“ANDA”). A generic drug company that submits

  an ANDA generally is not required to include clinical trial data to establish the safety

  and efficacy of the drug. Instead, the generic drug company can rely on the safety and

  efficacy data supplied by the original NDA holder for a given drug.

        80.    A generic drug must meet certain bioequivalence and pharmaceutical

  equivalence standards set by the FDA to ensure that the generic drug is essentially an

  exact substitute for the brand-name drug. To receive FDA approval through an


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  ANDA, a generic drug must contain the same active ingredient, in the same dosage

  form, in the same strength, to be bioequivalent to the reference listed drug (i.e., the

  original brand-name version approved by the FDA through an NDA). The FDA uses

  a review process to ensure that brand-name and generic drugs that are rated

  “therapeutically equivalent” have the same clinical effect and safety profile.

  According to the FDA: “Products classified as therapeutically equivalent can be

  substituted with the full expectation that the substituted product will produce the same

  clinical effect and safety profile as the prescribed product.” 8 The FDA assigns

  generics that are deemed to be therapeutically equivalent to their brand-name

  counterparts an “AB” rating. Even drugs that are bioequivalent, but that do not share

  the same dosage form, are not AB-rated.

        81.    The Hatch-Waxman Act also provides a 180-day exclusivity period for

  the first generic drug company that files an ANDA and simultaneously challenges the

  validity of the patent for a brand-name drug. This exclusivity period, which allows

  the generic drug company to market its generic version free from competition, is

  intended to spur generic drug companies to provide alternatives to brand-name drugs.

  When generic drugs enter the market, they are often priced well below the brand-name

  drugs and quickly take a large market share from the brand-name drug company. The

  8
    See U.S. Department of Health and Human Services – Food and Drug
  Administration (“Orange Book”), Approved Drug Products with Therapeutic
  Equivalence Evaluations vii (37th ed. 2017).

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  first generic drug will generally be priced 15% to 20% below the brand-name drug.

  Once the exclusivity period ends and more generic versions enter the market, the price

  of the generic drugs continues to fall and their combined share of the market for that

  drug, relative to the brand-name equivalent, continues to grow. The price of the

  generic versions of a given drug can fall to as little as 10% to 20% of the original price

  for the brand-name drug. This competition allows purchasers to buy the generic

  equivalent of a brand-name drug at substantially lower prices. As Stephen W.

  Schondelmeyer, Professor of Pharmaceutical Care & Health Systems at the University

  of Minnesota, College of Pharmacy, explained in his testimony before the Senate

  HELP Committee:

        The Congressional Budget Office has credited the Hatch-Waxman Act
        and, importantly, the process for easy and routine A-rated generic
        substitution by pharmacists with providing meaningful economic
        competition from generic drugs, and with achieving billions of dollars of
        savings for drug purchasers such as consumers and employers. 9
        82.    The price differential between a brand-name drug and the generic

  equivalents, and the proportion of the market captured by the brand-name versus the

  generics, generally follows a predictable pattern. Specifically, as mentioned above,

  the first generic to enter the market is generally priced 15% to 20% lower than the

  brand-name drug. As more approved generics enter the market, the price of the



  9
      Why Are Some Generic Drugs Skyrocketing in Price?: Hearing Before the
  S. Comm. on Health, Education, Labor and Pensions, 113th Cong. 7 (Nov. 20, 2014)
  (statement of Stephen W. Schondelmeyer).

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  generics generally declines in both absolute terms and in relation to the brand-name

  drug for around five years. Eventually, the price of the generic drugs reaches an

  equilibrium price point, at or close to the manufacturers’ marginal production costs,

  resulting in significant savings for consumers, insurers and employers.

        83.    Between 2005 and 2014, generic drugs saved the U.S. healthcare system

  more than $1.6 trillion dollars. Since the Hatch-Waxman Act was passed, generic

  drugs have moved from being less than 20% of prescriptions filled in the United

  States to 80% of prescriptions filled. In their complaint, the StateAGs cite a study that

  found that in 2011 alone, generic drugs saved $193 billion for consumers.

        84.    The MAC pricing regime also serves to control drug prices. Under this

  regime, individual states or pharmacy benefits managers (“PBMs”) – third party

  administrators of prescription drug programs – establish an MAC for drug products

  using a variety of different inputs and formulas. If the cost for a pharmacy to dispense

  a given drug exceeds the MAC, the pharmacy will either opt to substitute a less

  expensive version, if available, or sell the drug at a loss to service the patient. This

  MAC framework incentivizes pharmacies to fill prescriptions with the least expensive,

  therapeutically equivalent version of a drug to maximize their potential profits.

        85.    Over the last several years, however, that price dynamic has changed for

  a large number of generic drugs.         Prices for dozens of generic drugs have

  uncharacteristically risen – some have skyrocketed – for no apparent reason, sparking


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  outrage from public officials, payers and consumers across the country whose costs

  have doubled, tripled or in some cases increased a 1,000% or more.                   A

  December 2016 analysis conducted by the GAO found that more than 300 of the

  1,441 established generic drugs examined by the study had one or more instances of

  “‘extraordinary price increases’” – i.e., “periods of prices at least doubling over the

  five-year study period.” In 2014 alone, more than 100 generic drugs experienced

  these extraordinary price increases. For 48 of these 100 drugs, the price increases

  were 500% or higher.

        86.    The growing outrage and public reports of unexplained price increases

  caused the State of Connecticut to commence an investigation in July of 2014, which

  was followed shortly thereafter by a Congressional inquiry and a reported criminal

  grand jury investigation by the DOJ.

        87.    Generic drug manufacturers have argued publicly that the significant

  price increases were due to a myriad of benign factors, such as industry consolidation,

  FDA-mandated plant closures, or elimination of unprofitable generic drug product

  lines. What regulators have found through their investigations, however, is that the

  reason underlying many of these price increases is much more straightforward, and

  nefarious – collusion among generic drug competitors.

        88.    As detailed in the AG Complaint, Connecticut v. Aurobindo Pharma

  USA, Inc., No. 3:16-cv-02056 (D. Conn. Dec. 14, 2016), a joint complaint filed by the


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  Attorneys General of 20 states following a lengthy investigation into generic drug

  price increases, generic drug manufacturers operate through their respective senior

  leadership and marketing and sales executives in a manner that fosters and promotes

  routine and direct interaction among their competitors. Id., ¶7. The companies

  exploit their interactions at various and frequent industry trade shows, customer

  conferences and other similar events, to develop relationships and sow the seeds for

  their illegal agreements. Id. The anticompetitive agreements are further refined and

  coordinated at regular “industry dinners,” “girls nights out,” lunches, parties and

  numerous and frequent telephone calls, emails and text messages. Id., ¶¶7, 55.

               2.    The Distribution and Manufacture of Generic Drugs
        89.    Generic drug manufacturers control the sale of drugs to many different

  drug wholesalers, distributors, retailers and group purchasing organizations (“GPOs”).

  Wholesalers and distributors purchase drugs from the manufacturers and distribute

  them to customers such as pharmacies, hospitals and medical facilities. Some of the

  larger wholesalers and distributors of generic drugs include Cardinal Health, Inc. and

  AmerisourceBergen Corporation.        Retailers of generic drugs include retail or

  supermarket chain pharmacies (such as Walgreens and Walmart), mail-order or

  specialty pharmacies, hospitals, healthcare plans and GPOs. GPOs are membership-

  based entities that negotiate with manufacturers, wholesalers and distributors on

  behalf of a group of purchasers to obtain optimal prices and terms for their members.


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  GPOs can represent retail, governmental or healthcare groups. Some of the larger

  GPOs include Vizient and Premier, Inc.

        90.    Because the various generic drugs produced by different drug

  manufacturers are all therapeutically equivalent, the competition between

  manufacturers to sell generic drugs to wholesalers, distributors, retailers and GPOs is

  largely based on each manufacturer’s price and ability to provide a supply of that

  drug. Allergan and the Co-Conspirators are all drug manufacturers and/or suppliers

  such that they should be competing directly with each other for the sale of the generic

  drugs discussed herein to U.S. consumers.

               3.     The Markets for Allergan’s Generic Drugs Were
                      Susceptible to Price Fixing
        91.    The markets discussed herein were highly conducive to collusion.

  Characteristics that facilitated collusion include: (i) a high level of market

  concentration, (ii) significant barriers to entry, (iii) lack of available substitutes,

  (iv) the commoditized-nature of the products, (v) inelastic demand, (vi) the absence of

  a competitive fringe of sellers, and (vii) the ease of information sharing, including

  inter-competitor contacts and communications. As discussed in more detail below,

  each of these factors was present in the markets for certain dosages of price-hiked

  drugs such as Propranolol, Ursodiol, Doxycycline, Desonide, Tretinoin, Clobetasol,

  Nystatin Cream, Nystatin Ointment, Glyburide-Metformin, Verapamil, Ciprofloxacin

  HCL, Labetalol HCL, Fluocinonide 0.5% Cream, Griseofulvin, Estradiol,

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  Clarithromycin ER, Estazolam, Tamoxifen Citrate, Hydroxyzine Pamoate,

  Desmopressin Acetate, Disopyramide Phosphate, Flutamide, and Topiramate

  Sprinkle. These factors were also present for market allocation drugs such as

  Amphetamine/Dextroamphetamine ER, Budesonide Inhalation, Drospirenone and

  Ethinyl Estradiol, Nortriptyline HCL, Amphetamine/Dextroamphetamine IR,

  Clonidine-TTS Patch, Dextroamphetamine Sulfate ER, Raloxifene HCL, and

  Celecoxib. The anticompetitive behaviors by Allergan and its Co-Conspirators left

  behind a series of collusive markers in the market for the drugs, as evidenced by

  uniform price hikes within close timeframes marked by high correlations, the low

  volatility of drug prices post-collusion, and the high stability of market shares

  inconsistent with competitive markets.

                     a.    High Level of Market Concentration
        92.   The Herfindahl-Hirschman Index (“HHI”) is a widely accepted market

  concentration measurement and is used by antitrust enforcement agencies, such as the

  FTC and the DOJ, for assessing market competitiveness. An HHI of 0 is indicative of

  perfect competition and an HHI of 10,000 is indicative of a monopoly. The DOJ and

  FTC’s Horizontal Merger Guidelines classify a market as unconcentrated when HHI is

  below 1,500, moderately concentrated when HHI is between 1,500 and 2,500, and

  highly concentrated when HHI exceeds 2,500.




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        93.    The score is calculated by squaring the market share of each firm

  competing in the market and then summing the resulting numbers. For example, in a

  market consisting of three companies with market shares of 10%, 40% and 50%, the

  HHI is 4,200 (100 + 1,600 + 2,500).

        94.    A highly concentrated market is vulnerable to coordinated activities

  because fewer firms are involved in the negotiation, collusive revenues are high for

  each firm, and the cartel tends to be stable with the absence of cheating. In addition,

  in a highly concentrated market, there is a lower probability that each firm has

  different production costs, which facilitates the formation and maintenance of a price-

  fixing scheme.

                      b.    Significant Barriers to Entry
        95.    Collusion is more effective in markets with high barriers to entry because

  new competitors cannot easily enter the market and undercut the agreed-upon price.

        96.    Barriers to entry into a market can delay, diminish or even prevent the

  attraction and arrival of new market participants, which is the usual mechanism for

  checking the market power – i.e., the ability to set prices above market costs – of

  existing participants. Entry barriers include things like: trade secrets, patents,

  licenses, capital outlays required to start a new business, pricing elasticity and

  difficulties buyers may have in changing suppliers. If there is no significant threat

  that new firms will enter a market, a combination of firms with a significant


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  percentage of the market is able to engage in anticompetitive conduct, such as

  restricting output and raising prices to the detriment of consumers.

          97.   A competitor attempting to enter the generic drug market faces numerous

  barriers, including high manufacturing costs and regulatory and intellectual property

  requirements. For example, an ANDA approval by the FDA takes an average of 36

  months. Upon approval, the manufacturing facility is subject to regulatory oversight,

  compliance expenses and other significant costs.

                      c.    Lack of Available Substitutes
          98.   The lack of a viable substitute encourages collusive behavior because

  consumers cannot replace the product after significant price hikes.

          99.   In the context of prescription drugs, a pharmacist presented with a

  prescription for a given drug can only substitute another drug if that drug has an “AB”

  rating. Only generic and brand-name versions of a drug are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for a given drug with the brand-

  name version or one of the AB-rated generic versions and cannot substitute another

  drug.

          100. Additional barriers in the medical field also serve to promote the

  resistance to prescription changes. These barriers include doctors’ reluctance to

  change well-known prescriptions, insurance and Medicare’s absorption of most of the




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  price shock, lags in co-payment tiering changes, and the restriction on Medicare from

  negotiating drug prices with pharmaceutical companies.

                      d.     Commodity-Like Product
        101. A commodity-like product is a standardized product where price is the

  distinguishing factor for purchasers. Such products increase the susceptibility of a

  given market to anticompetitive conduct. By their very nature, all generic versions of

  a given drug are interchangeable, as every generic version of a drug must be

  bioequivalent to the original brand-name drug.

        102. For commodity-like products, price hikes are only sustainable through

  collusion if the dominant manufacturers participate. Price hikes by Allergan without

  the Co-Conspirators’ agreement to join the heightened price levels would enable

  competitors to take market share away by simply setting prices below Allergan’s price

  point. Thus, the coordinated massive price hikes could only be sustainable with the

  cooperation and agreement among the Co-Conspirators.

                      e.     Inelastic Demand
        103. Elasticity of demand (“Ed”) is measured by the change in quantity of

  goods sold relative to the change in price. When Ed is zero, demand is perfectly

  inelastic, as there is no change in the quantity of goods sold despite a large increase in

  price. Inelastic demand encourages cartel behavior, as a significant increase in price




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  has minimal effect on quantity demanded by consumers. As such, the cartel can

  maximize profit because price increases will directly translate into revenues.

                      f.     Absence of Competitive Sellers
        104. The presence of firms that manufacture the same product but are not part

  of the anticompetitive conspiracy – also called fringe sellers – can erode the

  conspirators’ market share by offering the product at lower, more competitive prices.

  This reduces the conspirators’ revenue and makes it more difficult to sustain the

  conspiracy. By contrast, the absence of fringe sellers can increase the susceptibility of

  a given market to anticompetitive conduct.

                      g.     Inter-Competitor Contacts and
                             Communications at Trade Association Events
        105. Information sharing is important in a conspiracy to enable the cartel to

  come to an agreement and monitor pricing decisions and compliance.

        106. Representatives from Allergan and the Co-Conspirators routinely

  attended conferences, meetings and trade shows sponsored by various pharmaceutical

  trade associations. These events provided frequent opportunities for individuals from

  Allergan and the Co-Conspirators to interact with each other and discuss their

  respective businesses and customers. Social events and other recreational activities –

  including golf outings, lunches, cocktail parties and dinners – were also organized in

  conjunction with the trade association events and provided further opportunities for

  representatives from the drug manufacturers to meet outside of the traditional business


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  setting. These trade associations and the related formal and informal events, discussed

  in more detail below, provided representatives from Allergan and the Co-Conspirators

  with ample opportunities to meet, discuss, devise and implement the price-fixing

  schemes set forth herein.

        107. The 45 state Attorneys General stated that “these trade shows and

  customer conferences provide generic drug manufacturers, including but not limited to

  the Defendants, with ample opportunity to meet, discuss, devise and implement a host

  of anticompetitive schemes that unreasonably restrain competition in the United

  States’ market for generic drugs.” AG Complaint, ¶52. As such, the DOJ is

  scrutinizing “‘trade associations as part of their investigation as having been one

  potential avenue for facilitating the collusion between salespeople at different generic

  producers.’”

        108. The Allergan representatives who attended the majority of these trade

  meetings were Andrew Boyer (“Boyer”), Senior Vice President of Generic Sales,

  Marketing, and National Accounts; Marc Falkin (“Falkin”), Vice President of

  Marketing, Pricing, and Contracts; and Richard Rogerson (“Rogerson”), Executive

  Director of Pricing & Business Analytics. Boyer, Falkin and Rogerson comprised the

  management team for Allergan’s generics business during the Relevant Period.

        109. Confidential Witness No. 1 (“CW1”), an Associate Director of Finance at

  Allergan from March 2011 to March 2016, confirmed that Boyer was responsible for


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  the Company’s pricing decisions and that Falkin and Rogerson were members of

  Boyer’s management team. According to CW1, Boyer ran the generics business at

  Allergan and made all decisions regarding generic drugs, including pricing decisions.

        110. Confidential Witness No. 2 (“CW2”), a former Global VP of Finance and

  Operations at Allergan between 2011 and August 2016, corroborated CW1’s account.

  CW2 stated that the key people involved with Allergan’s generic pricing were Boyer,

  Falkin, Napoleon Clark (“Clark”) and Rogerson. Rogerson reported to Clark, who

  reported to Falkin, who reported to Boyer. CW2 further stated that Clark was

  responsible for a lot of the detailed analytics used to make pricing decisions.

  Rogerson “blessed” all pricing decisions and his team maintained all of the pricing

  models. All generic pricing was generated using the analytics maintained by

  Rogerson’s team, but Boyer had final authority over both Falkin and Rogerson in

  terms of final pricing decisions. According to CW2, Bisaro and Olafsson also

  attended the pricing meetings, weighing in and exerting influence on pricing

  decisions. CW2 was aware of these details because he/she attended the pricing

  meetings during which the data used for pricing decisions was evaluated and received

  the pricing models that were used to determine the prices.

        111. CW2 also indicated that Boyer, Falkin, Clark and Rogerson frequently

  attended industry events, such as meetings of the National Association of Chain Drug

  Stores, and socialized with competitors at these events. He/she knew that Boyer’s


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  team attended the industry conferences because there was typically an agenda of who

  went and what was discussed. According to CW2, the industry was so small that

  personnel from the various companies knew each other and spoke to one another

  outside of the trade shows.

        112. CW2 said that during his/her tenure as Global VP of Finance and

  Operations, only rarely was a supplier’s increased costs the reason for pricing

  increases. According to CW2, pricing stayed flat for the most part. In fact, CW2

  could not recall any supply, manufacturing or other operational factor that had any

  influence on pricing during her/his tenure as Global VP of Finance and Operations.

        113. The generics management team of Boyer, Falkin, Clark and Rogerson

  reported to Olafsson, as President of Actavis Pharma, the Allergan segment that

  included the Company’s generics business. Olafsson in turn reported to CEO Bisaro.

  When Olafsson left the Company, Boyer, Falkin and Rogerson began reporting to

  Buchen, who reported to Bisaro and then Saunders when Saunders became CEO and

  Bisaro became Executive Chairman in July 2014.

                           (1)   The Generic Pharmaceutical Association
        114. The Association for Accessible Medicines (formerly known as the

  Generic Pharmaceutical Association) (“GPhA”) is, according to its website, “the

  nation’s leading trade association for manufacturers and distributors of generic

  prescription drugs, manufacturers of bulk active pharmaceutical chemicals, and


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  suppliers of other goods and services to the generic industry.” The GPhA’s website

  describes itself as “the unifying and organizing force” for generic drug companies,

  and touts its members’ ability to “[n]etwork with other members and professionals

  across the industry.” It claims that GPhA members supply “9 out of every 10” generic

  prescription drugs dispensed in the U.S. and “form an integral, and powerful, part of

  the healthcare system.”

        115. Senior executives and corporate officers from Allergan and the Co-

  Conspirators served on the GPhA’s Board of Directors before the Relevant Period.

  For example, the 2012 Board of Directors included Tony Mauro (“Mauro”), President

  of Mylan North America; Douglas Boothe (“Boothe”), CEO of Actavis; and Jeffrey

  Glazer (“Glazer”), CEO of Heritage. The 2013 Board of Directors included Mauro,

  President of Mylan North America; Glazer, President and CEO of Heritage; and

  Charlie Mayr, Chief Communications Officer at Actavis.

        116. Representatives from Allergan and the Co-Conspirators regularly

  attended GPhA meetings before and during the Relevant Period, including the

  following meetings:

        •      October 1-3, 2012 GPhA 2012 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun10 and Taro.

  10
     Sun Pharmaceutical Industries, Inc. (“Sun”) purchased URL Pharma, Inc. (“URL”)
  from Takeda Pharmaceuticals USA Inc. in 2012, and Mutual Pharma is a subsidiary of
  URL.

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         •     February 20-22, 2013 GPhA 2013 Annual Meeting in Orlando, Florida,
               attended by representatives from Allergan (including Olafsson),
               Heritage, Impax, Mylan, Perrigo, Taro and URL.

         •     June 4-5, 2013 GPhA 2013 CMC Workshop in Bethesda, Maryland,
               attended by representatives from Allergan, Heritage, Impax, Lannett,
               Mylan, Perrigo, Sun and Taro.

         •     October 28-30, 2013 GPhA 2013 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun and Taro.

         •     December 9-11, 2013 16th Annual IGPA Conference in Brussels,
               Belgium, attended by representatives from Allergan, Hikma 11 and
               Mylan.

         •     February 19-21, 2014 GPhA 2014 Annual Meeting in Orlando, Florida,
               attended by representatives from Allergan, Epic, Heritage, Impax,
               Mylan, Perrigo, Sun and Taro.

         •     June 3-4, 2014 GPhA 2014 CMC Workshop in Bethesda, Maryland,
               attended by representatives from Allergan, Heritage, Impax, Lannett,
               Mylan, Perrigo, Sun and Taro.

         •     October 27-29, 2014 GPhA 2014 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Lannett,
               Mylan, Perrigo, Sun, Taro and West-Ward.

         •     November 19-21 2014, 17th Annual IGPA Conference in Miami,
               Florida, attended by representatives from Allergan (including Buchen),
               Hikma and Mylan.

         •     February 9-11, 2015 GPhA 2015 Annual Meeting in Miami Beach,
               Florida, attended by representatives from Allergan, Epic, Heritage,
               Mylan, Perrigo, Taro and West-Ward.

         •     June 9-10, 2015 GPhA 2015 CMC Workshop in Bethesda, Maryland,
               attended by representatives from Allergan, Heritage, Impax, Lannett,
               Mylan, Perrigo, Sun, Taro and West-Ward.

  11
       Hikma Pharmaceuticals PLC (“Hikma”) is the parent company of West-Ward.

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        •      November 2-4, 2015 GPhA 2015 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun, Taro and West-Ward.

                             (2)   The Healthcare Distribution Alliance
        117. The Healthcare Distribution Alliance (“HDA”) was originally founded as

  the Western Wholesale Druggists’ Association in 1876. After a series of name

  changes, the association became known as the HDA. As the HDA’s website explains,

  the association “represents 34 distribution companies – national, regional, and

  specialty – as well as more than 145 manufacturer and more than 50 service

  provider/international members, respectively.” The HDA’s mission “is to protect

  patient safety and access to medicines through safe and efficient distribution; advocate

  for standards, public policies and business processes that enhance the safety,

  efficiency and value of the healthcare supply chain; and, create and exchange industry

  knowledge and best practices.”

        118. The HDA’s website states that HDA “membership provides access to

  networking opportunities, research, member-developed education and resources for

  the healthcare supply chain.” The association’s membership includes domestic and

  international drug distributors, drug manufacturers, service providers and health,

  beauty and wellness/consumer manufacturers.

        119. The HDA describes its Business and Leadership Conference (“BLC”) as

  “the healthcare distribution industry’s signature annual conference, developed by and



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  for healthcare supply chain leaders and innovators.” The HDA further states:

  “Exclusive to HDA member companies, the conference brings together high-level

  executives, thought leaders and influential managers from across the healthcare supply

  chain to hold strategic business discussions on the most pressing industry issues. This

  forum offers unmatched opportunities to network with your peers and trading partners

  at all levels of the healthcare distribution industry.” The BLC events provided

  Allergan and the Co-Conspirators with opportunities to meet one-on-one and engage

  in collusive conduct.

         120. As described in other public pleadings, representatives from Allergan and

  the Co-Conspirators attended the HDA’s BLC events set forth below:

       Date         Meeting          Allergan Attendees            Co-Conspirator Attendees
   June 1-4,    HDA 2014          Anthony Giannone           Mylan: Richard Isaac (Sr. Manager,
   2014         BLC in Phoenix,   (Executive Director,       Strategic Accounts); Lance Wyatt
                AZ                Sales); Falkin (Sr. VP     (Director, National Accounts)
                                  Sales, U.S. Generics)     Heritage: Neal O’Mara (Sr. Director,
                                                            National Accounts); Anne Sather (Sr.
                                                            Director, National Accounts)
   June 7-10,   HDA 2015          Boyer (Sr. VP, Generic     Mylan: Todd Bebout (VP NA Supply
   2015         BLC in San        Sales, Marketing,          Chain Management); Janet Bell (Director,
                Antonio, TX       National Accounts);        National Accounts); Richard Isaac (Sr.
                                  Falkin (VP Marketing,      Manager, Strategic Accounts); Stephen
                                  Pricing and Contracts);    Krinke (National Account Manager);
                                  Rogerson (Executive        Robert O’Neill (Head of Sales Generic,
                                  Director Pricing &         NA); Sean Reilly (National Account
                                  Business Analytics)        Manager); John Shane (Trade Relations);
                                                             Erik Williams (VP NA Pricing &
                                                             Contracts); Lance Wyatt (Director,
                                                             National Accounts)
                                                             Heritage: Glazer (CEO and Chairman);
                                                             Jason Malek (Sr. VP, Commercial
                                                             Operations); Neal O’Mara (Sr. Director,
                                                             National Accounts); Anne Sather (Sr.
                                                             Director, National Accounts); Matthew


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      Date         Meeting          Allergan Attendees         Co-Conspirator Attendees
                                                         Edelson (Associate Director, National
                                                         Accounts)


                             (3)   The National Association of Chain Drug
                                   Stores
        121. According to its website, the NACDS states that its four strategic goals

  are to: (i) “Foster an advantageous business and political environment in which

  NACDS chain member companies are better able to achieve their business

  objectives”; (ii) “Promote the role and value of chain community pharmacy as an

  integral component of the healthcare system, thus helping to preserve its viability”;

  (iii) “Provide effective channels of communication, involvement and forums for

  members and other stakeholders”; and (iv) “Ensure that NACDS internally operates as

  a cutting edge association, effectively meeting the needs of its membership.”

        122. The NACDS describes the membership benefits for suppliers as

  including: “Access to the NACDS Annual Meeting, NACDS Regional Chain

  Conference and NACDS Total Store Expo”; “Online Membership Directory listing

  and access chain member, sales and marketing, peer, and other B2B solution

  contacts”; and “Popular ‘Meet the Retailer’ and ‘Meet the Market’ programming at

  NACDS events with preparatory webinars throughout the meeting cycle.” The

  NACDS lists as another benefit for supplier members the “NACDS-Nielsen Company

  Syndicated Data Program,” which it describes as providing “syndicated data to help



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  those members gain a better understanding of the competitive marketplace and to

  position their products accordingly.”

        123. The NACDS holds several events, including an Annual Meeting and

  Total Store Expo. The NACDS describes its Annual Meeting as the association’s

  “signature event,” highlighting “results . . . relationships . . . [and] member service.”

  According to the NACDS’s website, “[p]articipants at the Annual Meeting include

  Retail Chairmen, CEOs, Presidents, and Senior Vice Presidents of Marketing,

  Merchandising, Operations, and Pharmacy and their executive-level counterparts and

  decision makers from supplier companies.” In addition, the NACDS represents that

  the “Annual Meeting provides numerous opportunities to meet and discuss strategic

  issues with key trading partners.”

        124. The NACDS describes its Total Store Expo as “the industry’s largest

  gathering of its most influential leaders.” The NACDS further states: “It is a

  combination of both strategic and tactical business meetings between existing and new

  trading partners and is attended by industry decision makers. It will give you and your

  company a unique opportunity to gain new insights into today’s evolving marketplace

  and set your course for the future.”

        125. The NACDS describes its Foundation Dinner as “a premier event that

  brings together the NACDS Board of Directors and senior executives of NACDS

  Chain and Associate Members, as well as many friends.”


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        126. Before and during the Relevant Period, representatives from Allergan and

  the Co-Conspirators attended the NACDS events, which provided opportunities for

  these representatives to meet in person, in furtherance of the collusive conduct alleged

  herein. As described in other public pleadings, representatives from Allergan and the

  Co-Conspirators attended the NACDS events set forth below:

        Date           Meeting            Allergan Attendees              Co-Conspirator Attendees
    April 20-23,   NACDS 2013        Bisaro (Board Member);          Mylan: Joe Duda (President); Mauro
    2013           Annual Meeting in Boyer (Sr. VP, Generic Sales,   (Chief Commercial Officer); Robert
                   Palm Beach, FL    Marketing, National             Potter (Sr. VP of North America
                                     Accounts); Olafsson (Board      National Accounts and Channel
                                     Member, President, Actavis      Development); Jeffrey May (VP of
                                     Pharma); Michael Reed           North America Product Strategy); Jim
                                     (Executive Director of Trade    Nesta (VP of Sales)
                                     Relations); Michael Baker
                                     (Executive VP of Trade Sales
                                     and Development); Paul Reed
                                     (Sr. Director of Trade Sales
                                     and Development); Robert
                                     Stewart (Chief Operating
                                     Officer)
    August 10      NACDS 2013         Boyer (Sr. VP, Generic         Mylan: Mike Aigner (Director
    -13, 2013      Total Store Expo   Sales, Marketing, National     National Accounts); Kevin
                   in Las Vegas, NV   Accounts); Falkin (VP          McElfresh (Executive Director
                                      Marketing, Pricing and         National Accounts); Joe Duda
                                      Contracts); Rogerson           (President); Robert Potter (Sr. VP
                                      (Executive Director, Pricing   North America National Accounts
                                      & Business Analytics)          and Channel Development); Rob
                                                                     O’Neill (Head of Sales); Lance
                                                                     Wyatt (Director National Accounts)
                                                                     Heritage: Glazer (CEO and
                                                                     Chairman); Matthew Edelson (Sr.
                                                                     Director of Sales); Jason Malek (Sr.
                                                                     VP, Commercial Operations); Gina
                                                                     Gramuglia (Commercial Operations);
                                                                     Neal O’Mara (Sr. Director, National
                                                                     Accounts); Anne Sather (Sr. Director,
                                                                     National Accounts)
    December 3,    NACDS 2013         Boyer (Sr. VP, Generic         Mylan: Joe Duda (President); Mauro
    2013           NYC Week and       Sales, Marketing, National     (Chief Operating Officer); Robert
                   Annual             Accounts); Falkin (VP          Potter (Sr. VP of North America
                   Foundation         Marketing, Pricing and         National Accounts and Channel


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        Date           Meeting            Allergan Attendees             Co-Conspirator Attendees
                   Dinner in New      Contracts)                    Development); Rob O’Neill (Head of
                   York, NY                                         Sales)
    April 26-29,   NACDS 2014         Bisaro (Board Member);        Mylan: Joe Duda (President);
    2014           Annual             Boyer (Sr. VP, Generic        Mauro (President); Robert Potter
                   Meeting in         Sales, Marketing, National    (Sr. VP of North America National
                   Scottsdale,        Accounts); Olafsson (Board    Accounts and Channel
                   AZ                 Member, President, Actavis    Development); Rob O’Neill (Head
                                      Pharma); Paul Reed (Sr.       of Sales)
                                      Director of Trade Sales and
                                                                    Heritage: Glazer (CEO
                                      Development); Robert
                                                                    and Chairman)
                                      Stewart (Chief Operating
                                      Officer); Falkin (VP
                                      Marketing, Pricing and
                                      Contracts)
    August 23      NACDS 2014         Boyer (Sr. VP, Generic        Mylan: Joe Duda (President);
    -26, 2014      Total Store Expo   Sales, Marketing, National    Mauro (President); Robert Potter
                   in Boston, MA      Accounts); Falkin (VP         (Sr. VP of North America National
                                      Marketing, Pricing and        Accounts and Channel Manager);
                                      Contracts); Rogerson          Mike Aigner (Director, National
                                      (Executive Director of        Accounts); Kevin McElfresh
                                      Pricing & Business            (Executive Director, National
                                      Analytics)                    Accounts); Gary Tighe (Director,
                                                                    National Accounts); Lance Wyatt
                                                                    (Director, National Accounts)
                                                                    Heritage: Glazer (CEO and
                                                                    Chairman); Jason Malek (Sr. VP,
                                                                    Commercial Operations); Heather
                                                                    Beem (National Account Manager,
                                                                    Institutional); Katie Brodowski
                                                                    (Associate Director Institutional
                                                                    Sales); Matthew Edelson (Senior
                                                                    Director of Sales); Gina Gramuglia
                                                                    (Commercial Operations); Neal
                                                                    O’Mara (Sr. Director, National
                                                                    Accounts); Anne Sather (Sr. Director,
                                                                    National Accounts)
    December 3,    NACDS 2014         Saunders (President, CEO      Mylan: Mike Aigner (Director
    2014           NYC Week and       and Chairman); Boyer (Sr.     National Accounts); Mauro
                   Annual             VP, Generic Sales,            (Chief Operating Officer); Robert
                   Foundation         Marketing, National           Potter (Sr. VP of North America
                   Dinner in New      Accounts); Falkin (VP         National Accounts and Channel
                   York, NY           Marketing, Pricing and        Development)
                                      Contracts)
    April 25-28,   NACDS 2015         Boyer (Sr. VP, Generic        Mylan: Mauro (President);
    2015           Annual             Sales, Marketing, National    Robert Potter (Sr. VP of North
                   Meeting in         Accounts); Falkin (VP         America National Accounts); Rob
                   Palm Beach,        Marketing, Pricing and        O’Neill (Head of Sales); Gary

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        Date           Meeting          Allergan Attendees             Co-Conspirator Attendees
                  FL                Contracts)                    Tighe (Director National
                                                                  Accounts)
    August 22     NACDS 2015        Boyer (Sr. VP, Generic        Mylan: Mike Aigner (Director
    -25, 2015     Total Store       Sales, Marketing, National    National Accounts); Mauro
                  Expo in Denver,   Accounts); Falkin (VP         (President); Robert Potter (Sr. VP of
                  CO                Marketing, Pricing and        North America National Accounts);
                                    Contracts); Rogerson          Kevin McElfresh (Executive Director,
                                    (Executive Director Pricing   National Accounts); Robert O’Neill
                                    & Business Analytics)         (Head of Sales)
                                                                  Heritage: Glazer (CEO and
                                                                  Chairman); Jason Malek (Sr. VP,
                                                                  Commercial Operations); Neal O’Mara
                                                                  (Sr. Director, National Accounts);
                                                                  Anne Sather (Sr. Director, National
                                                                  Accounts); Matthew Edelson (Sr.
                                                                  Director of Sales); Gina Gramuglia
                                                                  (Commercial Operations)


        127. In addition, representatives from Allergan and the Co-Conspirators also

  attended the NACDS 2016 Total Store Expo on August 19-22, 2016 in San Diego,

  California.

                       h.    Inter-Competitor Communications Via Phone
                             Calls and Text Messages
        128. When necessary, the agreements reached at trade meetings and industry

  dinners were reinforced through phone calls and text messages between executives

  and sales people from Allergan and the Co-Conspirators. On these calls, the

  companies’ representatives discussed, among other things, their desire to maintain or

  raise prices with respect to specific drugs. Phone records referenced in the Amended

  AG Complaint demonstrate that these types of communications occurred with great

  frequency across the industry. For example, the records revealed at least 334 separate



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  communications between Allergan and its co-conspirator Teva from July 2013 to

  July 2014, the period when most of the collusive price hikes occurred.

        129. The May 2019 AG Complaint tabulates the text messages and phone calls

  of selected co-conspirators, including Allergan, with Teva for 2013 and 2014:




  May 2019 AG Complaint, ¶¶119-121.

        130. According to the StateAGs, the tables are “conservative” as they are

  “based on phone and text messages records from only some of the executives and

  salespeople at issue.” Id. Even based on a conservative tabulation, Allergan and Teva

  executives communicated at least 548 times in the span of 2 years.




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        131. In addition, even based on a limited catalogue of calls and text messages

  among the May 2019 AG Complaint’s defendants and selected co-conspirator

  contacts, Allergan executives were in constant communication with other co-

  conspirators across the industry – exchanging texts or phone calls over 3,100 times

  between 2013 to 2016 12:

      Allergan                                          Number
                          Co-Conspirator’s Executive               Min Date   Max Date
      Executive                                         of Calls
  Marc Falkin       Stephen Rutledge (Amneal)               15     10/19/2013 11/16/2015
  Marc Falkin       Tina Kaus (Apotex)                      22       3/4/2014   6/4/2015
  Marc Falkin       Jeffrey Hampton (Apotex)                 6       4/7/2014   4/8/2014
  Marc Falkin       Beth Hamilton (Apotex)                   1      6/10/2014 6/10/2014
  Marc Falkin       Robert Cunard (Aurobindo)               80     11/14/2013 3/16/2015
  Marc Falkin       Kon Ostaficiuk (Camber)                  2      9/27/2013 12/5/2013
  Marc Falkin       Jim Brown (Glenmark)                   270       8/9/2013 6/16/2016
  Marc Falkin       CW-5 (Glenmark)                         22      11/7/2013 2/26/2014
  Marc Falkin       Jill Nailor (Greenstone)                41       1/6/2014 3/14/2016
  Marc Falkin       Kevin Smith (Lannett)                  181       8/1/2013 9/29/2015
  Marc Falkin       David Berthold (Lupin)                  52       9/3/2013   4/1/2016
  Marc Falkin       Steve Randazzo (Lupin)                   2      10/5/2013 10/5/2013
  Marc Falkin       Jim Nesta (Mylan)                       78      12/3/2013 8/17/2015
  Marc Falkin       Jon Holden (Par)                        48      9/24/2013 8/11/2015
  Marc Falkin       Steven Greenstein (Sandoz)               5      4/30/2014 6/23/2014
  Marc Falkin       Ara Aprahamian (Taro)                   21      4/17/2014   3/8/2016
  Marc Falkin       Michael Perfetto (Taro)                  9     12/13/2013   8/4/2014
  Marc Falkin       David Rekenthaler (Teva)               433       8/7/2013 3/25/2015
  Marc Falkin       Maureen Cavanaugh (Teva)               410      9/10/2013 7/29/2016
  Marc Falkin       Christine Baeder (Teva)                199      7/21/2015 7/29/2016
  Marc Falkin       Theresa Coward (Teva)                   36     12/28/2015 7/27/2016
  Marc Falkin       Teva Pharmaceuticals (Teva)             26      5/28/2015 7/19/2016
  Marc Falkin       Nisha Patel (Teva)                      11       2/5/2016 6/16/2016
  Marc Falkin       Jocelyn Baker (Teva)                    11     11/24/2015   6/2/2016
  Marc Falkin       Cassie Dunrud (Teva)                    11       2/8/2016 6/22/2016
  Marc Falkin       Jessica Peters (Teva)                    7      9/27/2014 3/22/2016
  Marc Falkin       Kevin Galownia (Teva)                    6      1/14/2016 5/12/2016


  12
     Initials from the May 2019 AG Complaint were replaced with full names identified
  from individuals on the September 11, 2019 search terms proposal filed in the Generic
  Drugs MDL and based upon information in other publicly available sources such as
  LinkedIn, company websites, and other court filings.

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      Allergan                                          Number
                           Co-Conspirator’s Executive              Min Date     Max Date
      Executive                                         of Calls
  Marc Falkin        Michael Craney (Wockhardt)              3      5/24/2016   5/24/2016
  Marc Falkin        Kristy Ronco (Zydus)                  550       8/3/2013   4/13/2016
  Marc Falkin        Michael Keenley (Zydus)                 4      1/10/2014   1/11/2014
                     Nimish Muzumdar (Dr. Reddy’s and
  Rick Rogerson                                             43     10/15/2013    3/6/2018
                     Sandoz)
  Rick Rogerson      S.G. (Glenmark)                         3       2/8/2010    2/8/2010
                     Jolene McGalliard (Lannett and
  Rick Rogerson                                             32      6/24/2010    1/6/2012
                     Glenmark)
  Rick Rogerson      Armando Kellum (Sandoz)                 3       5/5/2011 9/28/2011
  Rick Rogerson      Ara Aprahamian (Taro)                   4      6/17/2013 4/16/2014
  Rick Rogerson      Taro Pharmaceuticals (Taro)             2      6/14/2013 11/20/2013
  Rick Rogerson      Nisha Patel (Teva)                    157       5/2/2013 11/9/2015
  Rick Rogerson      Kevin Galownia (Teva)                  29     12/15/2015 7/29/2016
  Rick Rogerson      Teva Pharmaceuticals (Teva)            27      9/24/2015 7/29/2016
  Rick Rogerson      Christine Baeder (Teva)                17      2/26/2016 7/26/2016
  Rick Rogerson      Karen Andrus (Wockhardt)              316      3/11/2010 1/28/2016
  Rick Rogerson      Jodi Weber (Zydus)                      2      6/24/2014 6/25/2014
  Allan Slavsky      David Berthold (Lupin)                  3      2/13/2012 5/24/2012
  Allan Slavsky      Ara Aprahamian (Taro)                   1       1/9/2014   1/9/2014
  Allan Slavsky      David Rekenthaler (Teva)               26      1/11/2012   4/1/2013
  Allan Slavsky      Maureen Cavanaugh (Teva)               17      8/21/2015 7/26/2016
  Allan Slavsky      Nisha Patel (Teva)                     28      9/16/2015 3/10/2016
  Andrew Boyer       Jill Nailor (Greenstone)               86      9/21/2011 7/14/2016
  Andrew Boyer       Ara Aprahamian (Taro)                  16      8/16/2013 4/19/2016
  Andrew Boyer       David Rekenthaler (Teva)               16       4/1/2013 9/16/2014
  Andrew Boyer       Maureen Cavanaugh (Teva)              113      8/12/2015 7/25/2016
  Andrew Boyer       Nisha Patel (Teva)                     28      4/30/2013 10/16/2015
  Anthony Giannone   David Berthold (Lupin)                301      3/22/2011 12/14/2017
  Anthony Giannone   Ara Aprahamian (Taro)                   4      4/23/2013 4/30/2013
  Anthony Giannone   Nisha Patel (Teva)                      9      1/27/2015   6/9/2016
  Ara Aprahamian     Jim Grauso (Aurobindo)                  6      1/20/2012 1/27/2012
  David Schmidt      Jill Nailor (Greenstone)                5     11/27/2010 1/31/2012
  Jonathan Kafer     David Rekenthaler (Teva)               15     10/11/2013 3/29/2015
  Jonathan Kafer     Maureen Cavanaugh (Teva)                4      4/29/2014 3/31/2015
  M.B.               Nisha Patel (Teva)                      3      2/26/2016   6/6/2016
  Michael Baker      Ara Aprahamian (Taro)                  12      5/13/2013 8/22/2015
  Michael Dorsey     Ara Aprahamian (Taro)                  52      3/19/2013   9/2/2016
  Michael Perfetto   Jim Grauso (Aurobindo)                 57      12/6/2011 1/13/2014
  Napoleon Clark     Jill Nailor (Greenstone)                1      1/29/2013 1/29/2013
  Steve Cohen        Jill Nailor (Greenstone)                5      4/18/2012 4/22/2012
  Thad Demos         Ara Aprahamian (Taro)                   3      4/12/2013 7/10/2013
         Total:                                           4008




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               4.     Propranolol
        132. Discovered in the 1960s, Propranolol is a beta blocker used to treat high

  blood pressure and certain types of irregular heart rates, to prevent migraines, and to

  treat further heart problems in individuals who suffered a previous heart attack or have

  angina. Beta blockers work by blocking the effects of epinephrine, causing a patient’s

  heart to beat slower and with less force, thereby reducing blood pressure. Propranolol

  is included as a preventative anti-migraine medicine on the Core List within the World

  Health Organization’s (“WHO”) Model List of Essential Medicines – a list “of

  minimum medicine needs for a basic health-care system, listing the most efficacious,

  safe and cost-effective medicines for priority conditions.”

                      a.     The Co-Conspirators’ Price Hikes
        133. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and maintain the prices of Propranolol beginning in late

  2013. For example, Allergan, Heritage, Impax and Mylan raised the price of generic

  Propranolol HCL 10mg, 20mg, and 80mg tablets by as much as 1,200% between

  December 2014 and December 2015.

        134. The graph below similarly shows the price hikes of Propranolol HCL

  sustained release capsules manufactured by Allergan, Mylan and other Co-

  Conspirators in late 2013:




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                         2.4


                         2.2


                         2.0
    Price per Unit ($)




                         1.8


                         1.6


                         1.4


                         1.2


                         1.0



                                    Breckenridge   Actavis Pharma   Ani/Rouses      Ani Pharma   Upsher-Smith   Mylan




                               135. This drastic increase in the price of Propranolol HCL sustained release

  capsules occurred shortly after and/or in conjunction with the GPhA 2013 Fall

  Technical Conference in October 2013.

                               136. In addition, Allergan and its Co-Conspirators raised the price of

  Propranolol HCL tablets by as much as 1,200% between December 2014 and

  December 2015. The drastic increase in the price of Propranolol HCL 10mg tablets

  occurred shortly after and/or in conjunction with the following trade association

  meetings:

                               •      GPhA 2015 Annual Meeting in February 2015 attended by
                                      representatives from Allergan, Heritage, Mylan and other Co-
                                      Conspirators;

                               •      NACDS 2015 Annual Meeting in April 2015 attended by representatives
                                      from Allergan (including Boyer and Falkin) and representatives from
                                      Mylan, along with representatives from other Co-Conspirators;

                               •      GPhA 2015 CMC Workshop in June 2015 attended by representatives
                                      from Allergan, Heritage, Impax, Mylan and other Co-Conspirators;


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        •     HDA 2015 BLC in June 2015 attended by representatives from Allergan
              (including Boyer, Falkin and Rogerson) and representatives from Mylan
              and Heritage, along with representatives from other Co-Conspirators;
              and

        •     NACDS 2015 Total Store Expo in August 2015 attended by
              representatives from Allergan (including Boyer, Falkin and Rogerson)
              and representatives from Mylan and Heritage, along with representatives
              from other Co-Conspirators.

        137. The drastic increase in the price of Propranolol HCL 20mg tablets

  occurred shortly after and/or in conjunction with the following trade association

  meetings:

        •     GPhA 2015 Annual Meeting in February 2015 attended by
              representatives from Allergan, Heritage, Mylan and other Co-
              Conspirators;

        •     NACDS 2015 Annual Meeting in April 2015 attended by representatives
              from Allergan (including Boyer and Falkin) and representatives from
              Mylan, along with representatives from other Co-Conspirators;

        •     GPhA 2015 CMC Workshop in June 2015 attended by representatives
              from Allergan, Heritage, Impax, Mylan and other Co-Conspirators;

        •     HDA 2015 BLC in June 2015 attended by representatives from Allergan
              (including Boyer, Falkin and Rogerson) and representatives from Mylan
              and Heritage, along with representatives from other Co-Conspirators;
              and

        •     NACDS 2015 Total Store Expo in August 2015 attended by
              representatives from Allergan (including Boyer, Falkin and Rogerson)
              and representatives from Mylan and Heritage, along with representatives
              from other Co-Conspirators.




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        138. The drastic increase in the price of Propranolol HCL 80mg tablets

  occurred shortly after and/or in conjunction with the following trade association

  meetings:

        •      GPhA 2015 Annual Meeting in February 2015 attended by
               representatives from Allergan, Heritage, Mylan and other Co-
               Conspirators;

        •      NACDS 2015 Annual Meeting in April 2015 attended by representatives
               from Allergan (including Boyer and Falkin) and representatives from
               Mylan, along with representatives from other Co-Conspirators;

        •      GPhA 2015 CMC Workshop in June 2015 attended by representatives
               from Allergan, Heritage, Impax, Mylan and other Co-Conspirators;

        •      HDA 2015 BLC in June 2015 attended by representatives from Allergan,
               (including Boyer, Falkin and Rogerson) and representatives from Mylan
               and Heritage, along with representatives from other Co-Conspirators;
               and

        •      NACDS 2015 Total Store Expo in August 2015 attended by
               representatives from Allergan (including Boyer, Falkin and Rogerson)
               and representatives from Mylan and Heritage, along with representatives
               from other Co-Conspirators.

                     b.     No Commercial Justification for Price Hikes
        139. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Propranolol was reported during the relevant time period. In addition, there was no

  significant increase in the demand for Propranolol or in the drug’s production costs

  that would explain the enormous price increase. Even if there was such a benign


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  market explanation for the price increase, at no point following the initial spike did the

  price return to the pre-spike equilibrium price point.

        140. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for generic Propranolol, each Co-Conspirator risked getting undercut by the

  others, leading to a loss of market share and a loss of revenue. This risk was

  alleviated by the Co-Conspirators’ agreement to raise and maintain their prices for

  generic Propranolol.

                      c.     The Market for Generic Propranolol HCL Was
                             Susceptible to Anticompetitive Conduct
                             (1)    Market Concentration
        141. In 2014 and 2015, the markets for generic Propranolol HCL were highly

  concentrated, as demonstrated by the HHI calculations below:

                                                         2014 HHI      2015 HHI
           Propranolol HCL 10mg tablets                    2,444         2,786
           Propranolol HCL 20mg tablets                    2,506         3,034
           Propranolol HCL 80mg tablets                    2,514         2,684
           Propranolol HCL Sustained Release Capsules      4,446         3,569


        142. At the time of the price hike, Allergan and its Co-Conspirators combined

  to account for more than 75% of the total markets for generic Propranolol HCL 10mg,

  20mg and 80mg tablets and almost 100% of the total market for Propranolol HCL

  sustained release capsules, as set forth in the chart below.

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                                   Propranolol HCL Sustained Release Capsules: Total
                                                     Quantity %
                            100%

                            90%

                            80%

                            70%
         Total Quantity %




                            60%

                            50%

                            40%

                            30%

                            20%

                             10%

                             0%



                                    Breckenridge   Actavis Pharma   Ani/Rouses   Ani Pharma   Upsher-Smith   Mylan



                                               (2)       Significant Barriers to Entry
        143. As mentioned above, the barriers to entry into the markets for generic

  Propranolol HCL included high manufacturing costs as well as certain regulatory and

  intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the market

  by an average of 36 months.

                                               (3)       Lack of Available Substitutes
        144. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Propranolol and brand-name Propranolol for a given dosage are AB-rated to one

  another. Therefore, a pharmacist can only fill a prescription for Propranolol with the

  brand-name version or one of the AB-rated generic versions and cannot substitute

  another drug.

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                            (4)   Commodity-Like Product
        145. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Generic Propranolol is no exception. The FDA-

  approved versions of generic Propranolol HCL manufactured by the Co-Conspirators

  each has an “AB” rating. Thus, pharmacists are able to substitute one manufacturer’s

  generic version of Propranolol for another.

                            (5)   Inelastic Demand
        146. The generic Propranolol market was characterized by nearly perfect

  inelastic demand with Ed measured at close to zero. For example, at the time of the

  collusive price-fixing, the market for generic Propranolol sustained release capsules

  was so inelastic that the dramatic price increase had no negative effect on sales

  whatsoever and the quantities sold actually increased by 2%. As a result, the

  coordinated price hike translated immediately and directly into collusive revenues

  shared by Allergan and its Co-Conspirators.

                            (6)   Absence of Competitive Sellers
        147. In the case of generic Propranolol sustained release capsules and

  Propranolol HCL 10mg, 20mg and 80mg tablets, there was no realistic threat that

  minor market participants would take market share from Allergan and its Co-

  Conspirators. The dominance of Allergan and the Co-Conspirators facilitated their

  ability to raise prices without losing market share to minor market participants.

  Indeed, following the dramatic price increases discussed above, neither Allergan nor

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  the Co-Conspirators were willing to meaningfully undercut prices to gain market

  share, thereby further demonstrating the absence of a competitive market.

        148. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. For

  example, the Propranolol sustained release capsules’ price increases by the Co-

  Conspirators for the period from May 2013 to December 2016 were so uniform that

  they registered at 86% to 98% correlation. Under the collusion scheme, after the price

  hike, the volatility of Allergan’s price for the drug steadily declined from 10.8% in

  2013 to 0.6% in 2016 as prices were sustained at heightened levels. Allergan’s market

  share remained uncharacteristically stable despite the price hike, with an annual

  standard deviation ranging from a mere 2.1% to 9.0% during the Relevant Period.

                      d.     Collusive Revenue
        149. Collusive revenue represents the amount of additional revenue that

  Allergan received due to anticompetitive behavior. This is calculated by taking the

  difference between the actual price Allergan received minus the “but for” price and

  multiplied by the actual quantity sold. The “but for” price is based on three distinct

  methodologies: (i) “But for” Price Regression; (ii) “But for” Price Regression + CPI;

  and (iii) “But for” Price Average Drug Price Trend. These three values are depicted,

  respectively, by the first three bars for each year on the collusive revenue chart below.




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        150. As a result of the price hikes in Propranolol, Allergan improperly

  recognized over $91 million of collusive revenue 13 between 2014 and 2016:

                                                                        Total Yearly Collusive Revenue
                                                   70

                                                   60
         Collusive Revenue ($m)




                                                   50

                                                   40

                                                   30

                                                   20

                                                   10

                                                    0
                                                                        2014                                2015                              2016
                                  (1) Collusive Revenue                 59.8                                32.3                              21.2
                                  (2) Collusive Revenue                 58.3                                31.0                              19.0
                                  (3) Collusive Revenue                 46 .3                                5.6                                -
                                  Average                               54.8                                23.0                              13.4

                                                            (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                          5.              Ursodiol
        151. Ursodiol, or ursodeoxycholic acid, is a bile acid used to treat gallbladder

  stones and is usually prescribed to patients with small gallstones who cannot undergo

  gallbladder surgery. The drug decreases the amount of cholesterol produced by the

  liver and absorbed by the intestines and helps to break down cholesterol that has

  formed into gallstones. Generic versions of Ursodiol in capsule form have been on

  the market since 2000. Allergan listed Ursodiol as one of the “key products” that

  made up “a majority of product sales for North American Generics” for 2014 in the

  Company’s 2014 Form 10-K.


  13
     The average of all three methodologies – depicted as the fourth bar in the collusive
  revenue chart – is used infra for the purposes of aggregating revenue throughout the
  Relevant Period.

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                                          a.    The Co-Conspirators’ Price Hikes
        152. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and maintain the prices of Ursodiol, beginning in early

  2014. For example, as demonstrated below, Allergan and co-conspirators Epic and

  Lannett raised the prices of Ursodiol capsules by almost 1,200%.

        153. The graph below shows the price hikes of Ursodiol capsules

  manufactured by Allergan, Epic and Lannett between December 2010 and

  October 2016:

                                                  Ursodiol Capsule: Price per Unit
                              6.0


                              5.0


                              4.0
         Price per Unit ($)




                              3.0


                              2.0


                              1.0


                               -



                                                    Lannett   Actavis Pharma   Epic Pharma Llc




        154. The drastic increase in the price of Ursodiol capsules occurred shortly

  after and/or in conjunction with the following trade association meetings:

        •                           GPhA 2014 Annual Meeting in February 2014 attended by
                                    representatives from Allergan, Epic and other Co-Conspirators;

        •                           NACDS 2014 Annual Meeting in April 2014 attended by representatives
                                    from Allergan (including Boyer and Falkin) and certain Co-Conspirators;



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        •      GPhA 2014 CMC Workshop in June 2014 attended by representatives
               from Allergan, Lannett and other Co-Conspirators;

        •      HDA 2014 BLC in June 2014 attended by representatives from Allergan
               (including Falkin) and certain Co-Conspirators;

        •      NACDS 2014 Total Store Expo in August 2014 attended by
               representatives from Allergan (including Boyer, Falkin and Rogerson)
               and certain Co-Conspirators; and

        •      In addition to these industry meetings, the AG Complaint describes a
               dinner at a steakhouse in Bridgewater, New Jersey in January 2014, just
               before the price for Ursodiol skyrocketed. The dinner was attended by
               high-ranking executives from Allergan, Lannett and other generic
               manufacturers.

                      b.     No Commercial Justification for Price Hikes
        155. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Ursodiol was reported during the relevant time period. In addition, there was no

  significant increase in the demand for Ursodiol or in the drug’s production costs that

  would explain the enormous price increase. Even if there was such a benign market

  explanation for the price increase, at no point following the initial spike did the price

  return to the pre-spike equilibrium price point.

        156. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for generic Ursodiol, each Co-Conspirator risked getting undercut by the others,

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  leading to a loss of market share and a loss of revenue. This risk was alleviated by the

  Co-Conspirators’ agreement to raise and maintain their prices for generic Ursodiol.

                                             c.           The Market for Generic Ursodiol Capsules Was
                                                          Susceptible to Anticompetitive Conduct

                                                          (1)            Market Concentration
        157. In 2014, the market for generic Ursodiol capsules was highly

  concentrated, as demonstrated by the HHI calculation below:

                                                                                                                 2014 HHI
                                              Ursodiol 300mg capsules                                              3,579


        158. During this period, Allergan and co-conspirators Epic and Lannett

  combined to account for more than 95% of the total market for generic Ursodiol

  capsules, as shown in the chart below:

                                                             Ursodiol Capsule: Total Sales %
                         100%

                         90%

                         80%

                         70%
         Total Sales %




                         60%

                         50%

                         40%

                         30%

                         20%

                          10%

                          0%



                            Lannett   Actavis Pharma   Epic Pharma Llc   Mylan   Tagi Pharma   Allerga/Actavis   Teva Usa   Rising Pharma   Actavis Totowa




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                            (2)   Significant Barriers to Entry
        159. As mentioned above, the barriers to entry into the market for generic

  Ursodiol capsules included high manufacturing costs as well as certain regulatory and

  intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the market

  by an average of 36 months.

        160. Further discouraging new entrants into the market for generic Ursodiol

  capsules is the relatively small size of the worldwide market for the drug.

                            (3)   Lack of Available Substitutes
        161. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Ursodiol and brand-name Ursodiol for a given dosage are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for Ursodiol with the brand-name

  version or one of the AB-rated generic versions and cannot substitute another drug.

                            (4)   Commodity-Like Product
        162. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Generic Ursodiol is no exception. The FDA-

  approved versions of generic Ursodiol capsules manufactured by co-conspirators

  Allergan, Epic and Lannett each has an “AB” rating. Thus, pharmacists are able to

  substitute one manufacturer’s generic version of Ursodiol for another.



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                             (5)    Inelastic Demand
        163. The generic Ursodiol market was characterized by nearly perfect inelastic

  demand with Ed measured at close to zero. For example, at the time of the collusive

  price fixing, the market for generic Ursodiol capsules was so inelastic that the

  dramatic price increase had negligible effect on sales with the quantities sold declining

  by a mere 1%. As a result, the coordinated price hike translated immediately and

  directly into collusive revenues shared by Allergan and its Co-Conspirators.

                             (6)    Absence of Competitive Sellers
        164. In the case of generic Ursodiol capsules, there was no realistic threat that

  the other market participants, who collectively contributed less than 5% of the total

  generic Ursodiol capsule sales, would take market share from Allergan and co-

  conspirators Epic and Lannett. The dominance of Allergan and the Co-Conspirators

  facilitated their ability to raise prices without losing market share to non-conspirators.

  Moreover, following the dramatic price increases in the second half of 2014, discussed

  above, neither Allergan nor the Co-Conspirators were willing to meaningfully

  undercut prices to gain market share, thereby further demonstrating the absence of a

  competitive market.

        165. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. The

  Ursodiol capsules’ price increases by the Co-Conspirators from 2014 to 2016 were so



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  uniform that they registered at 88% to 97% correlation. Under the collusion scheme,

  after the price hike, the volatility of Allergan’s price for the drug went from 35% in

  2014 to 0% in 2016, as prices were sustained at heightened levels. Allergan’s market

  share remained uncharacteristically stable despite the price hike, with an annual

  standard deviation ranging from a mere 0.8% to 11.0% during the Relevant Period.

                                                        d.         Collusive Revenue
                       166. As a result of the price hikes in Ursodiol, Allergan improperly recognized

  over $189 million of collusive revenue between 2014 and 2016:

                                                                     Total Yearly Collusive Revenue
                                                 80

                                                 70
       Collusive Revenue ($m)




                                                 60

                                                 50

                                                 40

                                                 30

                                                 20

                                                 10

                                                  0
                                                                     2014                                2015                              2016
                                (1) Collusive Revenue                69.5                                74.5                              48.3
                                (2) Collusive Revenue                69.5                                74.5                              48.1
                                (3) Collusive Revenue                69.1                                71.2                              43.5
                                Average                              69.4                                73.4                              46 .6

                                                         (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                           6.           Doxycycline
                       167. Patented in 1957 and put into commercial use in 1967, Doxycycline is a

  broad-spectrum antibiotic in the tetracycline class. Doxycycline is commonly

  produced in two salt forms: hyclate and monohydrate. Doxycycline is used to treat a

  variety of bacterial infections, including pneumonia, acne, chlamydia, Lyme disease,


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  cholera and syphilis. Doxycycline, in combination with quinine, is also used to treat

  malaria. Doxycycline is included on the Core List within the WHO’s Model List of

  Essential Medicines. Allergan listed doxycycline hyclate as a “key product” in the

  Company’s 2013 Form 10-K and December 5, 2014 Form 8-K. For 2014, the drug

  was one of the “key products” that made up “a majority of product sales for North

  American Generics,” according to the 2014 Forms 10-K.

                                    a.   The Co-Conspirators’ Price Hikes
        168. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and maintain the prices of Doxycycline beginning in

  early 2013. For example, Allergan, Mutual and West-Ward raised the prices of

  Doxycycline capsules and by as much as 5,000%.

        169. The graph below shows the price hikes of Doxycycline manufactured by

  Allergan, Sun and West-Ward from January 2012 to July 2014:

                              5.0

                              4.5

                              4.0

                              3.5
         Price per Unit ($)




                              3.0

                              2.5

                              2.0

                              1.5

                              1.0

                              0.5

                               -



                                           West-Ward Inc    Sun Pharma   Actavis Pharma




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        170. This drastic increase in the price of Doxycycline capsules occurred in

  conjunction with the GPhA 2013 Annual Meetings in October 2012 and

  February 2013 attended by representatives from Allergan (including Olafsson) and

  other Co-Conspirators.

                     b.     No Commercial Justification for Price Hikes
        171. There were no reported shortages of Doxycycline that justified the drastic

  price increases discussed above. While the FDA did report a shortage of Doxycycline

  in January 2013, this shortage cannot explain the significant price increases because,

  among other reasons, the Doxycycline prices did not return to the pre-shortage levels

  following the resolution of the shortage in October 2013. Indeed, Allergan’s price

  immediately before the shortage was significantly lower and never returned to this

  level after March 2013. There were also no significant increases in the demand for

  this drug that would explain the enormous price increases.

        172. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for generic Doxycycline, each Co-Conspirator risked getting undercut by the

  others, leading to a loss of market share and a loss of revenue. This risk was

  alleviated by the Co-Conspirators’ agreement to raise and maintain their prices for

  generic Doxycycline.


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                                    c.         The Market for Generic Doxycycline Was
                                               Susceptible to Anticompetitive Conduct

                                               (1)        High Level of Market Concentration
        173. In 2012 and 2013, the market for generic Doxycycline capsules was

  highly concentrated, as demonstrated by the HHI calculation below:

                                                                                         2012 HHI                     2013 HHI
                        Doxycycline capsules                                                3,187                      2,550


        174. During this period, Allergan and the Co-Conspirators combined to

  account for almost 100% of the total market for generic Doxycycline, as shown in the

  charts below:

                                      Doxycycline Hyclate Capsules: Total Sales %
                        100%

                        90%

                        80%

                        70%
        Total Sales %




                        60%

                        50%

                        40 %

                        30%

                        20%

                         10%

                         0%



                                      West-Ward Inc   Sun Pharma       Actavis Pharma   Amneal Pharma   Alvogen Inc
                                      Harris Pharma   Mhc Pharma Llc   Cipla Usa Inc    Citron Pharma   Mylan




                                               (2)        Significant Barriers to Entry
        175. As mentioned above, the barriers to entry into the market for generic

  Doxycycline capsules included high manufacturing costs as well as certain regulatory

  and intellectual property barriers. For example, the requirement that generic drug



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  companies file an ANDA and receive FDA approval can delay entry into the markets

  for generic Doxycycline by an average of 36 months.

                            (3)    Lack of Available Substitutes
        176. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Doxycycline and brand-name Doxycycline for a given dosage are AB-rated to one

  another. Therefore, a pharmacist can only fill a prescription for Doxycycline with the

  brand-name version or one of the AB-rated generic versions and cannot substitute

  another drug.

                            (4)    Commodity-Like Product
        177. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Generic doxycycline hyclate is no exception. The

  FDA-approved versions of generic doxycycline hyclate manufactured by co-

  conspirators Allergan, Sun and West-Ward each has an “AB” rating.               Thus,

  pharmacists are able to substitute one manufacturer’s generic version of doxycycline

  hyclate for another.

                            (5)    Inelastic Demand
        178. The generic Doxycycline market was characterized by nearly perfect

  inelastic demand with Ed measured at close to zero. For example, at the time of the

  collusive price fixing, the market for generic Doxycycline capsules was so inelastic

  that the dramatic price increase had negligible effect on sales, with quantities sold

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  declining by only 3%. As a result, the coordinated price hike translated immediately

  and directly into collusive revenues shared by Allergan and its Co-Conspirators.

                             (6)    Absence of Competitive Sellers
        179. In the case of generic Doxycycline capsules, there was no realistic threat

  that the other small market participants would take market share from Allergan and

  co-conspirators Sun and West-Ward. The dominance of Allergan and the Co-

  Conspirators facilitated their ability to raise prices without losing market share to non-

  conspirators. Moreover, following the dramatic price increases in early 2013,

  discussed above, neither Allergan nor the Co-Conspirators were willing to

  meaningfully undercut prices to gain market share, thereby further demonstrating the

  absence of a competitive market.

        180. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. The

  Doxycycline capsules’ price increases by the Co-Conspirators were so uniform that

  they registered at 90% to 99% correlation. Under the collusion scheme, after the price

  hike, the volatility of Allergan’s price for the drug went from 29% to 0.8% as prices

  were sustained at heightened levels.               Allergan’s market share remained

  uncharacteristically stable despite the price hike, with an annual standard deviation

  ranging from a mere 0.8% to 11.6% during the Relevant Period.




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                                                          d.            Collusive Revenue
        181. As a result of the price hikes in Doxycycline, Allergan improperly

  recognized over $574 million of collusive revenue between 2013 and 2016:

                                                                           Total Yearly Collusive Revenue
                                                  300


                                                  250
         Collusive Revenue ($m)




                                                 200


                                                  150


                                                  100


                                                   50


                                                    0
                                                                      2013                        2014                        2015               2016
                                  (1) Collusive Revenue               243.2                       208.4                       83.5               44.0
                                  (2) Collusive Revenue               243.0                       208.0                       83.3               43.8
                                  (3) Collusive Revenue               242.1                       203.8                       79.8               40 .4
                                  Average                             242.7                       206.7                       82.2               42.7

                                                               (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                          7.              Desonide
        182. Desonide is a mild topical corticosteroid produced in cream, gel and

  ointment form. Desonide is used to treat a variety of skin conditions, including

  eczema, seborrheic and contact dermatitis, allergies and psoriasis, and works by

  reducing the swelling, itching and redness that accompanies these conditions.

  Allergan listed Desonide lotion and cream as “key products” in the Company’s 2013

  Form 10-K and December 5, 2014 Form 8-K. For 2014, the drug was listed as one of

  the “key products” that made up “a majority of product sales for North American

  Generics,” according to the 2014 Form 10-K.




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                                     a.   The Co-Conspirators’ Price Hikes
        183. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and/or maintain the prices of Desonide. Between March

  and September of 2013, co-conspirators Taro and Perrigo raised the price of Desonide

  cream by as much as 470%. Allergan entered the Desonide cream market after the

  price hike in September 2013 and, despite the new competition, the price remained

  inflated, strongly suggesting that Allergan joined the conspiracy. Similarly, Allergan

  raised prices of Desonide lotion along with its Co-Conspirators more than 442%

  between June 2011 and September 2013. Allergan and its Co-Conspirators first hiked

  prices of Desonide lotion in 2011 and, as reflected in the chart below, more than

  doubled the already inflated price again in the middle of 2013

        184. The graph below shows the price hikes of Desonide lotion manufactured

  by Taro, Fougera Pharmaceuticals (“Fougera”) and Allergan between January 2012

  and May 2017:
                               4.0

                               3.5

                               3.0
          Price per Unit ($)




                               2.5

                               2.0

                               1.5

                               1.0

                               0.5

                                -



                                           Actavis Pharma   Taro Pharm Usa   Fougera/Sandoz




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        185. These drastic increases in the price of generic Desonide lotion and

  Allergan’s entrance into the market at an inflated price occurred shortly after the

  GPhA 2013 Annual Meeting in February 2013 attended by representatives from

  Allergan (including Olafsson) and other Co-Conspirators, the NACDS 2013 Annual

  Meeting in April 2013 attended by representatives from Allergan (including Bisaro

  and Boyer) and certain Co-Conspirators, and the GPhA 2013 CMC Workshop in

  June 2013 attended by representatives from Allergan and other Co-Conspirators.

                      b.     No Commercial Justification for Price Hikes
        186. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Desonide was reported during the relevant time period. In addition, there was no

  significant increase in the demand for Desonide or in the drug’s production costs that

  would explain the enormous price increase. Even if there was such a benign market

  explanation for the price increase, at no point following the initial spike did the price

  return to the pre-spike equilibrium price point.

        187. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for generic Desonide, each Co-Conspirator risked getting undercut by the


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  others, leading to a loss of market share and a loss of revenue. This risk was

  alleviated by the Co-Conspirators’ agreement to raise and maintain their prices for

  generic Desonide.

                                   c.            The Market for Generic Desonide Was
                                                 Susceptible to Anticompetitive Conduct

                                                 (1)       High Level of Market Concentration
        188. From 2011 to 2014, the market for generic Desonide lotion was highly

  concentrated, as demonstrated by the HHI calculation below:

                                                          2011 HHI                  2012 HHI            2013 HHI          2014 HHI
   Desonide 0.05% 15gm tube                                   5,190                  5,163                  8,738          5,551


        189. During this period, Allergan and the Co-Conspirators combined to

  account for almost 100% of the total market for generic Desonide lotion:

                                             Desonide Topical Lotion: Total Sales %
                         100%

                         90%

                         80%

                         70%
         Total Sales %




                         60%

                         50%

                         40%

                         30%

                         20%

                          10%

                          0%



                                Actavis Pharma    Taro Pharm Usa   Fougera/Sandoz     Galderma   Owen Labs Inc   Glades




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                            (2)   Significant Barriers to Entry
        190. As mentioned above, the barriers to entry into the market for generic

  Desonide included high manufacturing costs as well as certain regulatory and

  intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the market

  by an average of 36 months.

                            (3)   Lack of Available Substitutes
        191. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Desonide and brand-name Desonide for a given dosage are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for Desonide with the brand-name

  version or one of the AB-rated generic versions and cannot substitute another drug.

                            (4)   Commodity-Like Product
        192. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Generic Desonide is no exception. The FDA-

  approved versions of generic Desonide manufactured by Allergan and the Co-

  Conspirators each has an “AB” rating. Thus, pharmacists are able to substitute one

  manufacturer’s generic version of Desonide for another.

                            (5)   Inelastic Demand
        193. The generic Desonide market was characterized by highly inelastic

  demand with Ed measured at -0.197. For example, at the time of the collusive price

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  fixing, the market for generic Desonide was so inelastic that the dramatic price

  increase had only a small effect on sales, with quantities sold declining by 12%. As a

  result, the coordinated price hike translated immediately and directly into collusive

  revenues shared by Allergan and its Co-Conspirators.

                             (6)    Absence of Competitive Sellers
        194. In the case of generic Desonide lotion and cream, there were no other

  market participants who could take market share from Allergan and co-conspirators

  Perrigo, Taro and Fougera. The complete dominance of Allergan and the Co-

  Conspirators facilitated their ability to raise prices without losing market share to non-

  conspirators. Moreover, following the dramatic price increases, discussed above,

  neither Allergan nor the Co-Conspirators were willing to meaningfully undercut prices

  to gain market share, thereby further demonstrating the absence of a competitive

  market.

        195. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. The

  Desonide lotion’s price increases by the Co-Conspirators were so uniform that they

  registered at close to 78% correlation. Under the collusion scheme, after the price

  hike, the volatility of Allergan’s price for the drug went from 33.8% in 2013 to 0.6%

  in 2016, as prices were sustained at heightened levels. Allergan’s market share




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  remained uncharacteristically stable despite the price hike, with an annual standard

  deviation ranging from a mere 0.7% to 7.7% during the Relevant Period.

                                                        d.         Collusive Revenue
                       196. As a result of the price hikes in Desonide lotion, Allergan improperly

  recognized almost $16 million of collusive revenue between 2013 and 2016:

                                                                     Total Yearly Collusive Revenue
                                                  12


                                                 10
       Collusive Revenue ($m)




                                                  8


                                                  6


                                                  4


                                                  2


                                                  0
                                                                2013                        2014                        2015               2016
                                (1) Collusive Revenue            1.3                         9.6                         6.6                3.3
                                (2) Collusive Revenue            1.3                         9.4                         6.3                2.9
                                (3) Collusive Revenue            1.2                         4.6                         0.1                 -
                                Average                          1.3                         7.9                         4.3                2.1

                                                         (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average



                                           8.           Tretinoin
                       197. Tretinoin is a medication used for the treatment of acne. Allergan sold

  generic versions of Tretinoin during the Relevant Period.

                                                        a.         The Co-Conspirators’ Price Hikes
                       198. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and maintain the prices of Tretinoin external cream

  beginning in early 2014. For example, as demonstrated by the graph and table below,



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  Allergan and co-conspirator Perrigo raised the prices of Tretinoin cream by over

  190%.

        199. The graph below shows the Tretinoin external cream price hikes during

  the Relevant Period:

                                 8.0


                                 7.0


                                 6.0
            Price per Unit ($)




                                 5.0


                                 4.0


                                 3.0


                                 2.0


                                 1.0


                                  -



                                        Spear Derm Prod    Perrigo/Rouses   Perrigo Co   Actavis Pharma   Valeant   Mylan




        200. This drastic increase in the price of Tretinoin external cream occurred

  shortly after and/or in conjunction with the following trade association meetings:

        •                              GPhA 2014 Fall Technical Conference in October 2013 attended by
                                       representatives from Allergan and other Co-Conspirators; and

        •                              GPhA Annual Meeting in February 2014 attended by representatives
                                       from Allergan and other Co-Conspirators.

                                                 b.       No Commercial Justification for Price Hikes
        201. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Tretinoin external cream was reported during the relevant time period. In addition,

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  there was no significant increase in the demand for Tretinoin external cream or in the

  drug’s production costs that would explain the enormous price increase. Even if there

  was such a benign market explanation for the price increase, at no point following the

  initial spike did the price return to the pre-spike equilibrium price point.

        202. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for generic Tretinoin external cream, each Co-Conspirator risked getting

  undercut by the others, leading to a loss of market share and a loss of revenue. This

  risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their

  prices for generic Tretinoin.

                        c.   The Market for Generic Tretinoin External
                             Cream Was Susceptible to Anticompetitive
                             Conduct
                             (1)    High Level of Market Concentration
        203. In 2014, the market for generic Tretinoin external cream was highly

  concentrated, as demonstrated by the HHI calculation below:

                                                           2014 HHI
                    Tretinoin external cream                 3,977


        204. During this period, Allergan and Co-Conspirators combined to account

  for more than 90% of the total market for generic Tretinoin external cream, as shown

  in the chart below:

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                                                   Tretinoin : Total Sales %
                       100%

                       90%

                       80%

                       70%
       Total Sales %




                       60%

                       50%

                       40%

                       30%

                       20%

                        10%

                        0%



                                         Perrigo/Rouses   Spear Derm Prod   Actavis Pharma   Valeant



                                           (2)        Significant Barriers to Entry
                       205. As mentioned above, the barriers to entry into the market for generic

  Tretinoin external cream included high manufacturing costs as well as certain

  regulatory and intellectual property barriers. For example, the requirement that

  generic drug companies file an ANDA and receive FDA approval can delay entry into

  the market by an average of 36 months.

                                           (3)        Lack of Available Substitutes
                       206. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Tretinoin and brand-name Tretinoin for a given dosage are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for Tretinoin with the brand-name

  version or one of the AB-rated generic versions and cannot substitute another drug.




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                             (4)    Commodity-Like Product
        207. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Generic Tretinoin is no exception. The FDA-

  approved versions of generic Tretinoin external cream manufactured by the Co-

  Conspirators each has an “AB” rating. Thus, pharmacists are able to substitute one

  manufacturer’s generic version of Tretinoin for another.

                             (5)    Inelastic Demand
        208. The generic Tretinoin external cream market was characterized by nearly

  perfect inelastic demand with Ed measured at close to zero. For example, at the time

  of the collusive price fixing, the market for generic Tretinoin external cream was so

  inelastic that the dramatic price increase had negligible effect on sales, with quantities

  sold declining by a mere 1%. As a result, the coordinated price hike translated

  immediately and directly into collusive revenues shared by Allergan and its Co-

  Conspirators.

                             (6)    Absence of Competitive Sellers
        209. In the case of generic Tretinoin external cream, there was no realistic

  threat that the other small market participants would take market share from Allergan

  and the Co-Conspirators. The dominance of Allergan and the Co-Conspirators

  facilitated their ability to raise prices without losing market share to non-conspirators.

  Moreover, following the dramatic price increases in early 2014, discussed above,

  neither Allergan nor the Co-Conspirators were willing to meaningfully undercut prices

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  to gain market share, thereby further demonstrating the absence of a competitive

  market.

        210. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. The

  Tretinoin external cream’s price increases by the Co-Conspirators were so uniform

  that they registered at 82% to 95% correlation between 2013 and 2016. Under the

  collusion scheme, after the price hike, the volatility of Allergan’s price for the drug

  went from 49.4% in 2014 to 0.5% in 2016, as prices were sustained at heightened

  levels. Allergan’s market shares remained uncharacteristically stable despite the price

  hike, with an annual standard deviation declining from 2.9% to 0.5% during the

  Relevant Period.

                      d.    Collusive Revenue
        211. As a result of the price hikes in Tretinoin, Allergan improperly

  recognized over $59 million of collusive revenue between 2014 and 2016:




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                                                                      Total Yearly Collusive Revenue
                                                  25



                                                  20
        Collusive Revenue ($m)




                                                   15



                                                  10



                                                   5



                                                   0
                                                                       2014                               2015                              2016
                                 (1) Collusive Revenue                 16.0                               23.5                              23.7
                                 (2) Collusive Revenue                 16.0                               23.5                              23.4
                                 (3) Collusive Revenue                 15.0                               19.6                              17.2
                                 Average                               15.7                               22.2                              21.4

                                                          (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average



                                           9.            Clobetasol Propionate Topical Cream
            212. Clobetasol is a corticosteroid used for the reduction of redness, swelling

  and itching associated with dermatological conditions such as allergies, eczema, and

  dermatitis. It is the generic version of the Temovate topical cream.

                                                         a.         The Co-Conspirators’ Price Hikes
            213. Allergan and the Co-Conspirators engaged in anticompetitive conduct by

  colluding to improperly raise and maintain the prices of Clobetasol topical cream

  beginning in May 2014. For example, as demonstrated by the graph below, Allergan,

  Taro, Sandoz, and Akorn raised the prices of Clobetasol by over 670% – with

  Allergan taking its Clobetasol price to $6.66 per unit in March 2015, similar to the

  levels set by the Co-Conspirators in May to July 2014.

            214. The graph below shows the Clobetasol topical cream price hikes during

  the Relevant Period:

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         215. This drastic increase in the price of Clobetasol external cream occurred

  shortly after and/or in conjunction with the following trade association meetings:

                             Allergan Attendees
        Conference                                       Co-Conspirator Attendees Including:
                                  Including:
   GPhA 2014 Annual         Allergan                Akorn/Hi-Tech
   Meeting, Orlando, FL
   (February 19-21, 2014)                           Sandoz: Sattler

                                                    Taro
   NACDS 2014 Annual        Defendants Bisaro and   Taro: Aprahamian, Perfetto, Likvornik, Ivey
   Meeting, Scottsdale,     Olafsson, and Falkin,
   AZ (April 26-29, 2014)   Boyer, Stewart          Sandoz: Greenstein, Kellum, Hasija, Goldschmidt
   HDMA 2014 Business       Falkin, Boyer,          Taro: Shah
   and Leadership           Rogerson, Giannone
   Conference, Phoenix,                             Akorn/Hi-Tech
   AZ (June 1-4, 2014)
                                                    Sandoz: Greenstein, Badura, Hasija, Walsh,
                                                    Lubke, Picard, Bihari




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                             Allergan Attendees
        Conference                                           Co-Conspirator Attendees Including:
                                  Including:
   NACDS, Boston, MA        Defendant Buchen,         Taro: Aprahamian, Perfetto, Brick, Kriel,
   (August 23-26, 2014)     Falkin, Rogerson,         Urbanski, Likvornik
                            Boyer, Slavsky,
                            Giannone, Dorsey,         Akorn/Hi-Tech: Berrios, Corley, Kronovich,
                            Clark, Reed               McCanna, Rai, Sabat, Tranter

                                                      Sandoz: Greenstein, Kellum, Badura, Bihari,.
                                                      Hasija. Lubke, Smith, Verma, Walsh
   GPhA 2014 Fall           Allergan                  Taro
   Technical Conference,
   Bethesda, MD                                       Sandoz
   (October 27-29, 2014)
   2014 NACDS NYC           Defendant Saunders,       Sandoz: Kellum, Smith
   Week Annual              Falkin, Boyer, Reed
   Foundation Dinner,
   New York, NY
   (December 3, 2014)
   GPhA 2015 Annual         Allergan                  Akorn/Hi-Tech, Taro, Sandoz
   Meeting, Miami, FL
   (February 9-11, 2015)
   2015 HCSCA National      Fallon                    Taro
   Pharmacy Forum,
   Tampa, FL
   (February 16-18, 2015)
   ECRM’s Annual Retail     Allergan                  Akorn, Taro, Sandoz
   Pharmacy Efficient
   Program Planning
   (February 22-25, 2015)

         216. In addition to meeting in person, Allergan communicated with the co-

  conspirators frequently. Throughout the period of collusion and the Relevant Period,

  Allergan’s Falkin, Rogerson, Boyer and other executives communicated at least 120

  times with Taro’s Aprahamian and Perfetto and Sandoz’s Greenstein:

                                Co-Conspirator’s             Number of
      Allergan Executive                                                            Date
                                    Executive                Texts/Calls
      Marc Falkin           Ara Aprahamian (Taro)                21          4/17/2014 - 3/8/2016
      Marc Falkin           Michael Perfetto (Taro)               9         12/13/2013 - 8/4/2014
      Rick Rogerson         Ara Aprahamian (Taro)                 4         6/17/2013 - 4/16/2014
      Michael Dorsey        Ara Aprahamian (Taro)                52          3/19/2013 - 9/2/2016
      Andrew Boyer          Ara Aprahamian (Taro)                16         8/16/2013 - 4/19/2016
      Michael Baker         Ara Aprahamian (Taro)                12         5/13/2013 - 8/22/2015


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                                 Co-Conspirator’s         Number of
      Allergan Executive                                                        Date
                                     Executive            Texts/Calls
      Allan Slavsky          Ara Aprahamian (Taro)            1               1/9/2014
      Total Calls to Taro                                    115

      Marc Falkin            Steven Greenstein (Sandoz)       5         4/30/2014 - 6/23/2014

                        b.      No Commercial Justification for Price Hikes
        217. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Clobetasol cream was reported during the relevant time period. In addition, there

  was no significant increase in the demand for Clobetasol or in the drug’s production

  costs that would explain the enormous price increase. Even if there was such a benign

  market explanation for the price increase, at no point following the initial spike did the

  price return to the pre-spike equilibrium price point.

        218. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for Clobetasol cream, each Co-Conspirator risked getting undercut by the

  others, leading to a loss of market share and a loss of revenue. This risk was

  alleviated by the Co-Conspirators’ agreement to raise and maintain their prices for

  Clobetasol.




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                      c.     The Market for Clobetasol Topical Cream Was
                             Susceptible to Anticompetitive Conduct

                             (1)      High Level of Market Concentration

        219. In 2014-2015, the market for Clobetasol cream was highly concentrated,

  as demonstrated by the HHI calculation below:

                                                      2014 HHI    2015 HHI
           Clobetasol topical cream                    4,286          3,371


        220. During this period, Allergan and Co-Conspirators combined to account

  for close to the entirety of the market.

                             (2)      Significant Barriers to Entry

        221. As mentioned above, the barriers to entry into the market for Clobetasol

  topical cream included high manufacturing costs as well as certain regulatory and

  intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the market

  by an average of 36 months.

                             (3)      Lack of Available Substitutes

        222. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Clobetasol and brand-name Temovate for a given dosage are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for Clobetasol with the brand-




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  name version or one of the AB-rated generic versions and cannot substitute another

  drug.

                            (4)    Commodity-Like Product

          223. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Clobetasol is no exception. The FDA-approved

  versions of Clobetasol cream manufactured by the Co-Conspirators each has an “AB”

  rating. Thus, pharmacists are able to substitute one manufacturer’s generic version of

  Clobetasol for another.

                            (5)    Inelastic Demand

          224. The Clobetasol cream market was characterized by nearly perfect

  inelastic demand with Ed measured at close to zero. For example, at the time of the

  collusive price fixing, the market for Clobetasol cream was so inelastic that the

  dramatic price increase had no negative effect on demand – in fact, demand for

  Clobetasol cream continued to increase after the price hikes. As a result, the

  coordinated price hike translated immediately and directly into collusive revenues

  shared by Allergan and its Co-Conspirators.

                            (6)    Absence of Competitive Sellers

          225. In the case of Clobetasol cream, there was no realistic threat that the

  other small market participants would take market share from Allergan and the Co-

  Conspirators. The dominance of Allergan and the Co-Conspirators facilitated their



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  ability to raise prices without losing market share to non-conspirators. Moreover,

  following the dramatic price increases, neither Allergan nor the Co-Conspirators were

  willing to meaningfully undercut prices to gain market share, thereby further

  demonstrating the absence of a competitive market.

        226. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. Clobetasol

  cream’s price increases by the Co-Conspirators were so uniform that their pricing was

  highly correlated, with a 99% chance that the probability of “no correlation” can be

  rejected and that a relationship exists. Under the collusion scheme, after the price

  hike, the volatility of Allergan’s price for the drug went from more than 50% in 2014

  and 2015 to 0.2%-1.3% in 2016, as prices were sustained at heightened levels.

  Allergan’s market shares remained uncharacteristically stable despite the price hike,

  with an annual standard deviation declining from 7.1% to 1.6% during the Relevant

  Period.

                     d.     Collusive Revenue
        227. As a result of the price hikes in Clobetasol, Allergan improperly

  recognized over $80 million of collusive revenue between 2015 and 2016:




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               10.    Nystatin External Cream and Ointment
        228. Nystatin external cream and Nystatin external ointment (together,

  “Nystatin”) are antifungal topical treatments for dermatological infections. They are

  generic versions of the branded medications Mycostatin cream and Mycostatin

  ointment.

                      a.    The Co-Conspirators’ Price Hikes
        229. Between June and December 2011, Allergan and the Co-Conspirators

  engaged in anticompetitive conduct by colluding to improperly raise and maintain the

  prices of Nystatin. As demonstrated by the graph below, Allergan hiked the prices of

  the cream and ointment by close to 650% – taking prices of the cream from $0.10 to

  $0.73 per unit and the ointment from $0.10 to $0.74 per unit. Allergan increased the

  prices for both the cream and ointment to levels identical to those set by Perrigo when


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  it hiked prices of the cream and ointment in July 2011. For Nystatin cream, Taro and

  Par also hiked prices to similar levels in June and September 2011, respectively.

        230. Sandoz also increased its prices for the Nystatin ointment in July 2012

  and Nystatin cream in September 2013 to similar levels set by the Co-Conspirators.

        231. The graph below shows the Nystatin cream price hikes by Allergan, Par,

  Perrigo, Taro, and Sandoz:




        232. The graph below shows the Nystatin external ointment price hikes by

  Allergan, Perrigo, and Sandoz:




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         233. These drastic increase in the prices of Nystatin occurred shortly after

  and/or in conjunction with the following trade association meetings:

                           Allergan Attendees
        Conference                                      Co-Conspirator Attendees Including:
                                Including:
   NACDS Annual           Defendants Bisaro and    Perrigo: Kochan, McWilliams, Tomshack,
   Meeting, Scottsdale,   Olafsson, and Slavsky,   Wesolowski
   AZ (April 30-May 3,    Boyer, Baker
   2011)                                           Par: Campanelli, Altamuro, Kenney

                                                   Taro: Kedrowski, Josway, Seiden

                                                   Sandoz: Kellum, DeGolyer, George, Greenstein,
                                                   Krauthauser, Lubke
   HDMA 2011 Business     Baker, Shane             Par: Altamuro, Kenney, Bayer
   and Leadership
   Conference, Phoenix,                            Sandoz: Kellum, Greenstein, Krauthauser, Lubke,
   AZ (June 6-7, 2011)                             Tremonte
   NACDS 2011             Defendant Olafsson,      Perrigo: Kochan, Wesolowski, Felix, Polman,
   Pharmacy &             and Aprahamian,          Schott
   Technology Meeting,    Slavsky, Boyer, Baker,
   Boston, MA             Clark, Giannone,         Par: Campanelli, Altamuro, Kenney, Holden,
   (August 27-30, 2011)   Perfetto                 O’Conner, Bayer

                                                   Taro: Josway, Seiden, Brick

                                                   Sandoz: Kellum, DeGolyer, George, Greenstein,
                                                   Krauthauser, Lubke




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        234. In addition to meeting in person, Allergan communicated with the Co-

  Conspirators frequently. Throughout the period of collusion and the Relevant Period,

  Allergan’s Falkin, Rogerson, Boyer, and other executives communicated with Co-

  Conspirators over 170 times:

                                 Co-Conspirator’s         Number of
      Allergan Executive                                                        Date
                                     Executive            Texts/Calls
      Marc Falkin            Ara Aprahamian (Taro)            21          4/17/2014 - 3/8/2016
      Marc Falkin            Michael Perfetto (Taro)           9         12/13/2013 - 8/4/2014
      Rick Rogerson          Taro Pharmaceuticals              2        6/14/2013 - 11/10/2013
      Rick Rogerson          Ara Aprahamian (Taro)             4         6/17/2013 - 4/16/2014
      Michael Dorsey         Ara Aprahamian (Taro)            52          3/19/2013 - 9/2/2016
      Andrew Boyer           Ara Aprahamian (Taro)            16         8/16/2013 - 4/19/2016
      Michael Baker          Ara Aprahamian (Taro)            12         5/13/2013 - 8/22/2015
      Thad Demo              Ara Aprahamian (Taro)             3         4/12/2013 - 7/10/2013
      Allan Slavsky          Ara Aprahamian (Taro)             1                1/9/2014
      Total Calls to Taro                                    120

      Marc Falkin           Steven Greenstein (Sandoz)        5         4/30/2014 - 6/23/2014
      Rick Rogerson         Armando Kellum (Sandoz)           3          5/5/2011 - 9/28/2011
      Total Calls to Sandoz                                   8

      Marc Falkin            Jon Holden (Par)                 48        9/24/2013 - 8/11/2015

                        b.      No Commercial Justification for Price Hikes

        235. There was no reasonable justification for the price hikes discussed above.

  While a supply shortage can explain an abrupt rise in prices, here – notwithstanding

  the drug manufacturers’ obligation to report shortages to the FDA – no such shortage

  of Nystatin cream and ointment was reported during the Relevant Period. In addition,

  there was no significant increase in the demand for Nystatin or in the drug’s

  production costs that would explain the enormous price increase. Even if there was




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  such a benign market explanation for the price increase, at no point following the

  initial spike did the price return to the pre-spike equilibrium price point.

        236. In addition, price increases of this magnitude would have been contrary

  to each of the Co-Conspirators’ economic interest absent the price-fixing scheme.

  Without the certainty that all of the Co-Conspirators would raise and maintain the

  prices for Nystatin cream and ointment, each Co-Conspirator risked getting undercut

  by the others, leading to a loss of market share and a loss of revenue. This risk was

  alleviated by the Co-Conspirators’ agreement to raise and maintain their prices for

  Nystatin.

                         c.       The Markets for Nystatin Cream and Ointment
                                  Were Susceptible to Anticompetitive Conduct

                                  (1)   High Level of Market Concentration

        237. In 2010-2011, the markets for Nystatin cream and ointment were highly

  concentrated, as demonstrated by the HHI calculation below:

                                                       2010 HHI     2011 HHI
              Nystatin cream                            5,052         7,064
              Nystatin ointment                         5,247         8,503


        238. During this period, Allergan, Par, Perrigo, Taro, and Sandoz accounted

  for close to the entirety of the market for the cream; and Allergan, Perrigo, and

  Sandoz accounted for close to the entirety of the market for the ointment.




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                            (2)      Significant Barriers to Entry

        239. As mentioned above, the barriers to entry into the markets for Nystatin

  cream and ointment included high manufacturing costs as well as certain regulatory

  and intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the market

  by an average of 36 months.

                            (3)      Lack of Available Substitutes

        240. As discussed above, pharmacists presented with a prescription for a given

  drug can only substitute another drug if that drug has an “AB” rating. Only generic

  Nystatin and brand-name Mycostatin for a given dosage are AB-rated to one another.

  Therefore, a pharmacist can only fill a prescription for Nystatin with the brand-name

  version or one of the AB-rated generic versions and cannot substitute another drug.

                            (4)      Commodity-Like Product

        241. As mentioned above, all generic versions of any given brand-name drug

  are necessarily interchangeable. Nystatin cream and ointment are no exception. The

  FDA-approved versions of Nystatin manufactured by the Co-Conspirators each has an

  “AB” rating. Thus, pharmacists are able to substitute one manufacturer’s generic

  version of Nystatin for another.




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                             (5)   Inelastic Demand

        242. The Nystatin cream and ointment markets were characterized by nearly

  perfect inelastic demand with Ed measured at close to zero. For example, at the time

  of the collusive price fixing, the markets for Nystatin cream and ointment were so

  inelastic that the dramatic price increases had minimal negative effect on demand. As

  a result, the coordinated price hikes translated immediately and directly into collusive

  revenues shared by Allergan and its Co-Conspirators.

                             (6)   Absence of Competitive Sellers

        243. In the case of Nystatin cream and ointment, there was no realistic threat

  that the other small market participants would take market share from Allergan and

  the Co-Conspirators. The dominance of Allergan and the Co-Conspirators facilitated

  their ability to raise prices without losing market share to non-conspirators.

  Moreover, following the dramatic price increases, neither Allergan nor the Co-

  Conspirators were willing to meaningfully undercut prices to gain market share,

  thereby further demonstrating the absence of a competitive market.

        244. Allergan and its Co-Conspirators’ coordinated price hikes left behind a

  trail of collusive markers which are evidence of anticompetitive behavior. For both

  Nystatin cream and ointment, the price increases by the Co-Conspirators were so

  uniform that their pricing was highly correlated, with a 99% chance that the

  probability of “no correlation” can be rejected and that a relationship exists. Under


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  the collusion scheme, after the price hike, the volatility of Nystatin cream prices

  declined from 11.5%-17.7% to 0.2%-1.2% after the price hikes, as prices were

  sustained at heightened levels. Similarly, price volatility for the ointment also

  dropped from 10.7%-21.7% to 0.1%-0.5% after the price hikes. The unusual stability

  indicated that the co-conspirators did not compete on pricing to gain market share.

                     d.    Collusive Revenue

        245. As a result of the Nystatin price hikes, Allergan improperly recognized

  over $41 million of collusive revenue between 2011 and 2016:




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               11.   Additional Drugs from the Amended AG Complaint
        246. In addition to the drugs described above, Allergan colluded with the Co-

  Conspirators to maintain supracompetitive prices for least two other drugs:

  Glyburide-Metformin and Verapamil.

                     a.     Glyburide-Metformin
        247. Glyburide-Metformin, also known by the brand name Glucovance, is an

  oral medication used to treat Type 2 diabetes. As of April 2014, the manufacturers in

  the Glyburide-Metformin market were Allergan, Teva, Aurobindo and Heritage.

        248. In preparation for the Amended AG Complaint, the 45 state Attorneys

  General obtained limited phone and text message records from Allergan and the Co-

  Conspirators. These records demonstrate that Allergan finalized an agreement with

  Heritage to increase prices of Glyburide-Metformin during a nine-minute telephone

  call on April 22, 2014. During this same call, the companies also agreed to increase

  the prices of other generic drugs, including Verapamil (discussed below). Information

  about the agreement spread quickly throughout the sales and pricing teams at

  Allergan. On April 28, 2014, the Company circulated an internal email regarding

  potential price increases for Glyburide-Metformin, Verapamil and several other drugs.

        249. Shortly after reaching this agreement, Allergan and Heritage contacted

  Teva and Aurobindo, the only other companies in the market, to discuss the deal. On

  May 1, 2014, an Allergan representative listed as a recipient to the April 28, 2014



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  email contacted a Teva representative and they spoke for five minutes. They spoke

  three more times on May 6, 2014, with one of the calls lasting 15 minutes, and

  continued to communicate frequently over the next several months. In all, Allergan

  and Teva communicated via phone or text message at least 119 times between

  May 2014 and July 2014.

        250. Phone records also demonstrate that Allergan communicated with

  Aurobindo, the other manufacturer in the market. On May 12, 2014, an Allergan

  representative spoke with the CEO of Aurobindo two separate times.

        251. Although the companies did not increase customer prices for Glyburide-

  Metformin in July 2014, like they did for many other drugs, they did increase their

  WAC prices. On July 9, 2014, an internal email at Citron Pharma, LLC, a company

  that had approval to sell Glyburide-Metformin but was not actively doing so, revealed

  that at least Heritage and Teva had increased their WAC prices as of that date. On

  August 20, 2014, a Heritage representative exchanged a text message with a colleague

  at Sun that described Allergan’s agreement to do the same.

                     b.     Verapamil
        252. Verapamil, also known by various brand names, is a calcium channel

  blocker used to treat hypertension, angina and certain heart rhythm disorders. It

  works by relaxing the muscles of the heart and blood vessels. As of April 2014, the

  manufacturers in the Verapamil market were Allergan, Mylan and Heritage.


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        253. On April 22, 2014, during the same call where Allergan and Heritage

  agreed to raise the price of Glyburide-Metformin, the companies also reached an

  agreement to raise the price of Verapamil. And on April 28, 2014, the same internal

  email that spread word to Allergan’s sales and pricing teams about the Glyburide-

  Metformin agreement also notified them about the Verapamil agreement.

        254. Just over a week later, on May 6, 2014, an Allergan representative who

  had received the April 28, 2014 email called Mylan – the only other market

  participant – and left a message. A Mylan representative returned the call on May 9,

  2014 and spoke to the Allergan representative for over three minutes. They spoke

  again on May 19, 2014 for almost seven minutes, and continued to communicate

  frequently over the next several months.

        255. On August 20, 2014, a Heritage representative confirmed Allergan’s

  acquiescence to the agreement in a text message with a colleague at Sun.

               12.   Additional Collusive Price-Hike Drugs from the
                     May 2019 AG Complaint
        256. According to the May 2019 AG Complaint, beginning in at least 2012, “a

  troubling pattern began to emerge” in which manufacturers communicated with

  intensified frequency in coordinated efforts to hike prices of generic drugs. May 2019

  AG Complaint, ¶¶536-537.       In implementing the price hikes, the overarching

  conspiracy rule of the road requires that “a competitor’s price increase be quickly

  followed; but even if it could not, the overarching conspiracy dictated that the

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  competitors who had not increased their prices would, at a minimum, not seek to take

  advantage of a competitor’s price increase by increasing their own market share.” Id.,

  ¶537.

          257. The May 2019 AG Complaint alleges that Allergan and its Co-

  Conspirators followed the overarching conspiracy rule of the road for at least 13

  additional generic drugs with coordinated price hikes.

                      a.     Ciprofloxacin HCL
          258. Ciprofloxacin HCL Tablets is bioequivalent to branded antibiotics such

  as Otiprio, Cetraxal, and Ciloxan, and is used for the treatment of infections caused

  by bacteria. May 2019 AG Complaint, ¶901.

          259. In 2014-2015, the Ciprofloxacin HCL market was susceptible to

  collusion. The Ciprofloxacin HCL market was highly concentrated with HHI of

  2,428-2,489, with Allergan, Teva, and Dr. Reddy’s making up over 80% of the

  market. In such a highly concentrated market, the cartel tended to be stable with the

  absence of cheating. Furthermore, the drug was one of the WHO’s essential

  medicines and was crucial to “the priority health care needs of the population.” With

  no effective substitute, consumers could not replace the drug after massive price hikes.

  As such, demand was highly inelastic such that a massive price increase had little to

  no effect on demand.




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        260. Between July 2014 and January 2015, co-conspirators Allergan,

  Dr. Reddy’s, and Teva implemented collusive price hikes on Ciprofloxacin HCL. Id.,

  ¶¶903-909.

        261. Beginning in July 2014, Dr. Reddy’s senior sales executive Victor Borelli

  communicated extensively with Teva’s Patel to coordinate its August 28, 2014 price

  hike. During the two weeks between July 10, 2014 and July 24, 2014, Borelli and

  Patel exchanged at least six phone calls to discuss Dr. Reddy’s price hikes for

  Ciprofloxacin HCL and other drugs. Id., ¶904. Three days before the price hike, on

  August 25, 2014, Borelli and Patel exchanged four text messages and ultimately

  reached an agreement that Teva would follow Dr. Reddy’s price hike. Id., ¶¶905-906.

        262. Before Teva could follow Dr. Reddy’s price increase, Allergan also

  reached out to Teva by phone to coordinate its Ciprofloxacin HCL price hike in

  December 2014.     On December 17, 2014, Allergan’s Falkin spoke to Teva’s

  Rekenthaler twice for at least nine minutes. Id., ¶908. Falkin and Rekenthaler spoke

  again on December 18, the day prior to Allergan’s price hike. Id. On December 19,

  2014, Allergan hiked Ciprofloxacin HCL’s pricing to a level identical to Dr. Reddy’s

  pricing. Id.

        263. On January 28, 2015, Teva also increased its Ciprofloxacin HCL pricing

  to the same level set by Allergan and Dr. Reddy’s. Id., ¶¶907, 909. Before Teva’s

  price hike, Allergan’s Falkin and Teva’s Rekenthaler spoke four times to coordinate


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  the price increase – once on January 13, twice on January 14, and again on

  January 16. Id., ¶¶895-897. According to the StateAGs, Teva’s internal documents

  showed “Follow Competitor: DRL [Dr. Reddy’s Lab] & Actavis” as a “Reason for

  Increase.” Id., ¶889.

        264. Plaintiff’s investigation confirmed that Allergan, Teva, and Dr. Reddy’s

  hiked Ciprofloxacin HCL prices by 191%, 193%, and 315%, respectively:




        265. During the collusion period, Allergan, Teva, and Dr. Reddy’s

  Ciprofloxacin HCL pricing was marked by high correlation and uniformity, with a

  99% chance that the probability of “no correlation” can be rejected and that a

  relationship exists. After the price hike, pricing became stable with minimal volatility

  of 1.0%-2.1%, which indicated that the co-conspirators did not compete on pricing to

  gain market share.

        266. During the period of collusion and throughout the Relevant Period,

  Allergan, Teva, and Dr. Reddy’s were in constant communication. Between July and

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  December 2014, Allergan and Teva executives communicated at least 143 times by

  text or phone. §III.D.3.h. In addition to the calls with Teva’s Rekenthaler, as

  discussed above, Allergan’s Falkin spoke to Teva’s Rekenthaler 433 times between

  August 2013 and March 2015, and exchanged phone calls with other Teva executives

  over 700 times. Id. Similarly, Allergan’s Rogerson spoke with Dr. Reddy’s Nimish

  Muzumdar frequently, and exchanged phone calls with Teva executives at least 230

  times. Id. Other Allergan executives also spoke to their counterparts at Teva at least

  233 times. Id.

        267. In addition, the co-conspirators had ample opportunities to meet in person

  to collude. According to the StateAGs:

        Upon information and belief, Defendant Patel also spoke in-person with
        many of these competitors. For example, in her new role as a Director of
        National Accounts, Defendant Patel personally attended the following
        trade association events and customer conferences in the fall of 2014 and
        winter of 2014-2015: NACDS, Boston, MA (August 23-26, 2014),
        Econdisc Bidders Meeting, St. Louis, MO (September 17-19, 2014),
        PCMA Annual Meeting in Rancho Palos Verdes, CA (October 13-14,
        2014), Anda Strategy Meeting, Miami, FL (October 26-29, 2014); and
        the HDMA Round Table, Washington, DC (January 8, 2015). These
        industry events were all well-attended by Teva’s competitors.
  May 2019 AG Complaint, ¶891.

        268. Indeed, the Ciprofloxacin HCL co-conspirators all attended events and

  conferences, including:

        NACDS, Boston, MA (August 23-26, 2014):
           Allergan attendees included: Defendant Buchen, Falkin,
            Rogerson, Boyer, Slavsky, Giannone, Dorsey, Clark, Reed.
           Teva attendees included: Rekenthaler, Patel, Cavanaugh,
            Galownia, Peters, Coward, Baeder, Baker, Dunrud.

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            Dr. Reddy’s attendees included: Borelli, Muzumdar, McCormick,
             Austin.
        HDMA 2014 Annual Board and Membership Meeting, Laguna Beach,
        CA (September 27-October 1, 2014)
           Allergan attendees included: Falkin, Boyer.
           Teva attendees included: Rekenthaler, Cavanaugh, Baeder, Baker,
             Dunrud.
        GPhA 2014 Fall Technical Conference, Bethesda, MD (October 27-29,
        2014)
            Allergan
            Teva
            Dr. Reddy’s
        2014 IGPA Annual Conference, Miami, FL (November 19-21, 2014)
            Allergan attendees included: Defendant Buchen, Brown.
            Teva attendees included: Oberman, Livneh.
            Dr. Reddy’s attendees included: Cappuccino.
        2014 NACDS NYC Week Annual Foundation Dinner, New York, NY
        (December 3, 2014)
            Allergan attendees included: Defendant Saunders, Falkin, Boyer,
             Reed.
            Teva attendees included: Rekenthaler, Cavanaugh, Coward,
             Peters, Baeder.
  App.14

        269. As a result of the Ciprofloxacin HCL price hikes, Allergan improperly

  recognized close to $60 million of collusive revenues between 2014 and 2016:




  14
     “App.” refers to the Appendix to this complaint, listing trade shows and
  conferences.

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                                                   Actavis's Total Yearly Collusive Revenues: Ciprofloxacin HCL Tablets
                                                  45

                                                  40

                                                  35
        Collusive Revenue ($m)


                                                  30

                                                  25

                                                  20

                                                   15

                                                  10

                                                   5

                                                   0
                                                                      2014                                2015                              2016
                                 (1) Collusive Revenue                 6.1                                40 .5                             12.8
                                 (2) Collusive Revenue                 6.1                                40 .5                             12.7
                                 (3) Collusive Revenue                 6.0                                38.0                              10.8
                                 Average                               6.1                                39.7                               12.1

                                                          (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                                         b.        Labetalol HCL Tablets
            270. Labetalol HCL Tablets is a beta blocker for the treatment of high blood

  pressure and is bioequivalent to the branded drug Normodyne. May 2019 AG

  Complaint, ¶551.

            271. In 2012, the Labetalol HCL market was susceptible to collusion. The

  Labetalol HCL market was highly concentrated with HHI of 4,492, and Allergan,

  Teva, and Sandoz made up almost the entirety of the market. In such a highly

  concentrated market, the cartel tended to be stable with the absence of cheating. In

  addition, demand was so highly inelastic that a massive price increase had no negative

  effect on demand – in fact, demand continued to increase even with a massive price

  increase.

            272. Between June to July 2012, Allergan, Teva, and Sandoz implemented

  coordinated price increases on Labetalol. Prior to their collusive price hikes, pricing



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  for Labetalol was around $0.21 per unit. After the price hikes, Labetalol’s prices

  more than doubled to $0.54 to $0.57 per unit:




        273. Allergan’s senior sales executive Allan Slavsky and Teva’s Rekenthaler

  communicated frequently before and after the Labetalol price hikes. Immediately

  prior to their price hikes, on July 11, 2012, Slavsky and Rekenthaler spoke at least

  twice by phone for over ten minutes to coordinate the price increases. Id., ¶539. On

  October 18, 2012, after Par entered the Labetalol market at the collusive price level set

  by the co-conspirators, Slavsky and Rekenthaler spoke by phone four times to re-

  affirm their commitment to maintain elevated pricing. Id., ¶554.

        274. While Allergan was coordinating with Teva on the Labetalol price hikes

  and price maintenance, Teva and Sandoz also communicated – with Teva’s Kevin




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  Green speaking with Stage AG CW-2 15 from Sandoz by phone at least 3 times on

  July 29, 2012 and July 31, 2012 for more than 12 minutes, and twice on October 16,

  2012 after Par entered the market. Id., ¶¶539, 553. ##

        275. Despite Par joining the Labetalol market with new supplies in

  September 2012, the co-conspirators painted a picture of supply constraint to justify

  the price hikes. On October 2012, rumors were in the market that Allergan did not

  have sufficient supply to meet demand while Sandoz “no longer [had] supply issues.”

  Id., ¶552. In truth, no supply shortage was reported to the FDA in 2012 by any

  Labetalol manufacturers, and Allergan actually increased the quantity of Labetalol

  sold by close to 18% in October 2012 and 7.5% in November 2012.

        276. At the time of the price hikes, and during the Relevant Period, the

  Labetalol market was marked by an absence of competition with Allergan, Teva,

  Sandoz, and Par having close to 100% of the Labetalol market. Allergan’s Labetalol

  pricing was 71%-86% correlated to the co-conspirators. The high correlations were

  statistically significant, with a 99% chance that the probability of “no correlation” can

  be rejected and that a relationship exists. In addition, pricing volatility dropped from

  5%-8% prior to collusion to close to zero at 0.2%-0.6% after the price hikes. Similarly,

  Allergan’s market share volatility dropped from 3% in the years prior to collusion to

  15
     State AG CW-2 is one of the StateAGs’ cooperating witnesses. May 2019 AG
  Complaint, ¶67. State AG CW-2 was a sales and marketing executive at Sandoz until
  2013, when he/she left Sandoz to join Rising Pharmaceuticals, Inc. Id., ¶958.

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  less than 0.7%-0.8% for years after its price hike, with its co-conspirators Teva and

  Sandoz also experiencing volatility declines (Sandoz from 10.2% to 3.2% and Teva

  from 8.1% to 1.2%.) The unusual stability was uncharacteristic of a competitive market

  where manufacturers would compete on pricing to gain market share.

         277. The co-conspirators had ample opportunities to communicate during the

  period immediately prior to the price hike in June to July 2012 and the re-affirmation

  of the commitment to maintain heightened pricing in October 2012:

                              Allergan Attendees
        Conference                                           Co-Conspirator Attendees Including:
                                   Including:
  NACDS Annual Meeting      Defendants Paul Bisaro     Teva: Theresa Coward, Maureen Cavanaugh,
  in Palm Beach, FL         and Sigurdur Olafsson,     Jeremy Levin, Jonathan Kafer, and Christine
  (April 24-27, 2012)       and Michael Perfetto,      Baeder.
                            Andrew Boyer, Allan
                            Slavsky, Michael Reed,     Sandoz: Armando Kellum, Don DeGolyer, and
                            Paul Reed, John Shane,     Jeff George
                            and Robert Stewart
                                                       Par: Paul Campanelli, Michael Altamuro, Renee
                                                       Kenney, Thomas Haughey
  HDMA 2012 Business        Andrew Boyer, Richard      Teva: David Rekenthaler, Kevin Green, Theresa
  and Leadership            Rogerson, Allan            Coward, Teri Sherman, and Jessica Peters
  Conference in San         Slavsky, Michael Baker,
  Antonio, TX               Jack Ericsson, Michael     Sandoz: Steven Greenstein, Paul Krauthauser,
  (June 13, 2012)           Reed, Paul Reed, John      Della Lubke, and Christopher Neurohr
                            Shane, and Carrie
                            Wetzel                     Par: Sandra Bayer
  NACDS 2012 Pharmacy       Andrew Boyer, Allan        Teva: David Rekenthaler, Kevin Green, Theresa
  and Technology            Slavsky, Michael           Coward, Maureen Cavanaugh, Kevin Galownia,
  Conference in Denver,     Dorsey, Michael            Christine Baeder, Teri Sherman, Jessica Peters,
  CO (August 25-28, 2012)   Perfetto, David Schmidt,   and Scott Goldy
                            Anthony Giannone, Ara
                            Aprahamian, Steven         Sandoz: Armando Kellum, Steven Greenstein,
                            Cohen, Napoleon Clark,     Della Lubke, and Christopher Neurohr
                            Michael Baker, and
                            Jinping McCormack          Par: Paul Campanelli, Jon Holden, Michael
                                                       Altamuro
  GPhA Technical            Joyce DelGaudio            Teva: Allan Oberman, Jonathan Kafer
  Conference in Bethesda,
  MD (October 1-3, 2012)                               Sandoz: Don DeGolyer

                                                       Par

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        278. Indeed, prior to the price hike and throughout the Relevant Period,

  Allergan and its co-conspirators communicated frequently. In addition to the calls to

  Teva’s Rekenthaler, discussed above, Allergan’s Allan Slavsky communicated with

  Teva’s Rekenthaler, Cavanaugh, and Patel over 70 times by phone. §III.D.3.h. Other

  Allergan executives also communicated frequently with the co-conspirators – with

  over 1,500 calls to Teva, at least 48 calls to Par and 8 calls to Sandoz:

                                Co-Conspirator’s        Number
       Allergan Executive                                                  Date
                                     Executive          of Calls
      Allan Slavsky         David Rekenthaler (Teva)       26       1/11/2012 - 4/1/2013
      Allan Slavsky         Maureen Cavanaugh (Teva)       17      8/21/2015 - 7/26/2016
      Allan Slavsky         Nisha Patel (Teva)             28      9/16/2015 - 3/10/2016
      Total Slavsky Calls with Teva:                       71
      Marc Falkin           David Rekenthaler (Teva)     433         8/7/2013 - 3/25/2015
      Marc Falkin           Maureen Cavanaugh (Teva)     410        9/10/2013 - 7/29/2016
      Marc Falkin           Christine Baeder (Teva)      199        7/21/2015 - 7/29/2016
      Marc Falkin           Theresa Coward (Teva)         36       12/28/2015 - 7/27/2016
      Marc Falkin           Teva Pharmaceuticals          26        5/28/2015 - 7/19/2016
      Marc Falkin           Nisha Patel (Teva)            11         2/5/2016 - 6/16/2016
      Marc Falkin           Jocelyn Baker (Teva)          11        11/24/2015 - 6/2/2016
      Marc Falkin           Cassie Dunrud (Teva)          11         2/8/2016 - 6/22/2016
      Marc Falkin           Jessica Peters (Teva)         7         9/27/2014 - 3/22/2016
      Marc Falkin           Kevin Galownia (Teva)         6         1/14/2016 - 5/12/2016
      Rick Rogerson         Nisha Patel (Teva)           157         5/2/2013 - 11/9/2015
      Rick Rogerson         Kevin Galownia (Teva)         29       12/15/2015 - 7/29/2016
      Rick Rogerson         Teva Pharmaceuticals          27        9/24/2015 - 7/29/2016
      Rick Rogerson         Christine Baeder (Teva)       17        2/26/2016 - 7/26/2016
      Andrew Boyer          David Rekenthaler (Teva)      16         4/1/2013 - 9/16/2014
      Andrew Boyer          Maureen Cavanaugh (Teva)     113        8/12/2015 - 7/25/2016
      Andrew Boyer          Nisha Patel (Teva)            28       4/30/2013 - 10/16/2015
      Anthony Giannone      Nisha Patel (Teva)            9          1/27/2015 - 6/9/2016
      Jonathan Kafer        David Rekenthaler (Teva)      15       10/11/2013 - 3/29/2015
      Jonathan Kafer        Maureen Cavanaugh (Teva)      4         4/29/2014 - 3/31/2015
      M.B.                  Nisha Patel (Teva)            3          2/26/2016 - 6/6/2016
      Total Calls with Teva                              1568
      Rick Rogerson        Armando Kellum (Sandoz)         3        5/5/2011 - 9/28/2011
      Marc Falkin          Steven Greenstein (Sandoz)      5       4/30/2014 - 6/23/2014
      Total Calls with Sandoz:                             8


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                                Co-Conspirator’s      Number
       Allergan Executive                                                Date
                                    Executive         of Calls
      Marc Falkin           Jon Holden (Par)             48      9/24/2013 - 8/11/2015

        279. As a result of the Labetalol price hikes, Allergan improperly recognized

  over $35 million of collusive revenues between 2012 and 2016:




                       c.     Fluocinonide 0.5% Cream
        280. Fluocinonide is the generic version of Lidex. May 2019 AG Complaint,

  ¶828. Fluocinonide is one of the most widely used prescription skin treatments in the

  United States, as it is a potent steroid topical medication for the reduction of rashes,

  swellings, or itching associated with allergies, dermatitis, eczema, and psoriasis. Id.

        281. In 2013, the Fluocinonide 0.5% Cream market was susceptible to

  collusion. The Fluocinonide 0.5% Cream market was highly concentrated with HHI

  of 7,976, with Teva and Taro making up almost the entirety of the market. In such a

  highly concentrated market, the cartel tended to be stable with the absence of


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  cheating. In addition, demand was so highly inelastic that a massive price increase

  had no negative effect on demand – in fact, demand continued to increase even with a

  massive price increase.

        282. Allergan entered the Fluocinonide 0.5% Cream market in June 2014 and

  joined the ongoing collusive activities that began in mid-2013.

        283. In 2013, Teva’s Patel conceived of collusive price hikes for the wide-

  selling drug even before she started her job at Teva. Id., ¶¶602, 830. Shortly after she

  began employment at Teva, she coordinated with Taro’s Ara Aprahamian – her

  former colleague from AmerisourceBergen – and in July 2013, implemented a 10%-

  17% price hike on Fluocinonide 0.5% Cream. Id., ¶830.

        284. But the small price hike was not enough for the co-conspirators. On

  May 14, 2014, Taro’s Aprahamian discussed the impending massive second round

  price hikes on Fluocinonide with Patel and she explicitly agreed to follow. After a

  series of text messages and a phone conversation between Patel and Aprahamian on

  May 14, 2014, Patel instructed her colleagues to put together a “2014 Future Price

  Increase Candidate Analysis,” which included the Fluocinonide 0.5% Cream with the

  notation “Follow/Urgent.” Id., ¶¶833-834. The notation signified the urgent need to

  follow Taro’s upcoming price hikes. Id., ¶¶831, 834.

        285. After Taro’s price hikes became effective on June 3, 2014, Teva received

  Fluocinonide bid requests from customers such as CVS and Walmart, and Teva’s


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  Galownia suggested that “it was a good opportunity to take some share from Taro.”

  Id., ¶¶831, 834, 837, 839. At the time, Taro had 87% of the market for Fluocinonide

  0.5% Cream and Teva had the remaining 13%. Id., ¶829. Patel engaged in another

  series of phone calls and text messages with Taro’s Aprahamian on June 3-4, 2014

  after Galownia’s suggestion of taking market share from Taro. Id., ¶¶837-838. After

  communicating with Aprahamian, Patel sent multiple emails urging Teva “to be

  responsible” to the “high quality” co-conspirator:




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  Id., ¶¶838-839.

        286. Instead of competing for Walmart’s business and in conformance with its

  agreement with Taro, Teva implemented a price hike on Fluocinonide 0.5% Cream by

  approximately 430% in July 2014, taking pricing from $0.46 to $2.43 per unit –

  identical to Taro’s price increase. Id., ¶¶831, 839, 843. On June 26, 2014, Teva’s

  sales and pricing teams received a 3:00 p.m. conference call calendar notice with an

  agenda stating: “We will discuss the upcoming price increase for all Fluocinonide

  products: Fluocinonide Cream, Fluocinonide E-Cream, Fluocinonide Gel,

  Fluocinonide Ointment.      We are targeting an announcement date of Monday,

  June 30th for an effective date of July 1st.” Id., ¶842.

        287. Allergan entered the Fluocinonide 0.5% Cream market in June 2014,

  prior to Teva’s price hike, and Plaintiff’s investigation confirmed that Allergan

  entered the market at $0.46 per unit. After a series of calls with co-conspirators Teva


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  and Taro in December 2014, Allergan also implemented a massive price hike on

  December 19, 2014. As shown in the phone log below, Allergan’s Falkin exchanged

  five phone calls with Teva’s Rekenthaler on December 3, 2014; Allergan’s Michael

  Dorsey exchanged two phone calls with Taro’s Aprahamian on December 5;

  Allergan’s Falkin exchanged six phone calls with Teva’s Rekenthaler on December 9-

  10; Allergan’s Dorsey spoke with Taro’s Aprahamian again on December 11; and two

  days before Allergan’s price hike, Allergan’s Falkin exchanged three phone calls with

  Teva’s Rekenthaler:




  Id., ¶845.

          288. After extensive coordination with co-conspirators Teva and Taro,

  Allergan implemented an identical 430% price hike as Teva had taken in July 2014 –

  increasing the price of Fluocinonide 0.5% Cream from $0.46 per unit to $2.43 per

  unit:


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                                    Fluocinonide External Cream: Price per Unit
                              4.0

                              3.5

                              3.0
         Price per Unit ($)




                              2.5

                              2.0

                              1.5

                              1.0

                              0.5

                               -



                                             Actavis   Teva Usa   Taro Pharm Usa




        289. The market for Fluocinonide 0.5% Cream showed little to no sign of

  competition after the collusive price hikes. Pricing by the three co-conspirators were

  highly correlated with an unusual degree of uniformity, with a 99% chance that the

  probability of “no correlation” can be rejected and that a relationship exists. In

  addition, pricing volatility fell from 37%-39.6% to 2.5%-5.0% after collusion, and

  market share volatility dropped from 7.1%-12.5% prior to collusion to less than 0.9%-

  1.6% after collusion. The unusual stability was uncharacteristic of a competitive

  market where manufacturers would compete on pricing to gain market share.

        290. During the period of collusion and throughout the Relevant Period,

  Allergan was in frequent contact with its co-conspirators, Teva and Taro. Between

  June to December 2014, Allergan executives communicated at least 152 times by text

  and/or phone with Teva executives. §III.D.3.h. In addition to communicating with




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  Rekenthaler, as discussed above, Allergan’s Falkin spoke to Teva executives at least

  1,150 times and Taro’s Aprahamian at least 21 times:

                                  Co-Conspirator’s       Number
       Allergan Executive                                                   Date
                                      Executive          of Calls
      Marc Falkin            David Rekenthaler (Teva)      433        8/7/2013 - 3/25/2015
      Marc Falkin            Maureen Cavanaugh (Teva)      410       9/10/2013 - 7/29/2016
      Marc Falkin            Christine Baeder (Teva)       199       7/21/2015 - 7/29/2016
      Marc Falkin            Theresa Coward (Teva)          36      12/28/2015 - 7/27/2016
      Marc Falkin            Teva Pharmaceuticals           26       5/28/2015 - 7/19/2016
      Marc Falkin            Nisha Patel (Teva)             11        2/5/2016 - 6/16/2016
      Marc Falkin            Jocelyn Baker (Teva)           11       11/24/2015 - 6/2/2016
      Marc Falkin            Cassie Dunrud (Teva)           11        2/8/2016 - 6/22/2016
      Marc Falkin            Jessica Peters (Teva)          7        9/27/2014 - 3/22/2016
      Marc Falkin            Kevin Galownia (Teva)          6        1/14/2016 - 5/12/2016
      Total Falkin Calls to Teva                          1150

      Marc Falkin            Ara Aprahamian (Taro)         21        4/17/2014 – 3/8/2016
      Marc Falkin            Michael Perfetto (Taro)       9        12/13/2013 – 8/4/2014
      Total Falkin Calls to Taro                           30

        291. Allergan’s Michael Dorsey also spoke to Taro’s Aprahamian at least 52

  times, with other Allergan executives speaking to Aprahamian at least 28 times:

                                Co-Conspirator’s         Number
       Allergan Executive                                                   Date
                                    Executive            of Calls
      Michael Dorsey        Ara Aprahamian (Taro)           52       3/19/2013 - 9/2/2016
      Andrew Boyer          Ara Aprahamian (Taro)           16      8/16/2013 - 4/19/2016
      Michael Baker         Ara Aprahamian (Taro)           12      5/13/2013 - 8/22/2015
      Total Calls to Taro                                   80

        292. Other Allergan executives were also frequently communicating with

  Teva executives Rekenthaler, Patel, Galownia, Baeder, and Cavanaugh:

                                 Co-Conspirator’s        Number
       Allergan Executive                                                   Date
                                     Executive           of Calls
      Rick Rogerson         Nisha Patel (Teva)             157        5/2/2013 - 11/9/2015
      Rick Rogerson         Kevin Galownia (Teva)           29      12/15/2015 - 7/29/2016
      Rick Rogerson         Teva Pharmaceuticals            27       9/24/2015 - 7/29/2016
      Rick Rogerson         Christine Baeder (Teva)         17       2/26/2016 - 7/26/2016
      Allan Slavsky         Maureen Cavanaugh (Teva)        17       8/21/2015 - 7/26/2016
      Allan Slavsky         Nisha Patel (Teva)              28       9/16/2015 - 3/10/2016


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                                   Co-Conspirator’s          Number
       Allergan Executive                                                          Date
                                       Executive             of Calls
       Andrew Boyer            David Rekenthaler (Teva)         16          4/1/2013 - 9/16/2014
       Andrew Boyer            Maureen Cavanaugh (Teva)        113         8/12/2015 - 7/25/2016
       Andrew Boyer            Nisha Patel (Teva)               28        4/30/2013 - 10/16/2015
       Anthony Giannone        Nisha Patel (Teva)               9           1/27/2015 - 6/9/2016
       Jonathan Kafer          David Rekenthaler (Teva)         15        10/11/2013 - 3/29/2015
       Jonathan Kafer          Maureen Cavanaugh (Teva)         4          4/29/2014 - 3/31/2015
       M.B.                    Nisha Patel (Teva)               3           2/26/2016 - 6/6/2016
       Total Calls with Teva                                   463

         293. In addition, the co-conspirators had ample opportunities to meet in person

  prior to the massive price hikes:

                             Allergan Attendees
       Conference                                           Co-Conspirator Attendees Including:
                                  Including:
  NACDS 2014 Annual         Defendants Bisaro and    Teva: Oberman, Rekenthaler, Cavanaugh, Coward,
  Meeting, Scottsdale,      Olafsson, Falkin,        Baeder
  AZ (April 26-29, 2014)    Boyer, Stewart
                                                     Taro: Aprahamian, Perfetto, Likvornik, Ivey
  HDMA 2014 Business        Falkin, Boyer,           Teva: Rekenthaler, Patel, Peters, Coward,
  and Leadership            Rogerson, Giannone       Sherman, Dunrud
  Conference, Phoenix,
  AZ (June 1-4, 2014)                                Taro: Shah
  NACDS, Boston, MA         Defendant Buchen,        Teva: Rekenthaler, Patel, Cavanaugh, Galownia,
  (August 23-26, 2014)      Falkin, Rogerson,        Peters, Coward, Baeder, Baker, Dunrud
                            Boyer, Slavsky,
                            Giannone, Dorsey,        Taro: Aprahamian, Perfetto, Brick, Kriel,
                            Clark, Reed              Urbanski, Likvornik
  HDMA 2014 Annual          Falkin, Boyer            Teva: Rekenthaler, Cavanaugh, Baeder
  Board and Membership
  Meeting, Laguna
  Beach, CA
  (September 27-
  October 1, 2014)
  GPhA 2014 Fall            Allergan                 Teva
  Technical Conference,
  Bethesda, MD                                       Taro
  (October 27-29, 2014)
  2014 NACDS NYC            Defendant Saunders,      Teva: Rekenthaler, Cavanaugh, Coward, Peters,
  Week Annual               Falkin, Boyer, Reed      Baeder
  Foundation Dinner,
  New York, NY
  (December 3, 2014)




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                               As a result of the Fluocinonide 0.5% Cream price hikes, Allergan improperly

  recognized over $49 million of collusive revenues between 2014 and 2016:

                                                 Actavis's Total Yearly Collusive Revenues: Fluocinonide External Cream
                                                40

                                                35
      Collusive Revenue ($m)




                                                30

                                                25

                                                20

                                                15

                                                10

                                                 5

                                                 0
                                                                  2014                                  2015                              2016
                               (1) Collusive Revenue               4.3                                  31.9                               11.5
                               (2) Collusive Revenue               4.3                                  31.9                               11.4
                               (3) Collusive Revenue               4.4                                  33.5                              13.8
                               Average                             4.3                                  32.4                              12.3

                                                        (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                                       d.        Griseofulvin Microsize Oral Suspension
                               294. Griseofulvin Microsize Oral Suspension is the generic version of

  Grifulvin V and is an anti-fungal medication for infections affecting hair, skin, and

  nails. May 2019 AG Complaint, ¶910.

                               295. In 2014, the Griseofulvin market was susceptible to collusion. The

  Griseofulvin market was highly concentrated with HHI of 3,180, and Allergan and

  Teva made up close to 80% of the market. In such a highly concentrated market, the

  cartel tended to be stable with the absence of cheating. Furthermore, the drug was one

  of the WHO’s essential medicines and was crucial to “the priority health care needs of

  the population.” With no effective substitute, consumers could not replace the drug




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  after massive price hikes. As such, demand was highly inelastic such that a massive

  price increase had little to no effect on demand.

        296. Taking advantage of the vulnerable market structure, in September 2014,

  Allergan and Teva began coordinating massive price hikes for Griseofulvin. During

  the week preceding Allergan’s issuance of price increase notices to its Griseofulvin

  customers, Allergan’s Falkin communicated with Teva’s Rekenthaler extensively –

  exchanging 2 calls on September 3 for 3 minutes, 3 calls on September 4 for 17

  minutes, and 4 calls totaling 29 minutes on the day prior to the price increase. Id.,

  ¶911. On September 9, 2014, the day that Allergan issued its notices of price

  increase, Allergan’s Rogerson also spoke with Teva’s Patel for over 4.5 minutes:




  Id.

        297. Plaintiff’s investigation revealed that Allergan hiked the price of

  Griseofulvin by 50%, taking the drug from $0.27 per unit to $0.40 per unit.

  Allergan’s Griseofulvin price increase took effect on October 6, 2014. Id.




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        298. According to the StateAGs, internal documents showed that Teva

  “promptly added Griseofulvin to its own price increase list, with the notation ‘Follow

  Competitor – Actavis’ as the reason for the price increase.” Id., ¶912. Teva’s

  Griseofulvin price hike took place on January 28, 2015. Id., ¶913. Before Teva’s

  price hike, Allergan’s Falkin and Teva’s Rekenthaler spoke four times to coordinate

  the price increase – once on January 13, twice on January 14, and again on

  January 16. Id., ¶860.

        299. As shown in the chart above, Teva took its Griseofulvin price to

  Allergan’s pricing level with an identical 50% price hike. Allergan and Teva’s pricing

  correlation was high and uniformed, with a 99% chance that the probability of “no

  correlation” can be rejected and that a relationship exists. After the price hike,

  Griseofulvin pricing became stable with no volatility, which indicated that the co-

  conspirators did not compete on pricing to gain market share.


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        300. During the period of collusion and throughout the Relevant Period,

  Allergan and Teva communicated frequently.               Between September and

  December 2014, Allergan and Teva executives communicated at least 81 times by text

  or phone. §III.D.3.h. In addition to the calls with Teva’s Rekenthaler, as discussed

  above, Allergan’s Falkin spoke to Teva’s Rekenthaler 433 times between August 2013

  and March 2015, and exchanged phone calls with other Teva executives over 700

  times. Id. Similarly, Allergan’s Rogerson spoke with Teva’s Patel over 150 times

  between May 2013 and November 2015, and exchanged phone calls with other Teva

  executives over 70 times. Id. Other Allergan executives also spoke to their

  counterparts at Teva over 230 times. Id.

        301. In addition, the co-conspirators had ample opportunities to meet in person

  to collude. According to the StateAGs:

        Upon information and belief, Defendant Patel also spoke in-person with
        many of these competitors. For example, in her new role as a Director of
        National Accounts, Defendant Patel personally attended the following
        trade association events and customer conferences in the fall of 2014 and
        winter of 2014-2015: NACDS, Boston, MA (August 23-26, 2014),
        Econdisc Bidders Meeting, St. Louis, MO (September 17-19, 2014),
        PCMA Annual Meeting in Rancho Palos Verdes, CA (October 13-14,
        2014), Anda Strategy Meeting, Miami, FL (October 26-29, 2014); and
        the HDMA Round Table, Washington, DC (January 8, 2015). These
        industry events were all well-attended by Teva’s competitors.
  May 2019 AG Complaint, ¶891.

        302. Indeed, the Griseofulvin co-conspirators all attended events and

  conferences, including:



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         NACDS, Boston, MA (August 23-26, 2014):
            Allergan attendees included: Defendant Buchen, Falkin,
             Rogerson, Boyer, Slavsky, Giannone, Dorsey, Clark, Reed.
            Teva attendees included: Rekenthaler, Patel, Cavanaugh,
             Galownia, Peters, Coward, Baeder, Baker, Dunrud.
         HDMA 2014 Annual Board and Membership Meeting, Laguna Beach,
         CA (September 27-October 1, 2014)
            Allergan attendees included: Falkin, Boyer.
            Teva attendees included: Rekenthaler, Cavanaugh, Baeder.
         GPhA 2014 Fall Technical Conference, Bethesda, MD (October 27-29,
         2014)
             Allergan
             Teva
         2014 IGPA Annual Conference, Miami, FL (November 19-21, 2014)
             Allergan attendees included: Defendant Buchen, Brown.
             Teva attendees included: Oberman, Livneh.
         2014 NACDS NYC Week Annual Foundation Dinner, New York, NY
         (December 3, 2014)
             Allergan attendees included: Defendant Saunders, Falkin, Boyer.
             Teva attendees included: Rekenthaler, Cavanaugh, Coward,
              Peters, Baeder.
  App.

         303. As a result of the Griseofulvin price hikes, Allergan improperly

  recognized over $12 million of collusive revenues between 2014 and 2016:




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                                           Actavis's Total Yearly Collusive Revenues: Griseofulvin Micro Oral Suspension
                                                2.5



                                                2.0
       Collusive Revenue ($m)




                                                 1.5



                                                 1.0



                                                0.5



                                                0.0
                                                                     2014                                2015                              2016
                                (1) Collusive Revenue                 1.0                                 1.9                                1.1
                                (2) Collusive Revenue                 1.0                                 2.0                                1.1
                                (3) Collusive Revenue                 0.9                                 1.0                               0.0
                                Average                               1.0                                 1.7                               0.7

                                                         (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                                        e.         Estradiol
                        304. Estradiol is the generic version of Estrace and is an estrogen used to

  reduce menopause symptoms.

                        305. In 2014-2015, the Estradiol market was susceptible to collusion. It was

  highly concentrated with HHI of 7,400-7,530, and Allergan and Teva represented over

  90% of the market. In such a highly concentrated market, the cartel tended to be

  stable with the absence of cheating. In addition, demand was so highly inelastic that a

  massive price increase had little to no negative effect on demand.

                        306. On January 28, 2015, Teva implemented a price hike on Estradiol.

  May 2019 AG Complaint, ¶¶889-890. Prior to Teva’s price hike, Allergan’s Falkin

  and Teva’s Rekenthaler spoke on January 13, 2015, twice on January 14, 2015, and on

  January 16, 2015 to coordinate the price increase. Id., ¶890. Teva’s internal




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  spreadsheet on collusive price hikes, maintained by Galownia, showed that Teva

  planned to lead a 90% increase on Estradiol. Id., ¶889.

        307. Plaintiff’s investigation revealed that Teva indeed led the coordinated

  price hikes – increasing its Estradiol price by 90% and taking the drug from $0.17 per

  unit to $0.32 per unit. Allergan followed Teva’s lead and hiked its Estradiol price in

  May 2015 to the identical $0.32 per unit level set by Teva:

                                      Estradiol Tablets: Price per Unit
                               0.35


                               0.30


                               0.25
          Price per Unit ($)




                               0.20


                               0.15


                               0.10


                               0.05


                                 -



                                              Actavis Pharma   Teva Usa




        308. At the time of the price hikes, and during the Relevant Period, the

  Estradiol market was marked by an absence of competition. Allergan and Teva’s

  pricing correlation was high and uniformed, with a 99% chance that the probability of

  “no correlation” can be rejected and that a relationship exists. In addition, pricing

  volatility dropped from 3.2% prior to collusion to close to zero at 0.1% after the price

  hikes. Similarly, Allergan’s market share volatility dropped from 3% in the years

  prior to collusion to a low of 0.3%. The unusual stability was uncharacteristic of a



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  competitive market where manufacturers would compete on pricing to gain market

  share.

           309. During the period of collusion and throughout the Relevant Period,

  Allergan and Teva communicated frequently.                       Between September and

  December 2014, Allergan and Teva executives communicated at least 81 times by text

  or phone. §III.D.3.h. In addition to the calls with Teva’s Rekenthaler, as discussed

  above, Allergan’s Falkin spoke to Teva’s Rekenthaler 433 times between August 2013

  and March 2015, and exchanged phone calls with other Teva executives over 700

  times. Similarly, other Allergan executives also spoke to their counterparts at Teva

  over 460 times:

                                  Co-Conspirator’s      Number
       Allergan Executive                                                    Date
                                      Executive         of Calls
      Marc Falkin            David Rekenthaler (Teva)     433          8/7/2013 - 3/25/2015
      Marc Falkin            Maureen Cavanaugh (Teva)     410         9/10/2013 - 7/29/2016
      Marc Falkin            Christine Baeder (Teva)      199         7/21/2015 - 7/29/2016
      Marc Falkin            Theresa Coward (Teva)         36        12/28/2015 - 7/27/2016
      Marc Falkin            Teva Pharmaceuticals          26         5/28/2015 - 7/19/2016
      Marc Falkin            Nisha Patel (Teva)            11          2/5/2016 - 6/16/2016
      Marc Falkin            Jocelyn Baker (Teva)          11         11/24/2015 - 6/2/2016
      Marc Falkin            Cassie Dunrud (Teva)          11          2/8/2016 - 6/22/2016
      Marc Falkin            Jessica Peters (Teva)         7          9/27/2014 - 3/22/2016
      Marc Falkin            Kevin Galownia (Teva)         6          1/14/2016 - 5/12/2016
      Total Falkin Calls to Teva                         1150

      Rick Rogerson         Nisha Patel (Teva)            157          5/2/2013 - 11/9/2015
      Rick Rogerson         Kevin Galownia (Teva)          29        12/15/2015 - 7/29/2016
      Rick Rogerson         Teva Pharmaceuticals           27         9/24/2015 - 7/29/2016
      Rick Rogerson         Christine Baeder (Teva)        17         2/26/2016 - 7/26/2016
      Allan Slavsky         Maureen Cavanaugh (Teva)       17         8/21/2015 - 7/26/2016
      Allan Slavsky         Nisha Patel (Teva)             28         9/16/2015 - 3/10/2016
      Andrew Boyer          David Rekenthaler (Teva)       16          4/1/2013 - 9/16/2014
      Andrew Boyer          Maureen Cavanaugh (Teva)      113         8/12/2015 - 7/25/2016
      Andrew Boyer          Nisha Patel (Teva)             28        4/30/2013 - 10/16/2015
      Anthony Giannone      Nisha Patel (Teva)             9           1/27/2015 - 6/9/2016


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                                   Co-Conspirator’s        Number
       Allergan Executive                                                          Date
                                       Executive           of Calls
       Jonathan Kafer          David Rekenthaler (Teva)       15           10/11/2013 - 3/29/2015
       Jonathan Kafer          Maureen Cavanaugh (Teva)       4             4/29/2014 - 3/31/2015
       M.B.                    Nisha Patel (Teva)             3              2/26/2016 - 6/6/2016
       Total Calls with Teva                                 463

         310. In addition, the co-conspirators had ample opportunities to meet in person

  to collude. According to the StateAGs:

         Upon information and belief, Defendant Patel also spoke in-person with
         many of these competitors. For example, in her new role as a Director of
         National Accounts, Defendant Patel personally attended the following
         trade association events and customer conferences in the fall of 2014 and
         winter of 2014-2015: NACDS, Boston, MA (August 23-26, 2014),
         Econdisc Bidders Meeting, St. Louis, MO (September 17-19, 2014),
         PCMA Annual Meeting in Rancho Palos Verdes, CA (October 13-14,
         2014), Anda Strategy Meeting, Miami, FL (October 26-29, 2014); and
         the HDMA Round Table, Washington, DC (January 8, 2015). These
         industry events were all well-attended by Teva’s competitors.
  May 2019 AG Complaint, ¶891.

         311. Indeed, the Estradiol co-conspirators all attended events and conferences,

  including:

            Conference              Allergan Attendees Including:      Teva Attendees Including:
   NACDS, Boston, MA                Defendant Buchen, Falkin,       Rekenthaler, Patel, Cavanaugh,
   (August 23-26, 2014)             Rogerson, Boyer, Slavsky,       Galownia, Peters, Coward, Baeder,
                                    Giannone, Dorsey, Clark,        Baker, Dunrud
                                    Reed
   HDMA 2014 Annual Board and       Falkin, Boyer                   Rekenthaler, Cavanaugh, Baeder
   Membership Meeting, Laguna
   Beach, CA (September 27-
   October 1, 2014)
   GPhA 2014 Fall Technical         Allergan                        Teva
   Conference, Bethesda, MD
   (October 27-29, 2014)
   2014 IGPA Annual Conference,     Defendant Buchen, Brown         Oberman, Livneh
   Miami, FL (November 19-21,
   2014)
   2014 NACDS NYC Week              Defendant Saunders, Falkin,     Rekenthaler, Cavanaugh, Coward,
   Annual Foundation Dinner, New    Boyer                           Peters, Baeder
   York, NY (December 3, 2014)

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             Conference           Allergan Attendees Including:    Teva Attendees Including:
   GPhA 2015 Annual Meeting,      Allergan                      Olafsson, Rubenstein
   Miami, FL (February 9-11,
   2015)
   2015 HCSCA National            Fallon                        Gerebi, McClard, Bivens,
   Pharmacy Forum, Tampa, FL                                    Bradford
   (February 16-18, 2015)
   HDMA 2015 Annual CEO           Falkin, Boyer, Giannone       Cavanaugh, Baeder
   Roundtable Fundraiser, New
   York, NY (April 14, 2015)
   NACDS 2015 Annual Meeting,     Defendants Bisaro and         Cavanaugh, Coward, Baeder
   Palm Beach, FL (April 25-28,   Saunders, Falkin, Boyer,
   2015)                          Steward

  App.

         312. As a result of the Estradiol price hikes, Allergan improperly recognized

  $7.7 million of collusive revenues between 2015 and 2016:




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                        f.        Clarithromycin ER, Estazolam, Tamoxifen
                                  Citrate, and Hydroxyzine Pamoate
        313. Clarithromycin ER Tablet is the generic version of Biaxin XL and is an

  antibiotic used to treat respiratory infections caused by the flu or pneumonia.

        314. Estazolam Tablet is the generic version of ProSom and is a sedative used

  to treat insomnia.

        315. Tamoxifen Citrate Tablet is the generic version of Nolvadex and is an

  antiestrogen used in hormone therapies for the prevention or treatment of breast

  cancer.

        316. Hydroxyzine Pamoate Capsule is the generic version of Vistaril and is an

  antihistamine and sedative used for the relief of psychoneurosis symptoms such as

  tension and anxiety. It is also used to treat certain allergic reactions.

        317. In 2013 to 2014, the market for each of these four drugs was susceptible

  to collusion.

        318. Allergan and Teva represented over 80% of the market for

  Clarithromycin ER, close to the entirety of the market for Estazolam and Tamoxifen

  Citrate, and close to 60% of the market for Hydroxyzine Pamoate. The market for

  each drug was highly concentrated with HHI over 3000:

                                                 2013 HHI           2014 HHI
            Clarithromycin ER                      3367               3835
            Estazolam                              4990               4998
            Tamoxifen Citrate                      5987               5226
            Hydroxyzine Pamoate                    3743               3088



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  In such highly concentrated markets, the cartels tended to be stable with the absence

  of cheating.

        319. Demand was also highly inelastic for each drug such that a massive price

  increase had little to no effect on demand. In addition, Clarithromycin ER and

  Tamoxifen Citrate were considered essential medicines by the WHO and were crucial

  to “the priority health care needs of the population.” With no effective substitute,

  consumers could not replace the drugs after massive price hikes.

        320. According to the May 2019 AG Complaint, Allergan implemented price

  increases on Clarithromycin, Tamoxifen Citrate, and Estazolam in March 2014 after

  reaching an agreement with Teva, in which “Actavis understood that Teva would

  follow the increases, or, at a minimum, would not poach Actavis customers after the

  increase.” May 2019 AG Complaint, ¶¶774-779.

        321. Indeed, on April 4, 2014, Teva not only followed Allergan’s price hikes

  on the three drugs, but also led the price hike for Hydroxyzine Pamoate after extensive

  communication and coordination with Allergan. Id., ¶¶743-748. As alleged in the

  May 2019 AG Complaint, the agreement with co-conspirators was summarized in a

  spreadsheet after Teva was “[s]atisfied that Defendants Patel and Rekenthaler had

  confirmed agreement with all appropriate competitors”:




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  Id., ¶747.

        322. Coordination between Allergan and Teva began at the start of 2014,

  when Zydus was planning to exit the market for Clarithromycin (and ultimately exited

  almost a year later). Id., ¶769. At the end of 2013, Actavis, Teva, and Zydus made up

  the entirety of the Clarithromycin market. Id., ¶768. In advance of Zydus’ exit,

  Cardinal was actively seeking a new supplier. Id., ¶769.

        323. Instead of competing for Zydus’ market share and the Cardinal business,

  Allergan and Teva reached an agreement to increase the price of Clarithromycin and

  painted a picture of supply shortage despite the fact that no shortage was reported to

  the FDA. At 9:37 a.m. on January 2, 2014, Teva’s customer marketing manager Liz

  Ricketts sent out an email suggesting that Teva should compete for Cardinal’s


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  Clarithromycin business “at 10% under market intel pricing for [the] Watson/Actavis

  product” because “[i]f Cardinal is willing to wait until April, I suspect that Actavis

  isn’t interested in picking up a lot of additional share.” Id., ¶770. Cardinal had agreed

  to wait until April to switch its supplier, as Teva represented that it did not have

  adequate supply to meet the excess demand. Id., ¶769. Sensing an opportunity to

  collude with a “quality” co-conspirator, within 3 minutes of receiving Ricketts’ email

  recommendation, Teva’s Patel called Allergan’s Rogerson at 9:40 a.m. and spoke with

  him for 17 minutes. Id., ¶771. At 10:12 a.m., immediately after speaking with

  Rogerson, Patel opposed Ricketts’ recommendation and instructed instead: “I think

  we have an opportunity to go higher. Let’s aim for around $148 net and request

  feedback.” Id. A week later, on January 9, 2014, Allergan’s Rogerson and Teva’s

  Patel spoke again for over six minutes about Cardinal’s bid. Id., ¶772. Shortly after

  the call with Rogerson, Patel emailed her Teva colleagues and announced: “It looks

  like Cardinal accepted our bid at the higher price. We may have an opportunity to

  take some increases.” Id.

        324. The opportunity to hike prices quickly expanded beyond Clarithromycin.

  On January 14, 2014, Patel sent an email to her boss Kevin Galownia with a

  spreadsheet containing a list of collusive price hike candidates, including

  Clarithromycin ER, entitled “Increase Potentials Q1 2014.” Id., ¶¶741, 773. The

  email stated: “Attached is my list of potential items. Note that they still need to go


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  through the review process.” Id., ¶741. According to the May 2019 AG Complaint,

  “Patel was feverishly coordinating by phone with a number of different competitors to

  identify price increase candidates” from February 4-7, 2014 in effort to put together a

  February 7 spreadsheet entitled “PI Candidates” with a more “formal list” of collusive

  drugs for her boss. Id., ¶743. Allergan’s Rogerson was one of the core co-

  conspirators who spoke with Patel for over 30 minutes on February 5-6, 2014:




        325. According to the StateAGs, Patel’s efforts were so successful that she put

  together “a more refined list of ‘PI Candidates’” by February 26, 2014, which

  included Allergan’s Clarithromycin and Hydroxyzine Pamoate:




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  Id., ¶744.

        326. Allergan continued to communicate with Teva in March 2014 to

  coordinate its own price hikes as well as Teva’s price hikes to be implemented in

  April. Within the span of a week, between March 11-17, 2014, Allergan’s Marc

  Falkin and Teva’s David Rekenthaler spoke for over 30 minutes and texted 4 times,

  while Allergan’s Rogerson and Teva’s Patel spoke for over 38 minutes. Id., ¶745.




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        327. Many of these calls took place immediately before and after Allergan’s

  announcement of its price hikes on March 13, 2014 (to be effective on April 15,

  2014). Id., ¶¶745, 775. In particular, on March 11-12, 2014 – the two days

  immediately prior to Allergan’s price increase announcement – Allergan’s Falkin

  spoke to Teva’s Rekenthaler three times to coordinate the increases. Id., ¶745. On

  March 14, 2014, the day after Allergan’s announcement, Allergan’s Rogerson called

  Teva’s Patel twice that morning and finally spoke to her for over 12.5 minutes at

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  10:31 a.m. Id., ¶¶745, 775. At 10:47 a.m., within minutes after the call, Patel emailed

  her National Account Managers (“NAMs”) about Allergan’s price increases and some

  of the drugs that overlapped with Teva:




  Id., ¶775.

        328. When Allergan’s Rogerson and Teva’s Patel spoke again for more than

  5.5 minutes at 12:37 p.m. that same day (March 14), Patel confirmed that Teva would

  follow Allergan’s price increases. Id., ¶777. At 12:51 p.m., within minutes after the

  Rogerson call, Patel emailed her colleagues and announced: “Actavis took an

  increase. We will follow. We need to review price per my alert list. Let’s wait to see

  what intel we can get and discuss Monday.” Id.

        329. Indeed, on Monday (March 17, 2014), Patel added Tamoxifen and

  Estazolam to the collusive price increase list in the spreadsheet “PI Candidates,” and

  called Allergan’s Rogerson shortly after emailing the spreadsheet to her boss


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  Galownia. Id., ¶778. Rogerson and Patel spoke for 19 minutes. Id. Allergan’s Falkin

  also spoke with Teva’s Rekenthaler for more than six minutes that morning and

  communicated by text four times. Id.

        330. Before and at the time of Teva’s April 4, 2014 price hikes, Allergan and

  Teva communicated extensively – as shown in an illustration by the StateAGs

  concerning the co-conspirators’ conversations relating to the collusive price hike

  drugs. Id., ¶748. Allergan’s communications with Teva concerning the price hikes on

  Clarithromycin, Estazolam, Tamoxifen, and Hydroxyzine Pamoate are notated in blue:




  Id.
        331. As the StateAGs allege, “[t]hese price increases were all coordinated and

  agreed to between Teva and its competitors.” Id. In particular, for drugs with price


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  hikes that were led by Teva, such drugs had “the most risk if Teva did not secure an

  agreement beforehand with a competitor before raising its own price.” Id., ¶746.

  Patel also circulated a list on April 1, 2014 targeting such drugs, including

  Hydroxyzine Pamoate, to her colleague Rekenthaler to ensure that “Teva had

  successfully coordinated increases with everyone.” Id. As the graphic above

  demonstrates, Allergan’s Rogerson spoke to Teva’s Patel three times on April 1 and 3,

  prior to Teva’s price hikes; and on April 4, 2014, the day of the hike, they spoke twice

  for close to ten minutes. Allergan’s Falkin and Teva’s Rekenthaler also spoke on the

  day of the price hikes, as well as on each of the three days preceding the hike.

        332. In addition to communicating by phone, prior to and at the time of the

  price hikes, the co-conspirators had opportunities to collude in person:

        2013 NACDS NYC Week Annual Foundation Dinner, New York, NY
        (December 3, 2013)
            Allergan attendees included: Falkin, Boyer, Giannone, Reed,
             Shane
            Teva attendees included: Rekenthaler, Cavanaugh, Coward,
             Marshall
        GPhA 2014 Annual Meeting, Orlando, FL (February 19-21, 2014)
           Allergan
           Teva attendees included: Oberman
        HDMA Sixth Annual CEO Roundtable Fundraiser, New York, NY
        (April 1, 2014)
           Allergan attendees included: Falkin, Boyer, Rogerson, Giannone,
              Clark
           Teva attendees included: Rekenthaler, Cavanaugh, Doerr
        NACDS 2014 Annual Meeting, Scottsdale, AZ (April 26-29, 2014)
           Allergan attendees included: Defendants Bisaro and Olafsson,
            Falkin, Boyer, Stewart


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                Teva attendees included: Oberman, Rekenthaler, Cavanaugh,
                 Coward, Baeder
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         333. Plaintiff’s investigation confirmed that Allergan and Teva implemented

  collusive price hikes in March and April 2014. Allergan led the Estazolam price hikes

  in March 2014, and Teva followed in April 2014, increasing Estazolam pricing to the

  identical level of $0.59 per unit, resulting in a 39% price increase:

                                       Estazolam Tablets: Price per Unit
                                0.70

                                0.65

                                0.60
           Price per Unit ($)




                                0.55

                                0.50

                                0.45

                                0.40

                                0.35

                                0.30



                                             Actavis Pharma   Teva/Mayne Phar




         334. The collusive drugs showed little to no sign of competition after the

  agreements. Allergan and Teva’s Estazolam pricing were highly correlated at 97%

  with an unusual degree of uniformity, with a 99% chance that the probability of “no

  correlation” can be rejected, and that a relationship exists. In addition, pricing

  volatility fell from 7.1% to close to zero at 0.1%, and market share volatility dropped

  from 5.6% in the years prior to collusion to less than 4.8% after collusion. Similarly,

  for Clarithromycin, Hydroxyzine Pamoate, and Tamoxifene Citrate, Allergan’s market


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  share volatility fell from 9.3% to 1.3%, 3.5% to 0.7%, and 5.3% to 2.4%, respectively.

  The unusual stability was uncharacteristic of a competitive market where

  manufacturers would compete on pricing to gain market share.

        335. Indeed, based on their review of the evidence, the StateAGs have found

  that the co-conspirators refrained from competing in the market, particularly after

  Allergan and Teva’s price hikes:

               After the price increases became effective, Teva took consistent
        steps not to disrupt the market or steal market share from Actavis. For
        example, on May 14, Defendant Patel declined to bid at ABC on both
        Tamoxifen Citrate and Estazolam, stating: “unable to bid (strategic
        reasons, for internal purposes).” When Defendant Patel and her other
        conspirators at Teva used the term “strategic” in this context, it was code
        for the fact that there was an understanding in place with a competitor.
                Similarly, on May 21, 2014, Teva received a request from a large
        customer for a bid on Tamoxifen Citrate. As of that date, Teva had
        58.4% of the market, and Actavis had 40.7%. A Teva analyst forwarded
        the request to Defendant Patel and others, recommending (pursuant to
        the fair share understanding in the industry) that Teva not bid “as we are
        first in a two-player market with good share already.” Defendant Patel
        responded: “Agree. We should decline to bid.”
  May 2019 AG Complaint, ¶¶780-781.

        336. Prior to the price hikes and throughout the Relevant Period, Allergan

  executives were in constant contact with Teva. During the four months of January to

  April 2014, Allergan and Teva executives communicated over 137 times. §III.D.3.h.

  In addition to the calls with his Teva counterparts that took place during January to

  April 2014 as discussed above, Allergan’s Falkin communicated with Teva over 1,100




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  times. Similarly, Allergan’s Rogerson spoke with Teva executives over 200 times.

  Other Allergan executives also spoke with their counterparts at Teva over 250 times:

                                  Co-Conspirator’s      Number
       Allergan Executive                                                  Date
                                      Executive         of Calls
      Marc Falkin            David Rekenthaler (Teva)     433        8/7/2013 - 3/25/2015
      Marc Falkin            Maureen Cavanaugh (Teva)     410       9/10/2013 - 7/29/2016
      Marc Falkin            Christine Baeder (Teva)      199       7/21/2015 - 7/29/2016
      Marc Falkin            Theresa Coward (Teva)         36      12/28/2015 - 7/27/2016
      Marc Falkin            Teva Pharmaceuticals          26       5/28/2015 - 7/19/2016
      Marc Falkin            Nisha Patel (Teva)            11        2/5/2016 - 6/16/2016
      Marc Falkin            Jocelyn Baker (Teva)          11       11/24/2015 - 6/2/2016
      Marc Falkin            Cassie Dunrud (Teva)          11        2/8/2016 - 6/22/2016
      Marc Falkin            Jessica Peters (Teva)         7        9/27/2014 - 3/22/2016
      Marc Falkin            Kevin Galownia (Teva)         6        1/14/2016 - 5/12/2016
      Total Falkin Calls to Teva                         1150

      Rick Rogerson         Nisha Patel (Teva)            157        5/2/2013 - 11/9/2015
      Rick Rogerson         Kevin Galownia (Teva)          29      12/15/2015 - 7/29/2016
      Rick Rogerson         Teva Pharmaceuticals           27       9/24/2015 - 7/29/2016
      Rick Rogerson         Christine Baeder (Teva)        17       2/26/2016 - 7/26/2016
      Total Rogerson Calls to Teva                        230

      Allan Slavsky         David Rekenthaler (Teva)       26        1/11/2012 - 4/1/2013
      Allan Slavsky         Maureen Cavanaugh (Teva)       17       8/21/2015 - 7/26/2016
      Allan Slavsky         Nisha Patel (Teva)             28       9/16/2015 - 3/10/2016
      Andrew Boyer          David Rekenthaler (Teva)       16        4/1/2013 - 9/16/2014
      Andrew Boyer          Maureen Cavanaugh (Teva)      113       8/12/2015 - 7/25/2016
      Andrew Boyer          Nisha Patel (Teva)             28      4/30/2013 - 10/16/2015
      Anthony Giannone      Nisha Patel (Teva)             9         1/27/2015 - 6/9/2016
      Jonathan Kafer        David Rekenthaler (Teva)       15      10/11/2013 - 3/29/2015
      Jonathan Kafer        Maureen Cavanaugh (Teva)       4        4/29/2014 - 3/31/2015
      M.B.                  Nisha Patel (Teva)             3         2/26/2016 - 6/6/2016
      Total Calls with Teva                               259

        337. As a result of the Estazolam price hikes alone, Allergan improperly

  recognized $0.35 million of collusive revenues between 2014 and 2016:




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                      g.     Desmopressin Acetate Tablets, Disopyramide
                             Phosphate Capsules, Flutamide Capsules, and
                             Topiramate Sprinkle Capsules
        338. Desmopressin Acetate tablet is the generic version of DDAVP tablet and

  is used to control thirst and urination. It is usually prescribed to patients with diabetes

  insipidus or children with bedwetting problems.

        339. Disopyramide Phosphate Capsule is the generic version of Norpace

  capsule and is an anti-arrhythmic used to control serious cases of irregular heartbeat in

  an effort to prevent stroke or heart attack.

         340. Flutamide Capsule is the generic version of Eulexin and is an anti-

  testosterone used to treat or control the growth of prostate cancer.

         341. Topiramate Sprinkle Capsule is the generic version of Topamax and is an

  antiepileptic used to control seizures. It is also used to prevent the onset of migraine

  headaches.

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        342. From 2013 to 2014, the market for each of the four drugs was susceptible

  to collusion.

        343. Allergan and Teva made up close to the entirety of the market for

  Desmopressin Acetate and Disopyramide Phosphate. For Flutamide, Allergan, Teva,

  and Par made up close to the entirety of the market. For Topiramate Sprinkle,

  Allergan, Teva, and Zydus represented the entirety of the market. The market for

  each drug was highly concentrated with HHI over 3000:

                                                2013 HHI         2014 HHI
        Desmopressin Acetate                      5005             5011
        Disopyramide Phosphate                    5024             5537
        Flutamide                                 3423             3863
        Topiramate Sprinkle                       5765             5451

        344. In such highly concentrated markets, the cartels tended to be stable with

  the absence of cheating.

        345. Demand was also highly inelastic for each drug such that a massive price

  increase had little to no effect on demand. In addition, Desmopressin Acetate was

  considered an essential medicine by the WHO and was crucial to “the priority health

  care needs of the population.” With no effective substitute, consumers could not

  replace the drug after massive price hikes.

        346. Desmopressin Acetate Tablets, Disopyramide Phosphate Capsules,

  Flutamide Capsules, and Topiramate Sprinkle Capsules were part of Teva’s

  August 28, 2014 massive price hikes, which were implemented after Teva’s Patel and

  Rekenthaler coordinated with “every high-quality competitor” for weeks. May 2019

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  AG Complaint, ¶846. The StateAGs illustrated the co-conspirators’ communication in

  the graphic below, with the Allergan-Teva phone calls highlighted in blue:




  Id.

        347. As the graphic demonstrates, Allergan’s Falkin and Rogerson

  coordinated extensively with Teva prior to and immediately after Teva’s price hikes.

  Allergan’s Falkin spoke to Teva’s Rekenthaler twice on August 18, 2014 and again on

  August 24, 2014. On August 26, 2014, two days prior to the price hikes, they spoke

  four times. On the day before the price hikes, Teva’s Patel called Allergan’s

  Rogerson 5 times in the morning and discussed the price increases for more than 16

  minutes:



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  Id., ¶847.

        348. Allergan’s Falkin also spoke to Teva’s Rekenthaler again on August 28,

  2014, the day immediately after the price hike. Id., ¶846.

        349. According to the StateAGs, “[i]n addition to those phone

  communications noted above, representatives from Teva and every other defendant

  met in Boston, Massachusetts shortly before the increase, from August 23-26, 2014,

  for the NACDS annual event, which was the largest pharmaceutical industry meeting

  of the year. Defendants Cavanaugh, Rekenthaler and Patel, along with many other

  executives, as well as executives from every other corporate Defendant, attended.”

  Id., ¶848; App. Allergan’s Falkin, Rogerson, Boyer, Slavsky, Clark, and Defendant

  Buchen were also among the attendees of the NACDS annual event – along with

  Zydus’s Green, Ronco, Goldy, Keenley, Nayak, and Purcell; and Par’s Holden,

  Kenney, Propst, and Minnihan. App.

        350. For some of the collusive drugs, Teva agreed to follow its co-

  conspirators’ price hikes – such as Topiramate Sprinkle Capsules. May 2019 AG

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  Complaint, ¶876. On June 11, 2014, Teva’s Rekenthaler spoke to Allergan’s Falkin

  twice. Id., ¶880. On the same day, Teva’s Rekenthaler and Patel spoke extensively to

  their former colleague Kevin Green, who had moved to Zydus. Id., ¶879. Patel spoke

  to Green for more than 14 minutes, and Rekenthaler spoke to Green for 8 minutes.

  Id., ¶880. Shortly after the calls with Allergan and Zydus, on June 13, 2014, Patel

  added Topiramate Sprinkle Capsules to her price increase list, noting: “Follow/Urgent

  – Zydus.” Id.

        351. For drugs that Teva led the price increases, such as Desmopressin

  Acetate Tablets and Disopyramide Phosphate Capsules, co-conspirators like Allergan

  agreed to coordinate and follow the price hikes. Id., ¶882. Because Teva knew that

  Allergan planned to follow its price hikes shortly after being implemented, when a

  customer requested that Teva lower its uncompetitive Desmopressin Acetate Tablets

  pricing on October 15, 2014, Teva’s Patel simply told the customer to wait and check

  market pricing later, stating: “[w]e believe the market is still settling on this product.

  Can you please review in a few days and advise of more current pricing intelligence?”

  Id., ¶885.

        352. Indeed, within six weeks, on December 19, 2014, Allergan followed

  Teva’s Desmopressin Acetate Tablets price increase. Id., ¶884. Allergan’s Falkin

  spoke to Teva’s Rekenthaler on November 18, 21, and 25 prior to the price hike. Id.

  In addition, shortly before Allergan’s price hike, on December 3, 2014, Allergan’s


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  Falkin, Boyer, and defendant Saunders attended the 2014 NACDS Dinner in New

  York City with Teva’s Rekenthaler, Cavanaugh, and Coward – with opportunity to

  meet in person and collude during the event. App.

          353. Plaintiff’s investigation revealed that Allergan hiked Desmopressin

  Acetate Tablets prices by 75% in December 2014, taking pricing to the same level as

  Teva:




          354. Allergan and Teva’s Desmopressin Acetate Tablets pricing were highly

  correlated and uniformed, with a 99% chance that the probability of “no correlation”

  can be rejected, and that a relationship exists.

          355. For Disopyramide Phosphate Capsules, Plaintiff’s investigation revealed

  that Allergan did not immediately follow Teva’s price hike because Allergan

  temporarily exited the market after Teva’s price increase. When Allergan re-entered

  the Disopyramide Phosphate Capsules market in May 2016, it set the re-entry price at



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  the identical level as co-conspirator Teva – $2.11 per unit – and immediately gained

  14% market share:

                                    Disopyramide Phosphate Capsules: Price per Unit
                              2.5



                              2.0
         Price per Unit ($)




                              1.5



                              1.0



                              0.5



                               -



                                                      Actavis   Teva Usa




        356. Prior to Allergan’s re-entry into the Disopyramide Phosphate Capsules

  market in May 2016 and its decision to join Teva’s collusive pricing in lieu of setting

  a lower price and competing for market share, Allergan and Teva executives

  communicated frequently. Allergan’s Falkin communicated with Teva’s (i) Patel by

  text and/or phone calls 11 times from February 5, 2016 and June 16, 2016, and (ii)

  Galownia by text and/or phone calls 6 times from January 14, 2016 and May 12, 2016

  §III.D.3.h. Similarly, Allergan’s Rogerson and Teva’s Baeder communicated 17

  times between February 26, 2016 and July 26, 2016. Id. In addition, on April 16-19,

  2016, the co-conspirators gathered at the NACDS Annual Meeting in Palm Beach,

  Florida with opportunity to meet in person. App. Allergan’s Boyer and Falkin




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  attended the meeting, along with defendant Olafsson (who had resigned from Allergan

  and became President of Teva USA), Cavanaugh, and Baeder from Teva. Id.

        357. The collusive drugs had little to no sign of competition after the

  agreements.       Allergan’s market share volatility fell from 6.9% to 2.8% for

  Desmopressin Acetate Tablets, 10.1% to 0.6% for Disopyramide Phosphate Capsules,

  and 2.1% to 0.1% for Topiramate Sprinkle Capsules. The unusual stability was

  uncharacteristic of a competitive market where manufacturers would compete on

  pricing to gain market share.

        358. During the period of collusion and throughout the Relevant Period,

  Allergan was in constant contact with its co-conspirators. Between June 2014 to

  December 2014, Allergan spoke to and/or texted Teva executives at least 152 times.

  §III.D.3.h. In addition, Allergan’s Falkin communicated with Teva’s Rekenthaler at

  least 433 times and with other Teva executives over 710 times. He also exchanged

  texts and calls with Zydus executive Kristy Ronco close to 550 times and Par

  executive Jon Holden 48 times. Similarly, Allergan’s Rogerson spoke to Teva’s

  executives at least 230 times, with over 150 calls to Teva’s Patel alone. Other

  Allergan executives also spoke with their counterparts at Teva at least 239 times:

                                 Co-Conspirator’s      Number
       Allergan Executive                                                 Date
                                     Executive         of Calls
      Marc Falkin           David Rekenthaler (Teva)     433        8/7/2013 - 3/25/2015
      Marc Falkin           Maureen Cavanaugh (Teva)     410       9/10/2013 - 7/29/2016
      Marc Falkin           Christine Baeder (Teva)      199       7/21/2015 - 7/29/2016
      Marc Falkin           Theresa Coward (Teva)         36      12/28/2015 - 7/27/2016
      Marc Falkin           Teva Pharmaceuticals          26       5/28/2015 - 7/19/2016


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                                  Co-Conspirator’s       Number
       Allergan Executive                                                   Date
                                      Executive          of Calls
      Marc Falkin            Nisha Patel (Teva)             11       2/5/2016 - 6/16/2016
      Marc Falkin            Jocelyn Baker (Teva)           11      11/24/2015 - 6/2/2016
      Marc Falkin            Cassie Dunrud (Teva)           11       2/8/2016 - 6/22/2016
      Marc Falkin            Jessica Peters (Teva)          7       9/27/2014 - 3/22/2016
      Marc Falkin            Kevin Galownia (Teva)          6       1/14/2016 - 5/12/2016
      Total Falkin Calls to Teva                          1150

      Marc Falkin           Kristy Ronco (Zydus)           550       8/3/2013 - 4/13/2016

      Marc Falkin           Jon Holden (Par)               48       9/24/2013 - 8/11/2015

      Rick Rogerson         Nisha Patel (Teva)             157        5/2/2013 - 11/9/2015
      Rick Rogerson         Kevin Galownia (Teva)           29      12/15/2015 - 7/29/2016
      Rick Rogerson         Teva Pharmaceuticals            27       9/24/2015 - 7/29/2016
      Rick Rogerson         Christine Baeder (Teva)         17       2/26/2016 - 7/26/2016
      Total Rogerson Calls to Teva                         230

      Allan Slavsky         David Rekenthaler (Teva)        26        1/11/2012 - 4/1/2013
      Allan Slavsky         Maureen Cavanaugh (Teva)        17       8/21/2015 - 7/26/2016
      Allan Slavsky         Nisha Patel (Teva)              28       9/16/2015 - 3/10/2016
      Andrew Boyer          David Rekenthaler (Teva)        16        4/1/2013 - 9/16/2014
      Andrew Boyer          Maureen Cavanaugh (Teva)       113       8/12/2015 - 7/25/2016
      Andrew Boyer          Nisha Patel (Teva)              28      4/30/2013 - 10/16/2015
      Anthony Giannone      Nisha Patel (Teva)              9         1/27/2015 - 6/9/2016
      Jonathan Kafer        David Rekenthaler (Teva)        15      10/11/2013 - 3/29/2015
      Jonathan Kafer        Maureen Cavanaugh (Teva)        4        4/29/2014 - 3/31/2015
      M.B.                  Nisha Patel (Teva)              3         2/26/2016 - 6/6/2016
      Total Calls with Teva                                259

        359. As a result of the price hikes, Allergan improperly recognized over

  $50 million of collusive revenues for Desmopressin Acetate Tablets and

  Disopyramide Phosphate Capsules alone.

        360. For Desmopressin Acetate Tablets, Allergan generated almost

  $50 million of collusive revenues between 2014 and 2016:




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        361. For Disopyramide Phosphate Capsules, Allergan generated over

  $0.4 million of collusive revenues in 2016:

                                               Actavis's Total Yearly Collusive Revenues: Disopyramide Phosphate Capsules
                                                0.45

                                                0.40
         Collusive Revenue ($m)




                                                0.35

                                                0.30

                                                0.25

                                                0.20

                                                 0.15

                                                 0.10

                                                0.05

                                                   -
                                                                                                            2016
                                  (1) Collusive Revenue                                                     0.42
                                  (2) Collusive Revenue                                                     0.42
                                  (3) Collusive Revenue                                                     0.42
                                  Average                                                                   0.42

                                                            (1) Collusive Revenue   (2) Collusive Revenue   (3) Collusive Revenue   Average




                                            13.           Additional Market Allocation Drugs from the
                                                          May 2019 AG Complaint
        362. The concept of “fair share” – also known as the “‘rules of engagement’” –

  particularly applies when a new competitor enters the generic drug market and

  engages in market allocation. May 2019 AG Complaint, ¶126. While “no precise

  method” applies in allocating “‘fair share,’” later entrants are generally given less than

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  a proportional share of the market. Id., ¶¶128-130. According to the StateAGs, to

  achieve the purpose of minimizing competition, the scheme is effectuated in the

  following way:

        First, Defendants allocate the market for an individual drug based on the
        number of competitors and the timing of their entry so that each
        competitor obtains an acceptable share of the market. Then, the
        competitors agree on ways to avoid competing on price and, at times,
        significantly raise price. This pattern is frequently followed even in the
        absence of direct communication between the competitors,
        demonstrating the universal code of conduct agreed to by Defendants.
  Id., ¶132.

        363. As alleged in the May 2019 AG Complaint, Allergan and its co-

  conspirators implemented the fair share market allocation scheme to at least nine

  generic drugs.

                     a.     Amphetamine/Dextroamphetamine Extended
                            Release
        364. Amphetamine/Dextroamphetamine Extended Release (“MAS-XR”) is the

  generic version of Adderall XR and is used to treat attention deficit disorder.

  May 2019 AG Complaint, ¶328. The drug is also known as “Mixed Amphetamine

  Salts” or “MAS,” as it is a mixture of levoamphetamine and dextroamphetamine salts.

  Id.

        365. In 2011-2012, the MAS-XR market was highly concentrated with HHI of

  4,462-5,135. Before Allergan’s entry, Teva had over half of the market.




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        366. Allergan began marketing MAS-XR as early as April 2012, while its

  application to manufacture MAS-XR was still pending at the FDA. Id., ¶¶330, 332.

  Allergan initially reached out to Teva’s customer – the customer, in turn, contacted

  Teva on April 9, 2012 to request lower pricing on the drug and alerted Teva on

  Allergan’s pending approval. Id., ¶330.

        367. Allergan initiated the discussion concerning its impending launch of

  MAS-XR with Teva, and by June 22, 2012 – when the FDA approved Allergan’s

  application for MAS-XR – Allergan had already communicated to Teva its desired

  fair share of 15% market share and customer allocations. Teva’s Rekenthaler

  instructed his colleagues to gather intelligence around Allergan’s launch plans at

  9:58 p.m. on June 22, 2012, and at 8:32 a.m. the next morning, Teva’s national

  account executive Teri Sherman responded that Allergan’s senior sales and marketing

  executive Michael Perfetto had already spoken to her. Id., ¶332. In her email

  response, Sherman laid out the details of her conversation with Allergan’s Michael

  Perfetto, and the identity of the customers Allergan targeted to receive from Teva:




  Id.



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        368. In response to the Allergan customer allocation wish list, Teva’s senior

  sales executive Theresa Coward told colleagues that “this allocation of market share

  could be tricky” because one of Allergan’s targeted customers warehoused products

  for another customer not subject to the market allocation. Id., ¶333.

        369. Nevertheless, as Allergan demanded, Teva conceded customers to

  Allergan, and the MAS-XR market allocation process was completed by May 7, 2013.

  Id., ¶334. On May 7, 2013, Teva’s Coward confirmed the completion of the scheme

  in an email to a customer seeking a lower price for the drug and stated: “‘we have

  plenty of supply and want to keep you [sic] full business [sic] we have already let

  other customers go to [Actavis] go to help the market dynamites [sic].’” Id.

        370. Plaintiff’s investigation revealed that Allergan indeed attained its desired

  15% market share by October 2012 without competing on pricing for MAS-XR, and

  MAS-XR quickly became one of Allergan’s “key products which comprised a

  majority of product sales for North American Generic” by 2014 as recognized in the

  2014 Form 10-K. In fact, Allergan entered the market in July 2012 at the same

  elevated pricing as set by Teva at $4.91 per unit, and the conspirators maintained the

  collusive pricing throughout the Relevant Period:




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                                     Amphetamine-Dextro ERCapsule: Price per Unit
                               6.0


                               5.0


                               4.0
          Price per Unit ($)




                               3.0


                               2.0


                               1.0


                                -




                                                    Teva Usa    Actavis Pharma




        371. Anti-competitive behavior by Allergan and Teva left behind a series of

  collusive markers in the MAS-XR market, as evidenced by uniform pricing marked by

  high correlations, low volatility of drug prices post-collusion, and the high stability of

  market share. From the time of Allergan’s entry to the end of the Relevant Period,

  Allergan and Teva’s MAS-XR pricing were highly correlated and uniformed, with a

  99% chance that the probability of “no correlation” can be rejected, and that a

  relationship exists. In addition, pricing volatility was close to zero, and market share

  volatility dropped from 4.5%-6.4% in the years prior to collusion to less than 2% for

  years after Teva’s Coward announced the completion of the market allocation process

  in May 2013. The unusual stability was uncharacteristic of a competitive market

  where manufacturers would compete on pricing to gain market share.




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         372. Throughout the MAS-XR market allocation process, representatives from

  Allergan and Teva had the opportunity to communicate in person through the

  following trade association meetings:

       Conference            Allergan Attendees Including:           Teva Attendees Including:
  NACDS Annual             Defendants Paul Bisaro and Sigurdur   Theresa Coward, Maureen
  Meeting in Palm Beach,   Olafsson, and Michael Perfetto,       Cavanaugh, Jeremy Levin, Jonathan
  FL (April 24-27, 2012)   Andrew Boyer, Allan Slavsky,          Kafer, and Christine Baeder
                           Michael Reed, Paul Reed, John
                           Shane, and Robert Stewart
  HDMA 2012 Business       Andrew Boyer, Richard Rogerson,       Theresa Coward, David Rekenthaler,
  and Leadership           Allan Slavsky, Michael Baker, Jack    Teri Sherman, Kevin Green, and
  Conference in San        Ericsson, Michael Reed, Paul Reed,    Jessica Peters
  Antonio, TX (June 13,    John Shane, and Carrie Wetzel
  2012)
  NACDS 2012               Michael Perfetto, Andrew Boyer,       Theresa Coward, Teri Sherman,
  Pharmacy and             Allan Slavsky, Napoleon Clark,        David Rekenthaler, Maureen
  Technology Conference    Michael Baker, Ara Aprahamian,        Cavanaugh, Kevin Galownia, Kevin
  in Denver, CO            Steven Cohen, Michael Dorsey, and     Green, Christine Baeder, Jessica
  (August 25-28, 2012)     Jinping McCormack                     Peters, and Scott Goldy
  GPhA Technical           Allergan                              Teva
  Conference in
  Bethesda, MD
  (October 1-3, 2012)
  NACDS Regional           Michael Baker and Paul Reed           Theresa Coward
  Chain Conference in
  Fort Lauderdale, FL
  (February 3-5, 2013)
  GPhA Annual Meeting      Defendant Sigurdur Olafsson           Allan Oberman
  in Orlando, FL
  (February 20-22, 2013)
  NACDS 2013 Annual        Defendants Paul Bisaro and Sigurdur   Theresa Coward, David Rekenthaler,
  Meeting in Palm Beach,   Olafsson, and Andrew Boyer, Allan     Maureen Cavanaugh, Jeremy Levin,
  FL (April 20-23, 2013)   Slavsky, Robert Steward, Michael      Allan Oberman, and Jonathan Kafer
                           Baker, Michael Reed, Paul Reed,
                           and John Shane

         373. In addition, throughout the market allocation process and the Relevant

  Period, Allergan and Teva executives communicated constantly.                            Between

  January 2013 to May 2013, Allergan and Teva executives texted and/or spoke by

  phone at least 38 times. §III.D.3.h. In particular, Teva’s Rekenthaler and Allergan’s

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  Slavsky exchanged calls and/or texts at least 26 times between January 2012 and

  April 2013, while other senior executives also communicated extensively:

                                   Co-Conspirator’s      Number
       Allergan Executive                                                   Date
                                       Executive         of Calls
      Marc Falkin             David Rekenthaler (Teva)     433        8/7/2013 - 3/25/2015
      Marc Falkin             Maureen Cavanaugh (Teva)     410       9/10/2013 - 7/29/2016
      Marc Falkin             Christine Baeder (Teva)      199       7/21/2015 - 7/29/2016
      Marc Falkin             Theresa Coward (Teva)         36      12/28/2015 - 7/27/2016
      Marc Falkin             Teva Pharmaceuticals          26       5/28/2015 - 7/19/2016
      Marc Falkin             Nisha Patel (Teva)            11        2/5/2016 - 6/16/2016
      Marc Falkin             Jocelyn Baker (Teva)          11       11/24/2015 - 6/2/2016
      Marc Falkin             Cassie Dunrud (Teva)          11        2/8/2016 - 6/22/2016
      Marc Falkin             Jessica Peters (Teva)         7        9/27/2014 - 3/22/2016
      Marc Falkin             Kevin Galownia (Teva)         6        1/14/2016 - 5/12/2016
      Rick Rogerson           Nisha Patel (Teva)           157        5/2/2013 - 11/9/2015
      Rick Rogerson           Kevin Galownia (Teva)         29      12/15/2015 - 7/29/2016
      Rick Rogerson           Teva Pharmaceuticals          27       9/24/2015 - 7/29/2016
      Rick Rogerson           Christine Baeder (Teva)       17       2/26/2016 - 7/26/2016
      Allan Slavsky           David Rekenthaler (Teva)      26        1/11/2012 - 4/1/2013
      Allan Slavsky           Maureen Cavanaugh (Teva)      17       8/21/2015 - 7/26/2016
      Allan Slavsky           Nisha Patel (Teva)            28       9/16/2015 - 3/10/2016
      Andrew Boyer            David Rekenthaler (Teva)      16        4/1/2013 - 9/16/2014
      Andrew Boyer            Maureen Cavanaugh (Teva)     113       8/12/2015 - 7/25/2016
      Andrew Boyer            Nisha Patel (Teva)            28      4/30/2013 - 10/16/2015
      Anthony Giannone        Nisha Patel (Teva)            9         1/27/2015 - 6/9/2016
      Jonathan Kafer          David Rekenthaler (Teva)      15      10/11/2013 - 3/29/2015
      Jonathan Kafer          Maureen Cavanaugh (Teva)      4        4/29/2014 - 3/31/2015
      M.B.                    Nisha Patel (Teva)            3         2/26/2016 - 6/6/2016
      Total Calls with Teva                               1639

                       b.       Budesonide Inhalation
        374. Budesonide Inhalation is an anti-inflammatory steroid used to control

  asthma and is bioequivalent to the branded drug Pulmicort Respules. May 2019 AG

  Complaint, ¶351. Prior to Allergan’s entry into the market in April 2013, Teva was

  the only manufacturer of Budesonide Inhalation. Id., ¶¶352, 559. As such, the HHI

  for the Budesonide Inhalation market was close to 10,000. The drug was one of the



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  WHO’s essential medicines, was crucial to “the priority health care needs of the

  population,” and had no effective substitute.

        375. In April 2013, Allergan launched and priced Budesonide Inhalation after

  entering into collusive agreements with Teva to avoid competition and maintain pricing.

  Id., ¶¶560-561. Allergan launched Budesonide Inhalation after winning a patent lawsuit

  against the brand manufacturer of the drug. Id., ¶560. While the appeal was still

  pending, Allergan quickly implemented an “‘at risk’” launch of the drug – taking the

  risk that an appellate court could ultimately find a patent violation by the Company. Id.

  In preparation for the launch, Allergan’s senior sales and marketing executive Andrew

  Boyer spoke with Teva’s Rekenthaler three times on April 1 and 2, which resulted in

  Actavis pricing the drug at exactly the same price as Teva. Id., ¶561. Indeed, as a

  customer’s email to Teva confirmed on April 2, 2013, Actavis’s Budesonide Inhalation

  pricing was “‘in line with [Teva’s] current wholesale pricing.’” Id.

        376. According to Olafsson, shortly after Allergan began shipping Budesonide

  Inhalation, further legal actions by the brand manufacturer and an injunction caused

  Allergan to temporarily exit the market. When Allergan re-entered the market in

  February 2015, it continued the pricing and market allocation agreement reached with

  Teva in April 2013. Id., ¶¶353, 562. On February 10, 2015, Allergan’s Vice

  President of Marketing, Pricing and Contracts Marc Falkin spoke with Teva’s

  Rekenthaler by phone. Id., ¶353. Rekenthaler relayed his conversation with Falkin to


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  his colleagues on February 13 and stated: “‘[i]t appears that Actavis is intending on

  shipping’” Budesonide Inhalation. Id. Falkin spoke with Rekenthaler again for 23

  minutes on February 16, 2015 to allocate customers. Id., ¶354. After the extended

  Allergan-Teva phone conversation, Teva’s Theresa Coward sent out an internal email

  the next day to announce Teva’s concession of two major accounts to Allergan due to

  the Company’s urgent need to put out products before further lawsuits by the brand

  manufacturer. Id. According to Coward, to implement the customer allocation

  process, she had been working on an “‘exit strategy’” with the customers to eliminate

  Teva’s Budesonide Inhalation from the supply channel in order to facilitate Allergan’s

  entry. Id.

        377. Plaintiff’s investigation confirmed that Allergan again re-entered the

  Budesonide Inhalation market in February 2015 at the same price set by Teva and

  rapidly gained market share:




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        378. Within a few months, Allergan received close to 23% of the market from

  Teva as a result of the anticompetitive agreement to allocate customers and not

  compete on price.     Because of the collusion, Allergan and Teva’s prices for

  Budesonide Inhalation during the Relevant Period were closely correlated, with a

  99% chance that the probability of “no correlation” can be rejected, and that a

  relationship exists. After Allergan took a quarter of the Budesonide Inhalation market

  from Teva, the co-conspirators’ market share stabilized with no fluctuation – with

  Teva’s market share volatility reaching close to zero at 0.7% and Allergan’s volatility

  bottoming out at 1.2%. Budesonide Inhalation prices remained flat. The unusual

  stability of market share and prices demonstrated the absence of a competitive market,

  and the co-conspirators did not meaningfully undercut prices to gain market share.

        379. Indeed, between 2013 to 2016, Allergan was in constant communication

  with Teva to facilitate the collusion. In addition to the calls discussed above,

  Allergan’s Marc Falkin spoke with Teva at least 1,150 times during the three-year

  period. May 2019 AG Complaint, ¶1065. At the same time, Allergan’s Andrew

  Boyer also spoke with Teva’s David Rekenthaler, Maureen Cavanaugh, and Nisha

  Patel at least 157 times. Id., ¶¶1064, 1075-1076. And other Allergan executives

  spoke with their counterparts at Teva over 330 times:




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                                 Co-Conspirator’s        Number
        Allergan Executive                                                     Date
                                     Executive           of Calls
        Andrew Boyer         David Rekenthaler (Teva)       16           4/1/2013 - 9/16/2014
        Andrew Boyer         Maureen Cavanaugh (Teva)      113          8/12/2015 - 7/25/2016
        Andrew Boyer         Nisha Patel (Teva)             28         4/30/2013 - 10/16/2015
        Total:                                             157

        Marc Falkin          David Rekenthaler (Teva)        433         8/7/2013 - 3/25/2015
        Marc Falkin          Maureen Cavanaugh (Teva)        410        9/10/2013 - 7/29/2016
        Marc Falkin          Christine Baeder (Teva)         199        7/21/2015 - 7/29/2016
        Marc Falkin          Theresa Coward (Teva)            36       12/28/2015 - 7/27/2016
        Marc Falkin          Teva Pharmaceuticals             26        5/28/2015 - 7/19/2016
        Marc Falkin          Nisha Patel (Teva)               11         2/5/2016 - 6/16/2016
        Marc Falkin          Jocelyn Baker (Teva)             11        11/24/2015 - 6/2/2016
        Marc Falkin          Cassie Dunrud (Teva)             11         2/8/2016 - 6/22/2016
        Marc Falkin          Jessica Peters (Teva)             7        9/27/2014 - 3/22/2016
        Marc Falkin          Kevin Galownia (Teva)             6        1/14/2016 - 5/12/2016
        Total:                                               1150

        Allan Slavsky        David Rekenthaler (Teva)         26         1/11/2012 - 4/1/2013
        Allan Slavsky        Maureen Cavanaugh (Teva)         17        8/21/2015 - 7/26/2016
        Allan Slavsky        Nisha Patel (Teva)               28        9/16/2015 - 3/10/2016
        Anthony Giannone     Nisha Patel (Teva)                9         1/27/2015 - 6/9/2016
        Jonathan Kafer       David Rekenthaler (Teva)         15       10/11/2013 - 3/29/2015
        Jonathan Kafer       Maureen Cavanaugh (Teva)          4        4/29/2014 - 3/31/2015
        M.B.                 Nisha Patel (Teva)                3         2/26/2016 - 6/6/2016
        Rick Rogerson        Nisha Patel (Teva)              157         5/2/2013 - 11/9/2015
        Rick Rogerson        Kevin Galownia (Teva)            29       12/15/2015 - 7/29/2016
        Rick Rogerson        Teva Pharmaceuticals             27        9/24/2015 - 7/29/2016
        Rick Rogerson        Christine Baeder (Teva)          17        2/26/2016 - 7/26/2016
        Total:                                               332

         380. In addition, Allergan and Teva had ample opportunities to meet in person

  prior to the April 2013 and February 2015 Budesonide Inhalation launches:

                                        Allergan Attendees
            Conference                                                Teva Attendees Including:
                                             Including:
   NACDS 2013 Regional Chain        Baker, Reed                     Coward
   Conference, Ft. Lauderdale, FL
   (February 3-5, 2013)
   GPhA 2013 Annual Meeting,        Defendant Olafsson              Oberman
   Orlando, FL (February 20-22,
   2013)
   ECRM Annual Retail Pharmacy      Allergan                        Teva
   Efficient Program Planning
   Session, Dallas, TX
   (February 24-27, 2013)

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                                       Allergan Attendees
            Conference                                              Teva Attendees Including:
                                           Including:
   2014 NACDS NYC Week             Defendant Saunders, Falkin,   Rekenthaler, Cavanaugh, Coward,
   Annual Foundation Dinner, New   Boyer                         Peters, Baeder
   York, NY (December 3, 2014)
   GPhA 2015 Annual Meeting,       Allergan                      Olafsson, Rubenstein
   Miami, FL (February 9-11,
   2015)
   2015 HCSCA National             Fallon                        Gerebi, McClard, Bivens,
   Pharmacy Forum, Tampa, FL                                     Bradford
   (February 16-18, 2015)

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                         c.    Drospirenone and Ethinyl Estradiol
         381. Drospirenone and Ethinyl Estradiol (“generic Ocella”) is an oral

  contraceptive and also known as Gianvi®, Yaz®, or Yasmin®. May 2019 AG

  Complaint, ¶275.        During 2012-2013, the generic Ocella market was highly

  concentrated with HHI of 3,240-3,368. Although both Allergan and Teva were in the

  generic Ocella market in April 2013, Teva held 70%-75% of the market and Allergan

  sought to change that by engaging in customer allocation with Teva. Id., ¶279.

         382. According to the May 2019 AG Complaint, Lupin’s entry into the

  generic Ocella market provided the opportunity for the co-conspirators to allocate

  customers. Id., ¶278. Allergan and Teva engaged in a series of phone and text

  communications on April 30, 2013, with Allergan’s Boyer speaking with Teva’s

  executives three times in the same day – twice with Rekenthaler and once with Patel.

  Id., ¶280. Boyer continued communicating with Teva’s Patel on May 1 through four

  text messages. Id.


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        383. During the negotiations, Allergan applied pressure on Teva to reach an

  agreement by submitting a bid for one of Teva’s major customer’s generic Ocella

  business. Id., ¶282. The tactic worked. When the customer reached out to Teva

  about Allergan’s bid on May 8, 2013, “Teva doubled down on its efforts to reach a

  deal” with Allergan and Lupin “that would give each its fair share.” Id. Teva’s Patel

  immediately reached out to Allergan’s Rogerson in a May 8, 2013 19-minute phone

  call to discuss the terms of the agreement. Id. After the call, on May 9, 2013, Teva

  proceeded to analyze the effect of conceding two major customers to Allergan or

  Lupin. Id., ¶283. With the analysis in hand, Teva’s Patel again spoke with Allergan’s

  Rogerson for five minutes. Id. On May 14, 2013, Teva’s Galownia and Rekenthaler

  agreed to concede the generic Ocella business to Allergan to avoid competing on

  price. Id., ¶284.

        384. By October 2013, after entering the generic Ocella market in July 2013

  and negotiating for several months, Lupin also obtained its fair share market

  allocation and the customer allocations were finalized. Id., ¶¶285-291. In discussing

  the furtive agreements, Teva’s Kevin Galownia warned his colleagues about the need

  to allocate customers on a drug-by-drug basis instead of conceding the entire customer

  accounts in whole to avoid “‘giving up volume on products where we do not have our

  fair share.’” Id., ¶291. With an agreement in hand, Lupin set its generic Ocella price

  at the same level as Allergan and Teva:


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                                    Drospirenone-Ethinyl Estrodiol Tablets: Price per Unit
                            2.500



                            2.000
       Price per Unit ($)




                            1.500



                            1.000



                            0.500



                               -



                                                 Teva Usa   Lupin Pharma   Actavis Pharma




                   385. Plaintiff’s investigation revealed that Allergan’s market share increased

  by 8% between May 2013 and October 2013, and grew by 18% between May 2013 to

  May 2014 – all at the expense of Teva. Lupin also took 6% of the market.

                   386. The generic Ocella market share shifts occurred without price

  competition and were anticompetitive. Price volatility registered at close to zero for

  years after the collusion – ranging from 0.0% to 0.3%. Market share also stabilized

  for years after the agreements were in place, with Teva’s market share volatility

  dropping from close to 5% to 0.5% and Allergan’s volatility dropping from 3.2% to

  0.5%. The unusual stability of market share and prices demonstrated the absence of a

  competitive market, and the co-conspirators did not meaningfully compete on prices

  to gain market share.

                   387. Allergan was in constant communication with its co-conspirators during

  the Relevant Period to facilitate the collusion. Between May and October 2013,

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  Allergan and Teva executives communicated at least 112 times via phone calls and

  text messages. §III.D.3.h. In addition to the discussions outlined above, Allergan’s

  Andrew Boyer spoke with Teva’s David Rekenthaler, Maureen Cavanaugh, and Nisha

  Patel at Teva at least 157 times between 2013 to 2016. Id. At the same time,

  Allergan’s Rick Rogerson spoke to Teva’s Nisha Patel, Kevin Galownia, Christine

  Baeder and others executives at least 230 times. Id.

           Allergan         Co-Conspirator’s          Number
                                                                         Date
          Executive             Executive             of Calls
        Andrew Boyer    David Rekenthaler (Teva)         16        4/1/2013 - 9/16/2014
        Andrew Boyer    Maureen Cavanaugh (Teva)        113       8/12/2015 - 7/25/2016
        Andrew Boyer    Nisha Patel (Teva)               28      4/30/2013 - 10/16/2015
        Total:                                          157

        Rick Rogerson   Nisha Patel (Teva)              157        5/2/2013 - 11/9/2015
        Rick Rogerson   Kevin Galownia (Teva)            29      12/15/2015 - 7/29/2016
        Rick Rogerson   Teva Pharmaceuticals             27       9/24/2015 - 7/29/2016
        Rick Rogerson   Christine Baeder (Teva)          17       2/26/2016 - 7/26/2016
        Total:                                          230

  In addition to Boyer and Rogerson, Allergan’s other executives were in frequent

  communication with their co-conspirators – speaking with their counterparts at Lupin

  at least 355 times and Teva at least 1,252 times. Id. In particular, Allergan’s Marc

  Falkin also spoke to Lupin’s David Berthold and Steve Randazzo at least 54 times

  during the same period, with 2 calls between Falkin and Randazzo taking place on

  October 5, 2013 – around the time when the generic Ocella customer allocation was

  being finalized. Id. Allergan’s Anthony Giannone also spoke to Lupin’s Berthold

  approximately 301 times around the same period. Id.



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                                 Co-Conspirator’s             Number
       Allergan Executive                                                          Date
                                     Executive                of Calls
       Anthony Giannone      David Berthold (Lupin)             301       3/22/2011 - 12/14/2017
       Marc Falkin           David Berthold (Lupin)              52         9/3/2013 - 4/1/2016
       Marc Falkin           Steve Randazzo (Lupin)              2               10/5/2013
       Total Calls with Lupin:                                  355

       Allan Slavsky         David Rekenthaler (Teva)            26         1/11/2012 - 4/1/2013
       Allan Slavsky         Maureen Cavanaugh (Teva)            17        8/21/2015 - 7/26/2016
       Allan Slavsky         Nisha Patel (Teva)                  28        9/16/2015 - 3/10/2016
       Anthony Giannone      Nisha Patel (Teva)                  9          1/27/2015 - 6/9/2016
       Jonathan Kafer        David Rekenthaler (Teva)            15       10/11/2013 - 3/29/2015
       Jonathan Kafer        Maureen Cavanaugh (Teva)            4         4/29/2014 - 3/31/2015
       M.B.                  Nisha Patel (Teva)                  3          2/26/2016 - 6/6/2016
       Marc Falkin           David Rekenthaler (Teva)           433         8/7/2013 - 3/25/2015
       Marc Falkin           Maureen Cavanaugh (Teva)           410        9/10/2013 - 7/29/2016
       Marc Falkin           Christine Baeder (Teva)            199        7/21/2015 - 7/29/2016
       Marc Falkin           Theresa Coward (Teva)               36       12/28/2015 - 7/27/2016
       Marc Falkin           Teva Pharmaceuticals                26        5/28/2015 - 7/19/2016
       Marc Falkin           Nisha Patel (Teva)                  11         2/5/2016 - 6/16/2016
       Marc Falkin           Jocelyn Baker (Teva)                11        11/24/2015 - 6/2/2016
       Marc Falkin           Cassie Dunrud (Teva)                11         2/8/2016 - 6/22/2016
       Marc Falkin           Jessica Peters (Teva)               7         9/27/2014 - 3/22/2016
       Marc Falkin           Kevin Galownia (Teva)               6         1/14/2016 - 5/12/2016
       Total Calls with Teva                                    1252

         388. In addition, Allergan, Teva, and Lupin had ample opportunities to meet

  in person:

                            Allergan Attendees
       Conference                                           Co-Conspirator Attendees Including:
                                 Including:
  NACDS 2013 Annual        Defendants Bisaro and     Teva: Levin, Oberman, Rekenthaler, Cavanaugh,
  Meeting, Palm Beach,     Olafsson, and Boyer,      Coward, Kafer.
  FL (April 20-23, 2013)   Slavsky, Steward,
                           Baker, Reed, Shane        Lupin: Berthold, Gupta, Hoffman, McGarty
  HDMA 2013 Business       Falkin, Boyer,            Teva: Peters, Coward, Sherman, Baeder
  and Leadership           Giannone
  Conference, Orlando,                               Lupin: Berthold, Shirkey, Walten
  FL (June 2-5, 2013)
  GPhA 2013 CMC            Allergan                  Teva
  Conference, Bethesda,
  MD (June 4-5, 2013)
  2013 NACDS Total         Boyer, Rogerson,          Teva: Rekenthaler, Cavanaugh, Galownia, Green,
  Store Expo, Las Vegas,   Falkin, Slavsky, Baker,   Oberman, Baeder, Peters, Coward, Sherman
  NV (August 10-13,        Clark, Dorsey,
  2013)                    Giannone                  Lupin: Berthold, Randazzo, Hoffman, McGarty,
                                                     Shirkey, Walten


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                            Allergan Attendees
       Conference                                          Co-Conspirator Attendees Including:
                                 Including:
  GPhA 2013 Fall           Allergan                 Teva
  Technical Conference,
  Bethesda, MD                                      Lupin
  (October 28-30, 2013)

                          d.    Nortriptyline Hydrochloride
          389. Nortriptyline Hydrochloride (“Nortriptyline”), the generic version of the

  branded drug Pamelor, is an antidepressant used to control the brain’s chemical

  balance. May 2019 AG Complaint, ¶410.

          390. In 2012-2013, the Nortriptyline market was highly concentrated with

  HHI of 5,030-5,199. Allergan and Teva split the market for the drug with 45% and

  55% market share, respectively, at the start of 2013 after Taro left the market. Id.,

  ¶411.

          391. By February 2013, Taro was considering re-entry, evidenced by an

  internal document that stated “‘Nortriptyline capsules should be seriously considered

  for re-launch as soon as possible.’” Id., ¶412.

          392. By November 2013, Allergan, Teva, and Taro were engaged in the

  customer allocation process for the drug in effort to accommodate Taro’s re-entry

  without causing pricing pressure. After Taro’s Ara Aprahamian put out feelers in the

  market on November 6, 2013, Allergan and Teva conducted a series of conversations

  to determine customers to concede in order to give Taro its fair share and avoid price

  competition. Id., ¶¶414-418. Allergan’s Marc Falkin and Teva’s David Rekenthaler


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  spoke twice on November 10, 2013 and continued their conversations on

  November 14, 15, and 18. Id., ¶¶416, 418. Falkin also texted Teva’s Maureen

  Cavanaugh on November 17 and 18. Id., ¶418. During these negotiations with

  Allergan, Teva agreed to concede its Nortriptyline business with Cardinal to Taro and

  emailed its customer on November 21, 2013 with “‘[w]e are going to concede the

  business with Cardinal.’” Id., ¶421.

        393. In the meantime and in preparation for his negotiations with Allergan,

  Taro’s Aprahamian instructed his colleagues to seek out Allergan customers. Armed

  with such information, Aprahamian called Allergan’s Michael Dorsey on

  November 20, 2013. Id., ¶¶419-420. Aprahamian and Dorsey also spoke for 11

  minutes on November 22, 2013 and 13 minutes on December 6, 2013. Id., ¶¶420,

  422. During the December 6 call, Allergan’s Dorsey agreed to cede the Company’s

  large customer – supermarket chain HEB – to Taro. Id., ¶423.

        394. The co-conspirators continued their negotiations into 2014.            By

  February 6, 2014, Taro was seeking additional market share from only Allergan as

  Teva had conceded two large accounts – Cardinal and OptiSource – to Taro. Id.,

  ¶425. When asked by a colleague whether to pursue another Teva customer

  (Omnicare), Aprahamian firmly responded with “No, need Actavis” as Teva had

  conceded enough:




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  Id.

        395. In the first week of March 2014, Allergan continued to negotiate

  Nortriptyline customer allocation with Taro and Teva, with Allergan’s Falkin

  speaking with Teva’s Rekenthaler for more than 30 minutes between March 4-7 and

  Allergan’s Dorsey speaking with Taro for over 21 minutes on March 6:




  Id., ¶426.

        396. As a result of Allergan and Teva allocating customers to Taro, the co-

  conspirators avoided price competition by a new competitor entering the market.


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  Plaintiff’s investigation confirmed that Taro set its Nortriptyline price at $0.14 per

  unit at re-entry – identical to Allergan and Teva’s pricing. Allergan ceded market

  share in order to avoid price competition on the drug and its market share declined

  from 45% in the beginning of 2013 to 32% by March 2014.

        397. In the meantime, the co-conspirators postponed plans for a coordinated

  price increase after Teva’s Nisha Patel communicated with Taro’s Ara Aprahamian on

  March 10, 2014. In a March 10 email to her colleagues attaching a spreadsheet of

  collusive price increase candidates, Patel removed Nortriptyline from the list with

  notations of “‘Delay – Taro (new) seeking share.’” Id., ¶427.

        398. According to the StateAG’s investigation, “Teva subsequently raised the

  price of Nortriptyline on January 28, 2015 – in coordination with both Taro and

  Actavis.” Id. Allergan’s Marc Falkin spoke with Teva’s David Rekenthaler four

  times on January 13, 14, and 16 prior to the 90% price hike. Id., ¶¶889-890. In

  addition, Allergan, Teva and Taro communicated in person as the May 2019 AG

  Complaint alleges:

              Upon information and belief, Defendant Patel also spoke in-person
        with many of these competitors. For example, in her new role as a
        Director of National Accounts, Defendant Patel personally attended the
        following trade association events and customer conferences in the fall
        of 2014 and winter of 2014-15: NACDS, Boston, MA (August 23-26,
        2014); Econdisc Bidders Meeting, St. Louis, MO (September 17-19,
        2014); PCMA Annual Meeting in Rancho Palos Verdes, CA
        (October 13-14, 2014); Anda Strategy Meeting, Miami, FL (October 26-
        29, 2014); and the HDMA Round Table, Washington, DC (January 8,
        2015). These industry events were all well-attended by Teva’s
        competitors.

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  Id., ¶891.

         399. Indeed, Allergan, Teva, and Taro had opportunities to collude at events

  and conferences prior to and during the market allocation activities in 2013 and the

  coordinated price hikes in 2015:

                                        Allergan Attendees             Co-Conspirator Attendees
            Conference
                                             Including:                         Including:
   2013 NACDS Total Store Expo,    Boyer, Rogerson, Falkin,         Teva: Rekenthaler, Cavanaugh,
   Las Vegas, NV (August 10-13,    Slavsky, Baker, Clark, Dorsey,   Galownia, Green, Oberman,
   2013)                           Giannone                         Baeder, Peters, Coward, Sherman

                                                                    Taro: Aprahamian, Perfetto,
                                                                    Marcus, Statler, Guerrero, Holmes
   GPhA 2013 Fall Technical        Allergan                         Teva
   Conference, Bethesda, MD
   (October 28-30, 2013)                                            Taro
   2014 NACDS Total Store Expo,    Defendant Buchen, Falkin,        Teva: Rekenthaler, Patel,
   Boston, MA (August 23-26,       Rogerson, Boyer, Slavsky,        Cavanaugh, Galownia, Peters,
   2014)                           Giannone, Dorsey, Clark,         Coward, Baeder, Baker, Dunrud
                                   Reed
                                                                    Taro: Aprahamian, Perfetto,
                                                                    Likvornik, Brick, Kriel
   HDMA 2014 Annual Board and      Falkin, Boyer                    Teva: Rekenthaler, Cavanaugh,
   Membership Meeting, Laguna                                       Baeder
   Beach, CA (September 27-
   October 1, 2014)
   GPhA 2014 Fall Technical        Allergan                         Teva
   Conference, Bethesda, MD
   (October 27-29, 2014)                                            Taro
   2014 IGPA Annual Conference,    Defendant Buchen, Brown          Teva: Oberman, Livneh
   Miami, FL (November 19-21,
   2014)
   2014 NACDS NYC Week             Defendant Saunders, Falkin,      Teva: Rekenthaler, Cavanaugh,
   Annual Foundation Dinner, New   Boyer                            Coward, Peters, Baeder
   York, NY (December 3, 2014)

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         400. In addition to meeting at conferences and communicating by phone as

  discussed above, Allergan was in constant communication with its co-conspirators.

  Between November 2013 to March 2014, Allergan and Teva executives

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  communicated at least 115 times by phone and/or text. §III.D.3.h. During the periods

  of Nortriptyline market allocation and subsequent price hikes, Allergan’s Marc Falkin

  spoke to Teva executives at least 850 times and Taro’s Ara Aprahamian and Michael

  Perfetto at least 30 times:

                                  Co-Conspirator’s         Number
       Allergan Executive                                                       Date
                                      Executive            of Calls
      Marc Falkin            David Rekenthaler (Teva)        433         8/7/2013 - 3/25/2015
      Marc Falkin            Maureen Cavanaugh (Teva)        410        9/10/2013 - 7/29/2016
      Marc Falkin            Jessica Peters (Teva)            7         9/27/2014 - 3/22/2016
      Total Falkin Calls to Teva:                            850

      Marc Falkin            Ara Aprahamian (Taro)            21         4/17/2014 - 3/8/2016
      Marc Falkin            Michael Perfetto (Taro)          9         12/13/2013 – 8/4/2014
      Total Falkin Calls to Taro:                             30

        401. Allergan’s Dorsey also communicated with Taro at least 52 times:

                                  Co-Conspirator’s         Number
       Allergan Executive                                                       Date
                                      Executive            of Calls
      Michael Dorsey          Ara Aprahamian (Taro)           52         3/19/2013 – 9/2/2016

        402. Besides Falkin and Dorsey, other Allergan executives were in frequent

  communication with their Teva and Taro counterparts during the same period –

  speaking with Teva’s Rekenthaler, Cavanaugh, and Patel at least 220 times and Taro’s

  Aprahamian at least 33 times:

           Allergan           Co-Conspirator’s           Number
                                                                              Date
           Executive              Executive              of Calls
        Andrew Boyer      David Rekenthaler (Teva)          16          4/1/2013 - 9/16/2014
        Andrew Boyer      Nisha Patel (Teva)                28        4/30/2013 - 10/16/2015
        Jonathan Kafer David Rekenthaler (Teva)             15        10/11/2013 - 3/29/2015
        Jonathan Kafer Maureen Cavanaugh (Teva)              4         4/29/2014 - 3/31/2015
        Rick Rogerson     Nisha Patel (Teva)               157          5/2/2013 - 11/9/2015
        Total Calls with Teva:                             220

        Allan Slavsky       Ara Aprahamian (Taro)           1          1/9/2014 - 1/9/2014
        Andrew Boyer        Ara Aprahamian (Taro)          16         8/16/2013 - 4/19/2016


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           Allergan           Co-Conspirator’s         Number
                                                                          Date
           Executive              Executive            of Calls
        Michael Baker     Ara Aprahamian (Taro)           12      5/13/2013 - 8/22/2015
        Rick Rogerson     Ara Aprahamian (Taro)            4      6/17/2013 - 4/16/2014
        Total Calls with Taro:                            33

                      e.      Amphetamine/Dextroamphetamine Immediate
                              Release
        403. Amphetamine/Dextroamphetamine Immediate Release (“MAS-IR”) is

  the generic version of Adderall IR® and is used to treat attention deficit disorder.

  May 2019 AG Complaint, ¶335. The drug is also known as “Mixed Amphetamine

  Salts” or “MAS,” as it is a mixture of levoamphetamine and dextroamphetamine salts.

  Id.

        404. The MAS-IR market was highly concentrated at the end of 2013, with

  HHI at 4,057. Teva dominated over half of the market.

        405. In March 2014, Allergan began market allocation negotiations with Teva

  in preparation for its launch of MAS-IR. On March 17, 2014, Allergan’s Director of

  Pricing Rick Rogerson spoke to Teva’s Nisha Patel three times, and Allergan’s Marc

  Falkin spoke to Teva’s David Rekenthaler once. Id., ¶337. On March 20, 2014,

  Falkin and Rekenthaler continued their negotiations and spoke seven times. Id.

        406. During these negotiations, the co-conspirators reached an agreement and

  Teva ceded a MAS-IR customer to Allergan on April 16, 2014. Id., ¶338. Teva’s

  Patel, who had spoken to Allergan’s Rogerson on March 17, recommended to

  Galownia to cede the customer to Allergan.                Id.   After Galownia took her


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  recommendation, Patel promptly called Rogerson at 1:55 p.m. on April 16 with the

  news. Id.

        407. Aurobindo also launched MAS-IR in April 2014 and negotiated market

  allocation with Teva. On March 18, Aurobindo’s Robert Cunard spoke to Teva’s

  Rekenthaler for 30 minutes. Id., ¶337. Teva’s internal email revealed that Aurobindo

  wanted a 10% fair share of the MAS-IR market. Id., ¶336.

        408. By engaging in collusive market allocation, Teva avoided pricing

  competition from the new entrants. Plaintiff’s investigation confirmed that Allergan

  and Aurobindo set their MAS-IR April 2014 entry prices at Teva’s pricing for the

  drug – at $1.15 per unit. Within three months of launch, Allergan took 2% of the

  market. For years after the inception of collusion, MAS-IR pricing was so stable that

  volatility fell from 6.5% to 0.9%-1.9%. Market share volatility also dropped from

  4.6% to 0.3%-2.0%. The unusual stability of market share and prices demonstrated

  the absence of a competitive market, and the co-conspirators did not meaningfully

  compete on prices to gain market share.

        409. Prior to the MAS-IR launch and continuing throughout the Relevant

  Period, Allergan was in frequent communication with its co-conspirators. In March

  and April 2014, Allergan and Teva executives exchange at least 89 calls and text

  messages. §III.D.3.h. In addition to his conversations with Teva’s Rekenthaler as




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  discussed above, Allergan’s Marc Falkin spoke to Aurobindo’s Robert Cunard at least

  80 times and communicated with Teva’s executives over 1,150 times:

          Allergan              Co-Conspirator’s         Number
                                                                              Date
          Executive                 Executive            of Calls
        Marc Falkin         Robert Cunard (Aurobindo)       80        11/14/2013 – 3/16/2015

        Marc Falkin      David Rekenthaler (Teva)         433           8/7/2013 - 3/25/2015
        Marc Falkin      Maureen Cavanaugh (Teva)         410          9/10/2013 - 7/29/2016
        Marc Falkin      Christine Baeder (Teva)          199          7/21/2015 - 7/29/2016
        Marc Falkin      Theresa Coward (Teva)             36         12/28/2015 - 7/27/2016
        Marc Falkin      Teva Pharmaceuticals              26          5/28/2015 - 7/19/2016
        Marc Falkin      Nisha Patel (Teva)                11           2/5/2016 - 6/16/2016
        Marc Falkin      Jocelyn Baker (Teva)              11          11/24/2015 - 6/2/2016
        Marc Falkin      Cassie Dunrud (Teva)              11           2/8/2016 - 6/22/2016
        Marc Falkin      Jessica Peters (Teva)              7          9/27/2014 - 3/22/2016
        Marc Falkin      Kevin Galownia (Teva)              6          1/14/2016 - 5/12/2016
        Total Falkin Calls to Teva                        1150

        410. Similarly, in addition to negotiating with Teva’s Patel as discussed

  above, Allergan’s Rogerson spoke to Teva executives at least 230 times:

           Allergan           Co-Conspirator’s           Number
                                                                              Date
           Executive             Executive               of Calls
        Rick Rogerson   Nisha Patel (Teva)                 157          5/2/2013 - 11/9/2015
        Rick Rogerson   Kevin Galownia (Teva)               29        12/15/2015 - 7/29/2016
        Rick Rogerson   Teva Pharmaceuticals                27         9/24/2015 - 7/29/2016
        Rick Rogerson   Christine Baeder (Teva)             17         2/26/2016 - 7/26/2016
        Total Rogerson Calls to Teva                       230

        411. Besides Falkin and Rogerson, other Allergan executives were also in

  constant communication with their Teva counterparts – logging in over 230 calls:

                                  Co-Conspirator’s         Number
       Allergan Executive                                                        Date
                                      Executive            of Calls
      Allan Slavsky           Maureen Cavanaugh (Teva)        17         8/21/2015 - 7/26/2016
      Allan Slavsky           Nisha Patel (Teva)              28         9/16/2015 - 3/10/2016
      Andrew Boyer            David Rekenthaler (Teva)        16          4/1/2013 - 9/16/2014
      Andrew Boyer            Maureen Cavanaugh (Teva)       113         8/12/2015 - 7/25/2016
      Andrew Boyer            Nisha Patel (Teva)              28        4/30/2013 - 10/16/2015
      Anthony Giannone        Nisha Patel (Teva)               9          1/27/2015 - 6/9/2016
      Jonathan Kafer          David Rekenthaler (Teva)        15        10/11/2013 - 3/29/2015


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                                Co-Conspirator’s       Number
       Allergan Executive                                                 Date
                                    Executive          of Calls
      Jonathan Kafer        Maureen Cavanaugh (Teva)      4       4/29/2014 - 3/31/2015
      M.B.                  Nisha Patel (Teva)            3        2/26/2016 - 6/6/2016
      Total Calls to Teva                                233

         412. In addition to communicating by phone, the Allergan, Teva, and

  Aurobindo executives had ample opportunities to meet in person to allocate customers

  for MAS-IR:

         2013 NACDS NYC Week Annual Foundation Dinner, New York, NY
         (December 3, 2013)
             Allergan attendees included: Falkin, Boyer, Giannone, Reed,
            Shane
             Teva attendees included: Rekenthaler, Cavanaugh, Coward,
            Marshall

         GPhA 2014 Annual Meeting, Orlando, FL (February 19-21, 2014)
            Allergan
            Aurobindo
            Teva attendees included: Oberman
         HDMA Sixth Annual CEO Roundtable Fundraiser, New York, NY
         (April 1, 2014)
            Allergan attendees included: Falkin, Boyer, Rogerson, Giannone,
           Clark
            Aurobindo attendees included: Cunard, McMahon
            Teva attendees included: Rekenthaler, Cavanaugh, Doerr
         NACDS 2014 Annual Meeting, Scottsdale, AZ (April 26-29, 2014)
            Allergan attendees included: Defendants Bisaro and Olafsson,
           Falkin, Boyer, Stewart
            Aurobindo attendees included: Cunard, McMahon
            Teva attendees included: Oberman, Rekenthaler, Cavanaugh,
           Coward, Baeder

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                      f.    Clonidine-TTS Patch
        413. Clonidine-TTS is a generic version of Catapres-TTS, which is a skin

  patch used for the treatment of high blood pressure. May 2019 AG Complaint, ¶177.

        414. When Allergan launched Clonidine-TTS Patch in May 2014, the market

  for the medication was highly concentrated and tainted by collusion. HHI was 5,002-

  6,858 in 2013-2014, with Teva and Mylan taking approximately two-thirds and one-

  third of the market, respectively.

        415. At the end of 2011, Teva violated the rule of road by taking more than its

  fair share of the Clonidine-TTS Patch market and suffered dire consequences. Id.,

  ¶¶179-180. According to the May 2019 AG Complaint, Teva’s internal document

  stated that Mylan retaliated by “‘trashing the price in pretty much a two-player

  market,’” and “Teva heard Mylan’s retaliatory message loud and clear.” Id., ¶¶181-

  182. As a result of the retaliation, Clonidine-TTS Patch prices dropped to less than

  half of the pre-retaliation invoice prices in April 2012 – with the 0.1 mg dosage

  dropping from $22.13 to $10.49, 0.2 mg dropping from $37.81 to $18.17, and 0.3 mg

  dropping from $54.41 to $26.51. Id., ¶185.

        416. As part of a reconciliation effort, Teva and Mylan entered into a collusive

  arrangement where Teva hiked prices while Mylan temporary exited from the market,

  with an agreement for Mylan to reclaim its market share at re-entry without competing

  on pricing. Id., ¶¶183-187. Teva’s Kevin Green and Mylan’s Jim Nesta and other


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  executives from the two companies continuously communicated from July 18, 2012

  through April 2013. Id., ¶¶183-191. Teva’s invoice price for Clonidine-TTS Patch

  tripled for certain dosages, rising above pre-retaliation levels to $33.28 for 0.1 mg,

  $56.08 for 0.2 mg, and $80.76 for 0.3 mg in October 2012. Id., ¶¶185. Mylan re-

  entered the Clonidine-TTS Patch market in February 2013 at the elevated prices, and

  Teva internal documents showed that Teva conceded Econdisc’s Clonidine-TTS Patch

  business to Mylan in March 2013, along with Rite Aid and McKesson in April 2013 –

  all without competitive bidding. Id., ¶188.

        417. According to the StateAGs, “[h]aving successfully allocated the market,

  however, Mylan and Teva were now conspiring to raise prices on Clonidine-TTS” in

  April 2013. Id., ¶191. Teva’s marketing manager Jared Levinson documented the

  Teva-Mylan agreement to hike prices in an email to his colleagues:




  Id.


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        418. With the Clonidine-TTS Patch market infested by collusion, Allergan

  entered the market when its application was approved by the FDA on May 6, 2014

  and immediately contacted Teva to negotiate its fair share. Id., ¶344. On the same

  day, Allergan’s Falkin spoke to Teva’s Rekenthaler 3 times totaling 19 minutes. Id.

  Rekenthaler communicated the news of Allergan’s entry to his colleagues the day

  after speaking with Falkin, and Teva’s Kevin Galownia instructed Patel to identify the

  customers to allocate to Allergan. Id., ¶345.

        419. To pressure Teva into a quick agreement, Allergan initially set a low

  entry price for Clonidine-TTS – to which Teva characterized internally as

  “‘ridiculous’” and bemoaned that the pricing “‘is already eroded here.’” Id. The

  tactic worked. According to the StateAGs, Teva executives “accelerated their efforts

  to convince Actavis to revise its pricing and market share plans for Clonidine-TTS to

  more acceptable levels with an even more intensive flurry of phone calls.” Id., ¶346.

  On May 8, 2014, Allergan’s Falkin and Teva’s Rekenthaler again spoke 3 times,

  totaling 23 minutes. Id. Allergan’s Rogerson and Teva’s Patel also negotiated the

  agreement, and after their fourth phone call at 9:54 a.m., Patel emailed her colleagues

  at 10:02 a.m. that Teva was conceding HEB and Ahold to Allergan. Id.

        420. Allergan was not satisfied, however, and pursued Teva’s customers with

  a pricing challenge in an effort to pressure Teva into conceding more market share.

  Id., ¶347. After hearing from a customer impacted by the pricing challenge, on


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  May 9, 2014, Teva’s Patel immediately fired off three calls to Allergan’s Rogerson

  and conveyed Teva’s displeasure with Allergan’s low Clonidine-TTS Patch pricing.

  Id. After the call, she told her colleagues that Allergan wanted a fair share of 25%,

  with a portion of 10%-15% expected to come from Teva. Id. Teva’s Rekenthaler

  agreed to concede 15% and stated: “‘I’m okay with adjusting 15% but we’re not going

  to play any games with them. They take the 15% and I don’t want to hear about this

  product again.’” Id., ¶348. To which senior sales executive Theresa Coward replied,

  “‘now, now Mr. Rekenthaler play nice in the sand box . . . . If history repeats itself

  activist [sic] is going to be responsible in the market. . . .’” Id. After Teva’s

  agreement, Patel announced that Allergan “‘resent all of their offer letters at pricing

  that is higher than our [Teva’s] current.’” Id., ¶347.

        421. Conforming to its agreement, Teva began conceding customers to

  Allergan in the next few weeks so Allergan could achieve its fair share of the

  Clonidine-TTS Patch market. On May 14, 2014, Patel instructed her colleagues to

  concede a wholesaler’s Clonidine-TTS Patch business to Allergan and urged Teva to

  be “‘responsible.’” Id., ¶349. In addition, Teva conceded a large retailer’s Clonidine-

  TTS Patch business on May 17, 2014, and Patel refused to bid for another customer’s

  business on May 20, 2014 because “‘[w]e are trying to be responsible with share and

  price.’” Id. Finally, after Allergan’s Rogerson spoke with Teva’s Patel several times

  on May 22, 2014, Teva conceded another customer’s Clonidine-TTS Patch business


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  the next day, with Teva’s Galownia stating “‘[o]kay to concede, but we are getting to

  the point where we will not be able to concede further.’” Id., ¶350.

        422. Indeed, Plaintiff’s investigation revealed that Allergan entered the

  Clonidine-TTS Patch market in May 2014 at $45.55 per unit – higher than Teva’s

  pricing of $45.28. And even with higher pricing, Allergan rapidly gained 10% market

  share for the medication within three months – all from Teva. By January 2015,

  Allergan had taken the agreed-upon 15% market share from Teva.

        423. The co-conspirators’ market shares stabilized during the collusion period

  and volatility fell to close to zero – with an unusual stability that was uncharacteristic

  of a competitive market where manufacturers would compete on pricing to gain

  market share. Allergan’s market share volatility stabilized at 0.4% and remained at

  that level during the collusion period. Teva and Mylan’s market share volatility

  dropped from 11.5%-11.7% to 0.7%-3.6% during the same period.

        424. During the period of collusion and throughout the Relevant Period,

  Allergan and Teva executives were in constant communication. In addition to the

  calls and texts discussed above, between May 2014 to December 2014, Allergan and

  Teva executives communicated over 220 times. §III.D.3.h. In particular, Allergan’s

  Falkin communicated with Teva’s Rekenthaler at least 433 times during 2013-2015

  and with other Teva executives over 700 times. Id. Falkin also communicated with

  Mylan’s James Nesta frequently – logging in 78 calls during the same period. Id.


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  Similarly, Allergan’s Rogerson communicated with Teva’s Patel over 157 times and

  with other Teva executives over 75 times. Id.

         425. In addition to calls and text messages, Allergan’s executives had ample

  opportunities to meet in person with their counterparts at Teva and Mylan to allocate

  market for Clonidine-TTS Patch:

         HDMA Sixth Annual CEO Roundtable Fundraiser, New York, NY
         (April 1, 2014)
            Allergan attendees included: Falkin, Boyer, Rogerson, Giannone,
               Clark
            Mylan attendees included: Nesta, Mauro, Potter
            Teva attendees included: Rekenthaler, Cavanaugh, Doerr
         NACDS 2014 Annual Meeting, Scottsdale, AZ (April 26-29, 2014)
            Allergan attendees included: Defendants Bisaro and Olafsson,
             Falkin, Boyer, Stewart
            Mylan attendees included: Nesta, Korman, Potter, O’Neill
            Teva attendees included: Oberman, Rekenthaler, Cavanaugh,
             Coward, Baeder
  App.

                     g.     Dextroamphetamine Sulfate Extended Release
         426. Dextroamphetamine Sulfate Extended Release (“Dex Sulfate XR”) is the

  generic version of Dexedrine® and is used for the treatment of attention deficit

  hyperactivity disorder. May 2019 AG Complaint, ¶339.

         427. At the end of 2013, the Dex Sulfate XR market was highly concentrated

  with HHI of 4,924, and Teva had over 70% of the market share.

         428. As Allergan was planning its Dex Sulfate XR market entry, Allergan’s

  Marc Falkin spoke with Teva’s David Rekenthaler by phone on the morning of

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  June 19, 2014 to negotiate the Company’s fair share market allocation. Falkin and

  Rekenthaler spoke twice that morning for 11 minutes and 9 minutes. Id., ¶340.

  During the discussions, Falkin told Rekenthaler that Allergan was targeting 20%-25%

  market share. Id. Rekenthaler relayed that information to his colleague Patel after the

  call and she conducted a profitability analysis review for Dex Sulfate XR to determine

  which customer to allocate to Allergan. Id.

        429. Because Teva had over 70% market share for Dex Sulfate XR, Teva

  agreed to allocate customers to Allergan to avoid price competition. On June 24,

  2014, Teva’s Strategic Customer Analyst S.B. emailed her colleagues with the

  recommendation to reduce Teva’s market share to 58% and concede a large Dex

  Sulfate XR customer to Allergan. Id., ¶¶340-341. According to the StateAGs, this

  recommendation was made “in accordance with the industry understanding to allocate

  the market, and Teva’s ongoing agreement with Actavis.” Id., ¶341. Teva’s internal

  email later confirmed that the large Dex Sulfate XR customer was indeed conceded to

  Allergan, with “‘Actavis is entering the market and seeking share’” as the rationale for

  the concession. Id.

        430. By agreeing to allocate a fair share of the Dex Sulfate XR market to

  Allergan, Teva avoided pricing competition from the new entrant.             Plaintiff’s

  investigation confirmed Allergan’s August 2014 entry price for the drug at $4.19 per

  unit, slightly above Teva’s pricing of $4.10 per unit. Nevertheless, despite the higher


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  pricing, Allergan captured over 15% of the market in less than a year. After

  Allergan’s entry, Dex Sulfate XR’s pricing became so stable that it dropped to close to

  zero to 0.6%, falling from 2.3%. Market share volatility also dropped from 3.1% to

  1.0%-1.4%. The unusual stability of market share and prices demonstrated the

  absence of a competitive market, and the co-conspirators did not meaningfully

  compete on prices to gain market share.

        431. During the period of collusion and throughout the Relevant Period,

  Allergan was in constant contact with its co-conspirators. Between June 2014 to

  December 2014, Allergan and Teva executives spoke and/or texted at least 152 times.

  §III.D.3.h. In addition to his phone conversations with Rekenthaler in June 2014 as

  discussed above, Allergan’s Falkin spoke with Teva’s Rekenthaler at least 433 times

  and spoke with other Teva executives over 710 times. Id. Similarly, Allergan’s

  Rogerson spoke to Teva’s executives at least 230 times, with over 150 calls to Teva’s

  Patel alone. Id. Other Allergan executives also spoke with their counterparts at Teva

  at least 239 times. Id.

        432. In addition, Allergan and Teva had ample opportunities to collude in

  person to allocate market for Dex Sulfate XR:

        NACDS 2014 Annual Meeting, Scottsdale, AZ (April 26-29, 2014)
           Allergan attendees included: Defendants Bisaro and Olafsson,
            Falkin, Boyer, Stewart
           Mylan attendees included: Nesta, Korman, Potter, O’Neill
           Teva attendees included: Oberman, Rekenthaler, Cavanaugh,
            Coward, Baeder

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         HDMA 2014 Business and Leadership Conference, Phoenix, AZ
         (June 1-4, 2014)
             Allergan attendees included: Falkin, Boyer, Rogerson, Giannone
             Mylan attendees included: Nesta, Aigner, Wyatt
             Teva attendees included: Rekenthaler, Patel, Peters, Coward,
               Sherman, Dunrud

         NACDS, Boston, MA (August 23-26, 2014)
            Allergan attendees included: Falkin, Rogerson, Boyer, Slavsky,
             Giannone, Dorsey, Clark, Buchen, Reed
            Mylan attendees included: Nesta, Aigner, Wyatt, Potter, Duda
            Teva attendees included: Rekenthaler, Patel, Cavanaugh,
             Galownia, Peters, Coward, Baeder, Baker, Dunrud
  App.

                      h.    Raloxifene HCL Tablets
         433. Raloxifene Hydrochloride Tablets is the generic version of Evista and is

  used in the treatment or prevention of postmenopause osteoporosis. May 2019 AG

  Complaint, ¶1087.

         434. When Allergan, Teva, and Camber engaged in Raloxifene HCL market

  allocation, the market was highly concentrated with HHI of 4,473 in 2014 and 3,467

  in 2015. Teva controlled over half of the Raloxifene market.

         435. While both Allergan and Camber received FDA approval for Raloxifene

  HCL in 2014, Teva’s Rekenthaler discovered from Allergan’s Boyer and Falkin

  through a series of phone conversations in September 2014 that Allergan would enter

  the market later than expected.     Id., ¶¶1088-1091.    On September 17, Teva’s

  Rekenthaler relayed his Allergan conversations to his colleagues and announced: “‘I



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  know Actavis will be late. Camber is talking but their [sic] being somewhat unclear

  as well. I’ll know more about them after my trip this week.’” Id., ¶1092.

        436. Rekenthaler met with Camber’s President Kon Ostaficiuk during his trip

  to an industry gathering in Kentucky on September 17-19, 2014 and the two

  conspirators began Raloxifen market allocation negotiations. Id., ¶1093. While

  Camber went after Teva’s customer Econdisc, Ostaficiuk assured Rekenthaler during

  their phone conversations on September 21 that Camber only wanted Econdisc and

  one more customer. Id., ¶¶1094-1095. On September 24, Patel relayed Rekenthaler’s

  conversation to her colleagues via email, stating “‘Camber indicated that they are

  targeting Econdisc and a small retailer . . . and then they would be “done.”’” Id.,

  ¶1095.

        437. While Teva’s Galownia considered whether to concede Econodisc, Patel

  sent an email that Rekenthaler was continuing to negotiate with Camber:




  Id., ¶1096.

        438. After the email, Rekenthaler and Ostaficiuk had a series of phone calls:




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  Id., ¶1097.
        439. And on September 25, Teva’s Galownia agreed to allocate customers to

  Camber to avoid Raloxifene HCL pricing competition and stated via email: “‘Okay,

  we will concede additional smaller customer challenges (particularly distributors)

  since they are not going to target One Stop.’” Id., ¶1098. Camber kept its end of the

  bargain as Ostaficiuk sent an email to his colleagues that Camber would not bid for

  McKesson’s OS [One Stop] – emphasizing “Not even a ‘bad price.’!”




  Id., ¶1101.
        440. Indeed, Plaintiff’s investigation confirmed that Camber entered the

  market at the identical Raloxifene HCL pricing as Teva – at $5.70 per unit.



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        441. Less than a year later, in July 2015, Allergan also entered the collusion-

  infested Raloxifene HCL market at the exact same price set by the co-conspirators at

  $5.70 per unit. Allergan had begun market allocation negotiations with Teva in

  September 2014, when its senior executive Andrew Boyer had a 26-minute

  conversation with Teva’s Rekenthaler on September 9, 2014. Id., ¶1090. Shortly

  after the call, Teva’s internal email reflected that “Camber and Actavis expect to

  launch 9/24.” Id. Allergan and Teva continued their negotiations for a week – with

  Allegan’s Falkin exchanging two calls with Teva’s Rekenthaler on September 10 for a

  total of 16 minutes, followed by another call the next day for 10 minutes. Id., ¶1091.

  On September 16, 2014, Allergan’s Boyer spoke with Teva’s Rekenthaler for 34

  minutes. Id. On the same day, other Allergan executives also spoke with Rekenthaler

  five times. Id.

        442. In less than a year after Allergan entered the Raloxifene HCL market, by

  May 2016, Teva had ceded 10% of its market share to Allergan.

        443. With Allergan and Camber attaining their fair share, the Raloxifene HCL

  market became uncharacteristically stable with price volatility of 0%. Teva’s market

  share volatility also dropped from 4.8% to 1.8% during the Relevant Period. The

  Raloxifene HCL market was marked by an absence of competition.

        444. Throughout the period of collusion and Relevant Period, Allergan was in

  frequent contact with the co-conspirators.          Between September 2014 and


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  December 2014, Allergan and Teva executives communicated by text or phone at

  least 81 times. §III.D.3.h. In addition to the calls with Teva’s Rekenthaler as

  discussed above, Allergan’s Boyer spoke to Teva’s executives over 150 times during

  the period.

                                                         Number
       Allergan Executive   Co-Conspirator’s Executive                      Date
                                                         of Calls
       Andrew Boyer         David Rekenthaler (Teva)        16        4/1/2013 - 9/16/2014
       Andrew Boyer         Maureen Cavanaugh (Teva)       113       8/12/2015 - 7/25/2016
       Andrew Boyer         Nisha Patel (Teva)              28      4/30/2013 - 10/16/2015
       Total Boyer Calls to Teva:                          157

        445. Similarly, Allergan’s Falkin spoke to Teva’s Rekenthaler 433 times

  between August 2013 and March 2015, and exchanged phone calls with other Teva

  executives over 700 times.

                                                         Number
       Allergan Executive   Co-Conspirator’s Executive                      Date
                                                         of Calls
       Marc Falkin           David Rekenthaler (Teva)      433        8/7/2013 - 3/25/2015
       Marc Falkin           Maureen Cavanaugh (Teva)      410       9/10/2013 - 7/29/2016
       Marc Falkin           Christine Baeder (Teva)       199       7/21/2015 - 7/29/2016
       Marc Falkin           Theresa Coward (Teva)          36      12/28/2015 - 7/27/2016
       Marc Falkin           Teva Pharmaceuticals           26       5/28/2015 - 7/19/2016
       Marc Falkin           Nisha Patel (Teva)             11        2/5/2016 - 6/16/2016
       Marc Falkin           Jocelyn Baker (Teva)           11       11/24/2015 - 6/2/2016
       Marc Falkin           Cassie Dunrud (Teva)           11        2/8/2016 - 6/22/2016
       Marc Falkin           Jessica Peters (Teva)           7       9/27/2014 - 3/22/2016
       Marc Falkin           Kevin Galownia (Teva)           6       1/14/2016 - 5/12/2016
       Total Falkin Calls to Teva:                        1150

        446. Other Allergan executives also spoke to their counterparts at Teva over

  300 times.

                                                         Number
       Allergan Executive   Co-Conspirator’s Executive                      Date
                                                         of Calls
       Allan Slavsky        David Rekenthaler (Teva)        26       1/11/2012 - 4/1/2013
       Allan Slavsky        Maureen Cavanaugh (Teva)        17      8/21/2015 - 7/26/2016
       Allan Slavsky        Nisha Patel (Teva)              28      9/16/2015 - 3/10/2016


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                                                           Number
         Allergan Executive   Co-Conspirator’s Executive                      Date
                                                           of Calls
       Anthony Giannone       Nisha Patel (Teva)               9        1/27/2015 - 6/9/2016
       Jonathan Kafer         David Rekenthaler (Teva)        15      10/11/2013 - 3/29/2015
       Jonathan Kafer         Maureen Cavanaugh (Teva)         4       4/29/2014 - 3/31/2015
       M.B.                   Nisha Patel (Teva)               3        2/26/2016 - 6/6/2016
       Rick Rogerson          Nisha Patel (Teva)             157        5/2/2013 - 11/9/2015
       Rick Rogerson          Kevin Galownia (Teva)           29      12/15/2015 - 7/29/2016
       Rick Rogerson          Teva Pharmaceuticals            27       9/24/2015 - 7/29/2016
       Rick Rogerson          Christine Baeder (Teva)         17       2/26/2016 - 7/26/2016
       Total Calls to Teva:                                  332

          447. In addition, Allergan and Teva executives had ample opportunities to

  meet in person to negotiate customer allocation for Raloxifene HCL prior to and

  during Allergan’s entry into the market:

          2015 HDMA Business & Leadership Conference, San Antonio, TX
          (June 7-10, 2015)
              Allergan attendees included: Falkin, Boyer, Giannone, Reed
              Teva attendees included: Patel, Coward, Baeder, Bradford,
                Dunrud, Gerebi
          2015 NACDS Total Store Expo, Denver, CO (August 22-25, 2015)
              Allergan attendees included: Falkin, Boyer, Rogerson, Slavsky,
               Giannone, Dorsey, Clark
              Teva attendees included: Cavanaugh, Galownia, Patel, Peters,
               Coward, Baeder, Dunrud

  App.

                         i.      Celecoxib
          448. Celecoxib is the generic version of Celebrex® and is an anti-

  inflammatory drug used for relieve of pain and discomfort caused by arthritis,

  menstruation, or other disorders. May 2019 AG Complaint, ¶355.




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        449. Both Allergan and Teva were in Celecoxib launch preparation in

  November 2014, and when the two companies began targeting the same customers,

  market allocation discussions began – initially with the customers as the intermediary.

  On November 20, 2014, Allergan targeted one of Teva’s Celecoxib customers for a

  portion of its business. Id., ¶357. In turn, the customer told Teva that Allergan was in

  preparation for launch and wanted to get its fair share given that Teva had captured

  more than 30% of the market. Id. According to the StateAGs, Teva’s Rekenthaler

  “took a cooperative – rather than competitive – stance” and responded “‘[t]hat’s all

  pretty accurate and hard to argue with.’” Id., ¶358.

        450. On November 25, 2014, Allergan’s Falkin spoke with Teva’s

  Rekenthaler for six minutes. Id., ¶361.

        451. Allergan continued to seek its fair share by targeting another Teva

  customer. On December 1, 2014, Teva’s retail pharmacy chain customer tried to

  broker a Celecoxib agreement for Allergan and Teva while Allergan tried to take 25%

  of its Celecoxib business. Id., ¶359. The pharmacy chain’s representative assured

  Teva’s Theresa Coward that “‘he would not move this unless we are all on the same

  page’” and he had no problem with sending Actavis “‘a message.’” Id. Rekenthaler’s

  responded with a message for Allergan: “‘I don’t want to give up anything . . . .

  We’re at 32% and I think that’s reasonable.’” Id., ¶360. According to the StateAGs,

  “Rekenthaler’s response was consistent with the ‘fair share’ understanding.” Id.


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        452. Allergan’s bid for Teva’s customer triggered another round of

  negotiations before Teva’s December 10, 2014 launch. On December 3, 2014,

  Allergan’s Falkin and Teva’s Rekenthaler exchanged two calls for a total of three

  minutes. Id., ¶361. Allergan’s Andrew Boyer also had discussions with Teva’s Patel

  on December 5 and December 8, 2014, speaking for more than 8 minutes and 16

  minutes, respectively. Id. On December 9, 2014, Allergan’s Falkin and Teva’s

  Rekenthaler spoke again for one minute. Id. And on the day of Teva’s launch, the

  two spoke 3 times for a total of 13 minutes. Id.

        453. Plaintiff’s investigation revealed that Allergan and Teva came to an

  agreement to not compete on price and market share. Both co-conspirators entered the

  market around the same time in December 2014, with Allergan pricing Celecoxib at

  $5.90 per unit and Teva pricing the drug at $4.30 per unit. Even though Allergan’s

  pricing was substantially higher than Teva’s, Allergan nevertheless captured 28% of

  the market in December 2014 while Teva took 31% of the market, and Celecoxib

  quickly became one of Allergan’s “key products which comprised a majority of

  product sales for North American Generic.” For years after, each co-conspirator

  achieved its fair share and market share volatility stabilized, with pricing volatility

  reaching close to zero at 0.9% to 1.7% and market share volatility also dropping to

  0.8%-2.5%. The unusual stability was uncharacteristic of a competitive market where

  manufacturers would compete on pricing to gain market share.


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         454. The co-conspirators communicated frequently during both the period of

  collusion and Relevant Period. During November and December 2014, Allergan and

  Teva executives spoke over 22 times, with two-thirds of the calls taking place in

  December during the Celecoxib launches and intensified market allocation

  negotiations. §III.D.3.h. In addition to the phone conversations discussed above,

  Allergan’s Falkin communicated with Teva’s Rekenthaler over 400 times from

  August 7, 2013 to March 25, 2015, and Allergan’s Boyer spoke to Patel more than 20

  times between April 30, 2013 and October 16, 2015. Id. Falkin also spoke with other

  Teva executives more than 700 times and Boyer spoke to other Teva executives over

  130 times. Id. Allergan executives such as Rogerson, Slavsky, and others also spoke

  to Teva’s Rekenthaler, Patel, and other executives more than 300 times.

         455. In addition to phone or text communications, the co-conspirators had

  opportunities to meet in person to divide the Celecoxib market:

                                       Allergan Attendees
            Conference                                             Teva Attendees Including:
                                            Including:
   2014 NACDS Total Store Expo,   Defendant Buchen, Falkin,     Rekenthaler, Patel, Cavanaugh,
   Boston, MA (August 23-26,      Rogerson, Boyer, Slavsky,     Galownia, Peters, Coward, Baeder,
   2014)                          Giannone, Dorsey, Clark,      Baker, Dunrud
                                  Reed
   HDMA 2014 Annual Board and     Falkin, Boyer                 Rekenthaler, Cavanaugh, Baeder
   Membership Meeting, Laguna
   Beach, CA (September 27-
   October 1, 2014)
   GPhA 2014 Fall Technical       Allergan                      Teva
   Conference, Bethesda, MD
   (October 27-29, 2014)
   2014 IGPA Annual Conference,   Defendant Buchen, Brown       Oberman, Livneh
   Miami, FL (November 19-21,
   2014)
   2014 NACDS NYC Week            Defendant Saunders, Falkin,   Rekenthaler, Cavanaugh, Coward,


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                                       Allergan Attendees
             Conference                                           Teva Attendees Including:
                                           Including:
   Annual Foundation Dinner, New   Boyer                       Peters, Baeder
   York, NY (December 3, 2014)

                 14.      Government Investigations into Allergan’s
                          Anticompetitive Conduct
         456. As discussed above, according to a press release, on October 2, 2014,

  U.S. Senator Bernie Sanders and U.S. Representative Elijah Cummings launched an

  investigation into “soaring generic drug prices.” Sen. Sanders and Rep. Cummings

  sent out letters to various generic pharmaceutical manufacturers, including Allergan

  (then Actavis), demanding information relating to generic drug price increases.

         457. As part of the letter to Allergan, Sen. Sanders and Rep. Cummings asked

  defendant Saunders to provide the following information concerning doxycycline

  hyclate:

               In order to evaluate the underlying causes of recent increases in
         the price of your company’s drug, we request that you provide the
         following documents and information for the time period covering
         January 1, 2012, to the present:
                 (1)      total gross revenues from the company’s sales of this drug;
                 (2)      the dates, quantities, purchasers, and prices paid for all
                          sales of this drug;
                 (3)      total expenses relating to the sales of this drug, as well as
                          the specific amounts for manufacturing, marketing and
                          advertising, and purchases of active pharmaceutical
                          ingredients, if applicable;
                 (4)      sales contracts or purchase agreements for active
                          pharmaceutical ingredients for this drug, including any
                          agreements relating to exclusivity, if applicable;



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               (5)   a description and valuation of the specific financial and
                     non-financial factors that contributed to your company’s
                     decisions to increase the price of this drug;
               (6)   any cost estimates, profit projections, or other analyses
                     relating to the company’s current and future sales of this
                     drug;
               (7)   price of this drug in all foreign countries or markets,
                     including price information for the countries paying the
                     highest and lowest price; and
               (8)   the identity of company official(s) responsible for setting
                     the price of the drug over the above time period.
        458. One month later, the DOJ convened a grand jury in the U.S. District

  Court for the Eastern District of Pennsylvania. One of Allergan’s Co-Conspirators,

  Lannett, reported that on November 3, 2014, its Senior Vice President of Sales and

  Marketing had received a subpoena from the DOJ in connection with the federal

  investigation of the generic pharmaceutical industry requesting information on

  Lannett’s generic drug pricing and communications with competitors.               On

  December 5, 2014, Lannett itself received a subpoena requesting similar information.

  Lannett was the first of at least ten other generic drug manufacturers to receive DOJ

  subpoenas in connection with the investigation, including Allergan and co-

  conspirators Heritage, Impax and Mylan – companies which, as shown above, also

  raised the prices of some of their generics at or close to the same time as Allergan’s

  price increases. On August 6, 2015, Allergan disclosed for the first time that its

  Actavis generic drug unit had received a DOJ subpoena in June 2015. In response to

  the news, Bloomberg noted that Allergan was “the biggest company yet to draw

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  scrutiny in the government’s widening antitrust probe of the [generic pharmaceutical]

  industry.”

        459. The fact that the DOJ sent a subpoena to Allergan after sending

  subpoenas to its competitors strongly suggests that evidence learned through those

  prior subpoenas led the DOJ to believe that Allergan was also engaged in improper

  pricing. Moreover, the DOJ has filed motions to intervene in at least six civil antitrust

  actions alleging price-fixing in violation of the Sherman Act against Allergan and/or

  the Actavis generic drug unit sold to Teva in August 2016, including one case in

  which the district court has already denied the defendants’ motion to dismiss. See In

  re Propranolol Antitrust Litig., 249 F. Supp. 3d 712 (S.D.N.Y. 2017). In these cases,

  now consolidated into the Generic Drugs MDL, the plaintiffs have requested that the

  various generic drug-company defendants produce all documents produced to the DOJ

  in the criminal investigation. In the DOJ’s motion to intervene in In re Propranolol

  Antitrust Litig., No. 1:16-cv-09901-JSR, ECF No. 72 (S.D.N.Y. Jan. 30, 2017), the

  DOJ explained that the “action presents a risk to the United States’ interest in ensuring

  the integrity of its on-going criminal investigation” because, among other reasons, “its

  ongoing criminal antitrust investigation shares common questions of law and fact with

  the civil claims” and because the plaintiffs have sought the same documents produced

  to the federal prosecutors. Id. at 5, 7. Subsequently, in a May 1, 2017 motion to stay

  further discovery in the Generic Drugs MDL, the DOJ explained that “[e]vidence


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  uncovered during the criminal investigation implicates other companies and

  individuals (including a significant number of the Defendants [in the Generic Drugs

  MDL]) in collusion with respect to doxycycline hyclate, glyburide, and other drugs

  (including a significant number of the drugs at issue [in the Generic Drugs MDL]).”16

  The DOJ’s intervention in these civil actions implicating Allergan’s price-fixing

  activities is a powerful indication that the allegations of price-fixing are supported (at

  least in part) by documents and other information provided to the DOJ in its

  investigation.

        460. The DOJ filed the first criminal charges in connection with its

  investigation on December 12 and 13, 2016 against Jeffrey A. Glazer and Jason T.

  Malek of Heritage in the U.S. District Court for the Eastern District of Pennsylvania.

  Malek was Heritage’s President and Glazer was Heritage’s CEO and Chairman during

  the period covered by the DOJ’s investigation. On December 14, 2016, the DOJ

  released a complaint charging Glazer and Malek with criminal violations of §1 of the

  Sherman Act (15 U.S.C. §1) for price fixing and other anticompetitive conduct in

  connection with generic Doxycycline, one of the drugs sold by Allergan at historically

  high prices during the Relevant Period, and a second drug, Glyburide. The DOJ

  alleged that Glazer and Malek conspired to:


  16
    In re Generic Pharm. Pricing Antitrust Litig., No. 2:16-md-02724-CMR (E.D. Pa.
  May 1, 2017), ECF No. 279, at 1-2.

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                (a)   Participate in, direct, authorize or consent to subordinate

  employees discussing the sale of Doxycycline and Glyburide and creating “rig bids”

  for those drugs in meetings, conversations and communications with co-conspirators;

                (b)   Agreed during those meetings to “allocate customers” and not

  compete against one another for Doxycycline and Glyburide customers in the United

  States;

                (c)   Actually submitted or withheld the discussed bids and issued price

  proposals in accordance with the agreements reached; and

                (d)   Sold and profited from selling Doxycycline and Glyburide in the

  United States at “collusive and noncompetitive prices.”

          461. The DOJ described how Glazer and Malek did not act alone and that

  “[v]arious corporations and individuals, not made defendants in this Count,

  participated as co-conspirators in the offenses charged herein and performed acts and

  made statements in furtherance of.”

          462. Glazer and Malek pled guilty to the DOJ charges on January 9 and 10,

  2017.

          463. On December 14, 2016, in a Forbes article entitled “The Man The Feds

  Are Using To First Crack Open Their Big Antitrust Case Against Generic Drug

  Makers,” Robert Connolly, former chief of the DOJ’s Antitrust Division, stated the

  following:


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        [A] criminal information against an individual for antitrust charges prior
        to any other government action in an antitrust case suggests the
        individual is cooperating with the government investigation. “It sounds
        like it can be just the first case and others will follow, it would be
        unusual for the federal government to charge just one individual so I
        would assume there is more to come.”
        464. On December 15, 2016, 20 state Attorneys General revealed that they had

  sued six generic drug companies for their roles in the conspiracy to artificially inflate

  prices of Doxycycline and Glyburide, including Heritage, Mayne, Mylan and Teva

  USA. Teva’s Actavis unit (part of Allergan prior to July 26, 2015) received a

  subpoena from the Connecticut Attorney General in connection with its price-fixing

  investigation which began in June 2014. Twenty-five other state Attorneys General

  later joined the action.

        465. The AG Complaint states that the Attorneys General “have uncovered a

  wide-ranging series of conspiracies implicating numerous different drugs and

  competitors, which will be acted upon at the appropriate time.” The Attorneys

  General describe these conspiracies as “schemes to fix and maintain prices, allocate

  markets and otherwise thwart competition” and explain that they are carried out by

  generic drug companies through their senior executives, who “exploit their

  interactions at various and frequent industry trade shows, customer conferences and

  other similar events, to develop relationships and sow the seeds for their illegal

  agreements.”




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        466. According to the AG Complaint, the drug manufacturers attempted to

  explain the suspicious price hikes through “a myriad of benign factors,” however, the

  plaintiff States “found through their investigation . . . that the reason underlying many

  of these price increases is much more straightforward, and sinister – collusion among

  generic drug competitors.” Among other things, the company executives met at

  “regular ‘industry dinners’” and exchanged “numerous and frequent telephone calls,

  emails and text messages.”

        467. The Connecticut Attorney General noted in his December 15, 2016 press

  release that the price collusion was not the isolated misconduct of a few rogue

  employees, explaining that “the misconduct was conceived and carried out by senior

  drug company executives and their subordinate marketing and sales executives.” The

  Connecticut Attorney General further noted that the states’ investigation is still

  ongoing and has “uncovered evidence of a well-coordinated and long-running

  conspiracy to fix prices and allocate markets for doxycycline hyclate delayed release

  and glyburide.” As the Connecticut Attorney General explained, “[w]hile the principal

  architect of the conspiracies addressed in this lawsuit was Heritage Pharmaceuticals,

  we have evidence of widespread participation in illegal conspiracies across the

  generic drug industry . . . . We intend to pursue this and other enforcement actions

  aggressively, and look forward to working with our colleagues across the country to

  restore competition and integrity to this important market.”


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         468. As discussed herein, the Amended AG Complaint and the May 2019 AG

  Complaint, made public on October 31, 2017 and June 24, 2019, respectively, contain

  additional details and cite even more particular evidence about Allergan’s price-fixing

  activities.

         E.     Misleading Statements and Omissions
         469. During the Relevant Period, defendants made a series of materially false

  or misleading statements and omissions of material fact regarding: (i) the competitive

  nature of the generic drug market, the reasons for drug price increases and the source

  of Allergan’s revenues; (ii) the Company’s compliance with laws and regulations;

  (iii) the Company’s reported revenues; (iv) the accuracy of the Company’s SEC

  filings; and (v) compliance with the Company’s Code of Conduct.

                1.    Statements Regarding the Competitive Nature of the
                      Generic Drug Market and Source of Revenues
         470. The Relevant Period begins on October 29, 2013, when Allergan filed a

  Form 8-K, signed by Joyce, with the SEC (the “3Q 2013 Form 8-K”). In the press

  release attached to the 3Q 2013 Form 8-K, which announced certain of the Company’s

  financial and operating results for the quarter ended September 30, 2013, Bisaro

  stated, in part:

               Strong global growth in our Actavis Pharma segment was driven
         by our ability to capitalize on product opportunities from our industry
         leading R&D pipeline. In the U.S., we launched generic versions of
         Lidoderm® and Opana® ER and received FDA approval of a generic
         version of Lamictal® ODT. We also confirmed that we have initiated


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        U.S. patent challenges on such important products as generic versions of
        Nucynta ER® and Suboxone® Sublingual Film.
        471. On October 29, 2013, Allergan hosted a conference call to discuss the

  Company’s 3Q 2013 financial results. During this call, Olafsson stated, in part:

              With regard to the generic pricing outlook at a high level, what has
        happened probably over the last two years is it has been more common
        that obviously there is a price erosion in the market due to the
        consolidation. But there is opportunities [sic] to take pricing increases;
        and that is what has changed since maybe five years ago when there
        wasn’t an opportunity. These pricing increases have been in products
        where there has been manufacturing problems or stock-out situation.
               So I think that has been a fact in the US generic market, that
        there is an opportunity to take price increases. But also at the same
        time with the environment on the consolidation of the customers, clearly
        there is a pricing pressure overall in the market.
        472. On October 31, 2013, Allergan filed a quarterly report on Form 10-Q

  with the SEC, reporting certain of the Company’s financial and operating results for

  the quarter ended September 30, 2013 (the “3Q 2013 Form 10-Q”). In the 3Q 2013

  Form 10-Q, Allergan stated, in part: “The pharmaceutical industry is highly

  competitive . . . . We face strong competition in our all of our businesses.”

        473. On February 20, 2014, Allergan filed a Form 8-K, signed by Joyce, with

  the SEC (the “4Q 2013 Form 8-K”). In the press release attached to the 4Q 2013 Form

  8-K, which announced certain of the Company’s financial and operating results for the

  year and quarter ended December 31, 2013, Bisaro stated, in part: “Growth in our U.S.

  generic business was driven by strong product launches of generic versions of

  Suboxone® Sublingual tablets, Lidoderm® and Cymbalta®.”



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        474. On February 25, 2014, Allergan filed a Form 10-K reporting the

  Company’s financial results for 2013 (the “2013 Form 10-K”). In the 2013 Form

  10-K Allergan stated:

        Competition
              The pharmaceutical industry is highly competitive. In our
        Actavis Pharma and Actavis Specialty Brands businesses, we compete
        with different companies depending upon product categories, and within
        each product category, upon dosage strengths and drug delivery systems.
        Such competitors include the major brand name and generic
        manufacturers of pharmaceutical products. In addition to product
        development, other competitive factors in the pharmaceutical industry
        include product quality and price, reputation and service and access to
        proprietary and technical information. . . .
               We actively compete in the generic pharmaceutical industry. . . .
        [T]he level of market share, revenues and gross profit attributable to a
        particular generic product normally is related to the number of
        competitors in that product’s market, pricing and the timing of that
        product’s regulatory approval and launch, in relation to competing
        approvals and launches. . . . In addition to competition from other
        generic drug manufacturers, we face competition from brand name
        companies in the generic market. Many of these companies seek to
        participate in sales of generic products by, among other things,
        collaborating with other generic pharmaceutical companies or by
        marketing their own generic equivalent to their brand products as
        Authorized Generics.        Our major competitors include Teva
        Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc. (a division
        of Novartis AG).
        475. On April 30, 2014, Allergan filed a Form 8-K, signed by Joyce, with the

  SEC (the “1Q 2014 Form 8-K”). In the press release attached to the 1Q 2014 Form

  8-K, which announced certain of the Company’s financial and operating results for the

  quarter ended March 31, 2014, Bisaro stated, in part: “‘Overall revenue growth of 36

  percent in our commercial pharmaceutical business benefitted from the continued

  strength of our generics business, resulting from the launch of our generic Micardis®

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  in the U.S. and continued strong sales of the generic versions of Lidoderm® and

  Cymbalta®.’”

        476. In the 1Q 2014 Form 8-K, Allergan stated: “North American Generics

  revenue increased 7 percent to $1.02 billion for the first quarter 2014, driven by

  product launches including generic versions of Cymbalta® and Lidoderm® partially

  offset by generic competition of extended release products including our authorized

  generic version of Concerta®.”

        477. On May 29, 2014, Allergan participated in the Sanford C. Bernstein

  Strategic Decisions Conference (“Bernstein Conference”). During this conference,

  Bisaro stated, in part:

              And I guess where that leads to is I think sustainable and longer-
        term higher pricing in the generic industry than people are generally used
        to. We have also seen in the short term the ability to take price
        increases on older products where the price had gone to a point where
        companies had to make the decision about whether to continue
        manufacturing or raise price. And now we are taking those price
        increases and those price increases are sticking.
              So instead of discontinuing a product we are looking to raise the
        price. And while it may seem like a lot of money, or it is not an
        insignificant number in a very high percentage, but we are talking about
        going from $10 a thousand to $20 a thousand. So not enormous numbers
        when it comes to the patient but important and relevant to us.
        478. On August 5, 2014, Allergan filed a Form 8-K, signed by Joyce, with the

  SEC (the “2Q 2014 Form 8-K”). In the press release attached to the 2Q 2014 Form

  8-K, which announced the highlights from the Company’s 2Q 2014 financial and

  operating results, Bisaro stated, in part:


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              “Our exceptional performance during the second quarter resulted
        from double digit revenue growth in both our North American brand and
        generics businesses and Anda Distribution . . . .”
               . . . We also saw strong growth within our generics business,
        powered by our strong base business along with continued strong sales
        of the generic versions of Lidoderm® and Cymbalta®”.
        479. On August 5, 2014, Allergan hosted a conference call to discuss the

  Company’s 2Q 2014 financial results. During this call, an analyst from Leerink

  Partners inquired about the “US generic pricing outlook for 2014 and 2015” and also

  asked whether Allergan had “factored any aggressive pricing increases” into the

  Company’s guidance numbers, specifically noting that “smaller generic players seem

  to be taking very aggressive pricing increases.” In responding to these questions,

  Saunders stated, in part:

        Clearly we think there are more opportunities to take price [increases],
        particularly as we leverage our strong supply chain and the reliability of
        high-quality supply that we can offer customers that perhaps you are
        seeing with some of our competitors not to be as true. And so that
        always creates opportunity.
        480. Buchen then added:

        We have a very broad portfolio and we take pricing opportunities where
        we can. . . .
              That is one of the advantages of having a very diverse portfolio is
        we can – with our supply chain the way it is, we can react very quickly
        when there are pricing opportunities and the ability to take more share.
        481. On November 5, 2014, Allergan filed a Form 8-K, signed by Joyce, with

  the SEC (the “3Q 2014 Form 8-K”). In the press release attached to the 3Q 2014




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  Form 8-K, which announced certain of the Company’s financial and operating results

  for the quarter ended September 30, 2014, Saunders stated, in part:

                 “Our 53 percent year-over-year growth in non-GAAP EPS
          reflects the strong contributions of our new brand pharmaceutical
          portfolios, resulting from the acquisitions of Warner Chilcott and Forest,
          as well as the continued strong performance of our U.S. Generics and
          International businesses and the Anda Distribution business . . . . Within
          our North American Generics business, we capitalized on continued
          strength across the business.”
          482. On December 5, 2014, Allergan filed a Form 8-K, signed by Joyce,

  superseding portions of the 2013 Form 10-K. In the Form 8-K, Allergan stated, in

  part:

                Our North American Generics and International business is
          focused on maintaining a leading position within both the North
          America, and in particular, the U.S. market and our key international
          markets and strengthening our global position by offering a consistent
          and reliable supply of quality brand and generic products.
                 Our strategy in the U.S. is to develop pharmaceuticals that are
          difficult to formulate or manufacture or will complement or broaden
          our existing product lines.
                                       *      *      *
          [A] small number of large, wholesale distributors and large chain drug
          stores control a significant share of the market. This concentration
          may adversely impact pricing and create other competitive pressures on
          drug manufacturers.
                                       *      *      *
          Competition
                The pharmaceutical industry is highly competitive. In our North
          American Brands and North American Generics and International
          businesses, we compete with different companies depending upon
          product categories, and within each product category, upon dosage
          strengths and drug delivery systems. Such competitors include the
          major brand name and generic manufacturers of pharmaceutical

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        products. In addition to product development, other competitive factors
        in the pharmaceutical industry include product quality and price,
        reputation and service and access to proprietary and technical
        information. . . .
               We actively compete in the generic pharmaceutical industry.
        Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing off-patent
        manufacturers receive regulatory approvals on similar products,
        market share, revenues and gross profit typically decline, in some cases
        dramatically. Accordingly, the level of market share, revenues and
        gross profit attributable to a particular generic product normally is
        related to the number of competitors in that product’s market pricing
        and the timing of that product’s regulatory approval and launch, in
        relation to competing approvals and launches. Consequently, we must
        continue to develop and introduce new products in a timely and cost-
        effective manner to maintain our revenues and gross profit. In addition
        to competition from other generic drug manufacturers, we face
        competition from brand name companies in the generic market. Many
        of these companies seek to participate in sales of generic products by,
        among other things, collaborating with other generic pharmaceutical
        companies or by marketing their own generic equivalent to their brand
        products as Authorized Generics. Our major competitors include Teva
        Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc.
                                    *      *      *
              Our operating results and financial condition may fluctuate from
        quarter to quarter and year to year for a number of reasons. The
        following events or occurrences, among others, could cause
        fluctuations in our financial performance from period to period:
                                    *      *      *
             our responses to price competition
                                    *      *      *
               We face strong competition in our all of our businesses. . . .
        Most of our competitors have been in business for a longer period of
        time than us, have a greater number of products on the market and have
        greater financial and other resources than we do. Furthermore, recent
        trends in this industry are toward further market consolidation of large
        drug companies into a smaller number of very large entities, further
        concentrating financial, technical and market strength and increasing
        competitive pressure in the industry. . . .

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               Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing manufacturers
        receive regulatory approvals on similar products or as brand
        manufacturers launch generic versions of such products (for which no
        separate regulatory approval is required), market share, revenues and
        gross profit typically decline, in some cases dramatically. Accordingly,
        the level of market share, revenue and gross profit attributable to a
        particular generic product normally is related to the number of
        competitors in that product’s market and the timing of that product’s
        regulatory approval and launch, in relation to competing approvals and
        launches. . . . Additionally, as new competitors enter the market, there
        may be increased pricing pressure on certain products, which would
        result in lower gross margins. . . . .
               . . . Increased competition in the generic industry as a whole may
        result in increased price erosion in the pursuit of market share.
                                     *     *       *
               Our principal customers in our brand and generic pharmaceutical
        operations are wholesale drug distributors and major retail drug store
        chains. . . . We expect that consolidation of drug wholesalers and
        retailers will increase pricing and other competitive pressures on drug
        manufacturers, including the Company.
        483. On January 13, 2015, Allergan participated in the JPMorgan Healthcare

  Conference (“JPMorgan Conference”).          During this conference, a Company

  representative stated, in part:

        We do take appropriate price increases, but not the most aggressive price
        increases. And we do that because we need to manage our relationships
        and treat our customers fairly, so that we don’t find ourselves on
        exclusion lists or other things like that.
        484. On February 18, 2015, Allergan filed a Form 8-K, signed by Hilado, with

  the SEC (the “4Q 2014 Form 8-K”). In the press release attached to the 4Q 2014

  Form 8-K, which announced certain of the Company’s financial and operating results

  for the year and quarter ended December 31, 2014, Saunders stated, in part:


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        In our North American Generics business, strong results were driven by
        continued performance of our generic versions of Lidoderm® and
        Concerta®, and fourth quarter launches of generic versions of Intuniv™
        and Celebrex®.
        485. On February 18, 2015, Allergan also filed an Annual Report on Form

  10-K with the SEC, reiterating the financial and operating results previously

  announced in the 4Q 2014 Form 8-K and reporting in full the Company’s financial

  and operating results for the quarter and year ended December 31, 2014 (the “2014

  Form 10-K”).

        486. In the 2014 Form 10-K, Allergan stated, in part:

              Our North American Generics and International business is
        focused on maintaining a leading position within both the North
        American, and in particular, the U.S. market and our key international
        markets and strengthening our global position by offering a consistent
        and reliable supply of quality brand and generic products.
               Our strategy in the U.S. is to develop pharmaceuticals that are
        difficult to formulate or manufacture or will complement or broaden
        our existing product lines.
                                     *     *       *
              Our significant customers comprise a large part of the distribution
        network for pharmaceutical products in North America. As a result, a
        small number of large, wholesale distributors and large drug store chains
        control a significant share of the market. Changes in the mix of
        concentration amongst the Company’s largest customers over the last
        three years are due, in part, to the impact of acquisitions as well as
        changes in the supply chain of our indirect customers. This
        concentration may adversely impact pricing and create other
        competitive pressures on drug manufacturers.
                                     *     *       *
        Competition
             The pharmaceutical industry is highly competitive. In our North
        American Brands and North American Generics and International

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        businesses, we compete with different companies depending upon
        product categories, and within each product category, upon dosage
        strengths and drug delivery systems. Such competitors include the major
        brand name and generic manufacturers of pharmaceutical products. In
        addition to product development, other competitive factors in the
        pharmaceutical industry include product quality, price, reputation,
        service and access to proprietary and technical information.
                                     *     *       *
               We actively compete in the generic pharmaceutical industry.
        Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing off-patent
        manufacturers receive regulatory approvals on similar products,
        market share, revenues and gross profit typically decline, in some cases
        dramatically. Accordingly, the level of market share, revenues and
        gross profit attributable to a particular generic product normally is
        related to the number of competitors in that product’s market, pricing
        and the timing of that product’s regulatory approval and launch, in
        relation to competing approvals and launches. Consequently, we must
        continue to develop and introduce new products in a timely and cost-
        effective manner to maintain our revenues and gross profit. In addition
        to competition from other generic drug manufacturers, we face
        competition from brand name companies in the generic market. Many
        of these companies seek to participate in sales of generic products by,
        among other things, collaborating with other generic pharmaceutical
        companies or by marketing their own generic equivalent to their brand
        products as “Authorized Generics”. Our major competitors include
        Teva Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc. (a
        division of Novartis AG).
                                     *     *       *
               We face strong competition in all of our businesses. . . . Most of
        our competitors have been in business for a longer period of time than
        us, have a greater number of products on the market and have greater
        financial and other resources than we do. Furthermore, recent trends in
        this industry are toward further market consolidation of large drug
        companies into a smaller number of very large entities, further
        concentrating financial, technical and market strength and increasing
        competitive pressure in the industry.
                                     *     *       *
             Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain

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        regulatory and competitive factors. . . . As competing manufacturers
        receive regulatory approvals on similar products or as brand
        manufacturers launch generic versions of such products (for which no
        separate regulatory approval is required), market share, revenues and
        gross profit typically decline, in some cases dramatically. Accordingly,
        the level of market share, revenue and gross profit attributable to a
        particular generic product normally is related to the number of
        competitors in that product’s market and the timing of that product’s
        regulatory approval and launch, in relation to competing approvals and
        launches. . . . Additionally, as new competitors enter the market, there
        may be increased pricing pressure on certain products, which would
        result in lower gross margins. . . .
               . . . Increased competition in the generic industry as a whole may
        result in increased price erosion in the pursuit of market share.
                                     *     *       *
               Our principal customers in our brand and generic pharmaceutical
        operations are wholesale drug distributors and major retail drug store
        chains. . . . We expect that consolidation of drug wholesalers and
        retailers will increase pricing and other competitive pressures on drug
        manufacturers, including the Company.
        487. On May 11, 2015, Allergan filed a Form 8-K, signed by Hilado, with the

  SEC (the “1Q 2015 Form 8-K”). In the press release attached to the 1Q 2015 Form

  8-K, which announced certain of the Company’s financial and operating results for the

  quarter ended March 31, 2015, Saunders stated, in part:

              Our first quarter performance was highlighted by strong revenue
        growth from Namenda XR®, Linzess®, Bystolic®, Viibryd®/
        Fetzima®, LoLoestrin® Fe, Saphris®, Estrace® Cream as well as
        continued growth within our generics business, powered by strong
        sales of the generic versions of Concerta®, Intuniv® and the recent
        launch of our generic version of OxyContin®.
        488. On May 11, 2015, Allergan hosted a conference call to discuss the

  Company’s 1Q 2015 financial results. During this call, an analyst from Guggenheim

  Securities LLC asked for Allergan’s thoughts on “generic drug pricing given that


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  there have been concerns that it may not be as favorable going forward.” Responding

  to this question, Saunders stated, in part:

              We haven’t seen much of a change despite all the fanfare and
        publicity around drug pricing and generics. There are obviously a few
        products that go up but the model for generics is price decreases as more
        competitors come into the market. That is just the way the business
        works and overall we still model a mid single-digit price decrease in our
        business. That being said, the environment has remained pretty stable
        and favorable. We don’t expect that to change short-term either.
        489. Bisaro added:

        [O]ur pipeline and product line gives us a bit of an advantage because of
        the uniqueness of it and allows us to be somewhat insulated from the
        general reduction of prices. As you know we have worked very hard to
        create that product line and we are obviously taking advantage of the
        situation as the situations present themselves.
        490. On August 6, 2015, Allergan filed a Form 8-K, signed by Hilado, with

  the SEC (the “2Q 2015 Form 8-K”). In the press release attached to the 2Q 2015

  Form 8-K, which announced certain of the Company’s financial and operating results

  for the quarter ended June 30, 2015, Saunders stated, in part:

               “In our first full quarter as a combined Company, Allergan
        delivered exceptional results. Our performance was powered by
        operational excellence and double-digit growth across our Brands and
        Global Generics businesses, while continuing outstanding momentum
        on the integration of Actavis and Allergan. We also achieved important
        R&D milestones that will help fuel both our branded and generics
        businesses in the future . . . .”
        491. On August 6, 2015, Allergan hosted a conference call to discuss the

  Company’s 2Q 2015 financial results. During this call, Saunders stated, in part:

        [O]ur global generics business is doing very well and the units that
        comprise it are firing on all cylinders as we prepare for the combination
        with Teva. Generic sales are up 17% excluding the impact of foreign
        currency. Generic profitability is up. . . . US generic revenues were

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        $1.1 billion in the quarter, and continue to benefit from new product
        introductions and contribution from high-barrier and semi-exclusive
        products like generic Concerta.
        492. On August 6, 2015, Saunders appeared on CNBC’s Mad Money with Jim

  Cramer to discuss the state of the Company. During the interview, Cramer asked

  Saunders about the Company’s recent disclosure of a subpoena it received from the

  DOJ in June regarding price collusion. Saunders responded:

        [T]he DOJ investigation really is a red herring. . . . [T]he government
        in the U.S. has gotten used to drug prices in generics going one way –
        down. But it’s a commodity business, and so they go up and down
        depending on supply and demand. This was a subpoena about three
        products where prices went up because of supply and demand and, to be
        fair, it will play itself out. But in the context of Allergan, it’s not that
        significant.
        493. On November 4, 2015, Allergan filed a Form 8-K, signed by Hilado, with

  the SEC (the “3Q 2015 Form 8-K”). In the press release attached to the 3Q 2015

  Form 8-K, which announced certain of the Company’s financial and operating results

  for the quarter ended September 30, 2015, Saunders stated, in part:

               “Allergan delivered exceptional performance across the board in
        the third quarter that exceeded expectations. These strong results were
        driven by our continued focus on customers, fueling volume-driven year-
        over-year growth in our U.S. Brands, Medical Aesthetics, International
        Brands and Anda Distribution segments, while also executing pre-
        integration activities ahead of the divestiture of the Generics business to
        Teva, which remains on track to be completed in the first quarter of
        2016 . . . .”
        494. On November 4, 2015, Allergan hosted a conference call to discuss the

  Company’s 3Q 2015 financial results. During this call, Saunders stated, in part:

        Pricing has been in the headlines and featured in the presidential debates,
        but let’s not pretend that this is [a] topic that has just appeared in the

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        news, it’s been a focus for many years. We know that cost is a constant
        concern, so is patient access to medical innovation. Allergan seeks to
        strike the right balance between care and cost.
                                    *      *      *
               Allergan has a heritage in knowing health-system economics very
        well, and we want to make sure patients have access to important
        medicines. Like many of our peers, we have patient-assistance programs
        to make sure patients have access to our medicines regardless of their
        ability to pay. . . . Our business model does not involve purchasing old
        products already on the marketplace and taking excessive price
        increases. We prefer to acquire mid- to late-stage drugs and invest[]
        extensively in their development.
        495. On February 22, 2016, Allergan filed a Form 8-K, signed by Hilado, with

  the SEC (the “4Q 2015 Form 8-K”). In the press release attached to the 4Q 2015

  Form 8-K, which announced certain of the Company’s financial and operating results

  for the quarter and year ended December 31, 2015, Allergan stated, in part:

        The Global Generics business delivered solid performance during the
        fourth quarter.
        496. On February 23, 2016, certain of the Individual Defendants participated

  in the RBC Capital Markets Healthcare Conference. During this conference, Saunders

  stated:

               We have never been aggressive price takers. We, in fact, have
        been criticized or I have been criticized and I think Bill Meury, who’s
        here, has been criticized in forums like this in the past for not taking
        more price. And we have always explained that this is a customer long-
        term relationship and to the extent you poke them in the eye over and
        over again, they are going to poke back.
              You wouldn’t do that with any customer regardless of whether it’s
        a PBM or a hospital or a physician buying group or an individual
        physician. You just don’t treat customers that way. There has to be
        mutual respect and planning, and so we price our drugs appropriately.


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              We look to take price increases as we believe we can, but we
        have never done it in a significant way because our products don’t lend
        themselves to that in large part. But also our business model and our
        philosophy doesn’t lend itself to that.
                                      *     *       *
               And this idea that you can just take price increases as you see fit
        is really not true. There are anomalies and there are companies that
        have figured out how to exploit that system, but the reality is every price
        increase comes with a reaction. They are highly negotiated and the
        system does, for the most part, work. There are, again, anomalies to it,
        but it does work.
        497. On February 26, 2016, Allergan filed an Annual Report on Form 10-K

  with the SEC, reiterating the financial and operating results previously announced in

  the 4Q 2015 Form 8-K and reporting in full the Company’s financial and operating

  results for the quarter and year ended December 31, 2015 (the “2015 Form 10-K”).

        498. In the 2015 Form 10-K, Allergan stated, in part:

        Competition
               The pharmaceutical industry is highly competitive.
                                      *     *       *
              As a result of the Teva Transaction, the Company’s global
        generics business is classified as discontinued operations. Our
        discontinued operations actively competes in the generic
        pharmaceutical industry.
                                      *     *       *
        Accordingly, the level of market share, revenues and gross profit
        attributable to a particular generic product normally is related to the
        number of competitors in that product’s market, pricing and the timing
        of that product’s regulatory approval and launch, in relation to
        competing approvals and launches. We face competition from other
        generic drug manufacturers and from brand name companies in the
        generic market. Many of these companies seek to participate in sales of
        generic products by, among other things, collaborating with other

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        generic pharmaceutical companies or by marketing their own generic
        equivalent to their brand products as “Authorized Generics.”
        499. The statements set forth in ¶¶470-498 above were materially false and

  misleading or omitted material facts about the Company’s business, operations,

  compliance with policies, and financial results. Specifically, defendants made

  materially false and/or misleading statements, which had the effect of concealing,

  and/or failed to disclose, that: (i) Allergan’s generics unit and several of its

  pharmaceutical industry peers colluded to fix generic drug prices; (ii) the foregoing

  conduct constituted anticompetitive conduct; and (iii) consequently, Allergan’s

  revenues during the Relevant Period were in part the result of anticompetitive

  conduct. By electing to speak publicly about Allergan’s generic drug business –

  specifically, pricing and competition for generic drugs and revenues received from

  those drugs – and thereby putting the subject into play during earnings calls with

  shareholders and in SEC filings, defendants had a duty to fully, completely and

  truthfully disclose all material facts regarding generic drug pricing, competition and

  revenues so as to not mislead investors. As a result of the foregoing, defendants’

  public statements were materially false and misleading at all relevant times.

               2.    Statements Regarding Compliance with Laws and
                     Regulations
        500. During the Relevant Period, Allergan filed: (i) a Form S-4 registration

  statement and a joint proxy statement/prospectus that formed part of the registration

  statement on December 23, 2014, signed by Bisaro, Saunders, Hilado and Bailey;

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  (ii) Amendment No. 1 to the Form S-4 registration statement and joint proxy

  statement/prospectus that formed part of the registration statement on January 26,

  2015, signed by Bisaro, Saunders, Hilado and Bailey; and (iii) a Rule 424(b)(3) Joint

  Proxy Statement/Prospectus on January 27, 2015, which contained materially false

  and/or misleading statements that the Company complied with laws and regulations:

        Allergan’s obligation to effect the Merger is conditioned, among other
        things, upon:
                   the accuracy of Actavis’ and Merger Sub’s representations
        and warranties, subject to specified materiality standards;
                                     *     *       *
                  the delivery by Actavis of an officer’s certificate certifying
        such accuracy of such representations and warranties and such
        performance of such obligations and covenants . . . .
                                     *     *       *
              Many of the representations and warranties are reciprocal and
        apply to Actavis or Allergan, as applicable, and their respective
        subsidiaries. Some of the more significant representations and
        warranties relate to:
                                     *     *       *
                    SEC reports and financial statements, including their
        preparation in accordance with GAAP, filing or furnishing with the SEC,
        and compliance with the applicable rules and regulations promulgated
        thereunder, and that such reports and financial statements fairly
        present, in all material respects, the relevant financial position and
        results of operations;
                                     *     *       *
                   compliance with laws and government regulations,
        including environmental laws . . . .
                                     *     *       *



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              Many of the representations and warranties made by each of
        Actavis and Allergan are qualified by a “material adverse effect”
        standard . . . . For the purpose of the Merger Agreement, a “material
        adverse effect” with respect to each of Actavis and Allergan means any
        change, effect, development, circumstance, condition, state of facts,
        event or occurrence (each referred to in this section of this joint proxy
        statement/prospectus as an “Effect”) that, individually or in the
        aggregate, has a material adverse effect on the assets, liabilities,
        condition (financial or otherwise), business or results of operations of the
        relevant party and its subsidiaries, taken as a whole . . . .
                                      *      *      *
             REPRESENTATIONS AND WARRANTIES OF PARENT
                    [ACTAVIS PLC] AND MERGER SUB
                                      *      *      *
              Section 4.4 Reports and Financial Statements.
               (a) From January 1, 2012 through the date of this Agreement,
        each of Parent [Actavis plc] and Actavis, Inc. have filed or furnished all
        forms, documents and reports required to be filed or furnished prior to
        the date hereof by it with the SEC (the “Parent SEC Documents”). As of
        their respective dates, or, if amended, as of the date of (and giving effect
        to) the last such amendment, the Parent [Actavis plc] SEC Documents
        complied in all material respects with the requirements of the Securities
        Act and the Exchange Act, as the case may be, and the applicable rules
        and regulations promulgated thereunder, and none of the Parent
        [Actavis plc] SEC Documents contained any untrue statement of a
        material fact or omitted to state any material fact required to be stated
        therein or necessary to make the statements therein, in light of the
        circumstances under which they were made, not misleading.
               (b) The consolidated financial statements (including all related
        notes and schedules) of Parent or Actavis, Inc., as applicable, included in
        the Parent [Actavis plc] SEC Documents when filed complied as to form
        in all material respects with the applicable accounting requirements and
        the published rules and regulations of the SEC with respect thereto in
        effect at the time of such filing and fairly present in all material respects
        the consolidated financial position of Parent [Actavis plc] or Actavis,
        Inc., as applicable, and its consolidated Subsidiaries, as at the
        respective dates thereof, and the consolidated results of their operations
        and their consolidated cash flows for the respective periods then ended
        (subject, in the case of the unaudited statements, to normal year-end
        audit adjustments and to any other adjustments described therein,
        including the notes thereto) in conformity with GAAP (except, in the

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        case of the unaudited statements, to the extent permitted by the SEC)
        applied on a consistent basis during the periods involved (except as may
        be indicated therein or in the notes thereto).
                                     *      *      *
              Section 4.7 Compliance with Law; Permits.
               (a) Parent [Actavis plc] and each of Parent’s Subsidiaries are
        in compliance with and are not in default under or in violation of any
        Laws, applicable to Parent, such Subsidiaries or any of their respective
        properties or assets, except where such non-compliance, default or
        violation would not reasonably be expected to have, individually or in
        the aggregate, a Parent Material Adverse Effect.
                                     *      *      *
               Section 4.12 Information Supplied. The information relating to
        Parent [Actavis plc] and its Subsidiaries to be contained in the Joint
        Proxy Statement/Prospectus and the Form S-4 will not, on the date the
        Joint Proxy Statement/Prospectus (and any amendment or supplement
        thereto) is first mailed to shareholders of Parent or at the time the Form
        S-4 (and any amendment or supplement thereto) is filed and the date it is
        declared effective or any post-effective amendment thereto is filed or is
        declared effective, or at the time of the Company Special Meeting or the
        Parent Special Meeting, contain any untrue statement of a material fact
        or omit to state any material fact required to be stated therein or
        necessary in order to make the statements therein, at the time and in
        the light of the circumstances under which they were made, not
        misleading. The Joint Proxy Statement/Prospectus (other than the
        portions thereof relating solely to the meeting of the stockholders of the
        Company) and the Form S-4 will comply as to form in all material
        respects with the provisions of the Exchange Act, the rules and
        regulations promulgated thereunder and any other applicable federal
        securities laws. . . .
              Section 4.13 Regulatory Matters.
                                     *      *      *
              (b) Except as would not, individually or in the aggregate,
        reasonably be expected to have a Parent Material Adverse Effect, the
        businesses of each of Parent [Actavis plc] and each Parent Subsidiary
        are being conducted in compliance with all applicable Laws . . . .
              (c) Except as would not, individually or in the aggregate,
        reasonably be expected to have a Parent Material Adverse Effect, Parent

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        and the Parent Subsidiaries have not engaged in activities which are, as
        applicable, cause for false claims liability, civil penalties or mandatory or
        permissive exclusion from Medicare, Medicaid or any other government
        healthcare program.
                                       *      *      *
               “Parent Material Adverse Effect” means any Effect that,
        individually or in the aggregate, has a material adverse effect on the
        assets, liabilities, condition (financial or otherwise), business or results of
        operations of Parent and the Parent Subsidiaries, taken as a whole . . . .
        501. On March 2, 2015, Allergan filed a Form 8-K, signed by Bailey and

  Hilado, with underwriting agreements relating to the Ordinary/Preferred Shares

  Offerings that stated:

        The Company represents and warrants to each Underwriter that: . . .
               (c) Issuer Free Writing Prospectus. . . . Each such Issuer Free
        Writing Prospectus complied in all material respects with the Securities
        Act, has been or will be (within the time period specified in Rule 433)
        filed in accordance with the Securities Act (to the extent required
        thereby) and, when taken together with the Preliminary Prospectus filed
        prior to the first use of such Issuer Free Writing Prospectus, did not, and
        as of the Closing Date and as of the Additional Closing Date, as the case
        may be, will not, contain any untrue statement of a material fact or
        omit to state a material fact necessary in order to make the statements
        therein, in the light of the circumstances under which they were made,
        not misleading . . . .
               (d) Registration Statement and Prospectus. . . . [A]s of the
        applicable effective date of the Registration Statement and any post-
        effective amendment thereto, the Registration Statement and any such
        post-effective amendment complied and will comply in all material
        respects with the Securities Act, and did not and will not contain any
        untrue statement of a material fact or omit to state a material fact
        required to be stated therein or necessary in order to make the
        statements therein not misleading; and as of the date of the Prospectus
        and any amendment or supplement thereto and as of the Closing Date
        and as of the Additional Closing Date, as the case may be, the
        Prospectus will not contain any untrue statement of a material fact or
        omit to state a material fact necessary in order to make the statements
        therein, in the light of the circumstances under which they were made,
        not misleading . . . .

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               (e) Incorporated Documents. The documents incorporated by
        reference in the Registration Statement, the Prospectus and the Pricing
        Disclosure Package, including, to the knowledge of the Company, the
        documents filed with the Commission by Allergan, when they were filed
        with the Commission, conformed in all material respects to the
        requirements of the Exchange Act, and none of such documents,
        including, to the knowledge of the Company, the documents so filed by
        Allergan, contained any untrue statement of a material fact or omitted
        to state a material fact necessary to make the statements therein, in the
        light of the circumstances under which they were made, not
        misleading; and any further documents so filed by the Company or any
        of its subsidiaries and incorporated by reference in the Registration
        Statement, the Prospectus or the Pricing Disclosure Package, when
        such documents are filed with the Commission, will conform in all
        material respects to the requirements of the Exchange Act and will not
        contain any untrue statement of a material fact or omit to state a
        material fact necessary to make the statements therein, in the light of
        the circumstances under which they were made, not misleading.
              (f)    Financial Statements.
                (i)    Preparation of the Financial Statements of the Company.
        The financial statements (including the related notes thereto) of the
        Company and its consolidated subsidiaries included or incorporated by
        reference in the Registration Statement, the Pricing Disclosure Package
        and the Prospectus present fairly, in all material respects, the financial
        position of the Company and its consolidated subsidiaries as of and at the
        dates indicated and the results of their operations and the changes in their
        cash flows for the periods specified. Such financial statements comply
        in all material respects as to form with the applicable requirements of
        the Securities Act and the Exchange Act, as applicable, and have been
        prepared in conformity with generally accepted accounting principles
        as applied in the United States (“GAAP”) applied on a consistent basis
        throughout the periods covered thereby, except as may be expressly
        stated in the related notes thereto, and any supporting schedules included
        or incorporated by reference in the Registration Statement present fairly,
        in all material respects, the information required to be stated therein. The
        selected financial data and the summary financial information of the
        Company and its consolidated subsidiaries included or incorporated by
        reference in the Registration Statement, the Pricing Disclosure Package
        and the Prospectus presents fairly, in all material respects, the
        information shown therein and has been compiled on a basis consistent
        with that of the Company’s audited financial statements included or
        incorporated by reference in the Registration Statement, the Pricing
        Disclosure Package and the Prospectus.


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                                      *      *      *
               (o) No Violation or Default. None of the Company, any of the
        Significant Subsidiaries or, to the knowledge of the Company, any of
        the Acquired Companies is . . . (iii) in violation of any law or statute
        applicable to the Company, any of its subsidiaries or any of the
        Acquired Companies or any judgment, order, rule or regulation of any
        court or arbitrator or governmental or regulatory authority having
        jurisdiction over the Company, any of its subsidiaries or any of the
        Acquired Companies, except, in the case of clauses (ii) and (iii) above,
        for any such default or violation that would not reasonably be expected,
        individually or in the aggregate, to have a Material Adverse Effect.
                                      *      *      *
               As used herein, “Material Adverse Effect” means (A) when used
        in respect of any matter relating to the Company or any of its
        subsidiaries, any material adverse effect, or any development that would
        reasonably be expected to result in a material adverse effect, on the
        business, properties, management, financial position, stockholders’
        equity, results of operations or prospects of the Company and its
        subsidiaries taken as a whole, or on the performance by the Company of
        its obligations under the Transaction Documents and (B) when used in
        respect of any matter relating to any of the Acquired Companies, any
        material adverse effect, or any development that would reasonably be
        expected to result in a material adverse effect, on the business,
        properties, management, financial position, stockholders’ equity, results
        of operations or prospects of the Combined Company, or on the
        performance by the Company of its obligations under the Transaction
        Documents.
        502. The statements set forth in ¶¶500-501 above were materially false and

  misleading or omitted material facts. Allergan’s inflation of its sales through illegal

  price-fixing constituted a violation of U.S. antitrust laws and exposed the Company to

  significant risk of prosecution by state and federal authorities along with the attendant

  negative financial and reputational harm. In addition, Allergan’s failure to make

  required disclosures regarding the impact of artificial price increases (tied to illegal

  price-fixing activity) on its reported revenue was in violation of SEC disclosure rules.


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  As a result, defendants’ public statements were materially false and misleading at all

  relevant times.

                 3.      Financial Statements
         503. During the Relevant Period, Allergan reported the financial results set

  forth in the table below:

    3Q 2013 Form 8-K, Filed on Oct. 29, 2013:
                                           Three Months Ended Sep. 30, 2013
                      Actavis Pharma         Actavis Pharma (Total)          Consolidated
                          (U.S.)
    Net Revenue       $942.8 million            $1,552.1 million            $2,013.0 million

                   Actavis Pharma net revenue increased 69 percent to $1.55 billion for the third
           quarter 2013, due to the acquisition of legacy Actavis in late 2012 and new product
           launches including generic versions of Suboxone® sublingual tablets and Lidoderm®,
           which more than offset lower sales of our authorized generic version of Concerta® as a
           result of expected competition. Third quarter international net revenue was
           $609.3 million, up 208 percent from the prior year quarter as a result of the inclusion of
           legacy Actavis product sales. Net revenue consists of sales of generics, legacy brands,
           branded generics and OTC products in the Americas (U.S., Canada and Latin America),
           Europe (Europe, Russia, CIS and Turkey), and the Middle East, Africa, Australia and
           Asia Pacific (collectively, MEAAP).

    4Q 2013 Form 8-K, Filed on Feb. 20, 2014:
                                           Three Months Ended Dec. 31, 2013
                      Actavis Pharma         Actavis Pharma (Total)          Consolidated
                          (U.S.)
    Net Revenue       $999.9 million            $1,700.8 million            $2,779.3 million

                    Actavis Pharma net revenue increased 20 percent to $1.70 billion for the fourth
           quarter 2013, due to the acquisition of legacy Actavis in November 2012 and new
           product launches including generic versions of Suboxone® sublingual tablets,
           Cymbalta® and Lidoderm®, which more than offset lower sales of our authorized
           generic version of Concerta® as a result of expected competition. Fourth quarter
           international net revenue was $700.9 million, up 34 percent from the prior year quarter as
           a result of the inclusion of legacy Actavis product sales for the full quarter.

    2013 Form 10-K, Filed on Feb. 25, 2014:
                                          Twelve Months Ended Dec. 31, 2013
                      Actavis Pharma (U.S.)    Actavis Pharma (Total)        Consolidated
    Net Revenue          $3,813.5 million         $6,355.9 million          $8,677.6 million

           Our Actavis Pharma business in the U.S. remains the dominant source of revenue for the
           Company with approximately 60%, 75% and 84% of 2013, 2012 and 2011 segment net
           revenue coming from our U.S. businesses, respectively. While our U.S. generics business

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           will continue to be the dominant source of revenue for the Company, we expect
           international generic revenue to represent an increasing percentage of total revenues in
           future periods due to the Actavis Group Acquisition.

                                               *       *        *

                    The increase in net revenues is primarily due to the full year net sales resulting
           from the Actavis Group Acquisition of $2,799.5 million in the year ended December 31,
           2013 versus $428.3 million in the year ended December 31, 2012. Also contributing to
           the increase are higher U.S. unit sales related to new products including lidocaine topical
           patch 5% ($392.9 million) and mixed amphetamine (Adderall XR CII) ($145.2 million),
           offset in part by lower net sales of certain U.S. products including the authorized generic
           version of Lipitor (atorvastatin) ($403.6 million, of which $24.3 million is due to price
           and $379.3 million is due to volume) and declines in other international revenues.

    1Q 2014 Form 8-K, Filed on Apr. 30, 2014 and 1Q 2014 Form 10-Q Filed on May 5, 2014:
                        Three Months Ended March 31,          Three Months Ended March 31,
                           2014               2013              2014                2013
                     North American      North American
                         Generics            Generics       Consolidated       Consolidated
    Net Revenue      $1,024.2 million     $956.7 million   $2,655.1 million   $1,895.5 million

                    North American Generics revenue increased 7 percent to $1.02 billion for the
           first quarter 2014, driven by product launches including generic versions of Cymbalta®
           and Lidoderm® partially offset by generic competition of extended release products
           including our authorized generic version of Concerta®. North American Generics
           revenue consists of non-branded pharmaceutical revenue in the United States and
           Canada.

    2Q 2014 Form 10-Q Filed on Aug. 5, 2014:
                        Three Months Ended Jun. 30,                      Three Months Ended Jun. 30,
                          2014                2013                        2014               2013
                     North American      North American
                         Generics            Generics                Consolidated           Consolidated
    Net Revenue      $1,031.4 million    $949.8 million             $2,667.2 million       $1,989.8 million

           The increase in North American Generics revenues was primarily the result of period-
           over-period increases in Lidocaine topical patch 5% (generic of Lidoderm®) of
           $116.1 million due to the timing of the launch in 2013 and Duloxetine HCI (generic of
           Cymbalta®), which was not sold in the first six months of 2013, of $47.5 million, offset,
           in part, by a decline in Methlyphenidate ER (generic of Concerta®) of $78.1 million due
           primarily to decreased volume. Other movements within this category are due to product
           mix.

    3Q 2014 Form 10-Q Filed on Nov. 5, 2014:
                        Three Months Ended Sep. 30,                      Three Months Ended Sep. 30,
                          2014                2013                        2014               2013
                     North American      North American
                         Generics            Generics                Consolidated           Consolidated
    Net Revenue      $979.9 million       $976.1 million            $3,683.1 million       $2,013.0 million



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                  The movement in North American Generics revenues was primarily the result of
           changes in product mix.

    Form 8-K Filed on Dec. 5, 2014, superseding portions of the 2013 Form 10-K:
                             Years Ended Dec. 31,                     Years Ended Dec. 31,
                          2013                 2012                2013                2012
                     North American       North American
                         Generics             Generics          Consolidated       Consolidated
    Net Revenue      $3,915.7 million     $3,472.2 million    $8,677.6 million    $5,914.9 million

                    The increase in net revenues is primarily due to the full year North American
           Generic and International net sales resulting from the Actavis Group Acquisition of
           $2,799.5 million in the year ended December 31, 2013 versus $428.3 million in the year
           ended December 31, 2012 as well as the Warner Chilcott Acquisition, which contributed
           three months of sales in 2013 compared to no sales in the prior period ($64.7 million).
           Also contributing to the movement are higher U.S. unit sales related to new products
           including lidocaine topical patch 5% ($392.9 million) and mixed amphetamine (Adderall
           XR® CII) ($145.2 million); offset in part by lower net sales of certain U.S. products
           including the authorized generic version of Lipitor® (atorvastatin) ($403.6 million, of
           which $24.3 million is due to price and $379.3 million is due to volume) and declines in
           other international revenues.

    4Q 2014 Form 8-K filed on Feb. 18, 2015:
                         Three Months Ended Dec. 31,                  Three Months Ended Dec. 31,
                          2014                2013                     2014               2013
                    North American       North American
                        Generics             Generics              Consolidated          Consolidated
    Net Revenue      $1,140 million           N.A.                $4,056.9 million      $2,779.3 million

           In our North American Generics business, strong results were driven by continued
           performance of our generic versions of Lidoderm® and Concerta®, and fourth quarter
           launches of generic versions of Intuniv™ and Celebrex®.

    2014 Form 10-K filed on Feb. 18, 2015:
                            Years Ended Dec. 31,                         Years Ended Dec. 31,
                          2014                2013                     2014                2013
                    North American       North American
                        Generics            Generics               Consolidated          Consolidated
    Net Revenue     $4,173.6 million    $3,915.7 million         $13,062.3 million      $8,677.6 million

                   Within North American Generics, revenue by product moves based on the timing
           of launches, including an exclusivity period in certain circumstances, and the amount of
           generic competition in the market. An increase in competition can decrease both volume
           and the price received for each product. The increase in North American Generics
           revenues was primarily the result of changes in product mix including new product
           launches and competition on existing products.

    1Q 2015 Form 10-Q Filed on May 11, 2015:
                       Three Months Ended Mar. 31,                    Three Months Ended Mar. 31,
                         2015                2014                      2015               2014


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                      North American         North American
                          Generics               Generics            Consolidated          Consolidated
    Net Revenue       $1,220.2 million       $1,024.2 million       $4,234.2 million      $2,655.1 million

                   Within North American Generics, revenue by product moves based on the timing
           of launches, including an exclusivity period in certain circumstances, and the amount of
           generic competition in the market. An increase in competition can decrease both volume
           and the price received for each product. The increase in North American Generics
           revenues was primarily the result of changes in product mix.

    2Q 2015 Form 10-Q Filed on Aug. 6, 2015:
                        Three Months Ended Jun. 30,                     Three Months Ended Jun. 30,
                         2015                2014                        2015               2014
                     U.S. Generics       U.S. Generics               Consolidated       Consolidated
    Net Revenue     $1,077.1 million     $997.4 million             $5,730.9 million   $2,635.3 million

                   Within the Global Generics segment, and in particular the United States market,
           revenue by product moves based on the timing of launches, including an exclusivity
           period in certain circumstances, and the amount of generic competition in the market. An
           increase in competition can decrease both volume and the price received for each
           product.

                    The increase in Global Generics revenues was primarily the result of changes in
           product mix within the United States and the acquisition of Legacy Allergan, offset, in
           part, by a decline in international revenues due in part to the impact of foreign currency
           exchange rates of $102.1 million.

    3Q 2015 Form 10-Q Filed on Nov. 6, 2015:
                        Three Months Ended Sep. 30,                     Three Months Ended Sep. 30,
                         2015                 2014                       2015               2014
                    Global Generics      Global Generics             Consolidated       Consolidated
    Net Revenue     $1,430.5 million    $1,590.1 million            $4,088.9 million   $2,150.8 million

                  On July 27, 2015, the Company announced that it has entered into the Teva
           Transaction.

                                              *        *        *

                   Financial results of the global generics business are presented as “Income from
           discontinued operations” on the Consolidated Statements of Operations for the three and
           nine months ended September 30, 2015 and 2014 . . . .

    2015 Form 10-K Filed on Feb. 26, 2016:
                            Years Ended Dec. 31,                            Years Ended Dec. 31,
                          2015                2014                        2015                2014
                    Global Generics      Global Generics              Consolidated        Consolidated
    Net Revenue     $6,375.3 million     $6,578.8 million           $15,071.0 million   $ 6,738.9 million

                   The results of our global generics business operations are dependent on the
           timing of product launches and competition within the generics market, primarily in the
           United States. The increase in operating income is the result of continued cost savings


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           initiatives as well as the cessation of depreciation and amortization for assets being
           divested to Teva once they met the definition of held for sale on July 27, 2015. Offsetting
           these amounts, is an increase in divestiture related expenses in the year ended
           December 31, 2015 of $97.2 million.

    1Q 2016 Form 10-Q Filed on May 10, 2016:
                        Three Months Ended Mar. 31,                     Three Months Ended Mar. 31,
                         2016                2015                        2016               2015
                    Global Generics     Global Generics              Consolidated       Consolidated
    Net Revenue     $1,296.6 million   $1,741.1 million             $3,795.9 million   $2,562.6 million

         504. The financial results set forth in ¶503 above were materially false and

  misleading because: (i) Allergan’s generics unit and several of its pharmaceutical

  industry peers colluded to fix generic drug prices; (ii) the foregoing conduct

  constituted anticompetitive conduct; and (iii) consequently, Allergan’s revenues

  during the Relevant Period were in part the result of anticompetitive conduct. None of

  these facts were disclosed in connection with defendants’ issuance of Allergan’s

  financial results and, consequently, defendants concealed the true source of Allergan’s

  revenues. By electing to speak publicly about Allergan’s financial results, including

  revenues from its generic drug business, and thereby putting the financial results into

  play in SEC filings, defendants had a duty to fully, completely and truthfully disclose

  all material facts regarding such financial results so as to not mislead investors. As a

  result of the foregoing, defendants’ public statements regarding Allergan’s financial

  results were materially false and misleading at all relevant times.

                 4.      False Certifications
         505. Each of Allergan’s Forms 10-Q filed with the SEC during the Relevant

  Period contained the following SOX certification:

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        The undersigned officer of [Allergan] (the “Compan[y]”), hereby
        certifies, to such officer’s knowledge, that:
              (i)    the Quarterly Report on Form 10-Q of the Compan[y] for
        the quarter ended [DATE OF QUARTER END] (the “Report”) fully
        complies with the requirements of Section 13(a) or Section 15(d), as
        applicable, of the Securities Exchange Act of 1934, as amended; and
              (ii) the information contained in the Report fairly presents, in
        all material respects, the financial condition and results of operations of
        the Compan[y].
        506. This certification was signed by: Bisaro for the Company’s 3Q 2013 and

  1Q 2014 Forms 10-Q; Saunders for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q

  2015, 3Q 2015 and 1Q 2016 Forms 10-Q, as well as the Company’s August 8, 2016

  Form 10-Q (“2Q 2016 Form 10-Q”) and its November 4, 2016 Form 10-Q (“3Q 2016

  Form 10-Q”); Joyce for the Company’s 3Q 2013, 1Q 2014, 2Q 2014 and 3Q 2014

  Forms 10-Q; and Hilado for the Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016,

  2Q 2016, and 3Q 2016 Forms 10-Q.

        507. The certifications referenced in ¶¶505-506 above were materially false

  and misleading when made because defendants’ quarterly and annual reports did not

  “fairly present[], in all material respects, the financial condition and results of

  operations of the Compan[y].” In reality, the filings contained materially false and/or

  misleading statements and/or failed to disclose material facts about the Company’s

  financial condition and operations. Specifically, these filings contained materially

  false and/or misleading statements which had the effect of concealing, and/or failed to

  disclose, that: (i) Allergan’s generics unit and several of its pharmaceutical industry


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  peers colluded to fix generic drug prices; (ii) the foregoing conduct constituted illegal

  anticompetitive conduct; and (iii) consequently, Allergan’s revenues during the

  Relevant Period were in part the result of anticompetitive conduct. As a result of the

  foregoing, defendants’ public statements were materially false and misleading at all

  relevant times.

          508. Each of Allergan’s Forms 10-K filed with the SEC during the Relevant

  Period contained the following SOX certification:

          The undersigned officer of [Allergan] . . . (the “Compan[y]”), hereby
          certifies, to such officer’s knowledge, that:
                (i)   the Annual Report on Form 10-K of the Compan[y] for the
          year ended December 31, [year] (the “Report”) fully complies with the
          requirements of Section 13(a) or Section 15(d), as applicable, of the
          Securities Exchange Act of 1934, as amended; and
                (ii) the information contained in the Report fairly presents, in
          all material respects, the financial condition and results of operations of
          the Compan[y].
          509. This certification was signed by: Bisaro for the Company’s 2013 Form

  10-K; Saunders for the Company’s 2014 and 2015 Forms 10-K; Joyce for the

  Company’s 2013 Form 10-K; and Hilado for the Company’s 2014 and 2015 Forms

  10-K.

          510. Each of Allergan’s Forms 10-Q filed with the SEC during the Relevant

  Period also contained the following certification pursuant to Rule 13a-14(a):

          I, [EXECUTIVE NAME AND TITLE], certify that:
          1.    I have reviewed this quarterly report on Form 10-Q of [Allergan];


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          2.    Based on my knowledge, this report does not contain any untrue
          statement of a material fact or omit to state a material fact necessary to
          make the statements made, in light of the circumstances under which
          such statements were made, not misleading with respect to the period
          covered by this report;
          3.     Based on my knowledge, the financial statements, and other
          financial information included in this report, fairly present in all material
          respects the financial condition, results of operations and cash flows of
          the registrant as of, and for, the periods presented in this report.
          511. This certification was signed by: Bisaro for the Company’s 3Q 2013 and

  1Q 2014 Forms 10-Q; Saunders for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q

  2015, 3Q 2015, 1Q 2016, 2Q 2016 and 3Q 2016 Forms 10-Q; Joyce for the

  Company’s 3Q 2013, 1Q 2014, 2Q 2014 and 3Q 2014 Forms 10-Q; and Hilado for the

  Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016, 2Q 2016 and 3Q 2016 Forms

  10-Q.

          512. Each of Allergan’s Forms 10-K filed with the SEC during the Relevant

  Period also contained the following certification pursuant to Rule 13a-14(a):

          I, [EXECUTIVE NAME AND TITLE], certify that:
          1.     I have reviewed this annual report on Form 10-K of [Allergan];
          2.    Based on my knowledge, this report does not contain any untrue
          statement of a material fact or omit to state a material fact necessary to
          make the statements made, in light of the circumstances under which
          such statements were made, not misleading with respect to the period
          covered by this report;
          3.     Based on my knowledge, the financial statements, and other
          financial information included in this report, fairly present in all material
          respects the financial condition, results of operations and cash flows of
          the registrant as of, and for, the periods presented in this report.




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          513. This certification was signed by: Bisaro for the Company’s 2013 Form

  10-K; Saunders for the Company’s 2014 and 2015 Forms 10-K; Joyce for the

  Company’s 2013 Form 10-K; and Hilado for the Company’s 2014 and 2015 Forms

  10-K.

          514. The certifications referenced in ¶¶508-513 above were materially false

  and misleading when made because – at the time of the certification – defendants

  knew that Allergan’s quarterly and annual reports contained untrue statements of

  material fact and/or omissions of material fact necessary to make the statements made

  not misleading. Defendants also knew that the quarterly and annual reports did not

  “fairly present in all material respects the financial condition, results of operations and

  cash flows” of the Company. Specifically, the signatories knew the Company’s

  quarterly and annual reports contained materially false and/or misleading statements,

  which had the effect of concealing, and/or failed to disclose, that: (i) Allergan’s

  generics unit and several of its pharmaceutical industry peers colluded to fix generic

  drug prices; (ii) the foregoing conduct constituted illegal anticompetitive conduct; and

  (iii) consequently, Allergan’s revenues during the Relevant Period were in part the

  result of anticompetitive conduct. As a result of the foregoing, defendants’ public

  statements were materially false and misleading at all relevant times.




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                     5.   Code of Conduct
          515. Throughout the Relevant Period, Allergan’s Forms 10-K represented that

  the Company had “adopted a Code of Conduct that applies to our employees,

  including our principal executive officer, principal financial officer and principal

  accounting officer.” The version of the referenced Code of Conduct, effective as of

  August 2014, stated: “No employee may discuss with, or provide information to, any

  competitor about pricing or related matters, whether the information concerns the

  Company or Actavis’ suppliers, distributors, wholesalers or customers.”          The

  Company’s Code of Conduct also provided “[e]xamples of conduct that violates

  Actavis policy,” including “[a]greements or understandings with competitors on

  price.” This policy further explained: “An ‘agreement’ or ‘understanding’ need not be

  in writing for it to be unlawful. It can be oral or inferred from the conduct of the

  parties . . . .”

          516. The statements referenced in ¶515 above were materially false and

  misleading and/or omitted material facts because Allergan and its representatives did

  not comply with the Company’s stated Code of Conduct, given the anticompetitive

  and collusive conduct alleged herein, and failed to disclose that: (i) Allergan’s

  generics unit and several of its pharmaceutical industry peers colluded to fix generic

  drug prices; (ii) the foregoing conduct constituted anticompetitive conduct; and

  (iii) consequently, Allergan’s revenues during the Relevant Period were in part the


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  result of anticompetitive conduct. Having elected to speak publicly about the

  Company’s adoption of the Code of Conduct which expressly prohibits price

  collusion, defendants had a duty to fully, completely and truthfully disclose all

  material facts regarding violations of that Code of Conduct, including the

  anticompetitive conduct alleged herein. As a result of the foregoing, defendants’

  public statements were materially false and misleading at all relevant times.

        F.     Loss Causation
        517. On August 6, 2015, Allergan revealed to shareholders in its Q2 2015

  Form 10-Q that it had “received a subpoena from the [DOJ] seeking information

  relating to the marketing and pricing of certain of the Company’s generic products and

  communications with competitors about such products.”

        518. On the same day, in an article entitled “Allergan Brought into Widening

  U.S. Probe of Generic Drug Prices,” Bloomberg reported that Allergan had received a

  subpoena from the DOJ “seeking information on the marketing and prices of its

  generic drugs,” thus “becoming the biggest company yet to draw scrutiny in the

  government’s widening antitrust probe of the industry.” The article further revealed

  that the Company first received the subpoena on June 25, 2015, and that the subpoena

  “sought information about communications with competitors regarding the products.”

  Furthermore, the article named Impax, Lannett, Endo International Plc, and Par




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  Pharmaceutical Holdings as having made “similar disclosures” in the past several

  months.

        519. Other media outlets reported on the DOJ investigation into Allergan as

  well. In an August 6, 2015 article, The Wall Street Journal, reported: “Allergan noted

  that its Actavis business had received a subpoena in June from the Justice Department

  seeking information relating to the marketing and pricing of certain generic products

  and the company’s communications with competitors about such products.” An

  MTNewswires article published the same day noted Allergan’s acknowledgement of

  the June 25, 2015 subpoena in the Company’s SEC filing and also referenced Lannett

  and Impax as among Allergan’s competitors who had made similar disclosures

  regarding the receipt of subpoenas.

        520. In response to this news, Allergan’s common share price fell $17.17 per

  share, or approximately 5%, from its previous closing price to close at $319.47 per

  share on August 6, 2015, and its preferred share price fell $39.24 per share, or

  approximately 3.5%, from its previous closing price to close at $1,084.00 per share on

  August 6, 2015.

        521. Several articles published on August 7, 2015, including articles from

  TheStreet.com, Herald Democrat and The Buffalo News, also discussed Allergan’s

  receipt of the DOJ subpoena. In addition, on August 19, 2015, Generic Line cited

  Jeffrey Loo, an S&P Capital IQ analyst, who described the market’s cause for


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  concern: “the request for information about competitors suggests DOJ is looking into

  whether drugmakers colluded to raise generic prices.”

        522. Allergan’s stock price remained inflated, however, because defendants

  continued to conceal the existence and full impact of defendants’ price-fixing.

        523. On November 3, 2016, media outlets reported that U.S. prosecutors

  might file criminal charges against Allergan and several other pharmaceutical

  companies for unlawfully colluding to fix generic drug prices. In an article titled

  “U.S. Charges in Generic-Drug Probe to Be Filed by Year-End,” Bloomberg reported,

  in relevant part:

               U.S. prosecutors are bearing down on generic pharmaceutical
        companies in a sweeping criminal investigation into suspected price
        collusion, a fresh challenge for an industry that’s already reeling from
        public outrage over the spiraling costs of some medicines.
              The antitrust investigation by the Justice Department, begun about
        two years ago, now spans more than a dozen companies and about two
        dozen drugs, according to people familiar with the matter. The grand
        jury probe is examining whether some executives agreed with one
        another to raise prices, and the first charges could emerge by the end of
        the year, they said.
               Though individual companies have made various disclosures
        about the inquiry, they have identified only a handful of drugs under
        scrutiny, including a heart treatment and an antibiotic. Among the
        drugmakers to have received subpoenas are industry giants Mylan NV
        and Teva Pharmaceutical Industries Ltd. Other companies include
        Actavis, which Teva bought from Allergan plc in August, Lannett Co.,
        Impax Laboratories Inc., Covis Pharma Holdings Sarl, Sun
        Pharmaceutical Industries Ltd., Mayne Pharma Group Ltd., Endo
        International Plc’s subsidiary Par Pharmaceutical Holdings and Taro
        Pharmaceutical Industries Ltd.
               All of the companies have said they are cooperating except Covis,
        which said last year it was unable to assess the outcome of the
        investigation.

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        524. On this news, Allergan’s common share price fell $9.07 per share, or

  approximately 4.6%, to close at $188.82 per share on November 3, 2016, and its

  preferred share price fell $30.03 per share, or approximately 4%, to close at $708.45

  per share on November 3, 2016.

        525. Defendants’ conduct, as alleged herein, directly and proximately caused

  Plaintiff’s damages. The disclosures of previously misrepresented and concealed

  material facts about Allergan’s involvement in anticompetitive price collusion caused

  the price of Allergan’s securities to decline markedly, wiping out billions of dollars in

  shareholder wealth.

        526. It was entirely foreseeable that concealing from the public the

  Company’s involvement in an illegal anticompetitive price-fixing scheme, which,

  among other things, vastly inflated the revenues from its generic drugs business and

  misled investors about the source and sustainability of Allergan’s profits, would

  artificially inflate the prices of Allergan’s securities. It was also foreseeable that the

  disclosure of this information, and the materialization of concealed risks associated

  with Allergan’s misconduct, would cause the prices of Allergan securities to decline,

  as the inflation caused by Allergan’s earlier misrepresentations and omissions was

  removed from the prices. Accordingly, the conduct of defendants, as alleged herein,

  proximately caused foreseeable losses for Plaintiff, which purchased Allergan

  securities during the Relevant Period.


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        G.     Summary of Scienter Allegations
        527. Allergan and the Individual Defendants were active and culpable

  participants in the fraud, as evidenced by their knowing or reckless issuance and/or

  control over Allergan’s and the Individual Defendants’ materially false and

  misleading statements and omissions. Allergan and the Individual Defendants acted

  with scienter in that they knew or recklessly disregarded that the public statements set

  forth in §III.E. above were materially false and misleading when made, and

  knowingly or recklessly participated or acquiesced in the issuance or dissemination of

  such statements as primary violators of the federal securities laws. Allergan’s and the

  Individual Defendants’ scienter is evidenced by the following facts, among others:

        528. First, there were no material increases in demand or production costs or

  reported supply shortages for Allergan’s generic drugs that would justify or otherwise

  explain the dramatic and concerted price increases for these drugs and Allergan’s

  competitors’ generic drugs during the Relevant Period. The more compelling

  explanation for these price increases is price collusion between Allergan and its

  competitors, as evidenced by: (i) the sudden and astronomical nature of the increases;

  (ii) the fact that the increases occurred in concert with the Company’s competitors;

  and (iii) the fact that the increases typically occurred within weeks of the industry

  conferences or events attended by Allergan executives, including those directly

  responsible for setting prices at the Company. Moreover, as the graphs above depict,


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  the drug prices never decreased following the initial price increases to their pre-

  increase equilibrium price points as one would expect if the sudden price increases

  reflected temporary supply shortages, cost increases, or other benign market

  explanations.

        529. Second, price increases of the magnitude alleged herein would have been

  contrary to Allergan’s economic interest absent an agreement to fix prices. Without

  the certainty that all of the Co-Conspirators would raise and maintain the prices for

  their generic drugs, each Co-Conspirator risked getting undercut by the others, leading

  to a loss of market share and revenue. This risk was alleviated by the Co-

  Conspirators’ agreement to raise and maintain their prices.

        530. Third, Allergan and the Individual Defendants had a palpable motive to

  fix prices with Allergan’s competitors, which derives from the nature of the U.S.

  generic drug market itself. As discussed above, because federal law requires each

  generic pharmaceutical to be readily substitutable for another generic of the same

  brand drug, competition will cause prices to fall until they near generic drugmakers’

  marginal production costs. This is confirmed by the graphs of the price movements

  herein, which show that prior to the alleged price collusion among Allergan and the

  Co-Conspirators, the prices of Propranolol, Ursodiol, Doxycycline, Tretinoin and

  Desonide had stabilized. This stabilization of prices in turn caused Allergan’s profits




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  to level off, thus giving Allergan and its Co-Conspirators a common motive to

  conspire to raise prices.

         531. Fourth, Allergan and the Individual Defendants had substantial

  opportunities at industry conferences and events to collude on prices. As confirmed

  by CW1 and CW2, the Allergan representatives who attended the conferences

  (including Boyer, Falkin, Clark and Rogerson) were in charge of setting prices for the

  Company’s generic drugs. Moreover, given the frequency and regularity of these

  conferences – as well as the fact that several of the attendees for Allergan and its

  competitors were “repeat attendees” at the conferences and, in some cases, served

  together on industry boards – there is a strong inference that the various participants in

  the alleged price-fixing schemes were well acquainted with each other, bolstering the

  likelihood that these participants entrusted each other to engage in, and jointly

  conceal, the illicit price fixing.

         532. Indeed, the StateAGs allege that Allergan earned its highest quality co-

  conspirator ranking from Teva due to Allergan executives’ “strong relationship” with

  Teva’s Nisha Patel, David Rekenthaler, and Maureen Cavanaugh. May 2019 AG

  Complaint, ¶¶585, 588. Falkin’s relationship with Teva’s Rekenthaler began as soon

  as he joined Allergan in August 2013, and the two executives communicated more

  than 430 times from August 2013 until Rekenthaler resigned from Teva in April 2015.

  Id., ¶587; §III.D.3.h. Falkin and Teva’s Cavanaugh also had a “strong relationship”


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  and communicated with “great frequency” – at least 410 times from August 2013 to

  May 2016. Id., ¶588; §III.D.3.h. Falkin also communicated with Teva’s Christine

  Baeder constantly – logging in almost 200 calls and text messages during the one-year

  period between July 2015 and July 2016. §III.D.3.h. Similar to Falkin, Boyer was

  also close to Teva’s Cavanaugh and the two executives communicated at least 113

  times between August 2015 and July 2016. Id. Boyer’s relationship with Teva’s Patel

  started soon after she joined Teva in April 2013, but Rogerson was closest with Patel

  as she called him “at or around every significant price increase taken by the respective

  companies.”     May 2019 AG Complaint, ¶586.          As such, Rogerson and Patel

  communicated at least 157 times from May 2013 to November 2015. §III.D.3.h. In

  addition, Allergan’s Allan Slavsky had a long-standing relationship with Teva’s

  Rekenthaler, marked by frequent communications. May 2019 AG Complaint, ¶585.

        533. Besides communicating with Teva, Falkin, Rogerson, Boyer, Giannone,

  and other Allergan senior executives liaised extensively with other Co-Conspirators.

  §III.D.3.h. Examples include:

        •       Zydus: Falkin and Rogerson reached out to Kristy Ronco, Jodi Weber,
                and Michael Keenley of Zydus over 550 times between August 2013 and
                April 2016.

        •       Taro: Falkin, Rogerson, Boyer, Dorsey, and other Allergan executives
                all communicated with Taro’s Ara Aprahamian over 110 times between
                March 2013 and September 2016.

        •       Lupin: Falkin and Giannone contacted Lupin’s David Berthold at least
                350 times between March 2011 and December 2017.

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        •     Aurobindo: Falkin and Perfetto reached out to Robert Cunard and Jim
              Grauso of Aurobindo close to 140 times between December 2011 and
              March 2015.

        •     Mylan: Falkin called and texted Mylan’s Jim Nesta at least 78 times
              between December 2013 and August 2015.

        •     Lannett: Falkin contacted Lannett’s Kevin Smith over 180 times
              between August 2013 to September 2015.

        •     Par: Falkin reached out to Par’s Jon Holden 48 times between
              September 2013 to August 2015.

        •     Dr. Reddy’s: Rogerson communicated at least 43 times with Nimish
              Muzumdar while he was at Dr. Reddy’s and Sandoz during
              October 2013 to March 2018.
  In addition to the communications above, Falkin, Boyer, and Rogerson also frequently

  exchanged calls and text messages with Glenmark, Greenstone, Apotex, and

  Wockhardt. Id.

        534. The level of familiarity between Allergan and the Co-Conspirators is

  further demonstrated by the flux of executives from one company to another. For

  example, in early 2014, G. Frederick Wilkinson, the President of Actavis Global

  R&D, left the Company to become the CEO of Co-Conspirator Impax.                 In

  commenting on Wilkinson’s departure, defendant Bisaro noted during an April 30,

  2014 conference call, “it is always good to have a friend in a competitor.” Shortly

  thereafter, defendant Olafsson left Allergan to become the President and CEO of

  Teva’s Global Generic Medicines Group. In discussing Olafsson’s departure for Teva,

  defendant Saunders stated on June 11, 2014, “it’s nice to have a disciplined


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  competitor at a big company.” In addition, Boothe, CEO of Actavis between

  August 2008 and December 2012, left the Company in 2013 and became the

  Executive Vice President and General Manager of Co-Conspirator Perrigo’s

  Pharmaceutical business. In July 2016, Co-Conspirator Impax named Boothe as the

  President of its Generics Division.

        535. Fifth, as described above (at §III.D.), the historic rise in generic drug

  prices immediately before and during the Relevant Period was well publicized. These

  price increases led Congress to commence an industry-wide investigation beginning in

  2014. On October 2, 2014, defendant Saunders received a letter from U.S. Senator

  Bernie Sanders and U.S. Representative Elijah Cummings putting Allergan on notice

  of an investigation and requesting pricing data and other information regarding the

  Company’s generics business. This Congressional investigation, the subsequent DOJ

  subpoena to the Company, and the widespread publicity surrounding the price hikes

  that spawned these investigations, gave rise to a duty to investigate the existence of

  price collusion and a duty to monitor changes in the Company’s generic drug pricing.

  These duties to investigate and monitor fell upon the Individual Defendants as the

  Company’s senior-most executives who were responsible for signing and attesting to

  the accuracy of the Company’s filings with the SEC and addressing market analysts

  and the investing public during earnings calls. Even without the Congressional – and

  later, DOJ – investigations, the Individual Defendants’ duties to investigate and


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  monitor were triggered by the Company’s Code of Conduct, which expressly

  prohibited price fixing and other anticompetitive conduct. At a minimum, Allergan’s

  and the Individual Defendants’ false and misleading statements were recklessly made,

  in dereliction of their duty to investigate perceived anticompetitive behavior and their

  duty to monitor changes in the pricing of the Company’s core products.

        536. Sixth, Allergan’s production of generic drugs was the Company’s core

  operation during the Relevant Period. As discussed and demonstrated in the charts

  above, generic drug sales accounted for a substantial portion of Allergan’s revenues

  and operations during the Relevant Period. In 2013 and 2014, Allergan’s revenues

  from North American Generics accounted for 45% and 32% of the Company’s total

  revenues, respectively. In 2015, the percentage of the Company’s revenues from its

  global generics business was 42%. Further, analysts covering Allergan during the

  Relevant Period, including JP Morgan and Piper Jaffray, identified “greater-than-

  expected price erosion/competition for the company’s core US generics business” and

  “pricing pressure for key generics products” as among the risks to achieving the

  analysts’ stated price targets, suggesting that the market considered Allergan’s

  generics business to be a primary determinant of the Company’s bottom line. It is

  implausible that the Individual Defendants, who were the Company’s senior-most

  executives, were unaware of the historically colossal price increases and the reasons

  for these increases. The Individual Defendants had access to information concerning


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  these price increases, including the Company’s pricing models described above. At a

  minimum, the Individual Defendants were reckless in falsely telling investors that the

  market for Allergan’s generic drugs was truly competitive without confirming the

  absence of price collusion, and reckless in certifying the accuracy of the Company’s

  substantial Relevant Period revenues without confirming the true reason for these

  revenues (i.e., price collusion).

        537. Seventh, the fact that the DOJ has intervened in at least six civil antitrust

  actions against Allergan after subpoenaing and receiving documents from the

  Company strongly suggests that federal prosecutors have determined that there is

  evidence of a criminal conspiracy to fix prices in an anticompetitive manner. At least

  two former executives of Allergan’s co-conspirator, Heritage, have pled guilty to

  price-fixing charges in connection with one of the drugs (Doxycycline) also sold by

  Allergan during the Relevant Period. The Amended AG Complaint describes in detail

  substantial and particularized evidence of Allergan’s collusive activities.

        538. Eighth, during the Relevant Period, the Individual Defendants, the Audit

  and Compliance Committee, the General Counsel, and the Global Chief Compliance

  Officer of Allergan met frequently to review the Company’s actual and potential

  violations of laws and regulations. Allergan’s Audit and Compliance Committee

  charter required that the committee “obtain from the Global Chief Compliance

  Officer, the General Counsel, and/or when necessary, the head of internal audit, no


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  less frequently than quarterly, reports on the Company’s Global Compliance Program,

  including confirmation that the Company and its affiliated entities are in conformity

  with applicable legal requirements and the Company’s Code of Conduct.”

  Specifically, the committee must meet with “the General Counsel, the Global Chief

  Compliance Officer and other appropriate legal staff of the Company and, if

  appropriate, the Company’s outside counsel, to review any legal matters that may

  have a material impact on the Company’s financial statements or the Company’s

  compliance policies.” In addition, at least annually, the committee must “review with

  management, including the General Counsel and the Global Chief Compliance

  Officer, the implementation and effectiveness of the Company’s Global Compliance

  Program.” Allergan’s Global Compliance Program mandates that “[a]ll colleagues,

  officers and directors of the Company shall respect and comply with all applicable

  federal, state, local, and foreign laws and regulations.”

           539. The Individual Defendants’ scienter is further evidenced by the following

  facts:

           540. Bisaro served as Allergan’s CEO and President from before the start of

  the Relevant Period through July 2014 and signed the Registration Statements and

  SOX certifications and Rule 13a-14(a) certifications for the Company’s 3Q 2013 and

  1Q 2014 Forms 10-Q and 2013 Form 10-K. Bisaro was a signatory of: (i) the SOX

  certification representing that “the information contained in the [SEC filings] fairly


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  presents, in all material respects, the financial condition and results of operations of

  [Allergan]”; and (ii) the Rule 13a-14(a) certification representing that the Company’s

  SEC filings did “not contain any untrue statement of a material fact or omit to state a

  material fact necessary to make the statements made . . . not misleading.” In addition,

  as an executive officer of the registrant, Bisaro met regularly with the audit committee

  and General Counsel concerning Allergan’s actual and potential violations of laws and

  regulations. Bisaro had a duty to monitor any conduct that threatened to undermine

  the veracity of these filings, including the illegal anticompetitive conduct alleged

  herein. Furthermore, Bisaro, as Allergan’s CEO, had access to pricing data for the

  Company’s generic drugs. Notwithstanding the certifications signed by Bisaro and his

  access to pricing data, Bisaro knowingly or recklessly failed to disclose the illegal

  price-fixing scheme and misrepresented the Company’s compliance with laws and

  regulations.

        541. Bisaro also made a materially false and misleading statement during a

  Company earnings call on May 11, 2015 in response to a question specifically

  regarding “generic drug pricing given that there have been concerns that it may not be

  as favorable going forward,” demonstrating that he was in a position to know all

  material facts regarding the Company’s generic drug pricing. Even in the face of this

  direct question, Bisaro never disclosed the price-fixing scheme, opting instead to

  project a false picture of a highly competitive generic pharmaceutical market.


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        542. Among other industry events, Bisaro attended the NACDS 2013 Annual

  Meeting that was also attended by representatives from a number of the Co-

  Conspirators. This meeting accompanied the dramatic and historic increase in the

  price of doxycycline hyclate manufactured by Allergan and certain of the Co-

  Conspirators, as well as Allergan’s entrance into the market for generic Desonide at

  inflated prices.

        543. Bisaro sold 40,921 shares of Allergan stock, amounting to 8% of his

  holdings, for proceeds of almost $6.5 million on November 11, 2013.

        544. Saunders served as Allergan’s CEO from July 2014 through the end of

  the Relevant Period and signed the Registration Statements and SOX certifications

  and Rule 13a-14(a) certifications for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q

  2015, 3Q 2015, 1Q 2016, 2Q 2016 and 3Q 2016 Forms 10-Q and 2014 and 2015

  Forms 10-K. Saunders was a signatory of: (i) the SOX certification representing that

  “the information contained in the [SEC filings] fairly presents, in all material respects,

  the financial condition and results of operations of [Allergan]”; and (ii) the Rule 13a-

  14(a) certification representing that the Company’s SEC filings did “not contain any

  untrue statement of a material fact or omit to state a material fact necessary to make

  the statements made . . . not misleading.” In addition, as an executive officer of the

  registrant, Saunders met regularly with the audit committee and General Counsel

  concerning Allergan’s actual and potential violations of laws and regulations.


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  Saunders had a duty to monitor any conduct that threatened to undermine the veracity

  of these filings, including the illegal anticompetitive conduct alleged herein.

  Furthermore, Saunders, as Allergan’s CEO, had access to pricing data for the

  Company’s generic drugs. Notwithstanding the certifications signed by Saunders and

  his access to pricing data, Saunders knowingly or recklessly failed to disclose the

  price-fixing scheme and misrepresented the Company’s compliance with laws and

  regulations.

        545. Saunders also made false and misleading statements on the Company’s

  earnings calls on August 5, 2014 and May 11, 2015 and during an interview with Jim

  Cramer on August 7, 2015 – in response to questions specifically inquiring about the

  “US generic pricing outlook for 2014 and 2015,” “aggressive pricing increases” and

  the DOJ’s subpoena – demonstrating that he was in a position to know all material

  facts regarding the Company’s generic drug pricing. Even in the face of these direct

  questions, Saunders never disclosed the price-fixing scheme, opting instead to project

  a false picture of a highly competitive generic pharmaceutical market.

        546. Joyce served as Allergan’s CFO from before the start of the Relevant

  Period through December 2014 and signed SOX certifications and Rule 13a-14(a)

  certifications for the Company’s 3Q 2013, 1Q 2014, 2Q 2014 and 3Q 2014 Forms

  10-Q and 2013 Form 10-K. Joyce was a signatory of: (i) the SOX certification

  representing that “the information contained in the [SEC filings] fairly presents, in all


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  material respects, the financial condition and results of operations of [Allergan]”; and

  (ii) the Rule 13a-14(a) certification representing that the Company’s SEC filings did

  “not contain any untrue statement of a material fact or omit to state a material fact

  necessary to make the statements made . . . not misleading.” In addition, as an

  executive officer of the registrant, Joyce met regularly with the audit committee and

  General Counsel concerning Allergan’s actual and potential violations of laws and

  regulations. Joyce had a duty to monitor any conduct that threatened to undermine the

  veracity of these filings, including the illegal anticompetitive conduct alleged herein.

  Furthermore, Joyce, as Allergan’s CFO, had access to pricing data for the Company’s

  generic drugs. Notwithstanding the certifications signed by Joyce and his access to

  pricing data, Joyce knowingly or recklessly failed to disclose the price-fixing scheme

  and misrepresented the Company’s compliance with laws and regulations. Joyce also

  signed Allergan’s 3Q 2013, 4Q 2013, 1Q 2014, 2Q 2014 and 3Q 2014 Forms 8-K and

  the December 5, 2014 Form 8-K, each of which contained material misstatements.

        547. Joyce sold 15,000 shares of Allergan stock on November 5, 2013, 7,500

  shares on November 6, 2013, and 14,600 shares on December 6, 2013, amounting to

  more than 48% of his total holdings, for proceeds of almost $6 million.

        548. Hilado served as Allergan’s CFO from December 2014 through the end

  of the Relevant Period and signed the Registration Statements and SOX certifications

  and Rule 13a-14(a) certifications for the Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q


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  2016, 2Q 2016 and 3Q 2016 Forms 10-Q and 2014 and 2015 Forms 10-K. Hilado

  was a signatory of: (i) the SOX certification representing that “the information

  contained in the [SEC filings] fairly presents, in all material respects, the financial

  condition and results of operations of [Allergan]”; and (ii) the Rule 13a-14(a)

  certification representing that the Company’s SEC filings did “not contain any untrue

  statement of a material fact or omit to state a material fact necessary to make the

  statements made . . . not misleading.” In addition, as an executive officer of the

  registrant, Hilado met regularly with the audit committee and General Counsel

  concerning Allergan’s actual and potential violations of laws and regulations. Hilado

  had a duty to monitor any conduct that threatened to undermine the veracity of these

  filings, including the illegal anticompetitive conduct alleged herein. Furthermore,

  Hilado, as Allergan’s CFO, had access to pricing data for the Company’s generic

  drugs. Notwithstanding the certifications signed by Hilado and her access to pricing

  data, Hilado knowingly or recklessly failed to disclose the price-fixing scheme and

  misrepresented the Company’s compliance with laws and regulations. Hilado also

  signed Allergan’s 4Q 2014, 1Q 2015, 2Q 2015, 3Q 2015 and 4Q 2015 Forms 8-K and

  the March 2, 2015 Form 8-K underwriting agreements relating to the

  Ordinary/Preferred Shares Offerings, each of which contained material misstatements.

        549. Olafsson served as a director of Allergan and the President of Actavis

  Pharma, the Allergan segment that included the Company’s generics business, from


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  April 2012 to June 2014. As the highest-ranking officer of Actavis Pharma, Olafsson

  had access to pricing data for the Company’s generic drugs. Olafsson knowingly or

  recklessly made a materially false and misleading statement regarding generic pricing

  during an October 29, 2013 Company earnings call and also signed the Company’s

  2013 Form 10-K. He also knowingly or recklessly failed to disclose the price-fixing

  scheme.

        550. Among other industry events, Olafsson attended the GPhA 2013 Annual

  Meeting in Orlando, Florida that was also attended by representatives from a number

  of the Co-Conspirators. This meeting preceded a dramatic and historic increase in the

  price of doxycycline hyclate manufactured by Allergan and certain of the Co-

  Conspirators.

        551. Olafsson sold 25,000 shares of Allergan stock on November 11, 2013,

  amounting to more than 25% of his total holdings, for proceeds of almost $4 million.

        552. Buchen served as the Executive Vice President, Commercial, North

  American Generics and International from July 2014 to March 21, 2015. Buchen

  knowingly or recklessly made a false and misleading statement during the Company’s

  August 5, 2014 earnings call in response to questions from analysts specifically

  inquiring about the “US generic pricing outlook for 2014 and 2015” and “aggressive

  pricing increases,” demonstrating that he was in a position to know all material facts

  regarding the Company’s generic drug pricing. Even in the face of these direct


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  questions, Buchen never disclosed the price-fixing scheme, opting instead to project a

  false picture of a highly competitive generic pharmaceutical market.

        553. Buchen sold 30,000 shares of Allergan stock on November 11, 2013,

  amounting to more than 33% of his total holdings, for proceeds of almost

  $4.8 million.

        554. Bailey has served as Allergan’s Executive Vice President, Chief Legal

  Officer, and Secretary since July 2014, and signed the Registration Statements and the

  March 2, 2015 Form 8-K containing underwriting agreements relating to the Ordinary/

  Preferred Shares Offerings. As an executive officer and General Counsel, he met

  regularly with the audit committee and management concerning Allergan’s actual and

  potential violations of laws and regulations. Despite his responsibility for overseeing

  Allergan’s legal department, Bailey repeatedly stated without qualification that the

  Company complied with laws and regulations. Bailey knowingly and recklessly failed

  to disclose the illegal price-fixing scheme and misrepresented the Company’s

  compliance with laws and regulations.

        H.     No Safe Harbor
        555. Allergan’s verbal “Safe Harbor” warnings accompanying its oral

  forward-looking statements issued during the Relevant Period were ineffective to

  shield those statements from liability.




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        556. The defendants are also liable for any false or misleading forward-

  looking statements pleaded because, at the time each forward-looking statement was

  made, the speaker knew the forward-looking statement was false or misleading and

  the forward-looking statement was authorized and/or approved by an executive officer

  of Allergan who knew that the forward-looking statement was false.

        I.     Applicability of the Presumption of Reliance: Fraud on the
               Market
        557. Plaintiff will rely, in part, upon the presumption of reliance established

  by the fraud-on-the-market doctrine in that:

        •      Defendants made public misrepresentations or failed to disclose material
               facts during the Relevant Period;

        •      the omissions and misrepresentations were material;

        •      Allergan securities are traded in an efficient market and were liquid and
               traded with moderate to heavy volume during the Relevant Period;

        •      the Company’s common stock was traded on the NYSE and was covered
               by multiple analysts;

        •      the misrepresentations and omissions alleged would tend to induce a
               reasonable investor to misjudge the value of the Company’s securities;
               and

        •      Plaintiff purchased, acquired and/or sold Allergan securities between the
               time the defendants failed to disclose or misrepresented material facts
               and the time the true facts were disclosed, without knowledge of the
               omitted or misrepresented facts.
        558. Based upon the foregoing, Plaintiff is entitled to a presumption of

  reliance upon the integrity of the market.



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         559. Alternatively, Plaintiff is entitled to the presumption of reliance

  established by the Supreme Court in Affiliated Ute Citizens v. United States, 406 U.S.

  128 (1972), as defendants omitted material information in their Relevant Period

  statements in violation of a duty to disclose such information, as detailed above.

  IV.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                        COUNT I

    For Violations of §10(b) of the Exchange Act and Rule 10b-5 Promulgated
                 Thereunder Against Allergan, Bisaro, Saunders,
                   Joyce, Hilado, Olafsson, Buchen and Bailey

         560. Plaintiff repeats and realleges each and every allegation set forth above as

  if fully set forth herein.

         561. This Count is asserted pursuant to §10(b) of the Exchange Act, and Rule

  10b-5 promulgated thereunder, against Allergan and the Individual Defendants.

         562. As alleged herein, throughout the Relevant Period, Allergan and the

  Individual Defendants, individually and in concert, directly and indirectly, by use of

  the means or instrumentalities of interstate commerce, the mails and/or the facilities of

  national securities exchanges, made materially untrue statements of material fact

  and/or omitted to state material facts necessary to make the statements made not

  misleading and carried out a plan, scheme and course of conduct, in violation of

  §10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder. Allergan and

  the Individual Defendants intended to and did, as alleged herein: (i) deceive the



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  investing public, including Plaintiff; (ii) artificially inflate and maintain the prices of

  Allergan’s common and preferred stock; and (iii) cause Plaintiff to acquire the

  Company’s common stock at artificially inflated prices.

        563. The Individual Defendants were individually and collectively responsible

  for making the materially false and misleading statements and omissions alleged

  herein and having engaged in a plan, scheme and course of conduct designed to

  deceive Plaintiff by virtue of having made public statements and prepared, approved,

  signed and/or disseminated documents that contained untrue statements of material

  fact and/or omitted facts necessary to make the statements made therein not

  misleading.

         564. As set forth above, Allergan and the Individual Defendants made the

  materially false and misleading statements and omissions and engaged in the

  fraudulent activity described herein knowingly and intentionally, or in such a

  deliberately reckless manner as to constitute willful deceit and fraud upon Plaintiff,

  which acquired the Company’s common stock during the Relevant Period.

         565. In ignorance of the materially false and misleading nature of Allergan’s

  and the Individual Defendants’ statements and omissions, and relying directly or

  indirectly on those statements or upon the integrity of the market prices for Allergan’s

  common and preferred stock, Plaintiff acquired the Company’s common stock at

  artificially inflated prices during the Relevant Period. But for the fraud, Plaintiff


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  would not have acquired the Company’s common stock at such artificially inflated

  prices. As set forth herein, when the true facts were subsequently disclosed, the price

  of Allergan’s common and preferred stock declined precipitously, and Plaintiff was

  harmed and damaged as a direct and proximate result of its acquisition of the

  Company’s common stock at artificially inflated prices and the subsequent decline in

  the prices of the stock when the truth was disclosed.

         566. By virtue of the foregoing, Allergan and the Individual Defendants are

  liable to Plaintiff for violations of §10(b) of the Exchange Act and Rule 10b-5.

                                        COUNT II

                   For Violations of §20(a) of the Exchange Act
       Against Bisaro, Saunders, Joyce, Hilado, Olafsson, Buchen and Bailey

         567. Plaintiff repeats and realleges each and every allegation set forth above as

  if fully set forth herein.

         568. This Count is asserted pursuant to §20(a) of the Exchange Act against

  each of the Individual Defendants.

         569. As alleged above, the Company violated §10(b) of the Exchange Act and

  Rule 10b-5 promulgated thereunder by making materially false and misleading

  statements and omissions in connection with the purchase or sale of its common and

  preferred stock and by participating in a fraudulent scheme and course of business or

  conduct throughout the Relevant Period. This fraudulent conduct was undertaken

  with scienter and Allergan is charged with the knowledge and scienter of each of the

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  Individual Defendants who knew of or acted with deliberate reckless disregard of the

  falsity of the Company’s statements and the fraudulent nature of its scheme during the

  Relevant Period.

         570. As set forth above, the Individual Defendants were controlling persons of

  the Company during the Relevant Period, due to their senior executive positions with

  the Company and their direct involvement in the Company’s day-to-day operations,

  including their power to control or influence the policies and practices giving rise to

  the securities violations alleged herein, and exercised the same.

         571. By virtue of the foregoing, the Individual Defendants each had the power

  to influence and control, and did influence and control, directly or indirectly, the

  decision-making of the Company, including the content of its public statements with

  respect to its operations, corporate governance and compliance with regulators.

         572. The Individual Defendants were culpable participants in Allergan’s fraud

  alleged herein by acting acted knowingly and intentionally, or in such a deliberately

  reckless manner as to constitute willful fraud and deceit upon Plaintiff, which

  acquired the Company’s common stock during the Relevant Period.

         573. By reason of the foregoing, the Individual Defendants are liable to

  Plaintiff as controlling persons of the Company in violation of §20(a) of the Exchange

  Act.




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                                       COUNT III

    For Violations of §14(a) of the Exchange Act and Rule 14a-9 Promulgated
                Thereunder Against Allergan, Saunders, Bisaro,
            Olafsson, Bloem, Bodine, Howson, King, Klema, Michal,
                Michelson, O’Sullivan, Taylor, Turner and Weiss

         574. This Count is asserted pursuant to §14(a) of the Exchange Act, and Rule

  14a-9 promulgated thereunder, in connection with the Forest Merger. This claim is

  asserted against Allergan, Saunders and the 2014 Board of Directors.

         575. Plaintiff repeats and realleges each and every allegation set forth above as

  if fully set forth herein.

         576. The May 6, 2014 Proxy and the documents attached to the May 6, 2014

  Proxy or incorporated by reference therein misrepresented material facts or omitted

  material facts required to be stated to make the statements contained in those

  documents not misleading.

         577. The defendants named in this Count failed to update the May 6, 2014

  Proxy when material information arose between the dissemination of the document or

  related statements and the June 17, 2014 shareholder vote.

         578. The defendants named in this Count, jointly and severally, solicited and

  permitted the use of their names in solicitations contained in the May 6, 2014 Proxy.

         579. Allergan was an issuer of the May 6, 2014 Proxy. Allergan also

  permitted the use of its name in the May 6, 2014 Proxy by allowing the document to

  represent, among other things, its operating results and financial condition.

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          580. Defendants Bisaro and Saunders signed the cover letters for the May 6,

  2014 Proxy and permitted the use of their names in connection with the May 6, 2014

  Proxy.

          581. Defendant Buchen signed the Notice of the Extraordinary General

  Meeting of Shareholders to be held on June 17, 2014, and permitted the use of his

  name in connection with the May 6, 2014 Proxy.

          582. Defendants Bloem, Bodine, Howson, King, Klema, Michal, Michelson,

  O’Sullivan, Taylor, Turner and Weiss permitted the use of their names in connection

  with the May 6, 2014 Proxy by, among other things, allowing the May 6, 2014 Proxy

  to represent that they recommended a vote to approve the Forest Merger.

          583. By means of the May 6, 2014 Proxy and the documents attached to or

  incorporated by reference therein, the defendants named in this Count sought to secure

  the approval of the Forest Merger from Plaintiff, which was a Forest shareholder, and

  solicited proxies from Plaintiff, which was a Forest shareholder.

          584. Each defendant named in this Count acted negligently in making false or

  misleading statements of material fact, omitting material facts required to be stated to

  make the statements contained in the May 6, 2014 Proxy not misleading, and failing to

  update statements that were rendered misleading by material information that arose

  after the dissemination of these statements and before the June 17, 2014 shareholder

  vote.


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        585. The May 6, 2014 Proxy described in this Count was an essential link in

  the accomplishment of the Forest Merger. As a result of the May 6, 2014 Proxy,

  Allergan and Forest shareholders approved the Forest Merger.

        586. Plaintiff, which was a Forest shareholder and was eligible to vote on the

  Forest Merger, was denied the opportunity to make an informed decision in voting on

  the Forest Merger as a result, and was damaged as a direct and proximate result of the

  materially false or misleading statements and omissions as alleged in this Count.

        587. As a result of its acquisition of Allergan stock in the Forest Merger in

  exchange for its Forest stock at an artificially inflated price, and the corrections

  removing the artificial inflation in the price of those Allergan shares, Plaintiff suffered

  economic harm under §14(a) of the Exchange Act. Alternatively, Plaintiff also

  received Allergan shares and is entitled to a rescissory measure of damages sufficient

  to put it back in the economic position it was in before the consummation of the Forest

  Merger.

        588. By reason of the foregoing, the defendants named in this Count violated

  §14(a) of the Exchange Act and Rule 14a-9.




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                                       COUNT IV

    For Violations of §14(a) of the Exchange Act and Rule 14a-9 Promulgated
        Thereunder Against Allergan, Saunders, Bisaro, Bloem, Bodine,
           Howson, King, Klema, Michal, O’Sullivan, Taylor, Turner,
                       Weiss, Basgoz, Coughlin and Bailey

         589. This Count is asserted pursuant to §14(a) of the Exchange Act, and Rule

  14a-9 promulgated thereunder, in connection with the Actavis Merger. This claim is

  asserted against Allergan, Saunders and the 2015 Board of Directors.

         590. Plaintiff repeats and realleges each and every allegation set forth above as

  if fully set forth herein.

         591. For purposes of this Count, Plaintiff expressly excludes and disclaims

  any allegation that could be construed as alleging or sounding in fraud or intentional

  or reckless misconduct. This claim is based solely on negligence.

         592. The January 27, 2015 Proxy and the documents attached to the

  January 27, 2015 Proxy or incorporated by reference therein misrepresented material

  facts or omitted material facts required to be stated to make the statements contained

  in those documents not misleading.

         593. The defendants named in this Count failed to update the January 27, 2015

  Proxy when material information arose between the dissemination of the document or

  related statements and the March 10, 2015 shareholder vote.




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        594. The defendants named in this Count, jointly and severally, solicited and

  permitted the use of their names in solicitations contained in the January 27, 2015

  Proxy.

        595. Allergan was an issuer of the January 27, 2015 Proxy. Allergan also

  permitted the use of its name in the January 27, 2015 Proxy by allowing the document

  to represent, among other things, its operating results and financial condition.

        596. Defendants Bisaro and Saunders signed the cover letters for the

  January 27, 2015 Proxy and permitted the use of their names in connection with the

  January 27, 2015 Proxy.

        597. Defendants Bloem, Bodine, Howson, King, Klema, Michal, O’Sullivan,

  Taylor, Turner, Weiss, Basgoz, Coughlin and Bailey permitted the use of their names

  in connection with the January 27, 2015 Proxy by, among other things, allowing the

  January 27, 2015 Proxy to represent that they recommended a vote to approve the

  Actavis Merger.

        598. By means of the January 27, 2015 Proxy and the documents attached to

  or incorporated by reference therein, the defendants named in this Count sought to

  secure the approval of the Actavis Merger from Plaintiff, which was an Allergan Inc.

  shareholder, and solicited proxies from Plaintiff.

        599. Each defendant named in this Count acted negligently in making false or

  misleading statements of material fact, omitting material facts required to be stated to


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  make the statements contained in the January 27, 2015 Proxy not misleading, and

  failing to update statements that were rendered misleading by material information

  that arose after the dissemination of these statements and before the March 10, 2015

  shareholder vote.

        600. The January 27, 2015 Proxy described in this Count was an essential link

  in the accomplishment of the Actavis Merger. As a result of the January 27, 2015

  Proxy, Allergan and Actavis shareholders approved the Actavis Merger.

        601. Plaintiff, which was an Allergan Inc. shareholder eligible to vote on the

  Actavis Merger, was denied the opportunity to make an informed decision in voting

  on the Actavis Merger as a result and was damaged as a direct and proximate result of

  the materially false or misleading statements and omissions as alleged in this Count.

        602. As a result of their acquisition of Allergan plc stock in the Actavis

  Merger in exchange for their Allergan Inc. stock at an artificially inflated price, and

  the corrections removing the artificial inflation in the price of those Allergan plc

  shares, Plaintiff, which was entitled to vote on the Actavis Merger, suffered economic

  harm under §14(a) of the Exchange Act. Alternatively, Plaintiff, which was entitled to

  vote on the Actavis Merger, received Allergan shares and is entitled to a rescissory

  measure of damages sufficient to put it back in the economic position it was in before

  the consummation of the Actavis Merger.




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        603. By reason of the foregoing, the defendants named in this Count violated

  §14(a) of the Exchange Act and Rule 14a-9.

  V.    SECURITIES ACT ALLEGATIONS

        A.     Securities Act Parties
               1.     Plaintiff

        604. Plaintiff purchased or otherwise acquired Allergan ordinary shares in

  Allergan’s public offering of 14,513,889 ordinary shares issued to finance the

  acquisition of Allergan, which closed on March 2, 2015, and was damaged thereby.

  These shares were purchased or otherwise acquired in, pursuant to and/or traceable to

  the Ordinary/Preferred Shares Offerings Materials (defined below), including the

  Form S-3 shelf registration statement and prospectus filed on February 19, 2015 and

  prospectus supplement dated February 25, 2015. Plaintiff also acquired Allergan

  ordinary shares in connection with Actavis plc’s March 17, 2015 acquisition of

  Allergan Inc. and was damaged thereby. Those shares were acquired in, pursuant to

  and/or traceable to the Merger Offering Materials (defined below), including the Form

  S-4 registration statement, the amendments thereto, and the joint proxy

  statement/prospectus that forms a part of the registration statement filed on

  January 27, 2015.




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               2.    Securities Act Defendants

        605. Defendant Allergan was the issuer of the ordinary shares in partial

  exchange for the outstanding shares of Allergan Inc. common stock and the issuer of

  ordinary shares and preferred shares to finance the acquisition of Allergan Inc.

                     a.     Officer Defendants
        606. Defendant Bailey signed: (i) the Form S-4 registration statement and the

  joint proxy statement/prospectus that formed part of the registration statement, filed

  with the SEC on December 23, 2014 (Registration No. 333-201242); (ii) Amendment

  No. 1 to the Form S-4 registration statement and the joint proxy statement/prospectus

  that formed part of the registration statement, filed with the SEC on January 26, 2015

  (Registration No. 333-201242) (together, Amendment No. 1 filed on January 26, 2015

  and the Form S-4 registration statement and the joint proxy statement/prospectus filed

  on December 23, 2014 are referred to herein as the “Form S-4 Registration

  Statement”); (iii) the Form S-3 registration statement and the prospectus that formed

  part of the registration statement, filed with the SEC on February 19, 2015

  (Registration No. 333-202168) (the “Form S-3 Registration Statement” and, together

  with the Form S-4 Registration Statement, the “Registration Statements”); and (iv) the

  March 2, 2015 Form 8-K containing underwriting agreements relating to the

  Ordinary/Preferred Shares Offerings. Bailey was the Chief Legal Officer and

  Corporate Secretary of Allergan at the time of the Offerings.



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        607. Defendant Bisaro signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He also

  certified the 2013 Form 10-K and served on Allergan’s Board as Executive Chairman

  and director at the time of the Offerings.

        608. Defendant Saunders signed the Registration Statements and the 2014

  Form 10-K incorporated by reference into the Registration Statements. He also

  certified the 2014 Form 10-K and served as Allergan’s CEO, President, a director and

  Principal Executive Officer at the time of the Offerings.

        609. Defendant Hilado signed the Registration Statements and the 2014 Form

  10-K and the Form 8-K underwriting agreements relating to the Ordinary/Preferred

  Shares Offerings incorporated by reference into the Registration Statements. She also

  certified the 2014 Form 10-K and served as Allergan’s CFO and Principal Financial

  Officer at the time of the Offerings.

        610. Defendant James D’Arecca (“D’Arecca”) signed the Registration

  Statements, the 2013 Form 10-K incorporated by reference into the Form S-4

  Registration Statement, and the 2014 Form 10-K incorporated by reference into the

  Registration Statements. D’Arecca served as Allergan’s Chief Accounting Officer

  and Principal Financial Officer at the time of the Offerings.




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        611. Defendant Joyce signed the 2013 Form 10-K and the Form 8-K filed with

  the SEC on December 5, 2014, which superseded portions of the 2013 Form 10-K.

  Both documents were incorporated by reference into the Form S-4 Registration

  Statement. He also certified the 2013 Form 10-K and served as Allergan’s CFO and

  Principal Financial Officer during the Relevant Period.

        612. Defendant Olafsson signed the 2013 Form 10-K, which was incorporated

  by reference into the Form S-4 Registration Statement. He served as a director and

  President of Actavis Pharma during the Relevant Period.

        613. Defendants Bailey, Bisaro, Saunders, Hilado, D’Arecca, Joyce and

  Olafsson are referred to as the “Officer Defendants.”

                     b.     Director Defendants
        614. Defendant Basgoz signed the Registration Statements and the 2014 Form

  10-K incorporated by reference into the Registration Statements. He served as a

  director on Allergan’s Board at the time of the Offerings.

        615. Defendant Bloem signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        616. Defendant Bodine signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the


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  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        617. Defendant Coughlin signed the Registration Statements and the 2014

  Form 10-K incorporated by reference into the Registration Statements. He served as a

  director on Allergan’s Board at the time of the Offerings.

        618. Defendant Howson signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. She

  served as a director on Allergan’s Board at the time of the Offerings.

        619. Defendant King signed the Registration Statements, the 2013 Form 10-K

  incorporated by reference into the Form S-4 Registration Statement, and the 2014

  Form 10-K incorporated by reference into the Registration Statements. He served as a

  director on Allergan’s Board at the time of the Offerings.

        620. Defendant Klema signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. She

  served as a director on Allergan’s Board at the time of the Offerings.

        621. Defendant Michal signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the




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  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        622. Defendant O’Sullivan signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        623. Defendant Taylor signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        624. Defendant Turner signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.

        625. Defendant Weiss signed the Registration Statements, the 2013 Form

  10-K incorporated by reference into the Form S-4 Registration Statement, and the

  2014 Form 10-K incorporated by reference into the Registration Statements. He

  served as a director on Allergan’s Board at the time of the Offerings.




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         626. Defendants Basgoz, Bloem, Bodine, Coughlin, Howson, King, Klema,

  Michal, O’Sullivan, Taylor, Turner and Weiss are referred to as the “Director

  Defendants.”

         B.     Additional Background Allegations
         627. Plaintiff’s claims under the Securities Act do not sound in fraud and

  Plaintiff expressly disavows and disclaims any allegations of fraud, scheme or

  intentional conduct as part of its claims under the Securities Act. Any allegations of

  fraud, fraudulent conduct or motive are specifically disclaimed from the following

  allegations for the purposes of Plaintiff’s claims under the Securities Act, which do

  not require allegations of scienter, fraudulent intent or motive. To the extent that these

  allegations incorporate factual allegations elsewhere in this complaint, those

  allegations are incorporated only to the extent that such allegations do not allege

  fraud, scienter or intent of the defendants to defraud Plaintiff.

         628. As set forth below, Allergan and other defendants made a series of

  materially untrue statements and omissions of material facts in the offering materials

  issued in connection with the Offerings during the Relevant Period. The Offering

  Materials are defined collectively as the materials described in the table below:

        Defined Term                     Included Filings                       Date Filed
  “Merger Offering          Form S-4 registration statement and the      December 23, 2014
  Materials”                joint proxy statement/prospectus that
                            formed part of the registration statement,
                            Registration No. 333-201242




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        Defined Term                        Included Filings                          Date Filed
                               Amendment No. 1 to Form S-4 registration       January 26, 2015
                               statement and the joint proxy
                               statement/prospectus that formed part of the
                               registration statement, Registration No.
                               333-201242
                               Rule 424(b)(3) joint proxy                     January 27, 2015
                               statement/prospectus, Registration No. 333-
                               201242
                               Documents incorporated by reference by
                               the Form S-4 registration statement and
                               Rule 424(b)(3) joint proxy
                               statement/prospectus, including:
                               (1) 2013 Form 10-K,                            (1) February 25, 2014
                               (2) Form 8-K superseding portions of the       (2) December 5, 2014
                               2013 Form 10-K,
                               (3) 2014 Form 10-K, and                        (3) February 18, 2015
                               (4) Form 8-K underwriting agreements           (4) March 2, 2015
                               relating to the Ordinary/Preferred Shares
                               Offerings
  “Ordinary/Preferred Shares   Form S-3 registration statement and the        February 19, 2015
  Offerings Materials”         prospectus that formed part of the
                               registration statement, Registration No.
                               333-202168
                               Rule 424(b)(5) prospectus for ordinary         February 19, 2015
                               shares, Registration No. 333-202168
                               Rule 424(b)(5) prospectus for mandatory        February 19, 2015
                               convertible preferred shares, Registration
                               No. 333-202168
                               Rule 424(b)(2) prospectus for ordinary         February 26, 2015
                               shares, Registration No. 333-202168
                               Rule 424(b)(2) prospectus for mandatory        February 26, 2015
                               convertible preferred shares, Registration
                               No. 333-202168
                               Documents incorporated by reference by
                               the Form S-3 registration statement and the
                               Rule 424(b)(5) and 424(b)(2) prospectuses
                               for ordinary shares and mandatory
                               convertible preferred shares, including:
                               (1) 2014 Form 10-K, and                        (1) February 18, 2015
                               (2) Form 8-K underwriting agreements           (2) March 2, 2015
                               relating to the Ordinary/Preferred Shares
                               Offerings




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        C.     Actionable False and Misleading Statements in the Offering
               Materials
        629. Specifically, during the Relevant Period, Allergan conducted three

  registered securities offerings. These offerings included Allergan’s public offering of:

  (i) 14,513,889 ordinary shares, closed on March 2, 2015, which raised approximately

  $4.18 billion; (ii) 5,060,000 5.00% mandatory convertible preferred shares, closed on

  March 2, 2015, which raised approximately $5.06 billion; and (iii) approximately

  111.2 million ordinary shares in partial exchange for the outstanding shares of

  Allergan Inc. common stock in connection with the March 17, 2015 merger.

        630. As set forth herein, the Offering Materials that Allergan filed with the

  SEC for each of the Offerings contained untrue statements of material fact and

  omitted material facts required to be stated therein or necessary to make the

  statements therein not misleading, concerning: (i) competition in the generic drug

  marketplace, including that the marketplace for generic drugs was highly competitive;

  (ii) the Company’s reported revenues and profitability; (iii) price reductions due to

  competitor actions and entry; (iv) pricing pressures due to industry consolidation and

  third-party payers’ price challenges; (v) competition with Teva, Mylan, Sandoz, and

  others, which were characterized as “major competitors”; and (vi) compliance with

  laws and regulations governing the Company’s business.




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               1.     The Form S-4 Registration Statements and Joint
                      Proxy Statement/Prospectus

        631. During the Relevant Period, Allergan’s inflation of sales through illegal

  price-fixing constituted a violation of U.S. antitrust laws and exposed the Company to

  significant risk of prosecution by state and federal authorities, along with the attendant

  negative financial and reputational harm, and its failure to make required disclosures

  regarding the impact of artificial price increases (tied to illegal price-fixing activity)

  on its reported revenue was in violation of SEC disclosure rules. Nevertheless,

  Allergan, the Officer Defendants, and the Director Defendants represented falsely

  and/or misleadingly that the Company complied with laws and regulations in the

  Merger Offering Materials:

        Allergan’s obligation to effect the Merger is conditioned, among other
        things, upon:
                   the accuracy of Actavis’ and Merger Sub’s representations
        and warranties, subject to specified materiality standards;
                                       *      *      *
                  the delivery by Actavis of an officer’s certificate certifying
        such accuracy of such representations and warranties and such
        performance of such obligations and covenants;
                                       *      *      *
              Many of the representations and warranties are reciprocal and
        apply to Actavis or Allergan, as applicable, and their respective
        subsidiaries. Some of the more significant representations and
        warranties relate to:
                                       *      *      *
                    SEC reports and financial statements, including their
        preparation in accordance with GAAP, filing or furnishing with the SEC,

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        and compliance with the applicable rules and regulations promulgated
        thereunder, and that such reports and financial statements fairly
        present, in all material respects, the relevant financial position and
        results of operations;
                                      *      *      *
                   compliance with laws and government regulations,
        including environmental laws;
                                      *      *      *
              Many of the representations and warranties made by each of
        Actavis and Allergan are qualified by a “material adverse effect”
        standard. . . . For the purpose of the Merger Agreement, a “material
        adverse effect” with respect to each of Actavis and Allergan means any
        change, effect, development, circumstance, condition, state of facts,
        event or occurrence (each referred to in this section of this joint proxy
        statement/prospectus as an “Effect”) that, individually or in the
        aggregate, has a material adverse effect on the assets, liabilities,
        condition (financial or otherwise), business or results of operations of the
        relevant party and its subsidiaries, taken as a whole.
                                      *      *      *
             REPRESENTATIONS AND WARRANTIES OF PARENT
                    [ACTAVIS PLC] AND MERGER SUB
                                      *      *      *
        Section 4.4 Reports and Financial Statements.
        (a) From January 1, 2012 through the date of this Agreement, each of
        Parent [Actavis plc] and Actavis, Inc. have filed or furnished all forms,
        documents and reports required to be filed or furnished prior to the date
        hereof by it with the SEC (the “Parent SEC Documents”). As of their
        respective dates, or, if amended, as of the date of (and giving effect to)
        the last such amendment, the Parent [Actavis plc] SEC Documents
        complied in all material respects with the requirements of the Securities
        Act and the Exchange Act, as the case may be, and the applicable rules
        and regulations promulgated thereunder, and none of the Parent
        [Actavis plc] SEC Documents contained any untrue statement of a
        material fact or omitted to state any material fact required to be stated
        therein or necessary to make the statements therein, in light of the
        circumstances under which they were made, not misleading.



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        (b) The consolidated financial statements (including all related notes
        and schedules) of Parent or Actavis, Inc., as applicable, included in the
        Parent [Actavis plc] SEC Documents when filed complied as to form in
        all material respects with the applicable accounting requirements and the
        published rules and regulations of the SEC with respect thereto in effect
        at the time of such filing and fairly present in all material respects the
        consolidated financial position of Parent [Actavis plc] or Actavis, Inc.,
        as applicable, and its consolidated Subsidiaries, as at the respective
        dates thereof, and the consolidated results of their operations and their
        consolidated cash flows for the respective periods then ended (subject, in
        the case of the unaudited statements, to normal year-end audit
        adjustments and to any other adjustments described therein, including the
        notes thereto) in conformity with GAAP (except, in the case of the
        unaudited statements, to the extent permitted by the SEC) applied on a
        consistent basis during the periods involved (except as may be indicated
        therein or in the notes thereto).
                                     *      *      *
        Section 4.7 Compliance with Law; Permits.
        (a) Parent [Actavis plc] and each of Parent’s Subsidiaries are in
        compliance with and are not in default under or in violation of any
        Laws, applicable to Parent, such Subsidiaries or any of their respective
        properties or assets, except where such non-compliance, default or
        violation would not reasonably be expected to have, individually or in
        the aggregate, a Parent Material Adverse Effect.
                                     *      *      *
        Section 4.12 Information Supplied. The information relating to Parent
        [Actavis plc] and its Subsidiaries to be contained in the Joint Proxy
        Statement/Prospectus and the Form S-4 will not, on the date the Joint
        Proxy Statement/Prospectus (and any amendment or supplement thereto)
        is first mailed to shareholders of Parent or at the time the Form S-4 (and
        any amendment or supplement thereto) is filed and the date it is declared
        effective or any post-effective amendment thereto is filed or is declared
        effective, or at the time of the Company Special Meeting or the Parent
        Special Meeting, contain any untrue statement of a material fact or
        omit to state any material fact required to be stated therein or
        necessary in order to make the statements therein, at the time and in
        the light of the circumstances under which they were made, not
        misleading. The Joint Proxy Statement/Prospectus (other than the
        portions thereof relating solely to the meeting of the stockholders of the
        Company) and the Form S-4 will comply as to form in all material
        respects with the provisions of the Exchange Act, the rules and

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         regulations promulgated thereunder and any other applicable federal
         securities laws.
                                        *      *      *
         Section 4.13 Regulatory Matters.
                                        *      *      *
         (b) Except as would not, individually or in the aggregate, reasonably
         be expected to have a Parent Material Adverse Effect, the businesses of
         each of Parent [Actavis plc] and each Parent Subsidiary are being
         conducted in compliance with all applicable Laws. . . .
         (c) Except as would not, individually or in the aggregate, reasonably
         be expected to have a Parent Material Adverse Effect, Parent and the
         Parent Subsidiaries have not engaged in activities which are, as
         applicable, cause for false claims liability, civil penalties or mandatory or
         permissive exclusion from Medicare, Medicaid or any other government
         healthcare program.
                                        *      *      *
         “Parent Material Adverse Effect” means any Effect that, individually or
         in the aggregate, has a material adverse effect on the assets, liabilities,
         condition (financial or otherwise), business or results of operations of
         Parent and the Parent Subsidiaries, taken as a whole.
         632. In addition to misrepresentations concerning compliance with laws and

  regulations, the Merger Offering Materials also reported the Company’s net revenue

  increase for the fiscal year 2013 and year-to-date 2014 and failed to disclosed that the

  revenues were inflated in part as a result of illegal price-fixing and artificially inflated

  generic drug prices: Actavis’ net revenues for the years ended December 31, 2013 vs.

  December 31, 2012 were $8,677.6 million and $5,914.9 million, respectively. Net

  revenues for the nine months ended September 30, 2014 vs. September 30, 2013 were

  $9,005.4 million and $5,898.3 million, respectively.



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        633. The Form S-4 registration statement and the joint proxy

  statement/prospectus that formed part of the registration statement filed on

  December 23, 2014 and the Amendment No. 1 filed on January 26, 2015 were signed

  by defendants Bailey, Bisaro, Saunders, Hilado, D’Arecca, Basgoz, Bloem, Bodine,

  Coughlin, Howson, King, Klema, Michal, O’Sullivan, Taylor, Turner and Weiss.

               2.     The Form 8-K Superseding Portions of the 2013 Form
                      10-K

        634. On December 5, 2014, Allergan filed a Form 8-K superseding portions of

  the 2013 Form 10-K, which was incorporated by reference into the Merger Offering

  Materials and signed by defendant Joyce. Despite the fact that the market for the

  Company’s generic drugs was collusive and lacked true competition, the Form 8-K

  contained untrue statements of material fact and omitted material facts required to be

  stated therein or necessary to make the statements therein not misleading, concerning:

  (i) competition in the generic drug marketplace, including that the marketplace for

  generic drugs was highly competitive; (ii) price reductions due to competitor actions

  and entry; (iii) pricing pressures due to industry consolidation and third-party payers’

  price challenges; and (iv) competition with Teva, Mylan, Sandoz, and others, which

  were characterized as “major competitors”:

              Our North American Generics and International business is
        focused on maintaining a leading position within both the North
        America, and in particular, the U.S. market and our key international
        markets and strengthening our global position by offering a consistent
        and reliable supply of quality brand and generic products.


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               Our strategy in the U.S. is to develop pharmaceuticals that are
        difficult to formulate or manufacture or will complement or broaden
        our existing product lines.
                                    *      *      *
        [A] small number of large, wholesale distributors and large chain drug
        stores control a significant share of the market. This concentration
        may adversely impact pricing and create other competitive pressures on
        drug manufacturers.
                                    *      *      *
        Competition
              The pharmaceutical industry is highly competitive. In our North
        American Brands and North American Generics and International
        businesses, we compete with different companies depending upon
        product categories, and within each product category, upon dosage
        strengths and drug delivery systems. Such competitors include the
        major brand name and generic manufacturers of pharmaceutical
        products. In addition to product development, other competitive factors
        in the pharmaceutical industry include product quality and price,
        reputation and service and access to proprietary and technical
        information. . . .
               We actively compete in the generic pharmaceutical industry.
        Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing off-patent
        manufacturers receive regulatory approvals on similar products,
        market share, revenues and gross profit typically decline, in some cases
        dramatically. Accordingly, the level of market share, revenues and
        gross profit attributable to a particular generic product normally is
        related to the number of competitors in that product’s market pricing
        and the timing of that product’s regulatory approval and launch, in
        relation to competing approvals and launches. Consequently, we must
        continue to develop and introduce new products in a timely and cost-
        effective manner to maintain our revenues and gross profit. In addition
        to competition from other generic drug manufacturers, we face
        competition from brand name companies in the generic market. Many
        of these companies seek to participate in sales of generic products by,
        among other things, collaborating with other generic pharmaceutical
        companies or by marketing their own generic equivalent to their brand
        products as Authorized Generics. Our major competitors include Teva
        Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc.


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                                     *     *       *
              Our operating results and financial condition may fluctuate from
        quarter to quarter and year to year for a number of reasons. The
        following events or occurrences, among others, could cause
        fluctuations in our financial performance from period to period:
                                     *     *       *
             our responses to price competition
                                     *     *       *
               We face strong competition in our all of our businesses. . . .
        Most of our competitors have been in business for a longer period of
        time than us, have a greater number of products on the market and have
        greater financial and other resources than we do. Furthermore, recent
        trends in this industry are toward further market consolidation of large
        drug companies into a smaller number of very large entities, further
        concentrating financial, technical and market strength and increasing
        competitive pressure in the industry. . . .
               Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing manufacturers
        receive regulatory approvals on similar products or as brand
        manufacturers launch generic versions of such products (for which no
        separate regulatory approval is required), market share, revenues and
        gross profit typically decline, in some cases dramatically. Accordingly,
        the level of market share, revenue and gross profit attributable to a
        particular generic product normally is related to the number of
        competitors in that product’s market and the timing of that product’s
        regulatory approval and launch, in relation to competing approvals and
        launches. . . . Additionally, as new competitors enter the market, there
        may be increased pricing pressure on certain products, which would
        result in lower gross margins. . . .
               . . . Increased competition in the generic industry as a whole may
        result in increased price erosion in the pursuit of market share.
                                     *     *       *
               Our principal customers in our brand and generic pharmaceutical
        operations are wholesale drug distributors and major retail drug store
        chains. . . . We expect that consolidation of drug wholesalers and
        retailers will increase pricing and other competitive pressures on drug
        manufacturers, including the Company.

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        635. In addition to the above misrepresentations, the Form 8-K also reported

  the Company’s net revenue increase for the fiscal year 2013 relating to the North

  American Generics business and failed to disclosed that the revenues were inflated in

  part as a result of illegal price-fixing and artificially-inflated generic drug prices:




                                       *      *      *
               The increase in net revenues is primarily due to the full year North
        American Generic and International net sales resulting from the Actavis
        Group Acquisition of $2,799.5 million in the year ended December 31,
        2013 versus $428.3 million in the year ended December 31, 2012 as well
        as the Warner Chilcott Acquisition, which contributed three months of
        sales in 2013 compared to no sales in the prior period ($64.7 million).
        Also contributing to the movement are higher U.S. unit sales related to
        new products including lidocaine topical patch 5% ($392.9 million) and
        mixed amphetamine (Adderall XR ® CII) ($145.2 million).
               3.     The 2014 Form 10-K

        636. On February 18, 2015, Allergan filed the 2014 Form 10-K, incorporated

  by reference into the Offering Materials. Despite the fact that the market for the

  Company’s generic drugs was collusive and lacked true competition, the 2014 Form

  10-K contained untrue statements of material fact and omitted material facts required

  to be stated therein or necessary to make the statements therein not misleading,

  concerning: (i) competition in the generic drug marketplace, including that the

  marketplace for generic drugs was highly competitive; (ii) price reductions due to


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  competitor actions and entry; (iii) pricing pressures due to industry consolidation and

  third-party payers’ price challenges; and (iv) competition with Teva, Mylan, Sandoz,

  and others, which were characterized as “major competitors”:

              Our North American Generics and International business is
        focused on maintaining a leading position within both the North
        American, and in particular, the U.S. market and our key international
        markets and strengthening our global position by offering a consistent
        and reliable supply of quality brand and generic products.
               Our strategy in the U.S. is to develop pharmaceuticals that are
        difficult to formulate or manufacture or will complement or broaden
        our existing product lines.
                                      *     *       *
              Our significant customers comprise a large part of the distribution
        network for pharmaceutical products in North America. As a result, a
        small number of large, wholesale distributors and large drug store chains
        control a significant share of the market. Changes in the mix of
        concentration amongst the Company’s largest customers over the last
        three years are due, in part, to the impact of acquisitions as well as
        changes in the supply chain of our indirect customers. This
        concentration may adversely impact pricing and create other
        competitive pressures on drug manufacturers.
                                      *     *       *
        Competition
              The pharmaceutical industry is highly competitive. In our North
        American Brands and North American Generics and International
        businesses, we compete with different companies depending upon
        product categories, and within each product category, upon dosage
        strengths and drug delivery systems. Such competitors include the
        major brand name and generic manufacturers of pharmaceutical
        products. In addition to product development, other competitive factors
        in the pharmaceutical industry include product quality, price,
        reputation, service and access to proprietary and technical
        information.
                                      *     *       *



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               We actively compete in the generic pharmaceutical industry.
        Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing off-patent
        manufacturers receive regulatory approvals on similar products,
        market share, revenues and gross profit typically decline, in some cases
        dramatically. Accordingly, the level of market share, revenues and
        gross profit attributable to a particular generic product normally is
        related to the number of competitors in that product’s market, pricing
        and the timing of that product’s regulatory approval and launch, in
        relation to competing approvals and launches. Consequently, we must
        continue to develop and introduce new products in a timely and cost-
        effective manner to maintain our revenues and gross profit. In addition
        to competition from other generic drug manufacturers, we face
        competition from brand name companies in the generic market. Many
        of these companies seek to participate in sales of generic products by,
        among other things, collaborating with other generic pharmaceutical
        companies or by marketing their own generic equivalent to their brand
        products as “Authorized Generics”. Our major competitors include
        Teva Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc. (a
        division of Novartis AG).
                                     *     *       *
               We face strong competition in all of our businesses. . . . Most of
        our competitors have been in business for a longer period of time than
        us, have a greater number of products on the market and have greater
        financial and other resources than we do. Furthermore, recent trends in
        this industry are toward further market consolidation of large drug
        companies into a smaller number of very large entities, further
        concentrating financial, technical and market strength and increasing
        competitive pressure in the industry.
                                     *     *       *
               Revenues and gross profit derived from the sales of generic
        pharmaceutical products tend to follow a pattern based on certain
        regulatory and competitive factors. . . . As competing manufacturers
        receive regulatory approvals on similar products or as brand
        manufacturers launch generic versions of such products (for which no
        separate regulatory approval is required), market share, revenues and
        gross profit typically decline, in some cases dramatically. Accordingly,
        the level of market share, revenue and gross profit attributable to a
        particular generic product normally is related to the number of
        competitors in that product’s market and the timing of that product’s
        regulatory approval and launch, in relation to competing approvals and

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        launches. . . . Additionally, as new competitors enter the market, there
        may be increased pricing pressure on certain products, which would
        result in lower gross margins. . . .
               . . . Increased competition in the generic industry as a whole may
        result in increased price erosion in the pursuit of market share.
                                       *      *      *
               Our principal customers in our brand and generic pharmaceutical
        operations are wholesale drug distributors and major retail drug store
        chains. . . . We expect that consolidation of drug wholesalers and
        retailers will increase pricing and other competitive pressures on drug
        manufacturers, including the Company.
        637. In addition to the above misrepresentations, the 2014 Form 10-K also

  reported the Company’s net revenue increase for fiscal years 2013 and 2014 relating

  to the North American Generics business and failed to disclosed that the revenues

  were inflated in part as a result of illegal price-fixing and artificially inflated generic

  drug prices:




                                       *      *      *
        An increase in competition can decrease both volume and the price
        received for each product. The increase in North American Generics
        revenues was primarily the result of changes in product mix including
        new product launches and competition on existing products.
                                       *      *      *




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                                        *      *      *
         The increase in net revenues is primarily due to the full year net sales
         from the Actavis Group Acquisition of $2,799.5 million in the year
         ended December 31, 2013 versus $428.3 million in the year ended
         December 31, 2012 as well as the Warner Chilcott Acquisition, which
         contributed three months of sales in 2013 compared to no sales in the
         prior period ($64.7 million). Also contributing to the movement are
         higher U.S. unit sales related to new products including lidocaine topical
         patch 5% ($392.9 million) and mixed amphetamine (Adderall XR® CII)
         ($145.2 million).
         638. The 2014 Form 10-K contained signed certifications pursuant to SOX by

  defendants Saunders and Hilado, stating that the financial information contained in the

  2014 Form 10-K was accurate and disclosed any material changes to the Company’s

  internal control over financial reporting. The 2014 Form 10-K was also signed by

  defendants Bisaro, D’Arecca, Basgoz, Bloem, Bodine, Coughlin, Howson, King,

  Klema, Michal, O’Sullivan, Taylor, Turner and Weiss.

                4.     The Form 8-K Underwriting Agreements

         639. Allergan’s inflation of sales through illegal price-fixing constituted a

  violation of U.S. antitrust laws and exposed the Company to significant risk of

  prosecution by state and federal authorities, along with the attendant negative financial

  and reputational harm, and its failure to make required disclosures regarding the

  impact of artificial price increases (tied to illegal price-fixing activity) on its reported

  revenue was in violation of SEC disclosure rules. Nevertheless, on March 2, 2015,

  Allergan and defendants Bailey and Hilado represented falsely and/or misleadingly




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  that the Company complied with laws and regulations in a Form 8-K that attached the

  underwriting agreements relating to the Ordinary/Preferred Shares Offerings:

        The Company represents and warrants to each Underwriter that:
                                      *     *       *
        (c) Issuer Free Writing Prospectus. . . . Each such Issuer Free
        Writing Prospectus complied in all material respects with the Securities
        Act, has been or will be (within the time period specified in Rule 433)
        filed in accordance with the Securities Act (to the extent required
        thereby) and, when taken together with the Preliminary Prospectus filed
        prior to the first use of such Issuer Free Writing Prospectus, did not, and
        as of the Closing Date and as of the Additional Closing Date, as the case
        may be, will not, contain any untrue statement of a material fact or
        omit to state a material fact necessary in order to make the statements
        therein, in the light of the circumstances under which they were made,
        not misleading. . . .
        (d) Registration Statement and Prospectus . . . as of the applicable
        effective date of the Registration Statement and any post-effective
        amendment thereto, the Registration Statement and any such post-
        effective amendment complied and will comply in all material respects
        with the Securities Act, and did not and will not contain any untrue
        statement of a material fact or omit to state a material fact required to
        be stated therein or necessary in order to make the statements therein
        not misleading; and as of the date of the Prospectus and any
        amendment or supplement thereto and as of the Closing Date and as of
        the Additional Closing Date, as the case may be, the Prospectus will
        not contain any untrue statement of a material fact or omit to state a
        material fact necessary in order to make the statements therein, in the
        light of the circumstances under which they were made, not
        misleading. . . .
        (e) Incorporated Documents. The documents incorporated by
        reference in the Registration Statement, the Prospectus and the Pricing
        Disclosure Package, including, to the knowledge of the Company, the
        documents filed with the Commission by Allergan, when they were filed
        with the Commission, conformed in all material respects to the
        requirements of the Exchange Act, and none of such documents,
        including, to the knowledge of the Company, the documents so filed by
        Allergan, contained any untrue statement of a material fact or omitted
        to state a material fact necessary to make the statements therein, in the
        light of the circumstances under which they were made, not
        misleading; and any further documents so filed by the Company or any

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        of its subsidiaries and incorporated by reference in the Registration
        Statement, the Prospectus or the Pricing Disclosure Package, when
        such documents are filed with the Commission, will conform in all
        material respects to the requirements of the Exchange Act and will not
        contain any untrue statement of a material fact or omit to state a
        material fact necessary to make the statements therein, in the light of
        the circumstances under which they were made, not misleading.
        (f)   Financial Statements.
        (i)     Preparation of the Financial Statements of the Company. The
        financial statements (including the related notes thereto) of the Company
        and its consolidated subsidiaries included or incorporated by reference in
        the Registration Statement, the Pricing Disclosure Package and the
        Prospectus present fairly, in all material respects, the financial position
        of the Company and its consolidated subsidiaries as of and at the dates
        indicated and the results of their operations and the changes in their cash
        flows for the periods specified. Such financial statements comply in all
        material respects as to form with the applicable requirements of the
        Securities Act and the Exchange Act, as applicable, and have been
        prepared in conformity with generally accepted accounting principles
        as applied in the United States (“GAAP”) applied on a consistent basis
        throughout the periods covered thereby, except as may be expressly
        stated in the related notes thereto, and any supporting schedules included
        or incorporated by reference in the Registration Statement present fairly,
        in all material respects, the information required to be stated therein. The
        selected financial data and the summary financial information of the
        Company and its consolidated subsidiaries included or incorporated by
        reference in the Registration Statement, the Pricing Disclosure Package
        and the Prospectus presents fairly, in all material respects, the
        information shown therein and has been compiled on a basis consistent
        with that of the Company’s audited financial statements included or
        incorporated by reference in the Registration Statement, the Pricing
        Disclosure Package and the Prospectus. . . .
        (o) No Violation or Default. None of the Company, any of the
        Significant Subsidiaries or, to the knowledge of the Company, any of
        the Acquired Companies is . . . (iii) in violation of any law or statute
        applicable to the Company, any of its subsidiaries or any of the
        Acquired Companies or any judgment, order, rule or regulation of any
        court or arbitrator or governmental or regulatory authority having
        jurisdiction over the Company, any of its subsidiaries or any of the
        Acquired Companies, except, in the case of clauses (ii) and (iii) above,
        for any such default or violation that would not reasonably be expected,
        individually or in the aggregate, to have a Material Adverse Effect.


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                                      *      *      *
               As used herein, “Material Adverse Effect” means (A) when used
        in respect of any matter relating to the Company or any of its
        subsidiaries, any material adverse effect, or any development that would
        reasonably be expected to result in a material adverse effect, on the
        business, properties, management, financial position, stockholders’
        equity, results of operations or prospects of the Company and its
        subsidiaries taken as a whole, or on the performance by the Company of
        its obligations under the Transaction Documents and (B) when used in
        respect of any matter relating to any of the Acquired Companies, any
        material adverse effect, or any development that would reasonably be
        expected to result in a material adverse effect, on the business,
        properties, management, financial position, stockholders’ equity, results
        of operations or prospects of the Combined Company, or on the
        performance by the Company of its obligations under the Transaction
        Documents.
        640. The March 2, 2015 Form 8-K was signed by Bailey and each of the

  underwriting agreements therein was signed by Hilado.

        D.     No Safe Harbor
        641. Allergan’s “Safe Harbor” warnings accompanying its forward-looking

  statements issued during the Relevant Period were ineffective to shield those

  statements from liability. First, the statements complained of herein concerned

  present or historical facts or conditions that were existing or purported to exist at the

  time they were made. Second, the statutory safe harbor does not apply to statements

  included in the financial statements that purport to have been prepared in accordance

  with Generally Accepted Accounting Principles. Further, to the extent that any of the

  untrue of misleading statements alleged herein were identified as forward-looking,

  and can be construed as forward-looking, the statements were not accompanied by

  meaningful cautionary statements identifying important facts that could cause actual

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  results to differ materially from those statements, and the generalized disclosures

  made by defendants were not sufficient to shield them from liability.

  VI.   CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                       COUNT V

                    Violations of §11 of the Securities Act Against
                            All Securities Act Defendants

        642. This Count is brought by Plaintiff pursuant to §11 of the Securities Act,

  15 U.S.C. §77k. Plaintiff purchased or otherwise acquired securities sold pursuant or

  traceable to the Registration Statements and was damaged thereby.

        643. Plaintiff repeats and realleges each and every allegation contained above

  in §§I.-III. and V.

        644. This Count expressly excludes and disclaims any allegation that could be

  construed as alleging fraud or intentional or reckless conduct, as this Count is solely

  based on claims of strict liability and/or negligence under the Securities Act. For

  purposes of asserting this Count, Plaintiff does not allege that defendants acted with

  scienter or fraudulent intent, which are not elements of a §11 claim.

        645. Liability under this Count is predicated on the Officer Defendants’ and

  the Director Defendants’ signing of the Registration Statements and the filings

  incorporated by reference therein for the Offerings and all Securities Act Defendants’

  respective participation in the Offerings, which were conducted pursuant to the

  Offering Materials. The Offering Materials were false and misleading, contained


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  untrue statements of material fact, omitted to state facts necessary to make the

  statements not misleading, and omitted to state material facts required to be stated

  therein.

        646. Less than one year has elapsed since the time that Plaintiff discovered, or

  could reasonably have discovered, the facts upon which this complaint is based. Less

  than three years has elapsed since the time that the securities at issue in this complaint

  were bona fide offered to the public.

        647. By reason of the foregoing, the defendants named in this Count are each

  jointly and severally liable for violations of §11 of the Securities Act to Plaintiff

  pursuant to §11(e).

                                        COUNT VI

                        Violation of §12(a)(2) of the Securities Act
                                     Against Allergan

        648. This Count is brought pursuant to §12(a)(2) of the Securities Act, 15

  U.S.C. §77(l)(a)(2). Plaintiff purchased or otherwise acquired ordinary shares in the

  Offerings and was damaged thereby.

        649. Plaintiff repeats and realleges each and every allegation contained above

  in §§I.-III. and V.

        650. This Count expressly excludes and disclaims any allegation that could be

  construed as alleging fraud or intentional or reckless conduct, as this Count is solely

  based on claims of strict liability and/or negligence under the Securities Act. For

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  purposes of asserting this Count, Plaintiff does not allege that defendants acted with

  scienter or fraudulent intent, which are not elements of a §12(a)(2) claim.

        651. By means of the Offering Materials, Allergan sold the Offerings to

  Plaintiff. Allergan was a statutory seller of securities offered and sold pursuant to the

  Offering Materials and solicited sales thereof for financial gain, as it benefitted

  financially from the sale of the securities.

        652. The Offering Materials contained untrue statements of material fact and

  failed to disclose material facts. Allergan owed Plaintiff, which acquired the ordinary

  shares pursuant to the Offering Materials, the duty to make a reasonable and diligent

  investigation of the statements contained in the Offering Materials to ensure that such

  statements were true and that there was no omission to state a material fact required to

  be stated in order to make the statements contained therein not misleading. Allergan,

  in the exercise of reasonable care, should have known of the misstatements and

  omissions contained in the Offering Materials, as set forth above.

        653. Plaintiff did not know, nor in the exercise of reasonable diligence could it

  have known, of the untruths and omissions contained in the Offering Materials at the

  time it acquired the ordinary shares.

        654. By reason of the conduct alleged herein, Allergan violated §12(a)(2) of

  the Securities Act. As a direct and proximate result of such violations, Plaintiff,

  which acquired the ordinary shares pursuant to the Offering Materials, sustained


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  substantial damages in connection with its acquisition of the securities. Accordingly,

  for the securities held by Plaintiff and issued pursuant to the Offering Materials,

  Plaintiff has the right to rescind and recover the consideration paid for its shares, with

  interest thereon, and hereby tenders its securities to Allergan. For securities sold,

  Plaintiff seeks damages to the extent permitted by law.

                                       COUNT VII

                  Violations of §15 of the Securities Act Against
           Allergan, the Officer Defendants and the Director Defendants

        655. This Count is asserted against Allergan, the Officer Defendants and the

  Director Defendants for violations of §15 of the Securities Act, 15 U.S.C. §77o.

  Plaintiff purchased or otherwise acquired securities sold pursuant and traceable to the

  Offerings.

        656. Plaintiff repeats and realleges each and every allegation contained above

  in §§I.-III. and V.

        657. This Count expressly excludes and disclaims any allegation that could be

  construed as alleging fraud or intentional or reckless conduct, as this Count is solely

  based on claims of strict liability and/or negligence under the Securities Act. For

  purposes of asserting this Count, Plaintiff does not allege that defendants acted with

  scienter or fraudulent intent, which are not elements of a §15 claim




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        658. At times relevant hereto, the Officer Defendants and the Director

  Defendants were controlling persons of Allergan within the meaning of §15 of the

  Securities Act.

        659. The Officer Defendants and the Director Defendants at times relevant

  hereto participated in the operation and management of Allergan, and conducted and

  participated, directly and indirectly, in the conduct of Allergan’s business affairs.

        660. The Officer Defendants and Director Defendants, as officers and

  directors of a publicly owned company, had a duty to disseminate accurate and

  truthful information with respect to Allergan’s financial condition and results of

  operations. Because of their positions of control and authority as officers or directors

  of Allergan, the Officer Defendants and Director Defendants were able to, and did,

  control the contents of the Offering Materials, which contained materially untrue

  information.

        661. Allergan controlled the Officer Defendants and Director Defendants and

  all of its other employees.

        662. By reason of the foregoing, Allergan, the Officer Defendants and the

  Director Defendants are liable under §15 of the Securities Act, to the same extent that

  they are liable under §§11 and 12(a)(2) of the Securities Act, to Plaintiff, which

  acquired securities pursuant and/or traceable to the Offerings pursuant to the

  Registration Statements and/or the applicable Offering Materials.


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  VII. PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully prays for judgment as follows:

        A.     Declaring and determining that defendants violated the Exchange Act and

  Securities Act by reason of the acts and omissions alleged herein;

        B.     Awarding Plaintiff compensatory damages against all defendants, jointly

  and severally, in an amount to be proven at trial together with prejudgment interest

  thereon;

        C.     Awarding Plaintiff reasonable costs and expenses incurred in this action,

  including but not limited to, attorneys’ fees and costs incurred by consulting and

  testifying expert witnesses;

        D.     Awarding rescission or a rescissory measure of damages; and

        E.     Granting such other and further relief as the Court deems just and proper.

  VIII. JURY TRIAL DEMANDED
        Plaintiff hereby demands a trial by jury.

  DATED: October 8, 2019                   SEEGER WEISS LLP
                                           CHRISTOPHER A. SEEGER
                                           DAVID R. BUCHANAN


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                               CERTIFICATE OF SERVICE

           I hereby certify that, on October 8, 2019, I caused true and correct copies of

  these documents to be served via this Court’s ECF system to all counsel of record.

  DATED: New York, New York
         October 8, 2019


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